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                                  Exhibit 4:
    Excerpts from I-70 East Final Environmental Impact Statement
              and Section 4(f) Evaluation, January 2016
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                                                                                    -=
                                                                                    -




                                                      COLORADO
                                                      Department of
                                                      Transportation




      I-70 EastFinal
      1-70East  FinalEnvironmental
               Final  EnvironmentalImpact
                     Environmental  Impact Statement
                                           Statement
                                           and Section 4(f) Evaluation



                                                                JANUARY 2016




                                                                VOLUME 1 OF 3
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                                     98
      I-70 East
      1-70 East Final
                Final EIS
                      EIS                                            5.8 Visual Resources
                                                                     5.8 Visual Resources and
                                                                                          and Aesthetic
                                                                                              Aesthetic Qualities
                                                                                                        Qualities



      5.8           Visual Resources
                    Visual  Resources and Aesthetic
                                      and Aesthetic
                    Qualities
                      ualities

      This section discusses
      This section  discusses the   visual resources
                                the visual resources and   aesthetic
                                                      and aesthetic
      qualities
      qualities in the study
                in the  study area
                               area and
                                     and explains
                                         explains why
                                                    why they
                                                        they are
                                                              are
      important
      important toto the
                     the project.
                         project. The
                                   The impacts
                                       impacts of
                                                of the
                                                   the project
                                                       project
      alternatives  on these
      alternatives on   these resources
                              resources also
                                         also are
                                              are evaluated
                                                   evaluated and
                                                              and
      proposed mitigation
      proposed                measures are
                 mitigation measures    are discussed
                                             discussed to
                                                        to offset
                                                           offset any
                                                                  any
      potential adverse
      potential adverse effects.
                          effects.

        Since
        Since the
                the Supplemental
                     Supplemental Draft     EIS was
                                     Draft EIS   was published
                                                       published in
                                                                  in August
                                                                     August 2014,
                                                                             2014,
        additional analyses
        additional   analyses and
                                and content
                                     content review
                                               review have
                                                        have been
                                                              been performed
                                                                    performed for
                                                                                for
        many
        many of of the
                   the resources
                        resources discussed
                                   discussed in in this  document. These
                                                   this document.    These updates,
                                                                            updates,
        along with
        along         changes resulting
                with changes    resulting from   the comments
                                           from the   comments received
                                                                   received on
                                                                             on the
                                                                                the
        Supplemental
        Supplemental Draft      EIS, have
                          Draft EIS,  have been
                                             been incorporated
                                                   incorporated into   this Final
                                                                  into this Final EIS.
                                                                                  EIS.
        In this
        In this section,
                 section, the
                           the updates
                               updates include
                                         include the
                                                   the following
                                                        following items:
                                                                  items:

            •   An Aesthetic
                 An  Aesthetic and
                               and Design
                                    Design Guidelines
                                           Guidelines plan
                                                        plan for
                                                             for the corridor
                                                                 the corridor
                 was
                 was developed.
                      developed. This
                                   This document
                                        document is
                                                  is included
                                                      included as
                                                               as Attachment
                                                                   Attachment O
                                                                              0
                 to the Final
                 to the Final EIS.
                              EIS.

            •   Section
                 Section was
                          was reorganized
                               reorganized to
                                            to better describe impacts
                                               better describe impacts from
                                                                       from
                 the alternatives.
                 the alternatives.



       5.8.1
       5.8.1        What are visual
                    What are  visual resources
                                      resources and
                                                and why
                                                    why are
                                                        are they
                                                            they
                    important  to this
                    important to  this project?
                                       project?

      FHWA
      FHWA defines
              defines visual
                       visual resources
                              resources in
                                         in the
                                            the memorandum,
                                                 memorandum,
      “Esthetics and
      "Esthetics  and Visual
                      Visual Quality
                              Quality Guidance
                                       Guidance Information"
                                                   Information” as,
                                                                 as,
      “those physical
      "those physical features
                       features that  make up
                                 that make   up the
                                                 the visible
                                                     visible landscape,
                                                             landscape,
      including
      including land,
                 land, water,
                       water, and   vegetative and
                               and vegetative        man-made
                                                and man-made
      elements.
      elements. These
                 These elements
                        elements are
                                   are the stimuli upon
                                       the stimuli  upon which
                                                           which actual
                                                                 actual
      visual experience
      visual experience is
                         is based."
                            based.” (FHWA,
                                     (FHWA, 1986,
                                              1986, page
                                                      page 5)
                                                           5)
      NEPA
      NEPA and
             and CEQ
                  CEQ regulations
                        regulations identify
                                      identify aesthetics
                                                aesthetics asas one
                                                                one of
                                                                     of the
                                                                        the
      elements
      elements in
                in the
                   the human
                       human environment
                                environment that       must be
                                                 that must   be
      considered in
      considered     determining the
                  in determining    theeffects
                                        effects of
                                                 of aa proposed
                                                       proposed project.
                                                                 project.
      Visual resources
      Visual resources make
                        make up up the
                                    the aesthetic
                                        aesthetic qualities   of an
                                                    qualities of  an area.
                                                                      area.
      They
      They are
            are important  to this
                important to   this project,
                                     project, especially
                                              especially between
                                                          between
      Brighton  Boulevard and
      Brighton Boulevard         Colorado Boulevard,
                            and Colorado     Boulevard, because
                                                           because the
                                                                     the
      existing
      existing viaduct
               viaduct has
                        has aa dominant
                               dominant visual
                                           visual presence
                                                   presence inin the
                                                                 the area
                                                                      area
      and  any changes
      and any  changes to
                        to it
                           it will
                              will result
                                   result in
                                           in changes
                                               changes inin the
                                                            the
      surrounding environment.
      surrounding   environment.




      January 2016
      January 2016                                                                                          5.8-1
                                                                                                            5.8-1
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                                     98
  5.8 Visual Resources
  5.8 Visual Resources and Aesthetic Qualities
                       and Aesthetic Qualities                            I-70 East
                                                                          1-70 East Final
                                                                                    Final EIS
                                                                                          EIS


   5.8.2
   5.8.2       What
               What study
                     study area
                           area and
                                and evaluation
                                    evaluation process
                                               process
               were
               were used to analyze
                    used to analyze visual
                                    visual resources?
                                           resources?

  The
  The study   area for
       study area   for visual
                        visual resources
                               resources is
                                          is composed
                                             composed of
                                                       of two
                                                           two parts:
                                                               parts:
  (1) the
  (1)     view from
      the view  from the
                      the highway,
                           highway, and  (2) the
                                     and (2)      view of
                                              the view of the
                                                          the
  highway from
  highway   from surrounding     neighborhoods.
                  surrounding neighborhoods.
  An inventory
  An             of visual
      inventory of  visual resources   seen from
                           resources seen    from key
                                                   key observation
                                                         observation
  points
  points (vantage
         (vantage points)
                    points) within
                             within the  study area
                                     the study  area was
                                                       was developed
                                                            developed
  through  field survey
  through field  survey and
                         and public
                              public scoping
                                      scoping meetings.
                                                meetings. These
                                                            These
  resources
  resources were
             were evaluated
                    evaluated to
                               to determine
                                   determine their
                                               their aesthetic
                                                      aesthetic
  quality—either    positive or negative—and      then
  quality—either positive or negative—and then reviewed reviewed toto
  identify
  identify potential
           potential impacts
                      impacts from
                                from the
                                      the project
                                          project alternatives.
                                                    alternatives.
  Computer
  Computer simulations,
              simulations, photos,
                            photos, aerial
                                      aerial imagery,
                                             imagery, site
                                                        site visits,
                                                             visits,
  and  draft engineering
  and draft  engineering drawings
                           drawings assisted
                                       assisted in
                                                 in this evaluation.
                                                    this evaluation.
  In compliance with
  In compliance   with FHWA
                        FHWAvisual
                                visual impact
                                        impact assessment
                                                 assessment
  guidance  (FHWA, 1986,
  guidance (FHWA,      1986, page
                             page 136),
                                   136),the
                                          the visual
                                              visual quality   or
                                                      quality or
  aesthetic quality of
  aesthetic quality  of each
                        each resource
                             resource isis noted,
                                           noted, rated,
                                                   rated, and
                                                           and
  compared to
  compared   to the existing conditions
                the existing  conditions based
                                          based onon the
                                                     the following
                                                          following
  terms from FHWA
  terms from   FHWA guidelines:
                       guidelines:
     •   Vividness.How
          Vividness.  How memorable
                          memorable and
                                    and distinctive
                                        distinctive the
                                                    the
          landscape component is.
          landscape component is.
     •    Intactness.  How much
           Intactness. How   much visual
                                  visual integrity
                                         integrity the
                                                    the natural
                                                        natural
           and human-built landscape
           and human-built  landscape has,
                                      has, and
                                           and its
                                                itsfreedom
                                                    freedom from
                                                            from
           encroaching
           encroaching elements.
                        elements.
     •    Unity.  How much
           Unity. How   much visual
                             visual coherence
                                    coherence and
                                              and
           compositional harmony
           compositional harmony the
                                  the landscape
                                      landscape has, considered
                                                has, considered
           as
           as aa whole.
                 whole.
  Potential  impacts are
  Potential impacts  are noted
                          noted when
                                when the
                                      the view
                                           view of
                                                 of aa visual
                                                       visual
  resource  is blocked
  resource is  blocked or
                       or impeded,
                          impeded, the
                                    the view
                                        view is
                                              is changed,
                                                 changed, and   if
                                                            and if
  light and glare
  light and  glare would
                   would adversely
                          adversely affect
                                    affect the day or
                                           the day   or night
                                                        night view.
                                                              view.
  Following
  Followingthis
             this assessment,
                  assessment, each
                               each of
                                    of the
                                        the project
                                            project alternatives
                                                     alternatives
  was
  was assessed  for potential
       assessed for           impacts from
                    potential impacts  from light
                                             light and
                                                    and glare  to
                                                         glare to
  visual resources.
  visual resources.

   5.8.3
   5.8.3       What
               What are
                     are the
                         the existing visual resources
                             existing visual           along
                                             resources along
               I-70?
               1-70?

  The
  The general    visual character
       general visual    character along
                                     along 1-70
                                           I-70 is
                                                 is urban,
                                                    urban, dominated
                                                            dominated
  by commercial
  by commercialand   andindustrial
                          industrial warehouses,
                                      warehouses, transportation
                                                     transportation
  facilities,
  facilities, and
              and residential
                   residential structures.    Visual resources
                                 structures. Visual   resources are
                                                                  are
  those
  those that are visible to travelers on 1-70 and those that are
         that  are visible  to travelers  on I-70 and   those  that are
  visible from
  visible  from the
                 the surrounding     neighborhoods. Due
                      surrounding neighborhoods.       Due to
                                                            to the
                                                                the
  visual character
  visual  character ofof the corridor being
                         the corridor  being urban,    the number
                                               urban, the  number of of
  visual resources
  visual  resources isis too
                         too numerous
                             numerous to to identify
                                            identify every
                                                      every resource.
                                                             resource.

  5.8-2
  5.8-2                                                                        January 2016
                                                                               January 2016
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                                     98
      I-70 East
      1-70 East Final
                FinalEIS
                      EIS                                                                                             5.8 Visual Resources
                                                                                                                      5.8 Visual Resourcesand
                                                                                                                                           andAesthetic
                                                                                                                                               AestheticQualities
                                                                                                                                                          Qualities


      As aaresult,
      As           the locations
              result,            of some of theseof
                           the locations           resources
                                                      some are of these resources are
      shown inin
      shown     Exhibit   5.8-1 and
                Exhibit 5.8-1   andare  explained
                                       are          in detail in
                                             explained        inthisdetail in this
      section. These resources  have  been  identified through   public
      section. These resources have been identified through public
      involvement and include
      involvement                views fromviews
                         and include          the highway
                                                      fromand theviews
                                                                     highway and views
      of the
      of     highway,
           the         depending
                 highway,          on their location.
                               depending        on their location.

      Exhibit 5.8-1
      Exhibit 5.8-1                 Visual Resources
                                    Visual Resourcesalong
                                                     along1-70
                                                           I-70



                           Swansean,
                           Swanseafi,                         Sand Creek
                                                                   Creek Greenway
                                                                         Greenwaycorridor
                                                                                  corridor
                          Elementa
                          Elementa
            1-25            School
                            School
       interchange
       interchange                                                                       Central ParkBoulevard
                                                                                         Central Park Boulevard
                      o
                                     \:6
                                                        as
                                                                                              interchange
                                                                                              interchange
                          c5.

                                ,71
                                  41c‘
                                            4),
                                           4:#
                                                                                                                                         1-225
                                                                                                                                     interchange
                                                                                                                                     interchange                 48th Ave
                                                                                                                                                                      Ave
                                                      fl•



         Rocky
         Rocky
         Mountains
         Mountains                                           1-70
               Downtown
               Downtown                                      viaduct
                                                             viaduct                      Smith
                                                                                          SmithRd
                                                                                                Rd
                 skyline
                 skyline
                                            Martin
                                            Martin Luther
                                                   LutherKing
                                                          KingBlvd
                                                               Blvd


                                  Nestle Purina
                                  Nestle Purina
                                PetCare Company
                                        Company
                                                                                                 Centra l Park Blvd




                                                                                                                                               Chambers Rd
                                             Colorado Blvd




                                            c77,




                                                                                                                                               Chambers
                          o
                          -n.                o
                                             o                 .c,VJ. ,. w
                                                                         ,..7, in
                                                                           o
                                                                           0
                                                                                ,S3cif
                                                                                                                              (7)
                                                                                                 Central




              -ci
                c     •                       F,
                                              o                 ,..       c                                                    67.                           O
               2                            Z
                                                               ..—.      O                                             ti
                      •
                      O
                      O             0                                             Lf,
              03      CI           ›—
                                   ›-       C_)                =



                                                                                          Construction
                                                                                          Constructionlimits
                                                                                                        limits




     I-70 East
     1-70 East highway
               highway
     The
     Thehighway
            highway  has ahaslargeafootprint
                                       largeand     is a
                                                 footprint     and is a
     dominant
     dominant    landscape
                     landscape feature. feature.
                                         Concrete       Concrete
     traffic
     traffic lanes,lanes,
                     overpasses,    barriers, and barriers, and
                                 overpasses,
     moving
     movingvehicles
                 vehiclesdominate     the visual the visual
                                   dominate
     character of I-70,
     character        ofwhich
                            1-70,  is typical
                                        which of urban
                                                 is typical of urban
     highways. Throughout
     highways.         Throughout the project
                                           the corridor,
                                                  project corridor,
     I-70 is either
     1-70            elevated on
              is either             a bridge structure
                                 elevated        on a bridge structure
     (the viaduct)
     (the            or at grade.
              viaduct)         or Theat viaduct
                                          grade. The viaduct
     portion
     portion  begins   at the I-25
                   begins        at interchange
                                       the 1-25and    interchange and
     extends
     extends   eastward
                   eastwardto just west
                                     to of   the west of the
                                          just
     Colorado
     Colorado   Boulevard
                     Boulevardinterchange.    The
                                        interchange.       The
     at-grade
     at-grade   portion  of the highway
                     portion         of the extends
                                                 highway extends
                                                              I-70 at
                                                              1-70 at Colorado
                                                                      Colorado Boulevard
                                                                               Boulevard looking
                                                                                         looking west
                                                                                                 west
     from
     fromjust    west west
              just     of the Colorado
                                 of theBoulevard
                                            Colorado Boulevard
     interchange
     interchange    to thetoeastern
                                 theedge    of the edge of the
                                         eastern
     project
     project  corridor  at Tower at
                   corridor         Road.Tower Road.



      January 2016
      January  2016                                                                                                                                                    5.8-3
                                                                                                                                                                       5.8-3
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  5.8 Visual Resources
  5.8 Visual Resources and
                       and Aesthetic
                           Aesthetic Qualities
                                     Qualities                                         I-70 East
                                                                                       1-70 East Final
                                                                                                 Final EIS
                                                                                                       EIS

  The
  The visual
       visual presence
              presence of of the
                              the roadway
                                  roadway is  is greater
                                                 greater where
                                                          where it
                                                                 it is
                                                                    is
  elevated  because it
  elevated because    it is
                         is more
                            more noticeable
                                   noticeable from
                                                 from afar
                                                       afar and  more
                                                            and more
  dominant   from nearby     as  compared     to the  at-grade
  dominant from nearby as compared to the at-grade section.     section.
  The
  The presence
       presence of
                 of the
                    the highway
                          highway also
                                     also is
                                           is distinctly
                                               distinctly greater
                                                          greater to
                                                                  to
  nearby  residential neighborhoods.
  nearby residential    neighborhoods. Most Most nearby
                                                    nearby residents
                                                            residents
  dislike
  dislike the viaduct visually
          the viaduct   visually because
                                   because it it dominates
                                                 dominates views.
                                                             views. This
                                                                     This
  is
  is considered
     considered an
                 an aesthetic    disadvantage to
                     aesthetic disadvantage        to the
                                                      the neighborhood.
                                                          neighborhood.


 Rocky Mountains
 Rocky Mountains
  Travelers   going west
  Travelers going   west on
                          on 1-70,
                             I-70, and   some
                                     and some
  residents  in the
  residents in  the surrounding
                    surrounding neighborhoods,
                                    neighborhoods,          Orimormr
  can view
  can view the   Front Range
            the Front   Range ofof the
                                   the Rocky
                                        Rocky
  Mountains. The
  Mountains.    The mountains
                     mountains areare visible
                                       visible at
                                               at the
                                                  the
  far west on
  far west on aa clear
                 clear day
                        day and  are considered
                            and are   considered a a
  desirable
  desirable visual
             visual resource
                     resource in
                               in the
                                   the area.
                                       area.


                                                              I-70 east
                                                              1-70 east of
                                                                        of Brighton
                                                                           Brighton Boulevard
                                                                                    Boulevard looking
                                                                                              looking west
                                                                                                      west



 Downtown skyline
 Downtown skyline
  Downtown
  Downtown Denver
                Denver is is located
                               located approximately
                                        approximately
  five
  five miles
       miles southwest
              southwest of   of the
                                 the 1-70
                                     I-70 viaduct.
                                          viaduct. The
                                                    The
  downtown
  downtown skyline
               skyline isis visible
                             visible only
                                      only to
                                            to the
                                               the
  travelers  on 1-70
  travelers on   I-70 near
                       near or  or on
                                   on the
                                      the viaduct.  The
                                          viaduct. The
  viaduct and
  viaduct  and the
                 the larger
                      larger industrial     buildings
                                industrial buildings
  block this
  block this view
              view from
                     fromthe  the residential
                                   residential
  neighborhoods
  neighborhoods in  in the    area. The
                        the area.    The view
                                          view of
                                                of the
                                                   the
  downtown
  downtown skyline
               skyline is is aa desirable
                                 desirable resource
                                           resource that
                                                     that               I-70 looking
                                                                        1-70 looking southwest
                                                                                     southwest
  should  be  preserved     and
  should be preserved and enhanced.enhanced.


 I-25interchange
 I-25 interchange
 The  I-25 and
 The 1-25  and I-70
                1-70interchange
                       interchange is is located
                                         located at
                                                  at
 the  western edge
 the western   edge of
                     of the  project corridor.
                        the project    corridor. This
                                                  This
 interchange   also is
 interchange also   is known
                        known locally
                                 locally asas the
                                              the
 “mousetrap” due
 "mousetrap"    due to
                     to sharp
                         sharp turns
                                turns ofof the
                                            the
 original design.
 original design. The
                   The visual
                          visual characteristic
                                  characteristic ofof
 this resource  is that  of a typical   highway-to-
 this resource is that of a typical highway-to-
 highway interchange,
 highway   interchange, so so it
                              it is
                                  is not
                                     not considered
                                          considered
 a negative or
 a negative  or positive
                positive visual
                           visual resource.
                                    resource.
                                                             Westbound I-70
                                                             Westbound 1-70 east
                                                                             east of
                                                                                  of the I-25 interchange
                                                                                     the 1-25 interchange
                                                                            looking west
                                                                           looking   west




  5.8-4
  5.8-4                                                                                      January 2016
                                                                                             January 2016
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      I-70 East
      1-70 East Final
                Final EIS
                      EIS                                        5.8 Visual Resources
                                                                 5.8 Visual Resources and
                                                                                      and Aesthetic
                                                                                          Aesthetic Qualities
                                                                                                    Qualities

      Nestlé Purina
      Nestle Purina PetCare
                    PetCare Company
                            Company
      The
      The Nestlé
           Nestle Purina     PetCare Company
                     Purina PetCare      Company operates
                                                    operates
      a large manufacturing
      a large  manufacturing facility
                                   facility in
                                            in the
                                               the center
                                                   center of
                                                           of
      the Elyria and
      the Elyria    and Swansea
                         Swansea Neighborhood.
                                     Neighborhood. This
                                                      This
      facility
      facility is
               is located
                  located toto the
                                the south,
                                    south, adjacent
                                            adjacent to
                                                      to the
                                                         the
      existing  I-70 viaduct,
      existing 1-70    viaduct, and
                                  and dominates
                                       dominates the
                                                   the
      skyline of
      skyline   of the
                    the area
                        area with
                             with its
                                    its large  white
                                        large white
      concrete fagade.
      concrete   façade.
      This
      This building
            building has
                       has been
                            been aa major
                                     major landmark
                                             landmark inin
      the area for
      the area   for decades.
                     decades. Due
                                Due to
                                     to its
                                         its shape
                                             shape and
                                                   and
      condition, however,
      condition,   however, itit is
                                 is not
                                    not considered
                                        considered a a
                                                                   Nestlé Purina
                                                                   Nestle Purina PetCare
                                                                                  PetCare Company
                                                                                           Company tower
                                                                                                     tower
      desirable   visual resource.
      desirable visual    resource. Other
                                     Other commercial
                                              commercial                south of
                                                                        south  of 1-70
                                                                                  I-70 at
                                                                                       at York
                                                                                          York Street
                                                                                               Street
      facilities
      facilities along
                  along the
                         the corridor
                             corridor have
                                        have aa similar
                                                similar
      visual quality,
      visual  quality, including
                        including Manna
                                    Manna Pro Pro Corporation,
                                                  Corporation, Univar,
                                                                Univar,
      Safeway
      Safeway Distribution
                  Distribution Center,
                                 Center, and
                                           and numerous
                                                numerous other
                                                           other
      warehouses
      warehouses anddistribution         buildings.
                     anddistribution buildings.


     Swansea Elementary
     Swansea Elementary School
                        School
      Swansea     Elementary School
      Swansea Elementary         School serves
                                           serves grades
                                                    grades
      pre-kindergarten      through fifth
      pre-kindergarten through         fifth in
                                              in the
                                                 the Denver
                                                      Denver
      Public
      Public Schools
               Schools District
                         District and
                                   and isis located
                                            located inin the
                                                          the
      Elyria   and  Swansea     Neighborhood
      Elyria and Swansea Neighborhood just north   just  north
      of the
      of      I-70 viaduct.
         the 1-70   viaduct. The    school is
                              The school     is one
                                                one of
                                                     of the
                                                         the
      few
      few public
           public facilities
                    facilities in
                               in this
                                  this neighborhood
                                        neighborhood and   and
      is highly valued
      is highly   valued by
                          by the   residents. The
                              the residents.     The school
                                                       school
      also
      also is
           is only
               only visible
                     visible from
                             from surrounding
                                     surrounding
      residences   north and
      residences north     andsouth
                                 southof of 1-70.
                                            I-70. The
                                                   The
      school’s playground
      school's                 provides aa view
                playground provides          view ofof           Swansea Elementary
                                                                 Swansea Elementary School
                                                                                    School playground
                                                                                           playground from
                                                                                                      from
                                                                             Elizabeth Street
      mature    trees and
      mature trees     and playground
                            playground facilities
                                            facilities for
                                                        for                  Elizabeth Street

      residents.
      residents.


     I-70 viaduct
     1-70 viaduct
      The  construction of
      The construction   of the
                            the 1-70
                                I-70 viaduct
                                      viaduct in  1964
                                               in 1964
      bisected the
      bisected the Elyria
                   Elyria and   Swansea
                           and Swansea
      Neighborhood.
      Neighborhood. This
                      This aging
                             aging viaduct
                                    viaduct is
                                            is
      considered structurally
      considered                deficient and
                  structurally deficient   and
      functionally obsolete by
      functionally obsolete   by CDOT
                                 CDOT and    FHWA
                                         and FHWA
      standards. The
      standards.  The viaduct
                       viaduct is
                                is a
                                   a dominant
                                     dominant visual
                                                 visual
      feature in Elyria  and  Swansea.   The   viaduct
      feature in Elyria and Swansea. The viaduct
      is
      is considered
         considered undesirable
                     undesirable byby residents,
                                       residents, as
                                                  as it
                                                     it
      visually divides
      visually divides the  neighborhood.
                       the neighborhood.

                                                                 Elizabeth Street
                                                                 Elizabeth Street at 46th Avenue
                                                                                  at 46th Avenue intersection
                                                                                                 intersection
                                                                              looking southwest
                                                                              looking southwest


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      January 2016                                                                                           5.8-5
                                                                                                             5.8-5
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                                     98
  5.8 Visual Resources
  5.8 Visual Resources and
                       and Aesthetic
                           Aesthetic Qualities
                                     Qualities                                            I-70 East
                                                                                          1-70 East Final
                                                                                                    Final EIS
                                                                                                          EIS


 Sand Creek
 Sand Creek Greenway
            Greenway corridor
                     corridor
  The
  The existing    I-70 alignment,
       existing 1-70    alignment, immediately
                                     immediately
  east  of Quebec
  east of  Quebec Street,    crosses over
                     Street, crosses  over the
                                             the
  Sand   Creek Greenway
  Sand Creek     Greenway corridor.
                              corridor. The
                                        The Sand
                                               Sand
  Creek
  Creek Greenway
          Greenway corridor
                        corridorisisaanatural
                                       natural area
                                                 area
  and  open space
  and open    space that
                      that includes
                           includes anan urban
                                         urban
  greenway
  greenway trail.     The corridor
               trail. The  corridor has
                                     has an
                                         an
  aesthetically   high value,
  aesthetically high     value, though
                                though itit is
                                            is
  difficult to  see from  the  highway.
  difficult to see from the highway.

                                                           Sand Creek
                                                           Sand Creek Drive
                                                                      Drive and
                                                                            and East
                                                                                East 49th Avenue looking
                                                                                     49th Avenue         south
                                                                                                 looking south



 Central Park
 Central Park Boulevard
              Boulevard interchange
                        interchange                                      1111M-         1111111.p



  The
  The Central    Park Boulevard
        Central Park     Boulevard and
                                     and1-70
                                           I-70
  interchange
  interchange is is located
                     located in
                              in the
                                 the eastern   portion
                                     eastern portion
  of the
  of the project
           project corridor.
                   corridor. The
                              The visual
                                   visual
  characteristic of
  characteristic    of this resource is
                       this resource  is that  of a
                                          that of a
  typical
  typical highway-to-major
            highway-to-major street
                                  street interchange,
                                         interchange,
  so it
  so  it is
         is considered
            considered aa neutral   visual resource.
                           neutral visual    resource.




                                                                 I-70 east
                                                                 1-70 east of
                                                                           of the
                                                                              the Central
                                                                                  Central Park
                                                                                          Park Boulevard
                                                                                               Boulevard
                                                                        interchange looking
                                                                        interchange  looking west
                                                                                             west

 I-225 interchange
 1-225  interchange
  The  I-225 and
  The 1-225    and I-70
                   1-70interchange
                           interchange is is located
                                             located in
                                                      in
  the eastern portion
  the eastern   portion of of the
                              the project
                                   project corridor.
                                            corridor.
  The
  The visual
       visual characteristic
               characteristic of  of this resource is
                                     this resource   is
  that of aa typical
  that of    typical highway-to-highway
                      highway-to-highway
  interchange,
  interchange, soso it
                     it is
                        is not
                           not considered
                                considered a   a
  negative
  negative oror positive
                positive visual
                           visual resource.
                                    resource.




                                                                 Eastbound I-70
                                                                 Eastbound 1-70 at
                                                                                at the I-225 interchange
                                                                                   the 1-225 interchange
                                                                              looking east
                                                                              looking  east




  5.8-6
  5.8-6                                                                                         January 2016
                                                                                                January 2016
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      I-70 East
      1-70 East Final
                Final EIS
                      EIS                                         5.8 Visual Resources
                                                                  5.8 Visual Resources and
                                                                                       and Aesthetic
                                                                                           Aesthetic Qualities
                                                                                                     Qualities


       5.8.4
       5.8.4        What  are the
                    What are  the potential
                                  potential impacts
                                             impacts to
                                                      to visual
                                                         visual
                    resources
                    resources and
                               and aesthetic
                                   aesthetic qualities  and how
                                              qualities and  how
                    are they assessed?
                    are they assessed?

      Impacts
      Impacts toto aesthetic
                   aesthetic qualities
                              qualities were
                                         were assessed
                                               assessed for
                                                         for views
                                                              views of
                                                                     of the
                                                                        the
      highway from
      highway    from the
                       the surrounding
                           surrounding area     and views
                                          area and  views from
                                                            from the
                                                                   the                       What are visual
                                                                                             What are visual
      highway that
      highway         driverswill
                 that drivers  will experience.
                                    experience. Various
                                                  Various tools
                                                           tools were
                                                                  were                        simulations?
                                                                                              simulations?
      used
      used for
            for this
                this assessment,    including visual
                     assessment, including     visual simulations,
                                                      simulations,                          Visual simulations
                                                                                            Visual  simulations
      vantage point
      vantage   point views,
                       views, and
                               and aesthetic
                                    aesthetic quality
                                               quality rating
                                                       rating criteria.
                                                                criteria.                   are computer-
                                                                                            are computer-
                                                                                            generated    images
                                                                                            generated images
      The
      The conclusions
           conclusionsmademadethrough
                                throughthis
                                          this assessment
                                                assessment are
                                                             are the
                                                                  the basis
                                                                      basis                 that illustrate
                                                                                            that illustrate
      for
      for identifying
          identifying the
                        the impacts
                            impacts from
                                      from alternatives.
                                            alternatives.                                   proposed
                                                                                            proposed visual
                                                                                                        visual
                                                                                            changes and
                                                                                            changes    and
     Changes to
     Changes to views
                views from
                      from the highway
                           the highway                                                      relative  scale of
                                                                                            relative scale   of the
                                                                                                                the
                                                                                            proposed
                                                                                            proposed structures
                                                                                                        structures
      For
      For the No-Action Alternative
          the No-Action    Alternative and  the Revised
                                       and the  Revised Viaduct
                                                          Viaduct                           compared to
                                                                                            compared     to the
                                                                                                            the
      Alternative, vehicles
      Alternative, vehicles traveling
                             traveling eastbound
                                       eastboundon on 1-70
                                                       I-70 between
                                                            between                         existing facilities
                                                                                            existing  facilities
      Brighton  Boulevard and
      Brighton Boulevard    and Colorado
                                 Colorado Boulevard
                                           Boulevard will
                                                       will experience
                                                            experience                      from
                                                                                            from aa pedestrian's
                                                                                                     pedestrian’s
                                                                                            point
                                                                                            point of  view.
                                                                                                   of view.
      a view similar
      a view similar to
                      to the existing conditions.
                         the existing conditions. Traveling
                                                   Traveling
      westbound
      westbound on 1-70, the views will be slightly different
                 on  I-70, the views  will be slightly different
      depending
      depending on
                 on the
                     the north  or south
                          north or south options.
                                         options.
                                                                                               What  is a
                                                                                               What is  a
      Vehicles traveling
      Vehicles  traveling west
                           west onon the
                                     the highway
                                          highway with
                                                   with the
                                                         the North
                                                             North                           vantage point?
                                                                                             vantage point?
      Option
      Option of
              of each
                 each alternative    will experience
                       alternative will   experience aa view
                                                        view similar
                                                              similar to
                                                                      to                    A vantage
                                                                                            A vantage point     is a
                                                                                                          point is  a
      existing
      existing conditions,
               conditions, with
                             with the
                                   the Nestlé
                                       Nestle Purina
                                               Purina PetCare
                                                       PetCare                              place
                                                                                            place from     which
                                                                                                   from which
      Company’s
      Company's building
                   building remaining
                             remaining on on the
                                             the south  side of
                                                 south side  of the
                                                                the                         something
                                                                                            something can can be
                                                                                                               be
                                                                                            viewed.
                                                                                            viewed. In In this
                                                                                                          this
      highway and
      highway   and aa view
                       view of
                             of the
                                 the mountains
                                     mountains toto the
                                                    the far west. The
                                                        far west. The                       case, the
                                                                                            case,        selected
                                                                                                   the selected
      new
      new noise
           noise walls
                  walls on
                        on the  viaduct, however,
                            the viaduct,   however, will
                                                     will obstruct views
                                                          obstruct views                    vantage
                                                                                            vantage points     are
                                                                                                       points are
      of the
      of the downtown
             downtown skyline.
                         skyline.                                                           locations
                                                                                            locations inin Elyria
                                                                                                           Elyria
                                                                                            and Swansea
                                                                                            and   Swansea where
                                                                                                              where
      Vehicles traveling
      Vehicles  traveling west
                            west on
                                 on the
                                     the highway
                                         highway with
                                                    with the
                                                          the South
                                                              South                         the  I-70 viaduct
                                                                                            the 1-70             is
                                                                                                        viaduct is
                                                                                            visible
                                                                                            visible from
                                                                                                     from the
                                                                                                            the
      Option
      Option of
              of each
                 each alternative   will have
                        alternative will  have aa different
                                                  different view
                                                            view
                                                                                            neighborhood.
                                                                                            neighborhood.
      compared to existing conditions due to removal of
      compared   to existing  conditions   due  to removal   of the
                                                                the Nestlé
                                                                    Nestle
      Purina  PetCareCompany
      Purina PetCare     Company facility.
                                    facility. The
                                              The new
                                                   new viaduct's
                                                        viaduct’s noise
                                                                   noise
      walls also will
      walls also  will obstruct  views of
                       obstruct views   of the downtown skyline.
                                           the downtown     skyline.
      The
      The views
            views for
                    for vehicles
                        vehicles traveling
                                   traveling
      eastbound
      eastbound and       westbound with
                    and westbound      with the
                                              the
      Partial   Cover Lowered
      Partial Cover     Lowered Alternative
                                    Alternative
      will
      will be
            be entirely
                entirely different
                          different from
                                     from the
                                            the
      existing   conditions.   Between
      existing conditions. Between the    the
      UPRR
      UPRR tracks       and Colorado
               tracks and    Colorado
      Boulevard,     vehicles traveling
      Boulevard, vehicles       traveling on
                                           on 1-70
                                                I-70
      in either direction
      in either   direction will
                              will be
                                   be below
                                      below thethe
      existing
      existing ground
                 ground level
                           level with
                                  with retaining
                                       retaining
      walls
      walls on
             on each
                  each side,
                        side, resulting
                               resulting in
                                          in
      completely different
      completely     different views
                                 views for
                                       for drivers
                                            drivers
      on the
      on      highway as
          the highway         compared to
                           as compared    to the
                                              the         Driver’s view
                                                          Driver's view visual
                                                                         visual simulation
                                                                                simulation of
                                                                                           of Partial
                                                                                              Partial Cover
                                                                                                      Cover Lowered
                                                                                                            Lowered
                                                                     Alternative (Managed
                                                                     Alternative  (Managed Lanes
                                                                                            Lanes Option)
                                                                                                    Option)
      existing   conditions. The
      existing conditions.      The view
                                     view under
                                           under thethe
      covered area
      covered    area is  constrained by
                       is constrained   by the
                                             the cover
                                                  cover


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      January 2016                                                                                              5.8-7
                                                                                                                5.8-7
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                                          I-70 East
                                                                                       1-70 East Final
                                                                                                 Final EIS
                                                                                                       EIS

 and the height
 and the height of
                of the
                    the walls
                        walls separating
                              separating eastbound
                                         eastbound and
                                                   and
 westbound
 westbound traffic.
            traffic.
 Other   features that
 Other features    thatwill
                         willbe
                              be part
                                 partofof the
                                           the1-70
                                               I-70 East project
                                                    East project
 include
 include new
           new or
                or rebuilt
                   rebuilt water
                           water quality
                                   quality ponds,
                                             ponds, detention
                                                     detention basins,
                                                                basins,
 retaining  walls, and
 retaining walls,   and so
                         so on.
                            on. These
                                 These features    will change
                                         features will  change the
                                                                 the
 terrain  and, therefore,
 terrain and,   therefore, the
                            the visual
                                 visual environment
                                        environment along
                                                        along the
                                                               the
 project
 project corridor
          corridor that  people on
                    that people   on or
                                     or off
                                        off the
                                             the highway
                                                 highway are
                                                           are
 accustomed
 accustomed to to seeing.
                  seeing. These
                           These other
                                   other features   will be
                                           features will be designed
                                                            designed
 in accordance with
 in accordance    with the  Aesthetic and
                        the Aesthetic        Design Guidelines,
                                       and Design     Guidelines, as
                                                                   as
 seen  in Attachment     O of this  document.
 seen in Attachment 0 of this document.
  With the
  With the Managed
           Managed Lanes
                       Lanes Option,
                               Option, vehicles
                                        vehicles traveling
                                                  travelingon
                                                            on 1-70
                                                               I-70
 experience
 experience slightly
             slightly different   views from
                      different views    from the
                                               the General-Purpose
                                                   General-Purpose
 Lanes  Option because
 Lanes Option   because ofof the
                             the direct  connections from
                                  direct connections  from the
                                                            the
 managed
 managed lanes to other facilities at 1-270, 1-225, and Peña
           lanes  to other  facilities at I-270, I-225, and Pella
 Boulevard.
 Boulevard.
 In  addition, the
 In addition,    the Managed
                       Managed Lanes
                                   Lanes Option
                                            Option for   for the
                                                              the Revised
                                                                    Revised
 Viaduct Alternative
 Viaduct     Alternative andand Partial
                                  PartialCover
                                            Cover Lowered
                                                      Lowered Alternative
                                                                     Alternative
 will
 will require
       require construction
                 construction and       installation of
                                  and installation         of new
                                                               new
 infrastructure
 infrastructure on  on the
                         thehighway
                              highway in in the
                                              theform
                                                    form of  of overhead
                                                                overhead
 gantries
 gantries andand new
                   new signage.
                         signage. This
                                    This addition
                                          addition will   will create
                                                                 create newnew
 visual impacts
 visual   impacts along
                     along the
                             the project
                                  project corridor.
                                            corridor. SinceSince no no specific
                                                                         specific
 features    have been
 features have      been designed
                           designed at    this time,
                                       at this    time, it it is
                                                               is not
                                                                   not possible
                                                                        possible to
                                                                                  to
 estimate
 estimate howhow many
                    many gantries
                            gantries oror signs
                                          signs willwill bebe needed
                                                                needed or  or where
                                                                              where
 they   will be
 they will    be located
                 located exactly.
                            exactly.Because
                                       Becausethere  there areare other
                                                                    other similar
                                                                            similar
 managed
 managed lanes        facilities already
              lanes facilities    already in in use
                                                 use in in the    Denver metro
                                                            the Denver       metro
 area,   e.g., along
 area, e.g.,   along USUS 3636 and   I-25, itit is
                                and 1-25,        is reasonable
                                                    reasonable to     to assume
                                                                          assume
 that   the new
 that the    new managed
                   managed laneslanes infrastructure
                                       infrastructurealong    along1-70 I-70 would
                                                                              would
 be very
 be  very similar
            similar inin appearance.
                         appearance. Despite
                                         Despite the   thelack
                                                             lackof  of specifics,
                                                                        specifics,
 it is important
 it is important to  to acknowledge
                        acknowledge that  that managed
                                                  managed lanes   lanes
 infrastructure
 infrastructure willwill create
                          create aa different
                                     different visual
                                                   visual image
                                                              image than than
 people
 people on on or
               or off
                  offthe
                       the highway
                            highway areare accustomed
                                            accustomed to        to seeing,
                                                                    seeing, but
                                                                              but
 these   facilities will
 these facilities    will be
                           be designed
                               designed in in accordance
                                               accordance with     with the
                                                                          the
 Aesthetic and
 Aesthetic          Design Guidelines,
              and Design     Guidelines, as       seen in
                                              as seen     in Attachment
                                                               Attachment O       of
                                                                               0 of
 this  document.
 this document.




 5.8-8
 5.8-8                                                                                      January 2016
                                                                                            January 2016
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     I-70 East
     1-70      FinalFinal
            East     EIS  EIS                                                                        5.8
                                                                                                     5.8Visual Resources
                                                                                                          Visual         and Aesthetic
                                                                                                                    Resources     and Qualities
                                                                                                                                       Aesthetic Qualit

     Changes to
     Changes to views
                viewstoward
                      toward  the
                            the   highway
                                highway
     As part
     As   partof the
                   ofanalysis,   vantage pointsvantage
                        the analysis,             were selectedpoints were selected
     between Brighton
     between       BrightonBoulevard    and Colorado
                                   Boulevard        and Boulevard
                                                           Coloradoto    Boulevard to
     prepare
     prepare  visual  simulations
                   visual            for the projectfor
                                simulations           alternatives. The
                                                            the project      alternatives. The
     vantage points
     vantage           were selected
                   points       were inselected
                                          this area because
                                                        in thisthe major
                                                                      area because the major
     changes to the
     changes       to visual
                        the resources
                                visual occur    between Brighton
                                           resources         occur between Brighton
     Boulevard
     Boulevard    andand
                       Colorado   Boulevard.
                             Colorado          The field of view
                                            Boulevard.         Theof field
                                                                     the    of view of the
     visual simulations
     visual                is limited is
                 simulations           to match  the human-eye
                                            limited       to match view,the human-eye view,
     but the overall   visual  analysis  considers  the  entire
     but the overall visual analysis considers the entire view. view.
     Exhibit   5.8-2 shows
     Exhibit 5.8-2    shows thethe location and direction
                                        location       andofdirection
                                                               the          of the
     vantage points
     vantage           for which
                   points       forvisual simulations
                                       which    visual   havesimulations
                                                               been           have been
     prepared.
     prepared.   Although    the exhibits
                       Although        thesimulate
                                              exhibitsthe potential
                                                              simulate the potential
     future
     future view,   they dothey
                 view,        not show
                                     do the
                                          notspecific
                                                show  final
                                                         theaesthetic
                                                                specific final aesthetic
     treatments,
     treatments,   styles,styles,
                            and colors that
                                         andmay    be used.that may be used.
                                               colors

     Exhibit 5.8-2
     Exhibit 5.8-2             Vantage Points
                               Vantage Points
                         Ern
                                                                                                            49th
                                                                                                            49thAve
                                                                                                                  Ave
                                                                                                    Co
                                                                                                            48th
                                                                                                            48thAve
                                                                                                                  Ave
                                                Cs
                                                t.
                                                 o                                                                           QD
                     Vantage
                     Vantage
           47th
           47thAve
                 Ave                                   47th
                                                       47M Ave
                                                            Ave
                     Point 11
                     Point                                                  sn       Vantage
                                                                                     Vantage
                                           9                               Beare*
                                                                                a    Point 22
                                                                                     Point
            4646#74,,,
                #74,,,
                                                                            Schcol




                               45th
                                       Neste
                                       Neste Purina
                                         Pet
                                     AveC4719
                               45thAve  CcliP
                                              Purina
                                             Care
                                         PetCare
                                             ``5I
                                              95/
                                                                              45th
                                                                              45thAve
                                                                                    Ave
                                                                                            I
                                                                                            I
                                                                                                 Vantage
                                                                                                 Vantage




                                                                                                                                            Blv
                                                                                                                                              d
                                                                                                                                         doBlvd
                                                                                                 Point 33
                                                                                                 Point




                                                                                                                                   Colorado
                                                                                                                                   Colora
                                                            Columbine St
                                                            Columbine St




                                                                                          tri
                                                                                          U)
                                                                                                            U)
                                                                                           `E'               a
                                                                                                             a
                                                                                          77.




     January 2016
     January    2016                                                                                                                              5.8-9
                                                                                                                                                  5.8-9
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                             I-70 East
                                                                          1-70 East Final
                                                                                    Final EIS
                                                                                          EIS


 Vantage Point
 Vantage Point 1—Elyria
               1—Elyria and
                        and Swansea
                            Swansea Neighborhood
                                    Neighborhood north
                                                 north
 of
 of I-70
    1-70

 The
 The first  vantage point
      first vantage  point is
                            is identified
                               identified on
                                           on the
                                              the west
                                                   west side
                                                         side of
                                                              of the
                                                                 the
 UPRR
 UPRR tracks
          tracks on
                 on Vine
                    VineStreet
                          Street in
                                  in the
                                     the residential
                                          residential area   of the
                                                       area of  the
 Elyria  and Swansea
 Elyria and   Swansea Neighborhood.
                        Neighborhood. The  The Vantage
                                                Vantage Point
                                                           Point 1
                                                                 1
 visual simulations
 visual  simulations are
                      are pointed
                           pointed southeast
                                    southeast toward
                                                 toward one
                                                          one of
                                                              of the
                                                                 the
 tallest buildings and
 tallest buildings  and aa major
                           major landmark
                                   landmark in in the
                                                   the area,
                                                       area, the
                                                             the
 Nestlé
 Nestle Purina    PetCare Company
         Purina PetCare    Company facility.
                                       facility.
 The
 The Revised
      Revised Viaduct,
                Viaduct, North
                           North Option
                                 Option will
                                          willnot
                                               notsubstantially
                                                   substantially
 change the
 change       visual character
          the visual character of
                                of this
                                    this vantage
                                         vantage point.
                                                  point. A
                                                         A new
                                                           new
 bridge structure
 bridge             with larger
         structure with   largercolumn
                                 column spacing—as
                                          spacing—as envisioned
                                                        envisioned
 in preliminary designs—will
 in preliminary   designs—will slightly
                                  slightly improve
                                           improve the
                                                     the aesthetic
                                                         aesthetic
 quality  of this
 quality of  this area compared to
                  area compared    to the existing conditions.
                                      the existing conditions.
 The
 The Revised
      Revised Viaduct,
                Viaduct, South
                            South Option
                                  Option also
                                            also replaces
                                                 replaces the
                                                            the bridge
                                                                 bridge
 structure but
 structure   but removes
                  removes the
                            the Nestle
                                Nestlé Purina
                                        Purina PetCare
                                                  PetCare Company
                                                             Company
 facility,
 facility, resulting
           resulting in
                      in aa greater
                            greater visual
                                    visual change
                                             change in
                                                     in the
                                                         the area.
                                                               area.
 Removing
 Removing thisthis building
                   building potentially   opens up
                              potentially opens   up some
                                                      some views
                                                              views to
                                                                     to
 the downtown Denver
 the downtown      Denver skyline;
                            skyline; however,
                                     however, it    will be
                                                 it will be limited
                                                             limited
 from
 from this
        this vantage  point because
             vantage point    because of
                                       of the
                                           the viaduct
                                               viaduct structure.
                                                         structure.
 With the
 With      Partial Cover
       the Partial  Cover Lowered
                          Lowered Alternative,
                                    Alternative, the area will
                                                 the area will be
                                                               be
 less
 less visually
      visually dominated
               dominated byby the
                              the highway
                                  highway structure.
                                           structure. Safety
                                                      Safety
 barriers will
 barriers will introduce
               introduce aa new,
                            new, though
                                 though smaller,
                                         smaller, visual
                                                  visual
 obstacle to
 obstacle to the
             the area.
                  area.
 The
 The Managed    Lanes Option
      Managed Lanes    Option for
                                for the
                                    the Revised
                                        Revised Viaduct
                                                Viaduct
 Alternative and
 Alternative  and Partial
                   PartialCover
                           Cover Lowered
                                   Lowered Alternative
                                            Alternative will
                                                        will
 require construction and
 require construction  and installation  of new
                            installation of new infrastructure
                                                 infrastructure
 on the
 on     highway in
    the highway   in the form of
                     the form   of overhead
                                   overhead gantries
                                            gantries and  new
                                                     and new
 signage. This
 signage. This addition   will create
                addition will  create new
                                      new visual
                                          visual impacts  along
                                                 impacts along
 the project corridor.
 the project corridor.
 Exhibit  5.8-3 shows
 Exhibit 5.8-3  shows the
                       the visual simulations of
                           visual simulations  of Vantage
                                                  Vantage Point
                                                           Point
 1 for
 1 for Build
       Build Alternatives compared to
             Alternatives compared   to the existing conditions.
                                        the existing conditions.




 5.8-10
 5.8-10                                                                        January 2016
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               Final EIS
                     EIS                                                         5.8 Visual Resources
                                                                                 5.8 Visual Resources and
                                                                                                      and Aesthetic
                                                                                                          Aesthetic Qualities
                                                                                                                    Qualities

     Exhibit 5.8-3
     Exhibit 5.8-3         Vantage Point
                           Vantage Point 1:
                                         1: Elyria
                                            Elyria and
                                                   and Swansea
                                                       Swansea Neighborhood
                                                               Neighborhood North
                                                                            North of
                                                                                  of I-70
                                                                                     1-70




                                                          ,,0011.:...11J11111'

                                     "PMOWIW
                                    "
                                                                            O     B   O
                                                 ft019gL




                                                 Existing conditions
                                                 Existing conditions




                                    Revised Viaduct
                                    Revised Viaduct Alternative, North Option
                                                    Alternative, North Option




                                             '      ii01110110

                                    Revised Viaduct
                                    Revised Viaduct Alternative, South Option
                                                    Alternative, South Option




                                        Partial Cover
                                        Partial Cover Lowered
                                                      Lowered Alternative
                                                              Alternative




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                                                                                                                      5.8-11
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                                  I-70 East
                                                                               1-70 East Final
                                                                                         Final EIS
                                                                                               EIS


 Vantage Point
 Vantage Point 2—Swansea
               2—Swansea Elementary
                         Elementary School
                                    School
 The
 The second
     second vantage
             vantage point
                       point is
                              is on
                                 on Elizabeth
                                    Elizabeth Street,
                                               Street, adjacent
                                                       adjacent to
                                                                to
 Swansea   Elementary School,
 Swansea Elementary     School, onon the
                                     the north  side of
                                         north side  of the
                                                        the
 highway. The
 highway.  The Vantage
                Vantage Point
                         Point 22 visual
                                    visual simulations
                                           simulations are
                                                         are
 pointed
 pointed southwest   toward Swansea
         southwest toward     Swansea Elementary
                                         Elementary School,
                                                      School,
 which
 which is
       is one
          one of
              of the
                  the major
                      major landmarks
                             landmarks in in the
                                             the neighborhood.
                                                 neighborhood.
 The
 The Revised
      Revised Viaduct
                ViaductAlternative,
                         Alternative, North
                                       North Option
                                                Optionandand Partial
                                                              Partial
 Cover
 Cover Lowered
        LoweredAlternative
                   Alternative propose
                                propose changes
                                          changes and
                                                    and updates
                                                          updates to
                                                                   to
 the school property
 the school            because they
             property because   they move
                                      move the    highway closer
                                              the highway    closer to
                                                                     to
 the school and
 the school      require acquisition
             and require  acquisition of
                                       of aa portion
                                             portion of
                                                      of the
                                                         the school
                                                              school
 property.
 property. Exhibit    5.8-4 shows
           Exhibit 5.8-4    shows the
                                   the changes
                                        changes in in the
                                                      the visual
                                                           visual
 character for
 character  for Build
                Build Alternatives   compared to
                       Alternatives compared      to the
                                                     the existing
                                                          existing
 conditions. The
 conditions.  The new
                  new space
                        space under
                               under the   viaduct would
                                      the viaduct   would bebe
 designed
 designed in
           in context
              context with
                       with input  from the
                             input from        community and
                                          the community      and
 Denver  and will
 Denver and   will follow
                   follow the  Aesthetic and
                           the Aesthetic        Design Guidelines
                                          and Design    Guidelines
 prepared  for the
 prepared for       corridor, provided
               the corridor,  provided inin Attachment
                                             Attachment O     of this
                                                           0 of  this
 document.
 document.
 The
 The Managed    Lanes Option
      Managed Lanes    Option for
                                for the Revised Viaduct
                                    the Revised Viaduct
 Alternative and
 Alternative  and Partial
                   PartialCover
                           Cover Lowered
                                   Lowered Alternative
                                            Alternative will
                                                        will
 require construction  and  installation of new  infrastructure
 require construction and installation of new infrastructure
 on the
 on     highway in
    the highway   in the form of
                     the form   of overhead
                                   overhead gantries
                                            gantries and  new
                                                      and new
 signage. This
 signage. This addition   will create
                addition will  create new
                                      new visual
                                          visual impacts  along
                                                  impacts along
 the project corridor.
 the project corridor.
 The
 The overall
      overall visual
              visual character
                      character and
                                  and aesthetic     quality of
                                       aesthetic quality      of this
                                                                 this
 area will improve
 area will improve asas aa result
                           result of
                                  of the
                                     the new
                                           new facility
                                                 facility with
                                                          with all
                                                                 all of
                                                                      of
 the alternatives as
 the alternatives  as envisioned
                      envisioned in in the
                                       the preliminary
                                             preliminary designs.
                                                             designs.
 Although the visible mass of the structure increases with
 Although   the visible  mass  of the  structure    increases    with thethe
 Revised
 Revised Viaduct
           Viaduct Alternative,
                    Alternative, this
                                   this alternative     improves the
                                          alternative improves       the
 aesthetic quality by
 aesthetic quality  by replacing
                        replacing the
                                    the old
                                         old viaduct
                                              viaduct with
                                                        with new
                                                              new
 infrastructure.  The Partial
 infrastructure. The   PartialCover
                                Cover Lowered
                                         Lowered Alternative
                                                     Alternative
 improves
 improves the
            the aesthetic
                aesthetic quality
                            quality of
                                     of the
                                         the area
                                              area more
                                                    more than
                                                           than the
                                                                  the
 No-Action
 No-Actionandand Revised
                  Revised Viaduct
                            Viaduct Alternatives
                                      Alternatives because
                                                       because it it
 reduces
 reduces the  roadway’s visual
          the roadway's    visual dominance
                                   dominance in   in the
                                                     the area   by
                                                          area by
 removing
 removing the
            the existing
                existing viaduct
                           viaduct and    introducing aa new
                                    and introducing         new public
                                                                  public
 space.
 space.




 5.8-12
 5.8-12                                                                             January 2016
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     1-70 East Final
               FinalEIS
                     EIS                                          5.8 Visual Resources
                                                                  5.8 Visual Resourcesand
                                                                                       andAesthetic
                                                                                           AestheticQualities
                                                                                                      Qualities

     Exhibit 5.8-4
     Exhibit 5.8-4         Vantage Point
                           Vantage Point 2:
                                         2: Swansea
                                            Swansea Elementary
                                                    Elementary School
                                                               School




                                               Existing conditions
                                               Existing conditions




                                    Revised Viaduct
                                    Revised Viaduct Alternative, North Option
                                                    Alternative, North Option




                                              ILSIE,S;4
                                      6-10.          - A-46                 •
                                                         • 4i,„                 .A
                                      :Ai




                                    Revised Viaduct
                                    Revised Viaduct Alternative, South Option
                                                    Alternative, South Option




                                        Partial Cover
                                        Partial Cover Lowered
                                                      Lowered Alternative
                                                              Alternative




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                                                                                                      5.8-13
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                                  I-70 East
                                                                               1-70 East Final
                                                                                         Final EIS
                                                                                               EIS


 Vantage Point
 Vantage Point 3—Elyria
               3—Elyria and
                        and Swansea
                            Swansea Neighborhood
                                    Neighborhood south
                                                 south
 of
 of I-70
    1-70

 The
 The third  vantage point
      third vantage  point is
                           is south
                              south of
                                    of the
                                       the existing
                                           existing highway
                                                    highway on
                                                            on
 Fillmore
 Fillmore Street  in the
           Street in the Elyria
                         Elyria and
                                 and Swansea
                                     Swansea Neighborhood.
                                               Neighborhood.
 The
 The Vantage
      Vantage Point
               Point 33 visual
                        visual simulations
                                simulations point
                                            point north
                                                  north toward
                                                        toward
 the highway.
 the highway.
 The
 The Managed    Lanes Option
      Managed Lanes    Option for
                                for the
                                    the Revised
                                        Revised Viaduct
                                                Viaduct
 Alternative and
 Alternative  and Partial
                   PartialCover
                           Cover Lowered
                                   Lowered Alternative
                                            Alternative will
                                                        will
 require construction and
 require construction  and installation  of new
                            installation of new infrastructure
                                                 infrastructure
 on the
 on     highway in
    the highway   in the form of
                     the form   of overhead
                                   overhead gantries
                                            gantries and  new
                                                     and new
 signage. This
 signage. This addition   will create
                addition will  create new
                                      new visual
                                          visual impacts  along
                                                 impacts along
 the project corridor.
 the project corridor.
 The
 The overall
      overall visual
                visual character
                        character and
                                    and aesthetic     quality of
                                          aesthetic quality     of this
                                                                   this
 area will improve
 area will  improve as    a result
                       as a  result of
                                    of the
                                        the new
                                             new facility
                                                   facility with
                                                             with all
                                                                   all of
                                                                        of
 the alternatives. Although
 the alternatives.   Although the the visible
                                       visible mass
                                                mass of of the
                                                            the structure
                                                                structure
 increases   with the
 increases with    the Revised
                        Revised Viaduct
                                  Viaduct Alternative,
                                             Alternative, thisthis
 alternative   improves the
 alternative improves           aesthetic quality
                          the aesthetic     quality byby replacing
                                                          replacing thethe
 old viaduct
 old viaduct with
               with new
                     new infrastructure.      With the
                           infrastructure. With       the Partial    Cover
                                                           Partial Cover
 Lowered
 Lowered Alternative,
            Alternative, similar
                            similar to
                                     to the
                                         the first  and second
                                             first and   second vantage
                                                                   vantage
 points, the highway
 points, the  highway will
                         will be
                               be below
                                   below the
                                           the existing    ground level,
                                               existing ground       level,
 making
 making itit less
             less visible
                   visible in
                            in this
                               this area.
                                    area. Safety
                                           Safety barriers      will
                                                     barriers will
 introduce
 introduce a new, though smaller, visual obstacle to the
             a new,  though     smaller,  visual   obstacle   to  the area.
                                                                       area.
 Exhibit  5.8-5 shows
 Exhibit 5.8-5  shows the
                      the visual simulation of
                          visual simulation of the  Build
                                                the Build
 Alternatives compared
 Alternatives compared to
                        to the
                           the existing
                               existing conditions.
                                        conditions.




 5.8-14
 5.8-14                                                                             January 2016
                                                                                    January 2016
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               Final EIS
                     EIS                                      5.8 Visual Resources
                                                              5.8 Visual Resources and
                                                                                   and Aesthetic
                                                                                       Aesthetic Qualities
                                                                                                 Qualities

     Exhibit 5.8-5
     Exhibit 5.8-5         Vantage Point
                           Vantage Point 3:
                                         3: Elyria
                                            Elyria and
                                                   and Swansea
                                                       Swansea Neighborhood
                                                               Neighborhood South
                                                                            South of
                                                                                  of I-70
                                                                                     1-70




                                               Existing conditions
                                               Existing conditions




                                    Revised Viaduct
                                    Revised Viaduct Alternative, North Option
                                                    Alternative, North Option




                                    Revised Viaduct
                                    Revised Viaduct Alternative, South Option
                                                    Alternative, South Option




                                        Partial Cover
                                        Partial Cover Lowered
                                                      Lowered Alternative
                                                              Alternative




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                                                                                                   5.8-15
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                               I-70 East
                                                                            1-70 East Final
                                                                                      Final EIS
                                                                                            EIS


 Aesthetic quality
 Aesthetic quality assessment
                   assessment
 The
 The effects
      effects to
               to the
                  the aesthetic  quality caused
                       aesthetic quality    caused byby impacts
                                                        impacts to to
 visual resources
 visual  resources were
                     were assessed
                           assessed by by comparing
                                           comparing the the existing
                                                              existing
 conditions to
 conditions   to the
                 the project
                      project alternatives.
                              alternatives. TheThe comparison
                                                    comparison
 reviewed
 reviewed each
             each alternative   for vividness,
                   alternative for   vividness, intactness,
                                                  intactness, andand
 unity  of the
 unity of  the visual   character of
                visual character   of the   area. Each
                                       the area.   Each ofof the
                                                             the project
                                                                  project
 alternative   would provide
 alternative would     provide visual
                                visual continuity
                                         continuity for
                                                      for the   corridor
                                                           the corridor
 and  compliment aesthetic
 and compliment      aesthetic treatments      through the
                                treatments through        the use
                                                               use of
                                                                    of
 wall  colors, textures,  and  forms    to unite  the  corridor.
 wall colors, textures, and forms to unite the corridor.
 Exhibit    5.8-6 summarizes
 Exhibit 5.8-6     summarizes thethe aesthetic
                                      aesthetic quality
                                                   quality effects
                                                             effects of
                                                                     of
 each
 each alternative    compared to
       alternative compared      to the
                                    the existing
                                          existing conditions.
                                                    conditions. TheThe
 following
 followingcriteria
             criteria were
                       were used
                            used toto rate
                                       rate the
                                             the aesthetic   quality of
                                                 aesthetic quality     of
 alternatives:
 alternatives:
     •   Vividness
          Vividness
          o   Low:
              Low: Mundane
                   Mundane or
                           or nondescript
                              nondescript landscape
                                          landscape
          o   Moderate: Some
              Moderate: Somefeatures
                             featureswith
                                     withstriking
                                          striking attributes
                                                   attributes
          o   High:
              High: Presence
                    Presence of
                             of dominant
                                dominant feature
                                         feature
     •   Intactness
          Intactness
          o   Low:
              Low: Built
                     Built features
                            features placed
                                     placed without
                                            without sensitivity
                                                    sensitivity to
                                                                to
              or in
              or in conflict
                    conflict with
                              with existing
                                   existing setting
                                            setting
          o   Moderate: Built
              Moderate:  Built features placed somewhat
                               features placed somewhat in
                                                        in
              response
              response to
                       to existing
                          existing setting
                                   setting
          o   High:
              High: Natural   and built
                     Natural and  built components
                                        components in
                                                    in balance
                                                        balance
              and  harmony with
              and harmony    with each
                                  each other
                                        other and
                                              and their
                                                  their
              relationship to the
              relationship to     landscape
                              the landscape
     •   Unity
          Unity
          o   Low:
              Low: Reduced
                    Reduced integrity
                               integrity due to prevalence
                                         due to prevalence ofof
              incompatible
              incompatible structures    including conflicting
                             structures including   conflicting
              scales, colors,
              scales, colors, or
                              or purposes
                                 purposes
          o   Moderate: Presence
              Moderate:           of some
                        Presence of  some features
                                           features not
                                                    not
              compatible
              compatible with
                         with the
                              the existing
                                  existing landscape
                                           landscape
          o   High:
              High: The
                    The visual
                         visual elements of the
                                elements of the environment  join
                                                environment join
              together
              together to
                       to form
                          form aa harmonious
                                  harmonious visual
                                              visual pattern
                                                     pattern
 Visually successful
 Visually  successful projects
                      projects generally
                               generally have
                                         have a high balance
                                              a high balance of
                                                             of
 this criteria.
 this criteria.




 5.8-16
 5.8-16                                                                          January 2016
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               Final EIS
                     EIS                                          5.8 Visual Resources
                                                                  5.8 Visual Resources and Aesthetic Qualities
                                                                                       and Aesthetic Qualities

     Exhibit
     Exhibit 5.8-6
             5.8-6            Aesthetic Qua
                              Aesthetic Quality Effects Summary
                                            ity Effects Summary

                 Alternative/Option
                 Alternative/Option               Vividness
                                                  Vividness         Intactness
                                                                    Intactness         Unity
                                                                                       Unity

      Existing
      Existing Conditions
               Conditions                           High
                                                    High               Low
                                                                       Low              Low
                                                                                        Low

      No-Action
      No-Action Alternative,
                Alternative, North Option
                             North Option           High
                                                    High               Low
                                                                       Low              Low
                                                                                        Low

      No-Action
      No-Action Alternative,
                Alternative, South Option
                             South Option         Moderate
                                                  Moderate             Low
                                                                       Low              Low
                                                                                        Low

      Revised
      Revised Viaduct
              Viaduct Alternative, North Option
                      Alternative, North Option     High
                                                    High               Low
                                                                       Low           Moderate
                                                                                     Moderate

      Revised
      Revised Viaduct
              Viaduct Alternative,
                      Alternative, South Option
                                   South Option   Moderate
                                                  Moderate             Low
                                                                       Low              Low
                                                                                        Low

      Partial Cover Lowered
      Partial Cover Lowered Alternative
                            Alternative             High
                                                    High               High
                                                                       High            High
                                                                                       High



     The
     The existing
           existing conditions
                      conditions between
                                   between Brighton
                                            Brighton Boulevard
                                                        Boulevard andand
     Colorado
     Colorado Boulevard
                  Boulevard have
                              have aa high
                                       high vividness
                                            vividness rating.
                                                         rating. The
                                                                 The
     highway structure
     highway                and several
                 structure and    several large
                                          large industrial
                                                 industrial buildings
                                                              buildings onon
     the  south side
     the south    side of
                       of the
                          the highway
                               highway are
                                         are dominant
                                              dominant andand memorable
                                                               memorable
     features   for the
     features for    the viewers.
                         viewers. The
                                    The existing
                                        existing condition
                                                   condition is
                                                              is rated  low
                                                                 rated low
     for
     for intactness    because the
         intactness because      the presence
                                     presence ofof the
                                                    the highway
                                                        highway andand
     industrial    buildings  conflict with  the  residential
     industrial buildings conflict with the residential setting.setting.
     Unity
     Unity isis rated  low because
                rated low   because the
                                      the visual  elements of
                                          visual elements     of the
                                                                 the area  do
                                                                     area do
     not
     not form
          form aa harmonious
                    harmonious pattern.
                                  pattern.
     The
     The visual    character for
          visual character     for the
                                   the No-Action
                                         No-Action Alternative,
                                                       Alternative, North
                                                                      North
     Option
     Option is similar to the existing visual character because the
              is similar  to  the existing    visual   character   because   the
     structure will
     structure   will be
                       be rebuilt
                          rebuilt similarly
                                   similarly to to the
                                                    the existing
                                                         existing viaduct,
                                                                   viaduct, but
                                                                             but
     only slightly
     only  slightly modified
                     modified to to comply
                                     complywithwiththethecurrent
                                                          current safety
                                                                    safety and
                                                                            and
     engineering
     engineering standards.       Intactness is
                     standards. Intactness       is rated
                                                     rated low
                                                            low because
                                                                because thethe
     presence
     presence of of the
                    the highway
                        highway and and industrial      buildings conflict
                                          industrial buildings     conflict
     with
     with the   residential setting.
           the residential    setting. Unity
                                         Unity isis rated
                                                     rated low
                                                            low because
                                                                because there
                                                                           there
     will
     will be
          be no
              no improvements
                  improvements to    to the
                                        the community
                                             community with  with this
                                                                  this
     alternative
     alternative andand the
                         the visual
                             visual elements
                                      elements of  of the
                                                      the area
                                                           area do
                                                                do not
                                                                     not form
                                                                         form aa
     harmonious pattern.
     harmonious      pattern.
     Vividness for
     Vividness  for the  No-Action Alternative,
                    the No-Action      Alternative, South
                                                     South Option
                                                              Option isis
     moderate   because this
     moderate because          option will
                          this option    will remove
                                              remove the
                                                       the tallest
                                                            tallest
     structure in
     structure in the
                  the area
                       area(Nestle
                              (Nestlé Purina
                                        PurinaPetCare
                                                 PetCareCompany),
                                                           Company),
     eliminating
     eliminating one
                  one of
                       ofthe
                           the dominant
                                dominant features.
                                             features. Intactness
                                                        Intactness isis rated
                                                                        rated
     low
     low because
          because the
                   the presence
                        presence of ofthe
                                       the highway
                                            highwayandand industrial
                                                            industrial
     buildings conflict
     buildings  conflictwith
                          withthe
                                the residential
                                     residential setting.
                                                  setting. Unity
                                                             Unity is
                                                                    is rated
                                                                       rated
     low
     low because
         because the
                   the highway
                       highway still     will be
                                   still will be visible
                                                 visible from
                                                          from the
                                                                the
     surrounding neighborhoods
     surrounding   neighborhoods and  and there
                                            there will
                                                  will be
                                                        be no
                                                            no changes
                                                               changes or or
     beautification to
     beautification  to the
                        the school
                             school and    the neighborhoods
                                      and the   neighborhoods north
                                                                  north ofof
     the highway and
     the highway   and visual
                         visual elements
                                 elements of of the area do
                                                the area   do not
                                                              not form
                                                                   form a a
     harmonious pattern.
     harmonious    pattern.
     The
     The Revised
          Revised Viaduct
                   Viaduct Alternative,
                            Alternative, North
                                          North Option
                                                 Option has
                                                         has a
                                                             a high
                                                               high
     vividness rating.
     vividness  rating. The
                        The highway
                            highway structure
                                      structure and   several large
                                                 and several  large
     industrial
     industrial buildings on the south side of the highway are
                buildings on  the south  side of the highway   are
     dominant   and memorable
     dominant and    memorable features    for the
                                 features for  the viewers.
                                                   viewers.

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     January 2016                                                                                      5.8-17
                                                                                                       5.8-17
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                                   I-70 East
                                                                                1-70 East Final
                                                                                          Final EIS
                                                                                                EIS

 Intactness
 Intactness isis rated
                 ratedlowlow because
                              because the
                                        the presence
                                             presence of  of the  highway
                                                             the highway
 and  industrial buildings
 and industrial    buildings conflict
                                conflict with
                                         with thethe residential
                                                     residential setting.
                                                                     setting.
 Unity
 Unity is rated as moderate because of the modifications to
        is rated   as  moderate    because    of the  modifications      to
 the Swansea Elementary
 the Swansea     Elementary School
                                 School site
                                         site and
                                               and additional
                                                     additional
 amenities   under the
 amenities under      the viaduct.
                           viaduct. The
                                      The new
                                          new structure
                                                 structure alsoalso could
                                                                     could
 incorporate
 incorporate more
               more creative
                       creative and
                                  and visually
                                       visually pleasant      design
                                                  pleasant design
 elements.   These will
 elements. These     will help
                            help to
                                 to create
                                     create aa somewhat
                                               somewhat harmonious
                                                              harmonious
 visual pattern.
 visual pattern.Because
                    Because thetheviaduct
                                    viaductwill
                                              will still
                                                   still be
                                                          be visible
                                                              visible from
                                                                       from
 the community, though,
 the community,      though, andand the
                                     the expansion
                                         expansion to   to the
                                                            the north
                                                                 north
 brings the
 brings  the highway
             highway closer
                          closer to
                                  to the
                                     the school,
                                         school,itit results
                                                      results inin aa visual
                                                                      visual
 feature  that is
 feature that   is not
                   not compatible
                        compatible withwith the   rest of
                                             the rest    of the  landscape.
                                                            the landscape.
 The
 The aesthetic quality for
     aesthetic quality for the
                           the Revised
                                Revised Viaduct
                                        Viaduct Alternative,
                                                 Alternative,
 South Option is
 South Option  is similar to the
                  similar to the No-Action
                                 No-Action Alternative,
                                             Alternative, South
                                                          South
 Option,
 Option, discussed
         discussed earlier
                    earlier in
                            in this subsection.
                               this subsection.
 The
 The Partial    Cover Lowered
      Partial Cover    Lowered Alternative    offers high
                                  Alternative offers        vividness,
                                                      high vividness,
 intactness,   and unity.
 intactness, and    unity.The
                           Thelowered
                                lowered highway
                                          highway will
                                                    will have
                                                          have noise
                                                               noise
 walls
 walls or
       or safety
          safety barriers
                    barriers that can incorporate
                             that can  incorporate artistic   designs
                                                     artistic designs
 which
 which are   meaningful to
        are meaningful     to the
                              the neighborhood,
                                   neighborhood, and
                                                   and the   proposed
                                                         the proposed
 cover will
 cover  will introduce
              introduceaa new
                           newurban
                                 urban gathering
                                        gathering or
                                                   or park   space in
                                                       park space   in
 the neighborhood, which
 the neighborhood,     which results
                               results in
                                       in creating
                                          creating aa memorable
                                                      memorable
 feature for the
 feature for   the viewer
                   viewer and,   therefore, high
                           and, therefore,  high vividness
                                                 vividness forfor this
                                                                  this
 alternative.
 alternative.
 Unity
 Unity and
         and intactness   also are
               intactness also      rated high
                               are rated   high because
                                                  because thethe
 presence
 presence of of the highway will
                the highway   will no
                                   no longer
                                       longer bebe visible
                                                   visible from
                                                            from the
                                                                   the
 surrounding neighborhoods.
 surrounding     neighborhoods. A  Anew
                                      newpark
                                            parkininthe
                                                      thearea
                                                          area that
                                                                 that
 covers the
 covers        highway and
          the highway    and proposed
                             proposed modifications
                                         modifications to to the
                                                              the school
                                                                   school
 property
 property also
             also will
                  will contribute
                       contribute to
                                   to the
                                       the high
                                           high unity
                                                  unity and
                                                         and intactness
                                                               intactness
 of this
 of this alternative   because the
          alternative because   the natural
                                     natural andand built
                                                     built components
                                                           components
 will
 will be
      be inin balance
              balance and
                       and harmony
                            harmony withwith their
                                              their surroundings
                                                    surroundings and  and
 with
 with each
       each other.
              other.
 Summary of
 Summary   of impacts
              impacts to
                      to visual
                         visual resources
                                resources and
                                          and
 aesthetic qualities
 aesthetic qualities
 Impacts
 Impacts toto visual
              visual resources
                      resources caused
                                  caused byby the project
                                              the project
 alternatives   result in
 alternatives result    in changes
                           changes toto the
                                        the aesthetic
                                            aesthetic quality
                                                      quality of
                                                              of the
                                                                 the
 corridor. Exhibit
 corridor.  Exhibit 5.8-7
                      5.8-7 describes
                              describes the  general type
                                         the general type of
                                                          of
 improvement
 improvement by  by the
                     the project
                          project alternatives
                                   alternatives and
                                                 and visual
                                                     visual
 resources
 resources that   will be
             that will  be affected.
                            affected.
 The
 The majority
      majority ofof impacts  to visual
                    impacts to   visual resources
                                        resources occur
                                                   occur from
                                                          from
 Brighton   Boulevard to
 Brighton Boulevard      to Colorado
                            Colorado Boulevard
                                        Boulevardinin the
                                                       the Elyria
                                                           Elyria and
                                                                  and
 Swansea    Neighborhood; therefore,
 Swansea Neighborhood;        therefore, the
                                          the visual
                                              visual assessment
                                                      assessment
 focuses
 focuses on
          on this
              this area.  The following
                   area. The  following discussions
                                          discussions identify
                                                        identify
 effects
 effects to
         to visual
            visual resources
                     resources in
                                in this
                                   this area by the
                                        area by  the project
                                                     project
 alternative   and option
 alternative and    option and
                            and discuss
                                 discuss the
                                          the minor
                                              minor visual
                                                     visual impacts
                                                             impacts
 associated
 associated with
             with the   Managed Lanes
                    the Managed     Lanes Option.
                                           Option.

 5.8-18
 5.8-18                                                                              January 2016
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     I-70 East
     1-70 East Final
               Final EIS
                     EIS                                                        5.8 Visual Resources
                                                                                5.8 Visual Resources and Aesthetic Qualities
                                                                                                     and Aesthetic Qualities

     Exhibit
     Exhibit 5.8-7
             5.8-7              Effects
                                Effects to Visual Resources
                                        to Visual           by Type
                                                  Resources by Type of
                                                                    of Improvement
                                                                       Improvement

               Description
               Description of
                           of Improvements
                              Improvements                                       Positive and Negative
                                                                                 Positive and Negative Visual
                                                                                                       Visual Effects
                                                                                                              Effects

                                                                Highway
                                                                Highway widening
                                                                          wideningincreases
                                                                                      increases visible
                                                                                                visible mass,
                                                                                                         mass, which
                                                                                                               which is is considered
                                                                                                                           considered aa
                                                                negative  effect. The
                                                                negative effect.  The South
                                                                                        South Expansion
                                                                                              Expansion Option
                                                                                                           Option for
                                                                                                                   for the
                                                                                                                       the Revised
                                                                                                                             Revised Viaduct
                                                                                                                                     Viaduct
     Widening: Widening
     Widening:    Widening the
                            the highway
                                highway to
                                        to accommodate
                                           accommodate
                                                                Alternative and
                                                                Alternative       the No-Action
                                                                             and the   No-Action Alternative
                                                                                                  Alternative will
                                                                                                               willresult
                                                                                                                    result inin removal
                                                                                                                                removal of
                                                                                                                                        of the
                                                                                                                                           the
     additional traffic
     additional traffic
                                                                Nestlé
                                                                Nestle Purina
                                                                       Purina PetCare
                                                                               PetCare Company
                                                                                         Company structure,     which is
                                                                                                     structure, which    is considered
                                                                                                                            considered aa
                                                                positive
                                                                positive visual
                                                                         visual effect.
                                                                                effect.

                                                                Lowering
                                                                LoweringI-70
                                                                           1-70removes
                                                                                removes the
                                                                                          the existing
                                                                                              existing viaduct   between Brighton
                                                                                                        viaduct between    Brighton
     Lowering
     Lowering the
                the highway
                    highway below
                               below grade:
                                     grade: Moving
                                            Moving the
                                                    the
                                                                Boulevard
                                                                Boulevard and
                                                                            and Colorado
                                                                                Colorado Boulevard
                                                                                           Boulevard and
                                                                                                       and eliminates
                                                                                                            eliminates aa dominant
                                                                                                                          dominant skyline
                                                                                                                                    skyline
     highway
     highway below
             below existing
                    existing grade between Brighton
                             grade between Brighton
                                                                obstruction. The
                                                                obstruction. The visual
                                                                                  visual presence
                                                                                         presence ofof the
                                                                                                       the highway
                                                                                                           highway will
                                                                                                                     will be
                                                                                                                          be decreased  in
                                                                                                                             decreased in
     Boulevard
     Boulevard and Colorado Boulevard
               and Colorado   Boulevard
                                                                this area,
                                                                this area, which
                                                                           which is
                                                                                 is considered
                                                                                    considered aa positive
                                                                                                   positive effect.
                                                                                                             effect.

                                                                Noise
                                                                Noise walls
                                                                       wallsblock
                                                                              blockviews
                                                                                     viewsfrom
                                                                                           fromsurrounding
                                                                                                  surroundinglandlanduses
                                                                                                                      usesand
                                                                                                                            and increase
                                                                                                                                 increase the
                                                                                                                                          the
     Walls: The
     Walls:  The project
                   project alternatives  may include
                           alternatives may   include noise
                                                       noise
                                                                highway’s
                                                                highway's visible
                                                                            visible mass, which is
                                                                                    mass, which    is considered
                                                                                                      considered aa negative   effect. Noise
                                                                                                                    negative effect.   Noise
     walls
     walls measuring
           measuring 10 10 feet
                            feet to
                                 to 20
                                    20 feet tall or
                                       feet tall or safety
                                                    safety
                                                                walls or
                                                                walls or safety
                                                                         safety barriers
                                                                                 barriers also
                                                                                          also present    opportunities for
                                                                                               present opportunities    for context-
                                                                                                                             context-
     barriers
     barriers adjacent  to the
               adjacent to  the roadway
                                roadway
                                                                sensitive mitigation
                                                                sensitive mitigation and
                                                                                       and artistic
                                                                                           artistic treatments,    which is
                                                                                                     treatments, which   is considered
                                                                                                                            considered aa
     Lowering
     Lowering the highway below existing
                the highway   below   existing grade
                                                grade between
                                                      between   positive
                                                                positive effect.
                                                                         effect.
     Brighton
     Brighton Boulevard    and Colorado
                Boulevard and   Colorado Boulevard
                                           Boulevard will
                                                       will
                                                                Retaining
                                                                Retaining walls
                                                                           walls present
                                                                                  present opportunities
                                                                                          opportunities forfor context-sensitive   mitigation
                                                                                                               context-sensitive mitigation
     require
     require retaining
              retaining walls
                        walls adjacent
                               adjacent to
                                         to the  roadway
                                            the roadway
                                                                and artistic
                                                                and artistic treatments,
                                                                             treatments,which
                                                                                           which is
                                                                                                  is considered
                                                                                                      considered aa positive
                                                                                                                    positive effect.
                                                                                                                              effect.

     Interchange
     Interchange and and structures:
                          structures: Bridges
                                        Bridges average
                                                  average 25
                                                           25   Bridges
                                                                Bridges and
                                                                         and interchanges  have the
                                                                             interchanges have   the potential
                                                                                                     potential to
                                                                                                                toblock
                                                                                                                   block views
                                                                                                                         views from
                                                                                                                               from
     to 40
     to 40 feet
            feet in
                 in height.
                    height. Proposed
                            Proposed improvements
                                      improvements at  at       surrounding land
                                                                surrounding  land uses,  which could
                                                                                  uses, which   could be
                                                                                                      be considered
                                                                                                         considered aa negative  effect.
                                                                                                                        negative effect.
     interchanges
     interchanges maymay increase
                         increase the
                                   the existing
                                       existing vertical
                                                 vertical       Bridges
                                                                Bridges and
                                                                         and interchanges  offer opportunities
                                                                             interchanges offer  opportunities for
                                                                                                                for context-sensitive
                                                                                                                    context-sensitive
     profile
     profile of
              ofinterchange
                 interchangestructures
                              structures by
                                         by as
                                             as much
                                                much as   12
                                                       as 12    mitigation
                                                                mitigation and
                                                                           and architecturally
                                                                                architecturally pleasing
                                                                                                pleasing treatments,   which could
                                                                                                         treatments, which   could be
                                                                                                                                   be
     feet.
     feet.                                                      considered aa positive
                                                                considered    positive effect.
                                                                                       effect.

                                                                Adding aa new
                                                                Adding    new light
                                                                               light source
                                                                                     source in
                                                                                             in the
                                                                                                 the area  could change
                                                                                                     area could           the visual
                                                                                                                  change the  visual
     Light
     Light and
            and glare:   Additional lighting
                 glare: Additional   lighting will
                                              will be
                                                   be added
                                                      added
                                                                appearance of
                                                                appearance  of the
                                                                                the area.
                                                                                    area.However,
                                                                                          However, since
                                                                                                       since the
                                                                                                             the project
                                                                                                                  project corridor
                                                                                                                          corridor is
                                                                                                                                    is an
                                                                                                                                       an
     for
     for safety and to
         safety and  to avoid
                        avoid the
                              the "black
                                   “black hole
                                           hole effect"
                                                effect” of
                                                        of
                                                                urban setting, the
                                                                urban setting,  theadditional
                                                                                    additional lighting
                                                                                                lighting from
                                                                                                          from the
                                                                                                                the highway
                                                                                                                    highway will
                                                                                                                              will not
                                                                                                                                   not cause
                                                                                                                                        cause
     lowering
     lowering the
               the highway
                   highway below
                             below grade
                                     grade
                                                                major
                                                                major negative
                                                                      negative impacts
                                                                                 impacts to  aesthetic qualities.
                                                                                          to aesthetic   qualities.



     There
     There are     minor impacts
             are minor    impacts to  to visual
                                         visual resources
                                                  resources between
                                                              between
     Colorado
     Colorado Boulevard
                  Boulevard and      Tower Road.
                               and Tower      Road. The
                                                     The only
                                                           only changes
                                                                 changes to
                                                                          to
     the visual resources
     the visual    resources inin this
                                  this area     resulting from
                                         area resulting   from the
                                                                 the Build
                                                                     Build
     Alternatives are
     Alternatives     are the
                          the increase
                               increase in  in highway
                                               highway width,
                                                         width, which
                                                                  which
     results  in aa wider
     results in      wider paved
                            paved area
                                     area and
                                            and removal
                                                 removal ofof vegetation
                                                              vegetation
     adjacent
     adjacent to to the
                    the existing
                         existing highway.
                                    highway. However,
                                                 However, clearing
                                                             clearing and
                                                                      and
     grubbing
     grubbing in  in this area will
                     this area   will be
                                       be aa minimal
                                             minimal change
                                                       change andand will
                                                                     will not
                                                                          not
     result  in aa substantive
     result in     substantive impact
                                  impact to  to the
                                                the visual
                                                    visual character
                                                            character of
                                                                       of the
                                                                           the
     area.  Direct connections
     area. Direct    connections at  at1-270,
                                        I-270, 1-225,
                                                 I-225, and
                                                        and Peña
                                                              Pella Boulevard
                                                                    Boulevard
     with  the Managed
     with the   Managed LanesLanes Option
                                      Option pose
                                                pose new
                                                      new visual
                                                            visual barriers
                                                                   barriers in
                                                                             in
     these  sections, but
     these sections,    but this   is not
                             this is   not considered
                                            considered aa substantive
                                                           substantive
     impact   since they
     impact since           do not
                      they do   not block
                                     block aa valuable
                                                valuable visual
                                                         visual resource.
                                                                  resource.




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                                                                                                                                      5.8-19
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                                              I-70 East
                                                                                           1-70 East Final
                                                                                                     Final EIS
                                                                                                           EIS


 No-Action
 No-Action Alternative
           Alternative

 The  No-Action Alternative
 The No-Action      Alternative will
                                   will not
                                        not
 dramatically    change the
 dramatically change       the overall
                                overall aesthetic
                                          aesthetic
 quality of the
 quality of  the corridor
                  corridor oror study
                                 study area.   Due to
                                        area. Due    to
 the condition of
 the condition    of the
                     the aging
                          aging viaduct,
                                  viaduct, the
                                             the
 No-Action
 No-ActionAlternative
              Alternative includes
                              includes replacement
                                         replacement
 of the
 of the existing
        existing viaduct
                   viaduct between
                              between Brighton
                                         Brighton
 Boulevard
 Boulevard and     Colorado Boulevard
              and Colorado      Boulevard without
                                              without
 adding  capacity.    The  highway     footprint
 adding capacity. The highway footprint will       will
 be wider
 be  wider to
           to meet
               meet current
                       current design
                                 design standards,
                                          standards,
 causing aa few
 causing    few buildings
                  buildings to to be
                                   be acquired
                                      acquired with
                                                 with
 either the North
 either the  North or or South
                         South Options.
                                  Options. TheThe
 potential  acquisition of
 potential acquisition     of taller  buildings
                               taller buildings
 adjacent  to the
 adjacent to   the highway—such
                    highway—such as     as the
                                            the Nestlé
                                                 Nestle
 Purina  PetCare Company
 Purina PetCare      Company building
                                  building that
                                              that
 currently blocks
 currently  blocks views—will
                      views—will provide
                                     provide
 unobstructed     views of
 unobstructed views       of the
                             the highway
                                  highway and and the
                                                   the       Bird’s-eye view
                                                             Bird's-eye view of
                                                                             of existing
                                                                                existing 1-70
                                                                                         I-70 looking
                                                                                              looking west
                                                                                                      west from
                                                                                                           from
                                                                           above Fillmore
                                                                           above  Fillmore Street
                                                                                            Street
 mountains    from the
 mountains from       the surrounding
                          surrounding
 neighborhood.
 neighborhood. ThisThis is
                         is not
                            not an   adverse effect
                                  an adverse    effect on
                                                        on
 the existing   visual  characteristics     of the
 the existing visual characteristics of the area    area
 because it
 because     does not
          it does   not change
                         change anyany of
                                        of the
                                            the visual
                                                visual
 elements
 elements oror the   overall visual
                the overall    visual character
                                       character of of the
                                                       the area.
                                                           area.
 Build
 Build Alternatives
       Alternatives

 The
 The greatest   visual resource
      greatest visual  resource impacts
                                 impacts of
                                         of the
                                            the project
                                                 project
 alternatives  occur where
 alternatives occur   where aa physical
                               physical widening
                                        widening ofof the
                                                      the highway
                                                          highway
 occurs within
 occurs  within the
                 the established  residential neighborhoods.
                     established residential  neighborhoods.
 The
 The Build
      Build Alternatives    include the
             Alternatives include   the Revised
                                         Revised Viaduct
                                                 Viaduct
 Alternative and
 Alternative   and the
                    the Partial
                        PartialCover
                                Cover Lowered
                                       Lowered Alternative.
                                                 Alternative. The
                                                              The
 effects
 effects on
         on the
             the visual
                 visual resources
                         resources and
                                   and aesthetic
                                        aesthetic quality between
                                                  quality between
 Brighton   Boulevard and
 Brighton Boulevard     and Colorado
                             Colorado Boulevard
                                        Boulevard vary
                                                   vary based on
                                                        based on
 the
 the alternative.
     alternative.




 5.8-20
 5.8-20                                                                                          January 2016
                                                                                                 January 2016
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               Final EIS
                     EIS                                        5.8 Visual Resources
                                                                5.8 Visual Resources and
                                                                                     and Aesthetic
                                                                                         Aesthetic Qualities
                                                                                                   Qualities

     Revised
     Revised Viaduct
             Viaduct Alternative
                     Alternative

     This
     This alternative   replaces the
           alternative replaces    the viaduct
                                        viaduct with
                                                 with a
                                                      a
     new
     new structure    that includes
          structure that    includes additional
                                       additional
     capacity and
     capacity       conforms to
               and conforms     to the
                                    the new
                                        new highway
                                             highway
     and  bridge standards.
     and bridge                The proposed
                  standards. The      proposed
     replacement
     replacement structure      includes aa wider
                    structure includes       wider
     footprint
     footprint and
                and structure,    and will
                     structure, and    will require
                                            require
     business and
     business   and residential    property
                     residential property
     acquisition.
     acquisition. The proposed structure
                   The  proposed     structure is
                                               is
     approximately
     approximately 200 200 feet
                           feet wide,
                                 wide, while
                                        while the
                                               the
     existing
     existing structure   is only
               structure is  only approximately
                                   approximately 90 90
     feet wide.
     feet wide.
     Proposed
     Proposed noise
                noise walls
                       walls range  between 12
                              range between     12 feet
                                                   feet
     and  18 feet
     and 18  feet in
                  in height
                     height and
                             and will
                                  will be
                                        be located
                                           located on
                                                    on
     the north edge
     the north  edge of
                      of the highway, roughly
                         the highway,    roughly
     between Brighton
     between   Brighton Boulevard
                          Boulevard and     Vasquez
                                       and Vasquez                    Bird’s-eye view
                                                                      Bird's-eye  view simulation
                                                                                       simulation of
                                                                                                   of
                                                              Revised Viaduct
                                                                      Viaduct Alternative
                                                                               Alternative looking
                                                                                           looking west
                                                                                                   west from
     Boulevard,
     Boulevard, and
                  and on
                       on the  south edge
                           the south   edge of
                                             of the
                                                the           Revised
                                                                  above Fillmore
                                                                  above  Fillmore Street
                                                                                   Street (North Option)
                                                                                          (North Option)
                                                                                                        from

     highway between
     highway   between York
                          York Street
                                Street and    Madison
                                        and Madison
     Street. The noise
     Street. The  noise walls
                         walls will
                                will further
                                      further contribute
                                               contribute to
                                                          to the
                                                             the
     highway visual
     highway   visual mass.
                       mass.
     The
     The replaced
         replaced structure    will be
                   structure will     be located
                                          located along
                                                  along the
                                                          the existing
                                                              existing
     highway alignment
     highway              with either
              alignment with     either Expansion
                                           Expansion Option.
                                                        Option. Since
                                                                 Since the
                                                                       the
     new
     new structure  has aa larger
         structure has      larger footprint,
                                     footprint, the
                                                 the highway
                                                     highway will
                                                                will have
                                                                     have a
                                                                          a
     more
     more visible
          visible presence
                  presence in in the
                                  the Elyria
                                       Elyria and
                                               and Swansea
                                                    Swansea
     Neighborhood
     Neighborhoodin  incontrast
                        contrast to to the
                                        the existing
                                            existing structure.
                                                      structure.
     Partial
     Partial Cover
             Cover Lowered
                   Lowered Alternative
                           Alternative

     This
     This alternative   removes the
          alternative removes      the viaduct
                                        viaduct and and
     reconstructs   the highway
     reconstructs the   highway between
                                    between Brighton
                                               Brighton
     Boulevard
     Boulevard and    Colorado Boulevard
                 and Colorado     Boulevard to   to aa
     maximum     depth of
     maximum depth       of 40
                            40 feet
                               feet below
                                     below thethe existing
                                                   existing
     ground  level while
     ground level   while also
                           also adding
                                 adding capacity
                                           capacity to to
     the existing facility.
     the existing  facility. Although
                             Although thisthis
     alternative
     alternative increases the highway's total
                  increases   the  highway’s      total
     concrete surface
     concrete  surface similar
                        similar toto the
                                     the Revised
                                          Revised
     Viaduct Alternative,
     Viaduct  Alternative, it   does not
                             it does   not increase
                                            increase thethe
     highway’s visible
     highway's  visible mass
                          mass because
                                because aa large
                                              large
     portion
     portion of
             of the
                the highway
                     highway in in this  area is
                                    this area   is below
                                                    below
     ground  level and
     ground level        out of
                    and out  of sight   from
                                sight from
     surrounding areas.
     surrounding    areas.
     This
     This alternative   includes noise
           alternative includes   noise walls
                                         walls at
                                               at
     ground
     ground level
              level that  are approximately
                    that are  approximately 1616 feet
                                                  feet
                                                                          Bird’s-eye view
                                                                                     view simulation
                                                                                            simulation of
     tall. These noise
     tall. These noise walls
                         walls will
                               will be
                                    be located
                                       located on
                                                on the
                                                   the                   Bird's-eye
                                                                Partial Cover
                                                                Partial Cover Lowered
                                                                               Lowered Alternative
                                                                                                         of
                                                                                         Alternative looking   west
                                                                                                       looking west
     north  edge of
     north edge  of the
                     the highway
                         highway between
                                    between Brighton
                                             Brighton                      from above
                                                                           from  above Fillmore
                                                                                        Fillmore Street
                                                                                                   Street
                                                               (Note: Preliminary
                                                                       Preliminary design,
                                                                                   design, will
                                                                                             will be
                                                                                                  be revised
                                                                                                      revised during
                                                                                                              during
     Boulevard
     Boulevard and
                 and the
                       the UPRR.
                           UPRR. Safety
                                    Safety barriers
                                           barriers            (Note:
                                                                            the public
                                                                            the public input
                                                                                       input process.)
                                                                                              process.)


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                                                                                                               5.8-21
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                                             I-70 East
                                                                                          1-70 East Final
                                                                                                    Final EIS
                                                                                                          EIS

 will
 will be
      be located
          located along
                    along the   edge of
                           the edge   of the  lowered highway.
                                         the lowered    highway. As As
 part  of this
 part of  this alternative,
               alternative,aacover
                                 cover will
                                        will be
                                             be placed
                                                 placed onon the
                                                             the lowered
                                                                  lowered
 section  of the  highway     in front of the  Swansea
 section of the highway in front of the Swansea Elementary Elementary
 School.
 School. The
           The cover
                coverwill
                        willinclude
                              includeananurban
                                           urban landscape
                                                  landscape on on top.
                                                                   top.
 The
 The length
      length ofof this  cover is
                  this cover   is proposed
                                  proposed to to be
                                                 be less
                                                     less than  1,000 feet
                                                          than 1,000   feet
 and  its placement
 and its  placement on  on the
                            the highway
                                 highway eliminates
                                           eliminates thethe need
                                                              need for
                                                                    for
 noise
 noise walls
        walls oror safety
                    safetybarriers
                            barriers in
                                      in this
                                         this area.
                                               area.
 Managed Lanes Option
 Managed Lanes Option
 The
 The Managed
       Managed Lanes    Option has
                 Lanes Option         direct connections
                                  has direct connections
 to I-270, I-225,
 to 1-270,  1-225,and
                   andPeña
                        Pella Boulevard.
                              Boulevard. The
                                           The direct
                                                 direct
 connection structures
 connection               from the
              structures from   the managed
                                     managed lanes
                                                lanes to
                                                       to
 the  adjacent highways
 the adjacent   highways pose
                           pose permanent
                                 permanent visual
                                              visual
 barriers. These
 barriers.  These barriers
                   barriers are
                             are not
                                 not considered
                                      considered toto have
                                                      have
 substantive impacts
 substantive   impacts to
                        to the
                           the aesthetic
                               aesthetic qualities
                                           qualities of
                                                      of
 the  area, because
 the area,  because the   area where
                     the area  where these
                                       these direct
                                              direct
 connections are
 connections   are located
                   located in
                            in within
                               within anan existing
                                           existing
 transportation   corridor and
 transportation corridor    and are  mostly industrial
                                 are mostly   industrial
 land  use and
 land use  and are
                are not
                    not considered
                         considered sensitive
                                      sensitive
 neighborhood    views.
 neighborhood views.
 Additionally, the
 Additionally,          Managed Lanes
                  the Managed       Lanes OptionOption forfor the
                                                               the
 Revised
 Revised Viaduct
             Viaduct Alternative
                       Alternative and  and Partial      Cover
                                               Partial Cover
 Lowered
 Lowered Alternative
             Alternative will
                            will require
                                  require construction
                                               construction and  and
 installation
 installation ofof new
                    new infrastructure
                          infrastructure on     on the   highway
                                                    the highway
 in the form
 in the  form ofof overhead
                   overhead gantries
                                gantries and        new signage.
                                              and new     signage.
 This
 This addition     will create
       addition will     create new
                                 new visual
                                         visual impacts        along
                                                   impacts along
 the  project corridor.
 the project   corridor. Since
                           Since nono specific
                                         specific features
                                                      features have
                                                                have
 been designed
 been   designed at at this  time, it
                       this time,   it isis not
                                             not possible
                                                  possible to to
 estimate
 estimate howhow many
                   many gantries
                           gantries or or signs
                                            signs will
                                                     will be
                                                          be
 needed
 needed or or where    they will
              where they     will be
                                   be located
                                        located exactly.
                                                    exactly.
 Because
 Because there
             there are
                    are other
                         other similar
                                similar managed
                                             managed lanes lanes
 facilities
 facilities already in use in the Denver metro area,
             already   in  use in  the    Denver      metro    area,
 e.g.,
 e.g., along
       along USUS 3636 and
                        and I-25,
                             1-25, itit is
                                         is reasonable
                                            reasonable to   to
 assume
 assume that     the new
            that the  new managed
                            managed lanes   lanes infrastructure
                                                     infrastructure
 along
 along I-70
         1-70would
               wouldbe  bevery
                            verysimilar
                                  similar in   in appearance.
                                                   appearance.
 Despite
 Despite the    lack of
            the lack  of specifics,
                          specifics, itit is
                                           is important
                                               important to  to
 acknowledge
 acknowledgethat   that managed
                         managed laneslanes infrastructure
                                                infrastructure
 will
 will create
       create a  different visual
               a different   visual image
                                       image than        people on
                                                  than people     on
 or off
 or off the
         the highway
              highway areare accustomed
                              accustomed to      to seeing,
                                                     seeing, but
                                                               but
 these  facilities will
 these facilities   will be
                          be designed
                              designed in       accordance with
                                            in accordance       with    Managed lanes
                                                                        Managed lanes infrastructure  along
                                                                                       infrastructure along
                                                                                 I-25 and
                                                                                1-25  and US
                                                                                           US 36
                                                                                               36
 the  Aesthetic and
 the Aesthetic          Design Guidelines,
                  and Design     Guidelines, as         seen in
                                                    as seen    in
 Attachment 0
 Attachment      O of
                    of this
                       this document.
                             document.




 5.8-22
 5.8-22                                                                                         January 2016
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     I-70 East
     1-70 East Final
               Final EIS
                     EIS                                         5.8 Visual Resources
                                                                 5.8 Visual Resources and
                                                                                      and Aesthetic
                                                                                          Aesthetic Qualities
                                                                                                    Qualities

     Light and
     Light and glare
               glare
     Increased  ambient light
     Increased ambient    light levels
                                 levels have
                                         have the  potential to
                                               the potential  to impact
                                                                 impact
     visual resources.
     visual resources. Adding
                        Adding aa newnew light
                                          light source
                                                source in
                                                       in the
                                                          the area   could
                                                               area could
     change the
     change      visual appearance
             the visual  appearance of  of the
                                           the area.
                                               area. However,
                                                     However, since
                                                                 since
     the project corridor
     the project corridor isis an
                               an urban
                                  urban setting,
                                          setting, the
                                                   the additional
                                                       additional
     lighting from the
     lighting from      newly constructed
                    the newly                  highway will
                                 constructed highway     will not
                                                              not cause
                                                                   cause
     major
     major negative
            negative impacts
                      impacts to to the
                                    the aesthetic
                                        aesthetic qualities.
                                                   qualities.
     Lighting
     Lighting for
                for the
                     the Revised
                          Revised Viaduct
                                   Viaduct Alternative
                                              Alternative and
                                                            and the
                                                                  the
     No-Action
     No-ActionAlternative
                   Alternative are
                                 are similar
                                     similar to
                                              to the  existing conditions.
                                                 the existing    conditions.
     For
     For most
          most of
                of the
                    the viewers
                         viewers in
                                  in the area, noise
                                     the area,  noise walls
                                                       walls block
                                                               block light
                                                                       light
     and  glare from
     and glare   from the
                        the highway.
                             highway. The
                                        The presence
                                             presence ofof aa lighted
                                                              lighted
     structure above
     structure   above ground
                         ground emphasizes
                                  emphasizes the the structure
                                                     structure cutting
                                                                  cutting
     across
     across the
             the surface
                  surface streets   for nighttime
                            streets for             views and
                                        nighttime views      and the
                                                                   the
     visibility of
     visibility of the
                    the viaduct.
                         viaduct. This
                                  This is
                                        is considered
                                           considered an an intrusive
                                                             intrusive
     element
     element inin the
                   the residential   area of
                       residential area    of the Elyria and
                                              the Elyria  and Swansea
                                                                 Swansea
     Neighborhood.
     Neighborhood.
     Elevated
     Elevated light   source also
                light source    also is
                                     is an
                                         an additional
                                             additional disruptive    source
                                                         disruptive source
     of glare
     of glare for
              for upper
                   upper windows
                          windows of  of buildings
                                          buildings that   will not
                                                     that will       be
                                                                 not be
     directly
     directly affected
              affected byby lighting
                             lighting ofof surface
                                           surface streets;
                                                    streets; however,
                                                              however, the
                                                                         the
     taller buildings   in the  area  are   industrial,  so  an
     taller buildings in the area are industrial, so an elevated elevated
     light source will
     light source   will not
                         not impact
                              impact them
                                        them as   much as
                                               as much   as it
                                                             it would
                                                                would impact
                                                                       impact             What  is the
                                                                                          What is  the
                                                                                          black
                                                                                          black hole
                                                                                                 hole
     a residential unit.
     a residential  unit. The
                           The residential
                                 residential houses
                                                houses in
                                                        in the
                                                            the area
                                                                 area are
                                                                      are                   effect?
                                                                                            effect?
     shorter than
     shorter  than the
                    theviaduct,
                         viaduct, soso there
                                        there will
                                               will be
                                                    be minimal
                                                       minimal glare
                                                                   glare
                                                                                       The black
                                                                                       The          hole
                                                                                             black hole
     impact  on them
     impact on          with the
                 them with     the No-Action
                                   No-Action Alternative
                                                 Alternative andand Revised
                                                                     Revised           effect is
                                                                                       effect  is the
                                                                                                  the
     Viaduct Alternative.
     Viaduct   Alternative.                                                            substantial
                                                                                       substantial light
                                                                                                      light
                                                                                       contrast between
                                                                                       contrast   between
     The
     The lighting  of the
          lighting of  the Partial Cover Lowered
                           Partial Cover    Lowered Alternative     also
                                                       Alternative also                outside and
                                                                                       outside   and inside
                                                                                                       inside
     will be in compliance   with  the lighting    standards.
     will be in compliance with the lighting standards. The     The                    of a
                                                                                       of a tunnel,
                                                                                             tunnel, causing
                                                                                                       causing
                                                                                       motorists
                                                                                       motorists to to slow
                                                                                                        slow
     lighting of the
     lighting of      covered section
                 the covered   section will
                                       will bebe designed
                                                 designed toto avoid
                                                               avoid the
                                                                     the
                                                                                       down.    This
                                                                                       down. This
     “black hole
     "black  hole effect”
                  effect"bybyusing
                              usingthe
                                     the latest
                                          latest lighting technologies
                                                 lighting technologies                 phenomenon
                                                                                       phenomenon can    can be
                                                                                                              be
     and  evaluating factors
     and evaluating    factors affecting
                               affecting the
                                           the performance
                                               performance of of the
                                                                 the                   minimized
                                                                                       minimized by  by
                                                                                       providing    adequate
                                                                                       providing adequate
     lighting
     lighting system.
              system.
                                                                                       lighting
                                                                                       lighting at   the
                                                                                                 at the
     The
     The glare   effect for
          glare effect   for the
                             the Partial   Cover Lowered
                                  Partial Cover    Lowered Alternative
                                                                Alternative            tunnel   entrance or
                                                                                       tunnel entrance      or
                                                                                       the  threshold zone
                                                                                       the threshold     zone
     will
     will be
          be different
              different from
                         from the
                                the Revised
                                     Revised Viaduct
                                               Viaduct Alternative.
                                                          Alternative. The
                                                                         The           to allow time
                                                                                       to allow   time for   the
                                                                                                         for the
     lighting  of the
     lighting of  the highway
                       highway will
                                  will not
                                        not be
                                             beasas intrusive
                                                     intrusive asas the
                                                                    the                eyes to
                                                                                       eyes   to adapt.
                                                                                                 adapt.
     Revised
     Revised Viaduct
               Viaduct Alternative
                          Alternative because
                                        because the     highway is
                                                    the highway     is not
                                                                       not
     located
     located on
              on an
                  an elevated
                      elevated structure
                                 structure and
                                             and the    light sources
                                                   the light   sources are
                                                                        are
     below grade
     below   grade and
                    and blocked
                          blocked byby safety
                                        safety barriers
                                                barriers oror noise
                                                               noise walls.
                                                                      walls.
     Depending
     Depending on  on future   plans for
                       future plans   for the
                                           the highway
                                                highway cover,
                                                            cover, additional
                                                                    additional
     lighting  sources may
     lighting sources    may bebe introduced
                                   introduced by  by the
                                                      the planned
                                                          planned activities
                                                                     activities
     on the
     on      cover. The
        the cover.   The future    lighting of
                           future lighting    of the
                                                 the highway
                                                      highway cover
                                                                  cover will
                                                                        will be
                                                                             be
     designed
     designed not
                not to
                     to conflict
                        conflict with
                                  with the
                                         the lighting
                                             lighting of of the
                                                             the surrounding
                                                                 surrounding
     area  and  will  blend  in  with  the  neighborhood’s
     area and will blend in with the neighborhood's existing    existing
     lighting.
     lighting.



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                                                                                                          5.8-23
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 5.8 Visual Resources
 5.8 Visual Resources and Aesthetic Qualities
                      and Aesthetic Qualities                                I-70 East
                                                                             1-70 East Final
                                                                                       Final EIS
                                                                                             EIS


  5.8.5
  5.8.5       How
              How are
                    are negative
                        negative effects from the
                                 effects from the project
                                                  project
              alternatives
              alternatives to visual resources
                           to visual resources mitigated?
                                               mitigated?

 There
 There are  minor impacts
        are minor    impacts toto visual
                                   visual resources
                                           resources andand aesthetic
                                                             aesthetic
 qualities in the
 qualities in      study area.
              the study   area. The
                                  The project
                                        project alternatives    will
                                                 alternatives will
 improve
 improve the
           the aesthetic
                aesthetic quality
                           quality ofof the
                                        the area   either by
                                             area either   by replacing
                                                              replacing
 the viaduct with
 the viaduct  with a a newer
                       newer structure      thatcan
                               structure that     can be
                                                       be designed
                                                           designed to
                                                                     to
 complement neighborhood
 complement     neighborhood architecture
                                  architecture oror by
                                                     by removing
                                                        removing thethe
 viaduct and
 viaduct and locating
               locating the
                         the highway
                              highway below
                                          below grade
                                                  grade with
                                                          with a
                                                               a
 landscaped   cover between
 landscaped cover     between Clayton
                                 Clayton andand Columbine
                                                 Columbine Streets.
                                                               Streets.
 Any additional
 Any               improvements to
      additional improvements        to enhance
                                         enhance thethe visual
                                                         visual effects
                                                                effects of
                                                                        of
 the proposed highway
 the proposed    highway alternatives
                           alternatives willwill be
                                                 be developed
                                                     developed through
                                                                 through
 a collaborative process
 a collaborative   process to
                            to reflect
                                reflect the  needs of
                                         the needs   of individual
                                                        individual
 neighborhoods
 neighborhoods and and local
                        local aesthetic
                              aesthetic context.
                                           context.
 Community
 Community input
               input isis sought
                          sought from
                                  from neighborhoods
                                        neighborhoods impacted
                                                         impacted byby
 the Preferred Alternative
 the Preferred   Alternative to to retain  and develop
                                   retain and  develop aesthetic
                                                        aesthetic
 qualities of the
 qualities of     corridor. Local
              the corridor.   Local communities
                                     communities andand
 participating  agencies provided
 participating agencies     provided input
                                       input during
                                              during the
                                                     the
 development
 development of of aa vision
                      visionfor
                              forurban
                                   urban design
                                          design and
                                                 and aesthetics
                                                      aesthetics in
                                                                 in
 the corridor. The
 the corridor.  The Aesthetic
                     Aesthetic and    Design Guidelines,
                                 and Design   Guidelines, included
                                                           included
 as Attachment O,
 as Attachment         discusses the
                  0, discusses    the existing
                                       existing aesthetic
                                                aesthetic
 characteristics for the corridor and provides aa strategy
 characteristics  for  the  corridor  and  provides            for
                                                      strategy for
 how to
 how  to reach
         reach the   vision established
                the vision   established byby the community.
                                              the community.
 The
 The purpose
      purpose ofof the  Aesthetic and
                   the Aesthetic         Design Guidelines
                                    and Design    Guidelines is   to
                                                               is to
 ensure  that the
 ensure that   theproject
                    project will
                             will not
                                   not result
                                       result in
                                              in aa disjointed
                                                    disjointed visual
                                                                visual
 setting.  Using  the  guidelines,   future  engineering
 setting. Using the guidelines, future engineering and      and
 construction efforts
 construction   efforts can
                         can design
                              design noise
                                      noise walls,
                                             walls, signing,
                                                     signing, bridges,
                                                               bridges,
 sidewalks, and
 sidewalks,   and landscapes
                   landscapes that     will lessen
                                  that will lessen the   visual impact
                                                    the visual   impact
 and  allow the
 and allow   the design
                 design structures      associated with
                          structures associated      with the
                                                           the proposed
                                                               proposed
 project
 project to
          to blend
             blend with
                    with the
                           the surrounding
                                surrounding built    environment to
                                              built environment      to
 complement the
 complement     the visual
                     visual landscape.    The Aesthetic
                             landscape. The    Aesthetic and    Design
                                                           and Design
 Guidelines
 Guidelines describe     how the
              describe how          overall corridor
                               the overall  corridor will
                                                      will look
                                                            look while
                                                                  while
 embracing
 embracing thethe unique
                   unique qualities
                            qualities of
                                       of the
                                          the surrounding
                                              surrounding
 neighborhood
 neighborhood and and communities.      Exhibit 5.8-8
                       communities. Exhibit        5.8-8 lists
                                                         lists the
                                                               the
 impacts and
 impacts        mitigations associated
           and mitigations     associated with
                                            with visual
                                                  visual resources
                                                          resources
 and
 and aesthetic
      aesthetic qualities.
                 qualities.




 5.8-24
 5.8-24                                                                           January 2016
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     1-70 East Final
               Final EIS
                     EIS                                                             5.8 Visual Resources
                                                                                     5.8 Visual Resources and Aesthetic Qualities
                                                                                                          and Aesthetic Qualities

     Exhibit
     Exhibit 5.8-8
             5.8-8               Summary
                                 Summary ofof Visual
                                              Visual Resources
                                                     Resources and
                                                               and Aesthetic
                                                                   Aesthetic Qualities
                                                                             Qualities Impacts and
                                                                                       Impacts and
                                 Mitigations
                                 Mitigations

                                                                                                                        Mitigation
                                                                                                                        Mitigation Measures
                                                                                                                                   Measures
       Alternative/Option
       Alternative/Option                                   Impacts
                                                            Impacts and/or Benefits
                                                                    and/or Benefits                                       Applicable to
                                                                                                                         Applicable  to All
                                                                                                                                        All
                                                                                                                            Alternatives
                                                                                                                            Alternatives

                                  •   Replacing
                                       Replacing the the existing    viaduct with
                                                          existing viaduct    with new
                                                                                    new infrastructure
                                                                                        infrastructurewill
                                                                                                         will
                                       improve
                                       improve the      visual quality
                                                  the visual    quality
                                  •   New
                                       New noise
                                              noise walls
                                                      wallson onthe
                                                                  the viaduct
                                                                      viaduct can
                                                                               can obstruct  views of
                                                                                    obstruct views   of the
                                                                                                        the
                                       downtown
                                       downtown Denver          skyline
                                                     Denver skyline
                                  •   Relocating
                                       Relocating the the Nestlé
                                                           Nestle Purina
                                                                    Purina PetCare
                                                                            PetCare Company
                                                                                      Company andand removing
                                                                                                      removing thethe
      No-Action
      No-Action Alternative
                Alternative
                                       facility
                                       facility will
                                                willopen
                                                       openup  up some
                                                                  some views
                                                                         views to
                                                                                to the downtown Denver
                                                                                   the downtown    Denver skyline
                                                                                                             skyline
                                       (South   Option only)
                                       (South Option      only)
                                  •   New
                                       Newfeatures
                                              features of of the
                                                              the project
                                                                   project (e.g., detention ponds,
                                                                           (e.g., detention  ponds, retaining
                                                                                                      retaining
                                       walls)
                                       walls) will
                                                willchange
                                                      change thethe visual
                                                                     visual environment
                                                                            environment along
                                                                                          along the
                                                                                                  the project
                                                                                                      project
                                       corridor
                                       corridor
                                                                                                                        Use
                                                                                                                        Use the   Aesthetic and
                                                                                                                              the Aesthetic   and
                                                                                                                        Design   Guidelines (see
                                                                                                                        Design Guidelines      (see
                                  •   Replacing
                                       Replacing the the existing    viaduct with
                                                          existing viaduct    with new
                                                                                    new infrastructure
                                                                                        infrastructure will
                                                                                                         will           Attachment O)
                                                                                                                        Attachment     0)
                                       improve
                                       improve the      visual quality
                                                  the visual    quality                                                 developed during
                                                                                                                        developed    during the
                                                                                                                                              the
                                  •   New
                                       New noise
                                              noise walls
                                                      wallson onthe
                                                                  the viaduct
                                                                      viaduct can
                                                                               can obstruct  views of
                                                                                    obstruct views   of the
                                                                                                        the             EIS
                                                                                                                        EIS process    with
                                                                                                                             process with
                                       downtown
                                       downtown Denver          skyline
                                                     Denver skyline                                                     Denver
                                                                                                                        Denver andand the
                                                                                                                                       the
      Revised  Viaduct
      Revised Viaduct             •   Relocating
                                       Relocating the the Nestlé
                                                           Nestle Purina
                                                                    Purina PetCare
                                                                            PetCare Company
                                                                                      Company andand removing
                                                                                                      removing thethe   community during
                                                                                                                        community     during final
                                                                                                                                               final
      Alternative
      Alternative                      facility
                                       facility will
                                                willopen
                                                       openup  up some
                                                                  some views
                                                                         views to
                                                                                to the downtown Denver
                                                                                   the downtown    Denver skyline
                                                                                                             skyline    design to
                                                                                                                        design   to help
                                                                                                                                    helpCDOT
                                                                                                                                          CDOT
                                       (South   Option only)
                                       (South Option      only)                                                         identify
                                                                                                                        identify appropriate
                                                                                                                                  appropriate
                                  •   New
                                       Newfeatures
                                              features of of the
                                                              the project
                                                                   project (e.g., detention ponds,
                                                                           (e.g., detention  ponds, retaining
                                                                                                      retaining         aesthetic design
                                                                                                                        aesthetic   design
                                       walls)
                                       walls) will
                                                willchange
                                                      change thethe visual
                                                                     visual environment
                                                                            environment along
                                                                                          along the
                                                                                                  the project
                                                                                                      project           elements to
                                                                                                                        elements    to ensure
                                                                                                                                       ensure
                                       corridor
                                       corridor                                                                         compatibility within
                                                                                                                        compatibility    within
                                                                                                                        the community
                                                                                                                        the  community and  and
                                  •   Introducing
                                       Introducing public
                                                     publicspacespaceto tothe
                                                                           the area
                                                                               area and   reducing the
                                                                                     and reducing         roadway’s
                                                                                                      the roadway's     each viewshed;
                                                                                                                        each   viewshed;CDOTCDOT
                                       visual dominance
                                       visual dominance by    by removing
                                                                  removing thethe existing
                                                                                   existing viaduct
                                                                                             viaduct will
                                                                                                       will greatly
                                                                                                            greatly     is
                                                                                                                        is committed
                                                                                                                           committed to  to
                                       improve
                                       improve the    visual quality
                                                 the visual     quality                                                 following the
                                                                                                                        following   the
                                                                                                                        guidelines and
                                                                                                                        guidelines   and
                                  •   Ground-level
                                       Ground-level noise
                                                       noise walls
                                                                 wallsororsafety
                                                                           safety barriers
                                                                                   barriers are
                                                                                             are less
                                                                                                 less intrusive
                                                                                                       intrusive to
                                                                                                                  to
                                       viewers’ eyes
                                                 eyes compared
                                                        compared to   tothe
                                                                          theNo-Action
                                                                              No-Action andand Revised
                                                                                                Revised Viaduct
                                                                                                           Viaduct      continued community
                                                                                                                        continued    community
                                       viewers'
                                       Alternatives, but                                                                involvement     during
                                                                                                                        involvement during
      Partial Cover Lowered
      Partial Cover Lowered            Alternatives,   but they    also introduce
                                                            they also    introduce aa new
                                                                                       new visual
                                                                                             visual impact
                                                                                                     impact by by
                                       blocking
                                       blocking the
                                                  the view
                                                      view across
                                                               across the   highway                                     final design
                                                                                                                        final  design and
                                                                                                                                       and
      Alternative
      Alternative                                                      the highway
                                                                                                                        construction.
                                                                                                                        construction.
                                  •   Views for
                                       Views  for drivers
                                                   drivers traveling
                                                              traveling eastbound     and westbound
                                                                          eastbound and     westbound willwill be
                                                                                                               be
                                       entirely
                                       entirely different
                                                different from
                                                             from the    existing conditions
                                                                    the existing   conditions
                                  •   New
                                       Newfeatures
                                             features ofof the
                                                            the project
                                                                 project (e.g.,   detention ponds,
                                                                           (e.g., detention   ponds, retaining
                                                                                                       retaining
                                       walls)
                                       walls) will
                                              willchange
                                                    change the the visual
                                                                    visual environment
                                                                            environment along
                                                                                           along the
                                                                                                   the project
                                                                                                        project
                                       corridor
                                       corridor

                                  •   Additional visual
                                       Additional  visualbarriers
                                                          barriers will
                                                                   willbebecreated
                                                                             created with
                                                                                     with the direct
                                                                                          the direct
      Managed    Lanes Option
      Managed Lanes     Option         connections
                                       connections at  I-270, I-225, and
                                                    at 1-270,1-225,     andPerla
                                                                             Peña Boulevard
                                                                                   Boulevard
      (option to Build
      (option to  Build
                                  •   Managed
                                       Managed lanes
                                                 lanes infrastructure    will create
                                                        infrastructure will          new visual
                                                                              create new  visual impacts
                                                                                                 impacts along
                                                                                                         along
      Alternatives)
      Alternatives)
                                       the project
                                       the project corridor
                                                   corridor




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                                                                                                                                          5.8-25
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 5.8 Visual Resources
 5.8 Visual Resources and
                      and Aesthetic
                          Aesthetic Qualities
                                    Qualities                        I-70 East
                                                                     1-70 East Final
                                                                               Final EIS
                                                                                     EIS




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                                         intentionally left
                                                       left blank.
                                                            blank.




 5.8-26
 5.8-26                                                                   January 2016
                                                                          January 2016
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     I-70 East
     1-70 East Final
               Final EIS
                     EIS                                                                       5.10 Air Quality
                                                                                               5.10 Air Quality



     5.10
     5.10         Air Quality
                   it Qualit

     This  section presents
     This section   presents the
                             the air
                                  air quality
                                      quality analysis
                                              analysis forfor the
                                                              the study
                                                                  study
     area.
     area. The
            The discussion  includes air
                 discussion includes    air quality
                                            quality concerns,
                                                    concerns, emissions
                                                                emissions
     of interest,
     of interest, evaluation
                  evaluation methodology,
                              methodology, airair quality
                                                   quality impact
                                                            impact                           Federal and
                                                                                             Federal and
     analyses,
     analyses, and
                and mitigation    evaluations. Additionally,
                     mitigation evaluations.    Additionally, hotspot
                                                                  hotspot                       state
                                                                                                state
     analysis  for carbon
     analysis for  carbon monoxide
                           monoxide andand PMio
                                             PM10 is
                                                   is included   for
                                                      included for                           regulations
                                                                                             regulations
     Transportation    Conformity. All
     Transportation Conformity.      All other
                                          other analyses
                                                analyses andand                         •   NEPA
                                                                                             NEPA
     evaluations included
     evaluations   included in
                             in this
                                this section
                                      section are
                                              are not
                                                   not intended    for
                                                        intended for                    •   CEQ
                                                                                             CEQ Regulations
                                                                                                 Regulations
     conformity purposes.
     conformity   purposes.
                                                                                        •   Clean
                                                                                             Clean Air
                                                                                                   Air Act
                                                                                                       Act
                                                                                        •   Transportation
                                                                                             Transportation
      Since the
      Since   the Supplemental
                   Supplemental Draft     EIS was
                                   Draft EIS   was published
                                                     published in
                                                                in August
                                                                   August 2014,
                                                                           2014,             Conformity Rule
                                                                                             Conformity Rule
      additional analyses
      additional   analyses and
                              and content
                                   content review
                                             review have
                                                      have been
                                                            been performed
                                                                  performed for
                                                                              for
      many of
      many    of the
                 the resources
                      resources discussed
                                 discussed in in this  document. These
                                                 this document.    These updates,
                                                                          updates,      •   Colorado
                                                                                             Colorado Air
                                                                                                       Air
      along with
      along         changes resulting
              with changes    resulting from   the comments
                                         from the   comments received
                                                                 received on
                                                                           on the
                                                                              the            Pollution
                                                                                             Pollution
      Supplemental Draft
      Supplemental            EIS, have
                        Draft EIS,  have been
                                           been incorporated
                                                 incorporated into   this Final
                                                                into this Final EIS.
                                                                                EIS.         Prevention and
                                                                                             Prevention   and
      In this
      In  this section,
               section, the
                         the updates
                             updates include
                                       include the
                                                 the following
                                                      following items:
                                                                items:                       Control  Act
                                                                                             Control Act

          •   Updated traffic
               Updated  traffic data
                                data from
                                      fromthe
                                            theDRCOG
                                                DRCOG Compass
                                                        Compass model
                                                                model
               (Version 5.0)
               (Version       was used
                        5.0) was   used in  the analysis.
                                         in the analysis.
          •   Only
               Only the  Preferred Alternative
                     the Preferred    Alternative (Partial
                                                     (Partial Cover
                                                              Cover Lowered
                                                                        Lowered
               Alternative) was
               Alternative)  was modeled
                                   modeled in      the carbon
                                                in the  carbon monoxide
                                                                 monoxide hotspot
                                                                              hotspot
               analysis, since
               analysis, since all
                                 all of
                                     of the   alternatives were
                                        the alternatives     were modeled
                                                                     modeled
               previously  and showed
               previously and    showed low  low values,
                                                  values, and
                                                           and there
                                                                 there were
                                                                         were only
                                                                               only
               minor changes
               minor  changes to to the
                                     the traffic   data. This
                                          traffic data.   This alternative   resulted
                                                               alternative resulted
               in the highest
               in the highest carbon
                                carbon monoxide
                                         monoxide concentrations
                                                       concentrations in  in the
                                                                             the
               previous
               previous modeling,
                         modeling, so  so it  is assumed
                                           it is assumed that
                                                            that if   the modeled
                                                                   if the modeled
               values
               values are
                       are in
                            in conformity
                               conformity with with air
                                                    air quality   standards, all
                                                        quality standards,     all of
                                                                                   of
               the other
               the  other alternatives
                          alternatives would
                                          would be be as
                                                       as well.
                                                           well.
          •   An updated/corrected
               An                   inspection and
                  updated/corrected inspection and maintenance
                                                   maintenance file
                                                               file was
                                                                    was
               used
               used for the carbon
                    for the carbon monoxide
                                   monoxide hotspot
                                             hotspot analysis.
                                                     analysis.
          •   Dispersion modeling
               Dispersion             for the
                           modeling for   the PMio
                                              PM10 hotspot  analysis used
                                                    hotspot analysis used
               meteorological data
               meteorological  data from    the Stapleton
                                     from the   Stapleton meteorological
                                                          meteorological
               station to better
               station to better represent
                                 represent the
                                             the weather
                                                 weather conditions
                                                          conditions at
                                                                     at the
                                                                        the
               project location.
               project location.
          •   The PM
               The   10 background
                   PMio backgroundconcentration
                                    concentration for
                                                   for the
                                                       the hotspot analysis
                                                           hotspot analysis
               was
               was determined using new
                   determined using new guidance
                                        guidance from
                                                    from EPA.
                                                          EPA.
          •   On
               On the  recommendation of
                   the recommendation     of the
                                              the EPA,
                                                  EPA, changes
                                                       changes were
                                                                 were made
                                                                         made to
                                                                               to
               how the
               how       below-grade section
                    the below-grade    section of  highway in
                                                of highway  in the
                                                               the Preferred
                                                                   Preferred
               Alternative was
               Alternative  was modeled
                                modeled for
                                          for the
                                               the PMio
                                                   PM10 hotspot   analysis, and
                                                         hotspot analysis,   and
               the receptor network
               the receptor  network was
                                       was expanded
                                            expanded to   include all
                                                       to include  all locations
                                                                       locations
               outside
               outside the
                        the project
                            project right of way.
                                    right of way.
          •   An updated
               An            emissions inventory
                   updated emissions     inventory for
                                                    forNAAQS
                                                       NAAQS
               pollutants/precursors
               pollutants/precursors andand Mobile
                                             Mobile Source
                                                     Source Air
                                                            Air Toxics
                                                                Toxics (MSAT)
                                                                       (MSAT)
               pollutants is included.
               pollutants is  included.
          •   An updated
               An         discussion on
                  updated discussion on greenhouse
                                        greenhouse gases
                                                   gases is
                                                         is included.
                                                            included.
          •   Objectives
               Objectives and
                           and requirements
                                requirements for
                                               for an
                                                   an air
                                                       air quality
                                                           quality monitoring
                                                                   monitoring
               plan
               plan that will be
                    that will be utilized
                                 utilized during
                                          during the
                                                 the construction
                                                      construction phase
                                                                     phase of
                                                                            of
               the project to
               the project to monitor
                               monitorfor
                                        forPMio
                                            PM10 emissions
                                                 emissions are
                                                             are included.
                                                                  included.
          •   An update
               An  update on
                          on the
                             the transportation
                                 transportation conformity determination is
                                                conformity determination is
               included.
               included.



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                                                                                                         5.10-1
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 5.10 Air Quality
 5.10 Air Quality                                                                I-70 East
                                                                                 1-70 East Final
                                                                                           Final EIS
                                                                                                 EIS


 5.10.1  What
 5.10.1 What   are
             are   airquality
                 air   qualityconcerns
                               concernsand
                                         and why
                                             why are
                                                 are
         they important
         they important to   this project?
                         to this  project?

 Air pollution
 Air pollution comes
                 comes from
                        frommany
                               many different
                                    different sources:
                                               sources:stationary
                                                        stationary
 sources, such
 sources,  such as
                 as factories,
                    factories, power
                               power plants,
                                      plants, and
                                              and dry
                                                   dry cleaners;
                                                       cleaners;
 on- and
 on-      off-road mobile
     and off-road   mobilesources,
                            sources,such
                                     such as
                                           as cars,
                                              cars, buses,
                                                    buses, planes,
                                                           planes,
 trucks, and trains;
 trucks, and   trains; and
                       and naturally
                           naturallyoccurring
                                      occurring sources,
                                                 sources, such
                                                           such as
                                                                as
 windblown
 windblown dust
              dust and   emissions from
                    and emissions  from vegetation.
                                          vegetation.
 The
 The primary    air quality
      primary air   quality concerns
                             concerns about
                                       about the
                                               the 1-70
                                                   I-70 East
                                                          East
 highway improvements
 highway   improvements focus
                            focus on
                                   on local
                                      local population
                                             population exposure
                                                          exposure toto
 criteria pollutants—specifically,    particulate   matter,
 criteria pollutants—specifically, particulate matter, carbon carbon
 monoxide,
 monoxide, and    ozone; MSATs;
             and ozone;    MSATs;and and fugitive
                                          fugitive dust  from
                                                   dust from
 construction activities—because
 construction   activities—because this     project is
                                      this project  is proposing
                                                        proposing to
                                                                   to
 add  capacity. Although
 add capacity.   Although stationary
                            stationary sources
                                        sources exist
                                                  exist in
                                                         in this
                                                            this
                                                                                  Criteria
                                                                                  Criteria
 project
 project area  the air
          area the  air quality
                        quality impact
                                 impact analysis
                                         analysisisis focusing
                                                       focusing on
                                                                 on              pollutants
                                                                                 pollutants
 analysis  from mobile
 analysis from   mobile sources.
                          sources. Greenhouse
                                    Greenhouse gases,     while not
                                                  gases, while   not
                                                                            •   Ozone
                                                                                 Ozone (O
                                                                                       (03)
                                                                                          3)
 an  exposure issue,
 an exposure   issue, also
                       also are of interest
                            are of           due to
                                   interest due   to climate
                                                     climate change
                                                               change
 concerns.
 concerns.                                                                  •   Carbon
                                                                                 Carbon
                                                                                 monoxide (CO)
                                                                                 monoxide (CO)
 Criteria pollutants
 Criteria pollutants                                                        •   Particulate
                                                                                 Particulate
                                                                                 matter
                                                                                 matter 10
                                                                                         10
 The  Clean Air
 The Clean   Air Act
                  Act of
                       of 1970,
                          1970, as
                                 as amended,
                                    amended, identifies
                                               identifies six
                                                           six                   microns
                                                                                 microns or
                                                                                          or less
                                                                                             less
 commonly found
 commonly     foundair
                     air pollutants,
                          pollutants, also
                                      also known
                                           known asas criteria
                                                       criteria                  (PM 10)
                                                                                 (PMio)
 pollutants.  Each of
 pollutants. Each   of the
                        the criteria
                            criteria pollutants  has been
                                     pollutants has   been proven
                                                             proven         •   Particulate
                                                                                 Particulate
 through   scientific study
 through scientific          to have
                      study to  have adverse
                                      adverse effects
                                               effects on
                                                        on human
                                                            human                matter
                                                                                 matter 2.5
                                                                                          2.5
 health and
 health  and the
              the environment
                  environment and/or
                                  and/or property
                                          property (see
                                                    (see                         microns
                                                                                 microns oror less
                                                                                              less
                                                                                 (PM 2.5)
                                                                                 (PM2.5)
 Attachment J,
 Attachment       Air Quality
               J, Air  Quality Technical
                                Technical Report,
                                            Report, for
                                                    for health
                                                         health
 effects
 effects of
         ofthe
            the criteria
                criteria pollutants).
                          pollutants).                                      •   Nitrogen
                                                                                 Nitrogen dioxide
                                                                                          dioxide
                                                                                 (NO 2)
                                                                                 (NO2)
 The
 The criteria  pollutantsfor
      criteria pollutants    forwhich
                                  which NAAQS
                                         NAAQS have have been
                                                         been set   by
                                                               set by       •   Sulfur
                                                                                 Sulfur dioxide
                                                                                        dioxide
 the EPA   are  ozone,   carbon   monoxide,    particulate
 the EPA are ozone, carbon monoxide, particulate matter     matter               (SO 2)
                                                                                 (S02)
 (PM10 and
 (PALO    andPM  2.5), nitrogen
              PM2.5),    nitrogendioxide,
                                    dioxide,sulfur
                                              sulfurdioxide,
                                                     dioxide,and
                                                              and lead.
                                                                  lead.     •   Lead
                                                                                 Lead (Pb)
                                                                                      (Pb)
 The
 The EPA
      EPA and
            and state    and local
                 state and    local air
                                     air quality
                                         quality agencies
                                                  agencies track
                                                            track these
                                                                   these
 criteria pollutants
 criteria pollutants through
                        through actual
                                  actual measurements
                                           measurements of  of
 pollutant  concentrations in
 pollutant concentrations       in the air at
                                   the air at monitoring
                                               monitoring sites
                                                           sites across
                                                                 across
 the nation, including
 the nation,  including in in the
                              the Denver
                                   Denver region.
                                            region.
                                                                              What is
                                                                              What     a
                                                                                    is a
 Of
 Of the
     the NAAQS
         NAAQScriteria
                     criteria pollutants,  only ozone,
                              pollutants, only  ozone, particulate
                                                        particulate         nonattainment
                                                                            nonattainment
                                                                                area?
 matter  (PM
 matter (PALO,10 ), and  carbon   monoxidehave    been
                    and carbon monoxidehave been of     of concern
                                                           concern in
                                                                    in          area?

 the  Denver region,
 the Denver   region, since
                         since current  and/or historical
                                current and/or              monitoring
                                                historical monitoring      A “nonattainment
                                                                           A "nonattainment
                                                                           area”
                                                                           area" is
                                                                                  is a locality
                                                                                     a locality
 data  have shown
 data have  shown exceedances
                       exceedances ofofthe
                                        the standards.   Of these
                                             standards. Of   these         where   air pollution
                                                                           where air   pollution
 three, ozone is
 three, ozone   is the  only pollutant
                    the only             for which
                              pollutant for  which the  region is
                                                    the region  is         levels persistently
                                                                           levels persistently
 currently in
 currently in nonattainment.
               nonattainment. The   The Denver
                                        Denver region
                                                 region was
                                                         was               exceed   NAAQS.
                                                                           exceed NAAQS.
 re-designated
 re-designated to  to attainment/   maintenance status
                      attainment/ maintenance      status for
                                                           for carbon
                                                               carbon
 monoxide   (2001) and
 monoxide (2001)      andPALO
                           PM10 (2002).
                                  (2002).




 5.10-2
 5.10-2                                                                               January 2016
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                                                                                      5.10 Air Quality


     Ground-level ozone
     Ground-level ozone

     Ozone
     Ozone is is aa pollutant   created by
                    pollutant created     by the
                                              the chemical
                                                   chemical reaction
                                                                reaction of of
     volatile organic
     volatile  organic compounds
                          compounds and  and nitrogen
                                               nitrogen oxides
                                                           oxides in in the
                                                                        the
     presence
     presence of  of sunlight.   The ozone
                     sunlight. The   ozone molecule
                                              molecule is  is formed
                                                              formed through
                                                                         through
     this  chemical transformation,
     this chemical      transformation, which
                                            which typically
                                                     typically occurs
                                                                  occurs
     downwind
     downwind from  from the
                           the volatile
                               volatile organic
                                         organic compounds
                                                    compounds and    and nitrogen
                                                                          nitrogen
     oxides emission
     oxides   emission sources.
                           sources. As
                                    As aa result,    ozone is
                                            result, ozone    is considered
                                                                 considered a  a
     regional
     regional issue
                 issue rather    than aa localized
                         rather than      localized street     or intersection
                                                       street or   intersection
     issue,
     issue, and an individual highway project will typically have
             and   an   individual  highway     project    will  typically   have
     little or no
     little or no effect
                    effect on
                            on regional   ozone concentrations.
                               regional ozone     concentrations. Ozone Ozone is is
     evaluated     using the
     evaluated using       the volatile
                               volatile organic
                                         organic compounds
                                                    compounds and    and nitrogen
                                                                          nitrogen
     oxides emission
     oxides   emission precursors
                           precursors inin an
                                            an emission
                                                emission inventory
                                                            inventory burden
                                                                           burden
     analysis   instead of
     analysis instead      of using
                              using aa localized,
                                       localized, or  or hotspot,
                                                         hotspot, analysis
                                                                     analysis as
                                                                               as
     is
     is typical
        typical for
                  for particulate   matter and
                       particulate matter      andcarbon
                                                    carbon monoxide,
                                                              monoxide,
     because it
     because    it is
                   is aa regional
                         regional air
                                   air quality
                                       quality pollutant.
                                                  pollutant.
     As of
     As  of 2015,
            2015,the
                   the Denver
                       Denver region
                               regionisisclassified
                                          classifiedas
                                                     asnonattainment
                                                        nonattainment
     for
     for the 8-hour 2008
         the 8-hour  2008 ozone
                           ozone standard.    The region
                                  standard. The   region was
                                                          was
     originally designated
     originally designated under
                             under the
                                    the 1-hour
                                         1-hour standard,   which has
                                                 standard, which  has
     since been
     since  been replaced
                  replaced with
                           with an
                                 an 8-hour
                                    8-hour standard    in 2008.
                                             standard in  2008.
     Particulate
     Particulate matter
                 matter

     Particulate   matterisisaacomplex
     Particulate matter          complex mixture
                                           mixture of of very
                                                         very small
                                                                small
     particles  and liquid
     particles and   liquid droplets
                            droplets classified
                                       classified asas either
                                                       either inhalable
                                                                inhalable
     coarse-sized particles
     coarse-sized  particles (PALO
                               (PM10 refers
                                       referstotoparticles
                                                   particles 10
                                                              10 microns  or
                                                                  microns or
     less) or fine
     less) or fine particles  (PM2.5 refers
                   particles (PM2.5    refers to
                                               to particles
                                                  particles 2.5
                                                             2.5 microns
                                                                  microns or
                                                                           or
     less and makes
     less and  makesup  upaaportion
                             portionofofPALO).
                                          PM10). Diesel
                                                    Diesel tailpipe
                                                            tailpipe
     emissions;
     emissions; road,
                  road, brake,
                         brake, and
                                  and tire
                                      tire dust;
                                           dust; and    dust from
                                                   and dust   from
     construction activities
     construction   activities all
                                all contribute
                                    contribute to to particulate
                                                     particulate matter.
                                                                   matter.
     Particulate   matterisisnot
     Particulate matter       notaamajor
                                     majorcomponent
                                            component of    of emissions
                                                               emissions
     from
     from gasoline-powered
           gasoline-powered vehicles,
                                 vehicles,which
                                            whichare are the
                                                          the predominant
                                                              predominant
     source of
     source  of traffic
                traffic in
                        in this corridor.
                           this corridor.
     PM
     PALO10 isisa aproduct
                    productofofvehicle
                                vehicleemissions,
                                        emissions,road
                                                    roadsanding,
                                                          sanding, and
                                                                    and
     brake and
     brake   and tire
                    tire wear.
                         wear. This
                                This includes
                                     includes some
                                               some particles
                                                      particles that
                                                                 that are
                                                                      are
     large  enough     to be visible.
     large enough to be visible. PM2.5PM    is not visible to the  naked
                                         2.5 is not visible to the naked
     eye
     eye and
          and isis mainly
                    mainly aa product
                              product of
                                       of vehicle
                                          vehicle emissions
                                                   emissions and
                                                               and other
                                                                    other
     combustion sources.
     combustion       sources.
     The   ratio of
     The ratio     of PM2.5
                      PM2.5 totoPM  10 varies.
                                  PMio   varies.Based
                                                 Basedononthe
                                                            the emissions
                                                                emissions
     inventory
     inventory analysis        presented in
                   analysis presented      in this
                                              this chapter
                                                   chapter below,
                                                             below, non-dust
                                                                     non-dust
     PM  2.5 accounts
     PM2.5     accountsfor forapproximately
                               approximately57   57percent
                                                    percent of
                                                             of non-dust
                                                                non-dust
     PM
     PMio10 emissions;
             emissions;for   forroad
                                 roaddust,
                                       dust,EPA
                                             EPAhas hasestimated
                                                        estimated the
                                                                    the ratio
                                                                        ratio
     of PM
     of PM2.52.5 to
                  toPMPMio
                        10  emissions
                              emissions to
                                         tobe
                                            be 25
                                                25percent
                                                   percent (EPA,
                                                           (EPA,  2011a).
                                                                   2011a).
     PM
     PMio10 has
            has been
                 been aa concern
                         concern in
                                  in the
                                      the Denver
                                           Denver region
                                                   region in
                                                           in the
                                                               the past,
                                                                   past,
     but the
     but  the region
               region is
                      is currently
                         currently in
                                    in attainment/maintenance
                                        attainment/maintenance for   for
     this  pollutant. The
     this pollutant.  The Denver
                            Denver PM
                                    PMio 10 nonattainment
                                             nonattainment area
                                                             area was
                                                                    was
     re-designated   to  attainment/maintenance      status
     re-designated to attainment/maintenance status by the EPAby  the EPA

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     January 2016                                                                              5.10-3
                                                                                               5.10-3
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                                                                                                 EIS

 on September
 on September 16,
              16, 2002
                  2002 (EPA,
                        (EPA,2002)
                              2002)and
                                    andhas
                                        hasmaintained
                                           maintained the
                                                      the
 NAAQS
 NAAQSsince
         sincethat
               that time.
                    time.
 Denver
 Denver is is in
              in attainment   for both
                 attainment for   both the
                                        the1997,
                                            1997, 2006,
                                                  2006, andand 2012
                                                                 2012
 PM  2.5 standards.
 PM2.5    standards. There
                      There has   been one
                             has been   one exceedance
                                             exceedance of of the
                                                              the
 24-hour    PM2.5 standard
 24-hour PM2.5      standardsince
                             since 1999,
                                    1999,which
                                            whichoccurred
                                                  occurredat   at the
                                                                  the
 Denver    Continuous Air
 Denver Continuous       Air Monitoring
                             Monitoring Program
                                           Program (CAMP)
                                                      (CAMP)
 monitoring     stationin
 monitoring station     in2001;
                           2001;however,
                                  however,PM2.5
                                             PM2.5 isisnot
                                                        notaa pollutant
                                                              pollutant
 of concern
 of concernin  inthe
                  the Denver
                      Denverarea
                               area at
                                     at the
                                        the present   time, or
                                            present time,   or for
                                                                for the
                                                                     the
 foreseeable
 foreseeable future.
                future.
 Carbon monoxide
 Carbon monoxide

 Carbon  monoxide is
 Carbon monoxide     is aa colorless,
                           colorless, odorless
                                      odorless gas
                                                 gas emitted
                                                     emitted directly
                                                             directly
 from
 from vehicle
      vehicle tailpipes
               tailpipes asas aa product
                                 product of
                                          of incomplete
                                             incomplete combustion.
                                                         combustion.
 Because
 Because of
          of this,
             this, carbon
                   carbon monoxide
                             monoxidetends
                                         tends to
                                                to concentrate
                                                   concentrate at
                                                               at
 busy intersections
 busy                with high
      intersections with     high vehicle
                                   vehicle delays
                                            delays and
                                                    and congestion.
                                                        congestion.
 Carbon
 Carbon monoxide
         monoxide hashas been
                           been aa concern
                                   concern in
                                           in the
                                              the Denver
                                                  Denver region
                                                           region in
                                                                  in         Mobile source
                                                                             Mobile source
 the past, but
 the past, but the
               the region
                   region waswas re-designated
                                  re-designated to
                                                 to an
                                                    an attainment/
                                                       attainment/            air toxics
                                                                              air toxics
 maintenance    area for
 maintenance area     for this
                          this pollutant
                               pollutantin
                                         inDecember
                                            December 2001
                                                        2001 (EPA,
                                                              (EPA,         MSATs
                                                                            MSATs include
                                                                                     include
 2001).
 2001).                                                                     seven
                                                                            seven pollutants
                                                                                   pollutants
                                                                            designated
                                                                            designated by by EPA
                                                                                             EPA
 Mobile source
 Mobile source air toxics
               air toxics                                                   as having
                                                                            as          serious
                                                                               having serious
                                                                            health
                                                                            health and/or
                                                                                   and/or
 As part
 As       of the
     part of      Hazardous Air
             the Hazardous     Air Pollutants
                                   Pollutants (HAP)
                                                (HAP) Program
                                                        Program of of       environmental
                                                                            environmental
 the Clean Air
 the Clean   Air Act
                  Act Amendments
                      Amendments of   of 1990,
                                         1990, EPA
                                                EPA hashas identified
                                                           identified       effects:
                                                                            effects:
 approximately
 approximately 188 188 pollutants
                       pollutants that    are known
                                    that are  known to to cause
                                                          cause             1. Benzene
                                                                            1. Benzene
 health problems.
 health  problems. OfOf the  188 HAP
                        the 188   HAP toxic
                                         toxic air
                                               air pollutants,
                                                    pollutants, 21
                                                                21          2. Formaldehyde
                                                                            2. Formaldehyde
 have been
 have  been identified
             identified by
                         by the
                            theEPA
                                 EPA asasMobile
                                           Mobile Source
                                                    Source Air
                                                            Air Toxics
                                                                Toxics      3.
                                                                            3. Naphthalene
                                                                               Naphthalene
 (MSATs; see
 (MSATs;    see box
                 boxto
                     tothe
                        the right).
                            right). MSATs
                                    MSATs are are compounds
                                                   compounds
                                                                            4. Diesel
                                                                            4. Diesel
 emitted  from motor
 emitted from    motor vehicles
                        vehicles and
                                   and motorized
                                       motorized equipment
                                                     equipment that
                                                                 that          particulate
                                                                               particulate
 are known or
 are known    or suspected
                 suspected toto cause
                                cause cancer
                                       cancer oror other
                                                   other serious
                                                          serious              matter/Diesel
                                                                               matter/Diesel
 health and
         and environmental
              environmental effects.
                                effects.                                       exhaust organic
                                                                               exhaust  organic
 health
                                                                               gases
                                                                               gases
 Of
 Of the
     the 21
         21 MSATs,
             MSATs,the  theEPA
                             EPAhas
                                  has indicated
                                       indicated that
                                                   that the  majority of
                                                        the majority   of   5. Acrolein
                                                                            5. Acrolein
 adverse  health effects
 adverse health    effects come
                            come from
                                  from seven
                                         seven pollutants,    which
                                                 pollutants, which          6.   1,3-Butadiene
                                                                            6.   1,3-Butadiene
 FHWA
 FHWA has has labeled
               labeled as   priority MSATs
                        as priority  MSATs for for NEPA
                                                   NEPA studies.
                                                            studies.
                                                                            7. Polycyclic
                                                                            7. Polycyclic
 These
 These pollutants    are benzene,
         pollutants are   benzene, formaldehyde,
                                     formaldehyde, naphthalene,
                                                        naphthalene,           organic matter
                                                                               organic  matter
 diesel particulate   matter/diesel    exhaust   organic
 diesel particulate matter/diesel exhaust organic gases,   gases,
                                                                            Of
                                                                            Of these,  diesel
                                                                                these, diesel
 acrolein,
 acrolein, 1,3-butadiene,
            1,3-butadiene, andand polycyclic
                                   polycyclic organic
                                                organic matter   (see
                                                         matter (see        particulate
                                                                            particulate matter
                                                                                         matter
 Attachment J,
 Attachment        Air Quality
                J, Air  Quality Technical
                                 Technical Report,
                                             Report, for
                                                       for health
                                                           health           has
                                                                            has become
                                                                                 become thethe
 effects                                                                    primary   MSAT of
 effects of
         of the
             the seven
                 seven priority   MSAT pollutants).
                         priority MSAT     pollutants). Based
                                                         Based onon         primary MSAT     of
                                                                            concern. Diesel
                                                                            concern.  Diesel
 FHWA’s
 FHWA's analysis
            analysis using
                       using the  EPA’s air
                              the EPA's       quality models,
                                          air quality   models, diesel
                                                                 diesel     particulate
                                                                            particulate matter
                                                                                         matter
 particulate   matterisisthe
 particulate matter        thedominant
                               dominantMSATMSAT of  of concern.
                                                       concern.             refers
                                                                            refers to
                                                                                   to the
                                                                                      the
                                                                            particles
                                                                            particles emitted
                                                                                      emitted
 The
 The EPA
     EPA has   programs to
           has programs   to reduce
                             reduce emissions
                                    emissions of
                                               of many
                                                  many MSATs
                                                        MSATs               from  heavy diesel
                                                                            from heavy    diesel
 through emission control
 through emission  control technologies
                            technologies and
                                         and other
                                              other methods.
                                                    methods.                vehicles,  such as
                                                                            vehicles, such   as
                                                                            freight/delivery
                                                                            freight/delivery
 Primary  among these
 Primary among   these is
                       is EPA's
                           EPA’s Control
                                  Control of
                                          of Hazardous
                                             Hazardous Air
                                                         Air                trucks  and
                                                                            trucks and
 Pollutants from
 Pollutants from Mobile
                 Mobile Sources:
                         Sources: Final  Rule to
                                   Final Rule  to Reduce
                                                  Reduce Mobile
                                                         Mobile             construction
                                                                            construction
                                                                            equipment.
                                                                            equipment.



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                                                                                   5.10 Air Quality

     Source
     Source Air Toxics, issued
            Air Toxics, issued February
                               February 26,26, 2007,
                                               2007, to
                                                     to lower
                                                        lower
     emissions
     emissions of
               of benzene
                  benzene and
                            and other
                                other air toxics.
                                      air toxics.
     In response to
     In response   to concerns
                      concerns from
                                  from Denver
                                       Denverandand residents
                                                     residents about
                                                               about the
                                                                      the
     effects
     effects of
             of MSATs
                MSATson    onthe
                              the communities
                                   communities of
                                                ofnorth
                                                   north Denver
                                                          Denver and
                                                                  and
     Commerce
     Commerce City,
                  City, CDOT
                         CDOT provided
                                 providedadditional
                                           additional emissions
                                                       emissions
     modeling
     modeling data
                data toto the
                          the Denver
                              Denver Department
                                       Department ofof Environmental
                                                        Environmental
     Health  to use
     Health to  use in
                     in their  independent air
                         their independent   air quality
                                                 quality study
                                                          study for
                                                                for the
                                                                    the
     area, which is
     area, which   is called
                      called Going
                              Going One
                                     One Step
                                          Step Beyond
                                               Beyond in in North
                                                            North
     Denver:
     Denver: A A Neighborhood
                 Neighborhood ScaleScale Air
                                         Air Pollution
                                             Pollution Modeling
                                                        Modeling
     Assessment (The Good Neighbor Project 2015). The
     Assessment   (The   Good   Neighbor  Project 2015).   The study's
                                                               study's
     results are available
     results are  available onon the Denver Environmental
                                 the Denver   Environmental Health
                                                               Health
     website  at www.denvergov.org/content/denvergov/
     website at  www.denvergov.org/content/denvergov/
     en/environmental-health/environmental-quality/air-
     en/environmental-health/environmental-quality/air-
     quality.html.
     quality.html.
     Greenhouse gases
     Greenhouse gases
     Greenhouse
     Greenhouse gases
                    gases trap
                            trap heat
                                  heat and
                                        and make
                                             make the
                                                   the planet
                                                       planet warmer.
                                                                warmer.
     The
     The primary    sources of
          primary sources      of greenhouse
                                   greenhouse gas
                                                gas emissions
                                                    emissions inin the
                                                                   the
     United  States are
     United States    are from
                           from electricity
                                  electricity production,
                                              production,
     transportation,    industry, commercial
     transportation, industry,       commercial and
                                                  and residential
                                                      residential
     activities,
     activities, and agriculture. Most of the emissions are
                 and   agriculture.    Most of the emissions        due to
                                                               are due  to
     burning fossil
     burning   fossil fuels,
                      fuels, such
                              such asas petroleum,
                                        petroleum, coal,
                                                    coal,and
                                                           and natural
                                                                natural
     gas.
     gas. Others
          Others are    due to
                   are due   to the
                                 the handling
                                      handling and   waste management
                                                and waste    management
     of certain
     of          chemicals. Recent
        certain chemicals.    Recent concerns
                                        concerns with
                                                  with climate
                                                       climate change
                                                                 change
     (global warming)
     (global  warming) have
                          have prompted
                                  prompted directives
                                             directives to
                                                        to reduce
                                                            reduce
     greenhouse    gases, of
     greenhouse gases,     of which
                               which carbon
                                       carbon dioxide
                                               dioxideisisthe
                                                           the primary
                                                               primary
     component.
     component.
     The  full effects
     The full  effects of
                       of global
                           global warming
                                   warming caused
                                             caused by
                                                     by greenhouse
                                                        greenhouse
     gases
     gases are   largely unknown
            are largely   unknown but    potentially very
                                     but potentially  very serious,
                                                            serious,
     including
     including changes
                 changes in   precipitation causing
                           in precipitation   causing flooding
                                                      flooding and
                                                                 and
     drought;
     drought; heat   waves; warming
                heat waves;    warming ofof the
                                            the oceans
                                                oceans with
                                                         with the
                                                               the
     associated   melting of
     associated melting     of the
                               the ice
                                   ice caps
                                       caps and
                                             and rising
                                                 rising sea  levels; and
                                                        sea levels;  and
     higher acidity
     higher  acidity in
                      in the
                         the oceans.
                              oceans.
     Fugitive construction
     Fugitive construction dust
                           dust
     Fugitive
     Fugitive dust  in the
               dust in the lower
                            lower atmosphere
                                   atmosphere is     is aa type
                                                           type of
                                                                 of
     particulate matter. It
     particulate matter.   It can
                              can be
                                   be harmful
                                      harmful to   to humans
                                                       humans and and thethe
     environment.
     environment. Fugitive
                    Fugitive dust
                               dust has    been linked
                                     has been      linked to to asthma,
                                                                asthma,
     emphysema,
     emphysema, chronic
                   chronic obstructive
                             obstructive pulmonary
                                              pulmonary disease,
                                                             disease,
     bronchitis, and
     bronchitis, and heart
                      heart disease.
                              disease. ItItisisalso
                                                alsoaacomponent
                                                         component of   of haze,
                                                                           haze,
     which
     which causes
            causes visibility
                    visibility problems.
                                problems.ItIthas  has both
                                                       bothnatural
                                                              natural andand
     man-made
     man-made causes.
                 causes. Natural    examples of
                          Natural examples         of fugitive
                                                      fugitive dust      include
                                                                 dust include
     wind
     wind erosion
           erosion and
                    and wildfires.
                         wildfires. Human
                                     Human activities
                                                 activities that
                                                               that cause
                                                                     cause
     fugitive
     fugitive dust include agriculture,
              dust include                    construction, commercial
                             agriculture, construction,         commercial
     and  industrial operations,
     and industrial  operations, burning
                                   burning materials,
                                                materials, vehicle
                                                               vehicle
     exhaust,  and travel
     exhaust, and  travel (for
                           (for example,
                                 example, unpaved
                                               unpaved roads,
                                                           roads, tire    wear,
                                                                    tire wear,

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     January 2016                                                                           5.10-5
                                                                                            5.10-5
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                                                                                              EIS

 and  brake dust).
 and brake  dust). The
                   The term
                       term "fugitive"
                              “fugitive” refers
                                         refers to
                                                to the
                                                   the widespread
                                                         widespread
 or open-area
 or            sources of
    open-area sources  of the
                           the dust as compared
                               dust as compared to to aa single-
                                                         single-
 point source, such as a  smokestack.
 point source, such as a smokestack.
 Fugitive  construction dust
 Fugitive construction   dustisisonly
                                  only one
                                       one component
                                             component of   of lower
                                                               lower
 atmospheric
 atmospheric dust
                dust and
                     and particulate
                          particulate matter,
                                       matter, butbut it
                                                      it is
                                                          is singled
                                                             singled
 out for
 out for special
         special consideration
                 consideration because
                                 because ofof the
                                               the potential    effects
                                                   potential effects
 on people
 on people within
             within or
                    or near
                       near aa major
                               major construction
                                      construction project
                                                       project such
                                                                 such as
                                                                       as
 I-70 East.
 1-70  East. Dust
             Dust particles
                   particles can
                             can be
                                  be so
                                     sosmall
                                         smallthat
                                                 that they
                                                      they pass
                                                              pass
 through  the nasal
 through the   nasal cavity
                     cavity and
                             and into
                                  into the
                                       the lungs
                                            lungs toto cause
                                                       cause damage.
                                                                damage.
 Also, toxic and cancer-causing chemicals can attach to dust
 Also, toxic and  cancer-causing   chemicals    can  attach    to dust
 and  produce much
 and produce   much more
                      more profound
                            profound effects
                                        effects when
                                                 when inhaled.
                                                         inhaled.
 These
 These situations   may be
        situations may   be worsened
                            worsened during
                                         during construction
                                                  construction
 projects
 projects requiring  longer durations
          requiring longer   durations toto complete.
                                            complete.

 5.10.2  What
 5.10.2 What is is requiredfor
                required     forTransportation
                                 Transportation
         Conformity?
         Conformity?

 All state
 All        governments are
      state governments         required to
                            are required    to develop
                                               develop aa State
                                                           State
 Implementation
 Implementation Plan Plan (SIP),
                           (SIP), which
                                  which explains
                                           explains how
                                                      how the
                                                            the State  will
                                                                State will
 comply with
 comply    with the
                the requirements
                     requirements of of the
                                        the Clean
                                             CleanAirAir Act.
                                                          Act. The
                                                               The Act
                                                                    Act
 requires
 requires that    transportationplans,
            that transportation    plans, programs,
                                            programs, andand projects
                                                              projects
 that  aredeveloped,
 that are   developed, funded,
                        funded, oror approved
                                     approved by by FHWA
                                                     FHWA mustmust
 demonstrate     that such   activities “conform”    to
 demonstrate that such activities "conform" to the SIP. the  SIP.
 Transportation     conformity requirements
 Transportation conformity                        apply to
                                 requirements apply       to any
                                                             any
 transportation-related     criteriapollutants
 transportation-related criteria      pollutantsforfor which
                                                       which the
                                                               the project
                                                                   project
 area  has been
 area has   been designated
                   designated aa nonattainment
                                  nonattainment or   or
 attainment/maintenance
 attainment/maintenance area   area(for
                                     (for the
                                           the1-70
                                               I-70 East   project, these
                                                     East project,  these
 criteria pollutants
 criteria  pollutantsare
                       arecarbon
                            carbonmonoxide,
                                     monoxide,PALO,
                                                  PM10, and    ozone).
                                                          and ozone).
 Under   Section 176(c)
 Under Section     176(c) of
                          ofthe
                              theClean
                                  Clean Air
                                          AirAct,
                                              Act,aatransportation
                                                     transportation
 project
 project is
         is said  to "conform"
            said to  “conform” toto the
                                     the provisions
                                         provisions and
                                                    and purposes   of
                                                         purposes of
 the SIP if
 the SIP  if the
             the project,
                 project, both
                          both alone
                                alone and   in combination
                                        and in combination with
                                                             with
 other planned
 other planned projects,
                  projects, does
                             does not:
                                  not:
     •   Cause
          Cause or
                or contribute to new
                   contribute to new air quality violations
                                     air quality violations of
                                                            of the
                                                               the
          NAAQS,
          NAAQS,
     •   Worsen existing
          Worsen existing violations
                          violations of
                                     of the
                                        the NAAQS,
                                            NAAQS, or
                                                   or
     •   Delay
          Delay timely
                 timely attainment of the
                        attainment of the NAAQS
                                          NAAQS or
                                                or required
                                                   required
          interim  milestones.
          interim milestones.
 Conformity
 Conformity applies
              applies at both aa regional
                      at both    regional and
                                           and project
                                                project level
                                                         level for
                                                               for
 transportation  projects in
 transportation projects  in air
                             air quality
                                  quality nonattainment
                                           nonattainment andand
 attainment/  maintenance areas.
 attainment/ maintenance     areas.The
                                     Theregional
                                          regional conformity
                                                    conformity
 evaluations  are not
 evaluations are  not performed
                      performed by by CDOT,
                                      CDOT, nornor are
                                                   are they
                                                        they
 performed  for individual
 performed for              CDOT projects.
                individual CDOT     projects. The
                                              The regional
                                                   regional
 evaluations  are done
 evaluations are  done by
                        by the
                           the Metropolitan
                                Metropolitan Planning
                                               Planning
 Organization  (DRCOG,    in this  case) and  the Colorado
 Organization (DRCOG, in this case) and the Colorado


 5.10-6
 5.10-6                                                                            January 2016
                                                                                   January 2016
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                                                                                         5.10 Air Quality

     Department
     Department of  of Public
                       Public Health    and Environment
                                Health and   Environment(CDPHE),
                                                               (CDPHE), AirAir
     Pollution   Control Division
     Pollution Control    Division (APCD)
                                      (APCD)as as part
                                                   part of
                                                        of the
                                                            the formal
                                                                formal
     approval
     approval process for the RTP and TIP. The DRCOG Board
                process  for  the  RTP  and  TIP.  The   DRCOG      Board
     voted on
     voted  on the  2040 Fiscally
                the 2040  Fiscally Constrained
                                     Constrained RTPRTP 2015
                                                           2015 Cycle
                                                                  Cycle 2
                                                                        2
     Amendment Application
     Amendment      Application in in October
                                       October 2015
                                               2015 and
                                                      and will
                                                             will complete
                                                                  complete
     regional
     regional air  quality modeling
               air quality  modeling in in time  for aa public
                                           time for     public hearing
                                                                 hearing in
                                                                          in
     January2016,
     January   2016, and
                       and aa final
                               final Board
                                     Board vote
                                            vote in
                                                  in February
                                                     February 2016.
                                                                  2016. The
                                                                        The
     final conformity determination
     final conformity   determination willwill be
                                               be made
                                                   made before
                                                           before FHWA
                                                                   FHWA
     issues
     issues aa ROD,
               ROD, inin compliance
                         compliance with     40 CFR
                                        with 40 CFR 93.93.
     Furthermore,
     Furthermore, ifif the
                       the project
                            project changes
                                    changes in
                                             in concept
                                                concept or
                                                        or design
                                                           design                     What  is a
                                                                                      What is  a
     during  the planning
     during the  planning process,
                             process, the
                                      the regional
                                          regional emission
                                                   emission analysis
                                                             analysis                  hotspot
                                                                                       hotspot
                                                                                      analysis?
                                                                                      analysis?
     will
     will need
          need to
               to be
                  be revisited
                      revisited and
                                 and a
                                     a conformity
                                        conformity determination
                                                    determination
     completed before
     completed  before the   project can
                         the project can proceed
                                          proceed (40
                                                  (40 CFR
                                                      CFR 93.115).
                                                           93.115).              A hotspot
                                                                                 A           analysis is
                                                                                    hotspot analysis  is
                                                                                 an estimation
                                                                                 an  estimation of
                                                                                                 of
     Project-level
     Project-level or
                    or hotspot
                       hotspot conformity
                                conformity analyses
                                             analyses are  performed by
                                                      are performed     by       likely
                                                                                 likely future
                                                                                        future
                                                                                 localized
                                                                                 localized pollutant
                                                                                            pollutant
     CDOT
     CDOT forforindividual
                 individual projects.
                             projects. The
                                        The analyses
                                            analyses are
                                                      are needed
                                                          needed toto            concentrations and
                                                                                                  and
                                                                                 concentrations
     demonstrate    thatan
     demonstrate that    anindividual
                            individualproject
                                         project does
                                                 does not
                                                      not create
                                                           create new,
                                                                   new,          a comparison
                                                                                 a  comparison ofof
     increase  the frequency
     increase the  frequency of,
                               of, or
                                   or exacerbate
                                      exacerbate the  severity of
                                                  the severity  of air
                                                                   air           those
                                                                                 those
                                                                                 concentrations to
                                                                                 concentrations   to
     quality violations. A
     quality violations.  A Memorandum
                            Memorandum of    of Agreement
                                                Agreement between
                                                             between             the  relevant NAAQS.
                                                                                 the relevant  NAAQS.
     APCD and
     APCD        CDOT provides
            and CDOT     provides local
                                    local guidance
                                          guidance for
                                                    for the
                                                        the hotspot
                                                            hotspot
                                                                                 The small
                                                                                 The          scale of
                                                                                      small scale     of
     evaluation  process. Currently,
     evaluation process.                these analyses
                           Currently, these   analyses apply
                                                         apply only
                                                               only to
                                                                     to          the analysis (at
                                                                                 the analysis    (at the
                                                                                                      the
     carbon monoxide
     carbon  monoxideand andparticulate
                              particulate matter   emissions.
                                           matter emissions.                     level of a
                                                                                 level of a congested
                                                                                             congested
                                                                                 highway
                                                                                 highway
     A hotspot
     A  hotspot analysis    for 1-70
                 analysis for   I-70 East
                                     East is
                                           is required  for carbon
                                              required for  carbon               interchange,
                                                                                 interchange, for for
     monoxide
     monoxide because
                  because the
                            the Denver
                                Denver region
                                        region isis an
                                                    an                           example) allows
                                                                                 example)     allows for
                                                                                                       for
                                                                                 a detailed
                                                                                 a detailed
     attainment/maintenance
     attainment/maintenance area   areaand
                                        andbecause
                                              because project
                                                        project screening
                                                                 screening
                                                                                 examination of
                                                                                 examination      of
     criteria cited
     criteria citedinin40
                        40CFR
                            CFR93.123
                                  93.123(a)
                                          (a)were
                                              weretriggered.
                                                    triggered.AAPM10
                                                                   PM10          portions
                                                                                 portions of
                                                                                           of the
                                                                                               the
     hotspot analysis
     hotspot   analysis is
                         is required
                            required for
                                      for projects
                                          projects of
                                                    of local
                                                       local air
                                                             air quality
                                                                  quality        project  area with
                                                                                 project area    with
                                                                                 the
                                                                                 the worst
                                                                                     worst airair quality
                                                                                                  quality
     concern in
     concern   in PM
                  PALO10 nonattainment
                           nonattainmentand andattainment/
                                                 attainment/ maintenance
                                                               maintenance
                                                                                 to determine
                                                                                 to determine
     areas  per40
     areas per   40 CFR
                    CFR §§ 93.123(b).
                             93.123(b).                                          whether
                                                                                 whether it    will meet
                                                                                            it will meet
                                                                                 the NAAQS.
                                                                                 the NAAQS.
     EPA
     EPA regulations
           regulations state     that aaproject
                           state that    project will
                                                   will be
                                                        be determined
                                                           determined to to be
                                                                            be
     of local
     of local air
               air quality
                   quality concern
                             concern if
                                      if it
                                         it meets   any of
                                            meets any    of five
                                                            five evaluation
                                                                  evaluation
     criteria. Two
     criteria. Two of ofthe
                         the five
                              fivecriteria
                                   criteriaarearerelated
                                                  related to
                                                           to transit
                                                               transit
     projects
     projects and    are not
               and are   not applicable
                               applicable toto the
                                               the 1-70
                                                    I-70 East   project. The
                                                         East project.   The      Project of local
                                                                                  Project of local
                                                                                    air quality
                                                                                    air quality
     remaining
     remaining three      criteria are
                   three criteria  are all
                                        all potentially
                                             potentially applicable:
                                                          applicable:                concern
                                                                                     concern
         •   New
              New highway
                    highway projects
                              projects that
                                        that have
                                              have aa significant
                                                      significant number
                                                                  number         Projects are
                                                                                 Projects   are
              of diesel
              of diesel vehicles,
                        vehicles, and
                                  and expanded
                                       expanded highway
                                                   highway projects
                                                              projects that
                                                                        that     evaluated against
                                                                                 evaluated     against
                                                                                 five  criteria defined
                                                                                 five criteria   defined
              have a
              have  a significant
                      significant increase
                                  increase inin the
                                                the number
                                                     number ofof diesel
                                                                 diesel          by  the EPA
                                                                                 by the   EPA for
                                                                                                for
              vehicles.
              vehicles.                                                          determining
                                                                                 determining if      a
                                                                                                  if a
                                                                                 project
                                                                                 project isis of
                                                                                              of local
                                                                                                 local air
                                                                                                         air
         •   Projects
              Projects affecting
                        affecting intersections
                                   intersections that   are at
                                                   that are  at level
                                                                 level of
                                                                       of        quality   concern for
                                                                                 quality concern       for
              service  (LOS) D,  E,  or F with  a  significant  number
              service (LOS) D, E, or F with a significant number of       of     PM10. These
                                                                                 PMio.   These criteria
                                                                                                  criteria
              diesel                                                             are related
                                                                                      related to
              diesel vehicles,
                     vehicles, or
                               or those
                                   those that  will change
                                          that will  change toto LOS
                                                                  LOS D,D, E,
                                                                           E,    are            to
                                                                                 projects   that cause
                                                                                 projects that     cause
              or F
              or   because of
                 F because  of increased    traffic volumes
                               increased traffic    volumes from
                                                              from a a           a significant
                                                                                 a  significant
              significant number
              significant  number ofof diesel
                                        diesel vehicles
                                               vehicles related
                                                          related to
                                                                   to the
                                                                      the        increase
                                                                                 increase in in the
                                                                                                the
              project.                                                           number
                                                                                 number of  of diesel
                                                                                               diesel
              project.
                                                                                 vehicles.
                                                                                 vehicles.



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     January 2016                                                                                    5.10-7
                                                                                                     5.10-7
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                                                                                                                           1-70 EastFinal
                                                                                                                                     FinalEIS
                                                                                                                                           EIS


     • Projects
        Projectsininororaffecting
                          affectinglocations
                                     locations in areas,
                                                   in areas,or categories
                                                                 or categories
        of sites
           sites that
                  that are
                       are identified
                            identified in
                                        in the
                                            the PM  2.5 or or
                                                PM2.5      PMPALO
                                                               10
        applicable
        applicableimplementation
                      implementation     plan  or implementation
                                            plan  or implementation
        plan
        plan submission,
              submission,asas  appropriate,
                                  appropriate,  as sites   of violation
                                                     as sites           or
                                                                 of violation or
        possible
        possibleviolation.
                    violation.
 The
 The I-70
       1-70East
             Eastproject
                   projectwaswasdetermined
                                    determined to betoabeproject  of local
                                                             a project   of local
 air quality
     quality concern
              concernforforreasons
                              reasons listed  in the
                                          listed      firstfirst
                                                  in the     two two
                                                                 bullets   on on
                                                                       bullets
 the
 the previous
      previouspage
                 page (significant
                         (significantincrease   in the
                                         increase     in number
                                                         the numberof diesel
                                                                          of diesel
 vehicles and
 vehicles   andintersections
                 intersections  that  are/will
                                    that        change
                                          are/will   changeto LOS   D, E, D,
                                                                to LOS     or E, or
 F with  a significant  number     of diesel  vehicles),   through
   with a significant number of diesel vehicles), through the         the
 Interagency
 InteragencyConsultation
                Consultationprocess
                                  process with  CDOT,
                                              with  CDOT, FHWA,FHWA,EPA,EPA,
 and
 and APCD.
      APCD.ThisThisdetermination
                      determination    confirmed
                                          confirmed the the
                                                          needneed
                                                                for in-
                                                                      for in-
 depth
 depthhotspot
         hotspotanalysis
                   analysis to to
                               be be
                                   completed
                                       completedfor theforFinal  EIS. EIS.
                                                            the Final
 Further
 Further detail
           detailofofthis
                      thisinteragency
                            interagency   determination
                                             determination    process  is
                                                                  process     is
 included ininAttachment
 included      Attachment    J, J,
                                Air Quality
                                      Quality Technical Report.

 5.10.3   What
 5.10.3 What    study
             study areaarea
                        was was
                            used used to analyze
                                 to analyze       air quality?
                                            air quality?

 The
 The air
       air quality
           qualityanalyses
                   analyses forfor
                                I-70
                                   1-70East are based
                                          East         on both
                                                are based    onaboth a
 large geographic
 large  geographic  study  area
                       study     thatthat
                              area     encompasses   the corridor
                                           encompasses            and
                                                            the corridor and
 surrounding neighborhoods
 surrounding     neighborhoods  andandlocalized hotspot
                                          localized     areas areas
                                                     hotspot   that that
 are
 are focused
      focusedonon anan
                     intersection  or interchange.
                        intersection                TheseThese
                                        or interchange.    study study
 areas  are  shown
 areas are shown in in Exhibit
                       Exhibit   5.10-1.
                                5.10-1.
 Exhibit 5.10-1
 Exhibit 5.10-1                   Air Quality
                                  Air         StudyArea
                                      Quality Study Area


                             Welby
                              •
                                                     • Commerce  City/AlsupElementary
                                                       Commerce City/Alsup   Elementary
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                                      Martin Luther  King B14
                                                         BAN

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          Auraria                                            I
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                                               National Jewish  Hospital

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    •     Air quality
          Air qualitymonitoring
                      monitoring   station
                                station                      is          CO hotspot
                                                                            hotspot            PM hotspot
                                                                                                  hotspot                 Air quality
                                                                                                                          Air qualitystudy
                                                                                                                                      studyarea
                                                                                                                                             area



 5.10-8
 5.10-8                                                                                                                          January 2016
                                                                                                                                 January 2016
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                                                                                5.10 Air Quality

     Sources
     Sources of ofair
                    air pollution
                        pollutionwithin
                                     withinthe
                                             the study
                                                 study area
                                                        area are   mainly a
                                                              are mainly   a
     result  of traffic
     result of   traffic and
                          and industrial   activity. Moderate
                               industrial activity.   Moderate to to heavy
                                                                     heavy
     traffic along    north-south     arterials, as well  as
     traffic along north-south arterials, as well as the 1-70the  I-70
     corridor itself,
     corridor   itself, are  major local
                         are major   local contributors
                                           contributors ofof traffic-related
                                                             traffic-related
     air pollution in
     air pollution    in the
                          the study
                              study area.
                                      area. The
                                            The study
                                                  study area   contains
                                                         area contains
     several locations
     several  locations of  of moderate-
                               moderate-to  tohigh-intensity
                                               high-intensity industrial
                                                                industrial
     activity,  so it
     activity, so      is prone
                    it is prone toto several  point sources
                                     several point   sources of
                                                              of air
                                                                 air
     pollution,
     pollution, along
                   along with
                           with the
                                 the commercial
                                      commercial traffic
                                                    traffic and
                                                            and railroads
                                                                 railroads
     associated
     associated withwith those
                          those activities.
                                  activities.

     5.10.4
     5.10.4       What  are the
                  What are  the existing
                                existing conditions
                                         conditions for
                                                    for air
                                                        air
                  quality?
                  quality?

     The
     The Denver
          Denver metropolitan
                    metropolitan area
                                  area isis located
                                            located in in the
                                                           the South
                                                                South Platte
                                                                       Platte
     River
     River drainage
            drainage area,   with mountains
                      area, with  mountains located
                                                 located to  to the
                                                                the west
                                                                    west and
                                                                          and
     relatively high  terrain to the   south  and    north.   Under
     relatively high terrain to the south and north. Under certain    certain
     meteorological
     meteorological conditions,
                      conditions, the
                                    the local
                                        local topography
                                               topography has   has the
                                                                    the
     tendency
     tendency toto trap
                   trap pollutants,   resulting in
                        pollutants, resulting     in elevated
                                                      elevated ambient
                                                                  ambient
     concentrations. The
     concentrations.   The pollutants
                            pollutants can
                                         can be
                                              be trapped
                                                   trapped under
                                                               under strong
                                                                      strong
     atmospheric
     atmospheric temperature      inversions that
                    temperature inversions              inhibit dispersion
                                                that inhibit     dispersion
     and  cause poor
     and cause   poor air
                       air quality.
                           quality.
     The
     The areas  directly adjacent
          areas directly   adjacent toto the
                                          the 1-70
                                              I-70 corridor
                                                    corridor are
                                                              are primarily
                                                                  primarily
     industrial
     industrial with pockets of residential neighborhoods. In
                with   pockets   of residential    neighborhoods.   In
     addition to the
     addition to the mobile
                      mobile source
                                source emissions
                                         emissions analyzed
                                                     analyzed inin detail
                                                                   detail in
                                                                          in
     this document, point-source
     this document,    point-source pollution
                                       pollution caused
                                                   caused by
                                                           by nearby
                                                               nearby
     commercial sites
     commercial    sites is
                         is also
                            also aa consideration
                                    consideration forfor air
                                                         air quality.
                                                             quality.
     Pollution
     Pollution from
               from large
                      large trucks
                             trucks isis also
                                         also aa local
                                                 local consideration.
                                                       consideration.
     Diesel
     Diesel vehicles
            vehicles travel
                       travel the   highway corridor,
                               the highway     corridor, and
                                                          and use  the local
                                                               use the local
     roadway
     roadway network
               network to to reach
                             reach commercial
                                     commercial destinations
                                                    destinations
     throughout
     throughout the
                  the study
                       study area.
                               area.
     Existing
     Existing air quality conditions
              air quality   conditions are
                                         are described
                                             described in
                                                        in this
                                                           this
     subsection in
     subsection  in terms
                    terms ofof the
                                the Denver
                                     Denver region’s
                                             region'sattainment
                                                      attainment and
                                                                   and
     nonattainment     status for
     nonattainment status      for criteria
                                   criteria pollutants,
                                            pollutants, the  status of
                                                        the status  of
     the project as
     the project as it
                     it relates  to transportation
                        relates to  transportation conformity
                                                    conformity
     requirements,
     requirements, andand the
                           the estimated
                                estimated2010
                                            2010 emissions
                                                 emissions levels
                                                             levels
     based on
     based on modeling
               modeling of of criteria
                              criteria pollutants,  MSATs, and
                                        pollutants, MSATs,    and
     greenhouse
     greenhouse gases.
                  gases.




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     January 2016                                                                        5.10-9
                                                                                         5.10-9
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 Existing conditions—criteria
 Existing conditions—criteria pollutant emissions
                              pollutant emissions
 EPA
 EPA air
     air quality
         quality status
                 status

 As of
 As  of January  2015, ground-level
        January 2015,   ground-level ozone
                                      ozone is
                                             is the
                                                the only
                                                    only NAAQS
                                                          NAAQS
 criteria pollutant
 criteria pollutant for
                     for which
                         which areas
                               areas of
                                      of Colorado
                                         Colorado are
                                                    are designated
                                                        designated
 as nonattainment. Seven
 as nonattainment.    Seven counties
                             counties in
                                       in the
                                          the Denver
                                              Denver
                                                                                Attainment/
                                                                                Attainment/
 metropolitan   area and
 metropolitan area    and portions
                          portions of
                                   of two
                                       two counties
                                            counties in
                                                      in the
                                                         the                    maintenance
                                                                                maintenance
 Colorado
 ColoradoNorth
            North Front
                   Front Range
                          Range are
                                 are currently
                                      currently designated
                                                  designated as
                                                             as                    status
                                                                                   status
 nonattainment
 nonattainment forforexceeding
                      exceeding the
                                 the 2008
                                     2008 8-hour
                                            8-hour ozone
                                                    ozone                     Any geographic
                                                                              Any  geographic
 standards.
 standards.                                                                   region
                                                                              region of   the United
                                                                                       of the United
                                                                              States
                                                                              States that    was
                                                                                       that was
 The
 The Denver
      Denver region
                region was
                         was previously
                                previously designated
                                             designated                       previously
                                                                              previously
 nonattainment       for carbon    monoxide
 nonattainment for carbon monoxide and         and PMio.
                                                   PM10. TheThe region
                                                                region        designated
                                                                              designated
                                                                              nonattainment
 was
 was re-designated
      re-designated to   to attainment/maintenance
                            attainment/maintenance status         (see
                                                           status (see        nonattainment
                                                                              pursuant
                                                                              pursuant to to the
                                                                                             the
 box to
 box  to the
         the right)   for carbon
              right) for  carbon monoxide
                                     monoxide bybythe
                                                    the EPA
                                                         EPAon onJanuary
                                                                  January     Clean
                                                                              Clean Air
                                                                                      Air Act
                                                                                          Act
 14, 2002,
 14, 2002, and    for PMio
            and for    PM10 by by the
                                   the EPA
                                       EPA onon September
                                                 September 16,16, 2002
                                                                  2002        Amendments of
                                                                              Amendments       of
 (EPA, 2002).                                                                 1990   can
 (EPA,   2002).Denver
                  Denverisisin  inattainment    for the
                                   attainment for   the 1997,
                                                         1997, 2006
                                                                2006 and
                                                                      and     1990 can
                                                                              subsequently
                                                                              subsequently be  be re-
                                                                                                   re-
 2012
 2012 PM   2.5 standards.
       PM2.5     standards.There
                              There have
                                       have not
                                            not been
                                                 been any
                                                       any exceedances
                                                            exceedances       designated
                                                                              designated to to
 of the
 of the carbon
        carbon monoxide
                  monoxidestandard
                                 standard at  any of
                                           at any  of the  four
                                                      the four                attainment subject
                                                                              attainment    subject
 monitoring                                                                   to the requirement
                                                                                      requirement
 monitoring stations
                stations in
                          in the    study area
                              the study   area since
                                                since 1999.
                                                       1999. There
                                                              There has
                                                                     has      to the
                                                                              to develop a
                                                                              to develop    a
 been one
 been  one exceedance
            exceedance of   of the   24-hour PM2.5
                               the 24-hour    PM2.5 standard
                                                      standard in
                                                                in 2001
                                                                   2001       maintenance
                                                                              maintenance planplan
 at the CAMP
 at the  CAMP station.
                   station. Monitoring
                             Monitoringstations
                                            stations in
                                                      in the
                                                         the study
                                                             study area
                                                                    area      under   section 175A
                                                                              under section    175A
 were
 were shown
       shown previously
                 previously in     Exhibit 5.10-1.
                               in Exhibit    5.10-1.                          of the
                                                                              of the Clean
                                                                                      Clean Air
                                                                                              Air Act,
                                                                                                  Act,
                                                                              as amended.
                                                                              as  amended.
 Although there
 Although            is currently
              there is  currently no no monitoring
                                        monitoring station       located in
                                                       station located   in
 close proximity
 close  proximity to to I-70,
                        1-70,recently
                                recentlyaa near-road
                                             near-road monitoring
                                                          monitoring
 station was
 station   was set
                set up
                     up in
                         in the
                            the area   to measure
                                 area to  measure ambient
                                                      ambient air air
 quality
 quality adjacent
           adjacent toto a  major interstate
                          a major                highway. Located
                                    interstate highway.       Located
 along   I-25 approximately
 along 1-25    approximately 0.5  0.5 mile
                                       mile south
                                            south ofof the  Colfax
                                                        the Colfax
 Avenue interchange,
 Avenue                     this monitor
            interchange, this     monitor collects
                                            collects data    in close
                                                       data in  close
 proximity
 proximity to to the  busy 1-25
                 the busy    I-25 corridor.
                                   corridor. InIn the
                                                  the first  complete
                                                       first complete
 year of
 year  of data
           datacollection
                 collection (2014),
                              (2014), the
                                       theaverage
                                           average24-hour
                                                       24-hourPALOPM10
 concentration was
 concentration     was found
                         found toto be
                                    be 28.1
                                        28.1 µg/m3,
                                              µg/m , and
                                                    3       the maximum
                                                       and the   maximum
 value for
 value   for the  year was
             the year   was 115.2     µg/m . These
                              115.2 µg/m3. 3  These values
                                                       values are
                                                                are
 substantiallybelow
 substantially    belowthe the24-hour
                                24-hourNAAQS
                                          NAAQSfor   forPMio
                                                         PM10 ofof 150
                                                                   150
 µg/m
 µg/m3 3


 Emission
 Emission inventories—criteria
          inventories—criteria pollutants
                               pollutants

 Emission
 Emission inventories     were developed
            inventories were    developed forfor the NAAQS criteria
                                                 the NAAQS       criteria
 pollutants.  The year
 pollutants. The  year 2010
                         2010 is
                               is used
                                  used to
                                        to represent    existing levels
                                            represent existing    levels
 of emissions,
 of emissions, since
                since this
                       this year
                            year is
                                  is consistent
                                     consistent with
                                                  with the   most
                                                        the most
 recent  regional conformity
 recent regional  conformity model
                                model available
                                        available atat the  time of
                                                       the time   of
 publication.
 publication. Existing
               Existing emissions
                         emissions of of criteria
                                         criteria pollutants    (or
                                                   pollutants (or
 their precursors, as
 their precursors,  asdefined
                        defined in
                                 inSection
                                     Section 5.10.1)
                                              5.10.1) in
                                                       in the
                                                          the 1-70
                                                               I-70 air
                                                                     air
 quality
 quality study
          study area  are shown
                area are   shown in    Exhibit 5.10-2.
                                   in Exhibit     5.10-2.




 5.10-10
 5.10-10                                                                                January 2016
                                                                                        January 2016
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                     EIS                                                                                             5.10 Air Quality
                                                                                                                     5.10 Air Quality

     Exhibit
     Exhibit 5.10-2
             5.10-2               Existing
                                  Existing (2010) Criteria Pollutant
                                           (2010) Criteria Pollutant Emissions
                                                                     Emissions (study
                                                                                (study area,
                                                                                       area, tons
                                                                                             tons per
                                                                                                  per day)
                                                                                                      day)

      Pollutant
      Pollutant                                                                      January
                                                                                     January                           July
                                                                                                                       July

      Volatile organic
      Volatile organic compounds
                       compounds (Ozone
                                 (Ozone precursor)
                                        precursor)                                       3.34
                                                                                         3.34                             3.38
                                                                                                                          3.38

      Nitrogen
      Nitrogen oxides
               oxides (Ozone
                      (Ozone precursor)
                             precursor)                                                15.38
                                                                                       15.38                           14.64
                                                                                                                       14.64

      Carbon monoxide
      Carbon monoxide                                                                  53.10
                                                                                       53.10                           55.58
                                                                                                                       55.58

      PM
      Pfrho
         10                                                                              0.91
                                                                                         0.91                             0.66
                                                                                                                          0.66

      PM 2.5
      PM2.5                                                                              0.74
                                                                                         0.74                             0.51
                                                                                                                          0.51

      Sulfur dioxide
      Sulfur dioxide'1                                                                   0.09
                                                                                         0.09                             0.07
                                                                                                                          0.07

     Note: Because
     Note: Because lead
                     lead has
                          has been
                                 beeneliminated
                                       eliminatedfrom
                                                   from on-road
                                                            on-road vehicle
                                                                     vehicle fuels,
                                                                               fuels, itit is
                                                                                           is no
                                                                                              no longer
                                                                                                  longer a
                                                                                                         a pollutant of concern
                                                                                                           pollutant of concern from
                                                                                                                                  from
     roadway emissions,
     roadway  emissions, so
                          so itit is
                                  is not
                                     not included
                                         included in
                                                  in the
                                                     the analysis
                                                            analysis of
                                                                      of criteria
                                                                          criteria pollutants.
                                                                                   pollutants.
     1. Sulfur
     I.  Sulfur dioxide
                dioxide was
                        was analyzed
                             analyzed because
                                           becauseitit is
                                                        is aa pollutant
                                                              pollutant of
                                                                         of general
                                                                            general air
                                                                                      air quality    concern and
                                                                                            quality concern  and contributes
                                                                                                                  contributes to   the
                                                                                                                                to the
         overall conditions
         overall conditions of
                            of the    study area.
                                  the study  area. Sulfur
                                                   Sulfur dioxide
                                                             dioxide is
                                                                      is not  considered aa transportation-related
                                                                         not considered          transportation-related criteria
                                                                                                                         criteria
         pollutant.
         pollutant.


     Existing conditions—MSAT
     Existing conditions—MSAT emissions
                              emissions
     Although FHWA
     Although   FHWA guidance
                         guidance recommends
                                    recommendsaaquantitative
                                                      quantitative
     analysis of MSATs,
     analysis of MSATs,therethereare
                                   are no
                                       nonational
                                           national standards.
                                                     standards.
     Knowledge
     Knowledge of ofMSATs
                     MSATsisisprogressing
                                  progressingand
                                               andresearch
                                                    research continues.
                                                              continues.
     FHWA
     FHWA has issued interim guidance (Marchese, 2012) that
             has issued   interim  guidance   (Marchese,   2012)   that
     addresses  incomplete or
     addresses incomplete     or unavailable
                                 unavailable information
                                               information related
                                                             related to
                                                                      to
     MSATs, and
     MSATs,    and that
                    that language
                         language isis included
                                       included in
                                                 in Attachment
                                                    Attachment J,    Air
                                                                  J, Air
     Quality Technical Report.
     Quality Technical    Report. The
                                   The technical
                                        technical report
                                                   report also
                                                          also contains
                                                                contains
     information  about national
     information about    nationalMSAT
                                    MSAT trends
                                            trendsand
                                                    andongoing
                                                         ongoing MSAT
                                                                   MSAT
     research.
     research.
     Emission
     Emission inventories—MSATs
              inventories—MSATs
     Emission
     Emission inventories
              inventories werewere prepared
                                     prepared for
                                                for the
                                                    the seven
                                                         seven MSATs.
                                                               MSATs.
     The
     The year 2010 is
         year 2010  is used
                        used to to represent  existing levels
                                   represent existing   levels of
                                                               of
     emissions,
     emissions, since
                since this
                       this year
                              year is
                                    is consistent
                                       consistent with   the base
                                                   with the  base year
                                                                   year of
                                                                        of
     the DRCOG regional
     the DRCOG    regional travel
                               travel demand
                                       demand model
                                                model and
                                                        and the
                                                             the
     conformity determination
     conformity  determination for  for the
                                        the RTP
                                             RTP and
                                                  and TIP.
                                                        TIP. Existing
                                                             Existing
     MSAT emissions
     MSAT   emissions in in the
                             the I-70
                                  1-70air
                                        airquality
                                            qualitystudy
                                                    study area
                                                           area are  shown
                                                                 are shown
     in Exhibit 5.10-3.
     in Exhibit  5.10-3.

     Exhibit
     Exhibit5.10-3
             5.10-3               Existing
                                  Existing (2010) MSAT Emissions
                                           (2010) MSAT  Emissions(study
                                                                  (study area,
                                                                         area, tons
                                                                               tons per
                                                                                    per day)
                                                                                        day)

                          Pollutant
                          Pollutant                                      January
                                                                         January                                   July
                                                                                                                   July

      Benzene
      Benzene                                                               0.066
                                                                            0.066                                  0.093
                                                                                                                   0.093

      Formaldehyde
      Formaldehyde                                                          0.050
                                                                            0.050                                  0.053
                                                                                                                   0.053

      1,3-Butadiene
      1,3-Butadiene                                                         0.009
                                                                            0.009                                  0.011
                                                                                                                   0.011

      Acrolein
      Acrolein                                                              0.003
                                                                            0.003                                  0.004
                                                                                                                   0.004

      Naphthalene
      Naphthalene                                                           0.007
                                                                            0.007                                  0.007
                                                                                                                   0.007

      Polycyclic
      Polycyclicorganic
                 organic matter
                         matter                                             0.003
                                                                            0.003                                  0.003
                                                                                                                   0.003

      Diesel
      Diesel particulate
             particulate matter
                         matter                                             0.374
                                                                            0.374                                  0.377
                                                                                                                   0.377



     January 2016
     January 2016                                                                                                                5.10-11
                                                                                                                                 5.10-11
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 5.10 Air Quality                                                                  I-70 East
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                                                                                                   EIS


 Existing conditions—Greenhouse
 Existing conditions—Greenhouse gas
                                gas emissions
                                    emissions
 Within the
 Within      study area,
         the study  area, the
                          the daily
                                daily greenhouse
                                       greenhouse gasgas emission
                                                          emission
 inventories  were estimated
 inventories were  estimatedby  by APCD
                                     APCD toto be
                                               be 3,939
                                                   3,939 tons
                                                          tons per
                                                                per
 weekday
 weekday inin January   2010 and
              January 2010     and 4,184
                                     4,184 tons
                                           tons per
                                                 per weekday
                                                      weekday in in
 July 2010.
 July 2010. There
             There are
                    are no
                        no specific
                            specific requirements
                                       requirements forfor conducting
                                                           conducting
 a greenhouse gas
 a greenhouse   gas analysis
                    analysis for
                               for aa NEPA
                                      NEPA project.
                                              project. To
                                                        To date,  no
                                                           date, no
 national standards have
 national standards    have been
                             been established
                                    established regarding
                                                  regarding
 greenhouse
 greenhouse gases,
              gases, nor
                      nor has
                          has the   EPA established
                               the EPA    established criteria    or
                                                         criteria or
 public health  and  safety  thresholds   for ambient    greenhouse
 public health and safety thresholds for ambient greenhouse
 gas
 gas emissions
     emissions pursuant
                 pursuant toto its authority to
                               its authority   to establish
                                                  establish motor
                                                              motor
 vehicle emission
 vehicle emission standards
                   standards forfor carbon
                                     carbon dioxide
                                             dioxide under
                                                       under the
                                                               the
 Clean  Air Act.
 Clean Air  Act.
 The
 The Air
      Air Quality
           Quality Protocol
                      Protocol developed
                                 developedthrough through thethe Interagency
                                                                  Interagency
 Consultation     process used
 Consultation process              for this
                            used for           project calls
                                        this project     calls for
                                                                for the
                                                                     the
 reporting  of global,
 reporting of   global, national,
                          national, statewide,
                                       statewide, and  and regional
                                                            regional
 emissions
 emissions ofof greenhouse
                 greenhouse gases
                                gases to to provide
                                             provide context
                                                        context forfor the
                                                                        the
 study area
 study  area emissions
              emissions calculated
                            calculated for  for the   I-70 alternatives.
                                                the 1-70     alternatives.
 Greenhouse
 Greenhouse gases
                gases areare different
                             different fromfrom other
                                                   other air
                                                           air pollutants
                                                               pollutants
 evaluated
 evaluated inin federal
                 federal environmental
                           environmental reviewsreviews because
                                                            because their
                                                                        their
 impacts   are not
 impacts are    not localized
                     localized oror regional
                                     regional due  due to
                                                        to their
                                                            their rapid
                                                                   rapid
 dispersion   into the
 dispersion into    the global
                         global atmosphere.
                                  atmosphere. The    The affected
                                                           affected
 environment
 environment for for carbon
                      carbon dioxide
                               dioxide and and other
                                                  other greenhouse
                                                         greenhouse gas   gas
 emissions
 emissions isis the
                the entire    planet. In
                      entire planet.     In addition,
                                             addition, from
                                                          from a a
 quantitative    perspective, global
 quantitative perspective,       global climate
                                           climate change
                                                       change is is the
                                                                    the
 cumulative result
 cumulative    result ofof numerous
                           numerous and   and varied
                                                varied emissions
                                                          emissions sources
                                                                        sources
 (in terms
 (in        of both
     terms of  both absolute      numbers and
                       absolute numbers         and types),
                                                      types), each
                                                                each ofof which
                                                                          which
 makes   a relatively    small   addition     to  global
 makes a relatively small addition to global atmospheric   atmospheric
 greenhouse
 greenhouse gasgas concentrations.
                     concentrations. In    In contrast
                                               contrast to to broad
                                                              broad scale
                                                                       scale
 actions
 actions such
          such asas actions
                    actions involving
                              involving an    an entire
                                                  entire industry      sector or
                                                          industry sector     or
 very large
 very  large geographic
             geographic areas,
                             areas, it   is difficult
                                      it is  difficult to
                                                        to isolate
                                                            isolate and
                                                                      and
 understand
 understand thethegreenhouse
                     greenhouse gas  gas emissions
                                           emissions impacts
                                                         impacts fromfrom a a
 particular  transportation project.
 particular transportation        project. Furthermore,
                                              Furthermore, there there isis
 currently no
 currently  no scientific
                scientific methodology
                             methodology for     for attributing     specific
                                                     attributing specific
 climatological changes
 climatological    changesto   toaaparticular
                                     particular transportation
                                                    transportation
 project’s
 project's emissions.
           emissions.
 FHWA
 FHWA has
        has concluded,
             concluded,based
                         based on
                                onthe
                                    the nature  of greenhouse
                                        nature of   greenhouse gas
                                                               gas
 emissions
 emissions and  the exceedingly
           and the   exceedingly small
                                  small potential
                                         potential greenhouse
                                                     greenhouse
 gas
 gas impacts
     impacts of
             of the
                 the proposed
                     proposed action,
                               action,that
                                        that the
                                             the greenhouse
                                                 greenhouse gas
                                                             gas
 emissions
 emissions from
           from the
                  the proposed
                      proposed action
                                action will
                                        will not
                                             not result
                                                  result in
                                                         in
 “reasonably foreseeable
 "reasonably foreseeable adverse
                          adverse impacts
                                    impacts onon the
                                                  the human
                                                      human
 environment”  (40 CFR
 environment" (40   CFR 1502.22(b)).
                         1502.22(b)).
 The
 The transportation   sector—defined as
     transportation sector—defined     as all
                                          all vehicles
                                               vehicles whose
                                                        whose
 primary  purpose is
 primary purpose   is transporting
                      transportingpeople
                                    people and/or
                                            and/or goods
                                                    goods from
                                                           from
 one physical
 one physical location
               location to
                         to another—is
                            another—is the
                                        the second
                                            second largest
                                                     largest
 source of
 source of total
           total greenhouse
                 greenhouse gas
                              gas emissions
                                  emissions inin the U.S., behind
                                                 the U.S., behind

 5.10-12
 5.10-12                                                                                January 2016
                                                                                        January 2016
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                                                                                                            5.10 Air Quality

     electricity
     electricity generation. According to
                 generation. According    to data
                                             data from
                                                   from the
                                                         the Inventory
                                                             Inventory
     of Greenhouse
     of Greenhouse Gas    Emissions and
                      Gas Emissions    and Sinks,
                                            Sinks, 1990-2010
                                                    1990-2010 (EPA,
                                                                (EPA,
     2012), the  transportation  sector  was   responsible
     2012), the transportation sector was responsible for   for
     approximately
     approximately 27 27 percent of all
                         percent of  all anthropogenic
                                         anthropogenic (human
                                                          (human
     caused) greenhouse
     caused)               gas emissions
              greenhouse gas   emissions in    the U.S.
                                           in the  U.S. in
                                                        in 2010.
                                                            2010.
     Carbon
     Carbon dioxide
              dioxide makes
                       makes up
                              up the
                                 the largest    component of
                                      largest component     of these
                                                               these
     greenhouse
     greenhouse gasgas emissions.
                       emissions. The
                                   The U.S.
                                        U.S. Energy
                                              Energy Information
                                                      Information
     Administration calculates
     Administration    calculates that  U.S. transportation
                                  that U.S.                    carbon
                                              transportation carbon
     dioxide
     dioxide emissions
              emissions currently   account for
                         currently account    for about 6 percent
                                                  about 6  percent of
                                                                   of
     worldwide
     worldwide carbon
                  carbon dioxide
                         dioxide emissions.
                                 emissions.
     While the
     While      contribution of
            the contribution   of greenhouse    gases from
                                   greenhouse gases      from
     transportation
     transportation ininthe
                         theU.S.
                              U.S.asasaawhole
                                         whole is
                                                is aa large
                                                       largecomponent
                                                              component ofof
     U.S.
     U.S. greenhouse
          greenhouse gasgas emissions,
                             emissions, asas the scale of
                                             the scale    of analysis
                                                             analysis is
                                                                       is
     reduced,
     reduced, the  greenhouse gas
               the greenhouse    gas contributions
                                       contributions become
                                                        become quite
                                                                  quite
     small. Exhibit
     small. Exhibit5.10-4
                       5.10-4 presents    the relationship
                               presents the   relationship between
                                                               between
     current and
     current  and projected
                  projected state
                              stateand
                                     andglobal
                                          global motor
                                                  motor vehicle
                                                            vehicle carbon
                                                                    carbon
     dioxide
     dioxide emissions,
              emissions, asas well
                              well as
                                    as information
                                       information on  on the  scale of
                                                           the scale of the
                                                                        the
     project
     project relative
             relative to
                       to statewide
                          statewide travel   activity.
                                      travel activity.

     Exhibit 5.10-4
     Exhibit 5.10-4           Existing (2010)
                              Existing         GreenhouseGas
                                       (2010) Greenhouse Gas Emissions
                                                             Emissions

         Carbon dioxide
         Carbon dioxide emissions
                        emissions'1 (million metric tons)
                                    (million metric tons)             Colorado motor
                                                                      Colorado  motor
                                                                                                Project study
                                                                                                Project study area VMT,
                                                                                                              area VMT,
                                                                     vehicle emissions,
                                                                     vehicle emissions,
                                                                                                 %  of statewide
                                                                                                 % of  statewide VMT2
                                                                                                                 VMT2
              Global
              Global               Colorado motor
                                   Colorado       vehicles
                                            motor vehicles            % of global
                                                                      % of global total
                                                                                  total
              29,670
              29,670                          24.1
                                              24.1                        0.0813%
                                                                          0.0813%                          5.6%
                                                                                                           5.6%
                              1                                  1                          1



     1. These
     1. These estimates
                estimates are
                            are from
                                from the
                                       the Energy
                                           Energy Information     Administration’s International
                                                    Information Administration's   International Energy
                                                                                                 Energy Outlook
                                                                                                         Outlook 2010,
                                                                                                                   2010, and
                                                                                                                           and
        are considered
        are  considered the   best-available projections
                          the best-available    projections of
                                                            of emissions
                                                                emissions from  fossil fuel
                                                                          from fossil  fuel combustion.
                                                                                            combustion. These
                                                                                                        These totals  do not
                                                                                                               totals do   not
        include other
        include  other sources
                        sources ofof emissions,
                                     emissions, such
                                                  such as
                                                        as cement
                                                           cement production,
                                                                    production, deforestation,
                                                                                deforestation, or
                                                                                               or natural sources; however,
                                                                                                  natural sources;   however,
        reliable future
        reliable future projections
                         projections for
                                       forthese
                                           these emissions
                                                  emissions sources
                                                             sources are
                                                                      are not
                                                                          not available.
                                                                              available.
     2. Statewide
     2. Statewide annual
                    annual VMT
                             VMT inin 2010
                                      2010 (46,940    million) provided
                                             (46,940 million)  providedby
                                                                        byU.S.
                                                                            U.S.DOT,
                                                                                 DOT, FHWA,
                                                                                         FHWA, Highway
                                                                                               Highway Statistics,
                                                                                                         Statistics, April
                                                                                                                     April 26,
                                                                                                                           26,
        2012
        2012



     Based  on emissions
     Based on              estimatesfrom
               emissions estimates     from EPA's
                                             EPA’s MOVES
                                                    MOVES model
                                                              model
     and global carbon
     and global  carbon dioxide
                         dioxide estimates
                                   estimates and   projections from
                                              and projections   from the
                                                                     the
     Energy
     Energy Information    Administration, carbon
             Information Administration,       carbon dioxide
                                                       dioxide
     emissions
     emissions from
                from motor
                      motor vehicles
                              vehicles in
                                        in the
                                           the entire stateof
                                               entire state of Colorado
                                                               Colorado
     contributed less
     contributed  less than
                       than one
                             one tenth
                                  tenthofof one
                                            one percent
                                                percent of
                                                         of global
                                                            global
     emissions  in 2010
     emissions in  2010 (0.0813
                         (0.0813 percent).
                                   percent).
     The
     The daily
          daily VMT
                VMT in  in the
                            the project
                                project study
                                         study area  in 2010
                                               area in  2010 was
                                                               was about
                                                                     about
     5.6
     5.6 percent
         percent of
                  of total
                     total VMT
                             VMTin  inthe
                                       thestate.
                                           state. While
                                                  While there
                                                          there is
                                                                 is not
                                                                    not an
                                                                         an
     exact
     exact correlation   between VMT
           correlation between       VMT andand emissions,
                                                emissions, there
                                                              there is
                                                                     is a
                                                                        a
     very strong  relationship    between    the two,  so
     very strong relationship between the two, so it couldit could
     reasonably
     reasonably bebe stated
                      stated that   the greenhouse
                              that the   greenhouse gasgas emissions
                                                           emissions in  in
     the study area
     the study  area are
                      are roughly
                            roughly 5.6
                                      5.6 percent
                                          percent of
                                                   of total
                                                      total statewide
                                                             statewide
     emissions  from motor
     emissions from    motor vehicles
                                vehicles in  2010.
                                          in 2010.




     January 2016
     January 2016                                                                                                    5.10-13
                                                                                                                     5.10-13
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 5.10 Air Quality                                                              I-70 East
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                                                                                         Final EIS
                                                                                               EIS


 5.10.5  What
 5.10.5 What   processwas
             process   wasused
                           usedto
                                to analyze
                                   analyze air
                                           air
         quality?
         quality?

 The
 The air quality analysis
     air quality analysis procedures
                          procedures for
                                      for this  document build
                                          this document  build
 upon
 upon the air quality
      the air quality analysis
                      analysis conducted
                               conducted for
                                           for the 2014
                                               the 2014
 Supplemental   Draft EIS.
 Supplemental Draft   EIS. For
                           For some
                                some pollutants,   new guidance
                                     pollutants, new   guidance
 from
 from EPA
      EPA and/or
           and/or APCD
                   APCD affected
                          affected the
                                   the analysis  methodology.
                                       analysis methodology.
 There
 There are   many pollutants
        are many      pollutants being
                                    being considered
                                          considered as  as part  of the
                                                             part of the
 air quality analysis
 air quality   analysis for
                          for 1-70
                              I-70 East.
                                     East. While
                                           While similarities
                                                   similarities exist,
                                                                  exist,
 the methodology for
 the methodology       for estimating
                           estimating pollution
                                        pollution concentrations
                                                     concentrations is  is
 specific to  each   pollutant.   There  also  are
 specific to each pollutant. There also are separateseparate
 requirements
 requirements and  and procedures
                        procedures forfor conducting
                                          conducting analyses
                                                         analyses for
                                                                    for
 transportation     conformity and
 transportation conformity        and NEPA.
                                       NEPA. For For this   document,
                                                      this document,
 project-related    effects on
 project-related effects     on local
                                 local ambient
                                       ambient concentrations
                                                  concentrations of  of
 carbon monoxide
 carbon   monoxide and and PM
                            PMio 10 were
                                     wereinvestigated
                                           investigated using
                                                           using hotspot
                                                                  hotspot
 analyses,
 analyses, asasdescribed
                 describedbelow.
                             below.PM2.5,
                                      PM2.5, nitrogen
                                               nitrogen oxides,
                                                          oxides, and
                                                                   and
 other pollutants
 other pollutants described
                      described above
                                   above were
                                          were examined
                                                 examined moremore
 broadly with
 broadly   with emission
                  emission inventories
                              inventories forforthe
                                                 the study
                                                      study area
                                                              area as
                                                                   as they
                                                                      they
 are not considered
 are not  considered to  to be
                            be pollutants
                                pollutants ofof concern
                                                concern in in the Denver
                                                              the Denver
 area, based on
 area, based    on the
                    the fact
                         fact that  the Denver
                              that the  Denver area
                                                  area isis not
                                                            not
 designated
 designated as as nonattainment
                   nonattainmentfor   forthese
                                          theseNAAQS.
                                                  NAAQS.
 Traffic
 Traffic data  from the
         data from         2035 DRCOG
                      the 2035     DRCOG regional
                                               regional travel
                                                           travel demand
                                                                   demand
 model
 model are
         are used
             used toto conduct
                       conduct the the air
                                        air quality
                                            quality analysis     for the
                                                       analysis for   the
 Final  EIS. The
 Final EIS.  The DRCOG
                   DRCOG model model data     comes from
                                        data comes      from the
                                                               the Compass
                                                                   Compass
 (Version 5.0)
 (Version  5.0) model,
                 model, including
                          including minor
                                        minor updates
                                                updates to  to the
                                                               the socio-
                                                                    socio-
 economic
 economic data set used in the Supplemental Draft EIS, and
            data  set  used   in the   Supplemental       Draft   EIS,  and
 not from the
 not from       newer Focus
           the newer    Focus regional
                                 regional travel      demand model.
                                             travel demand       model.
 The  Compass model
 The Compass     model is is still  the official
                             still the  official model
                                                   model forfor use  on
                                                                use on
 project-level
 project-level studies
                studies inin the
                             the region,
                                   region, and
                                             and isis immediately
                                                      immediately
 available.
 available. For
             For the
                 the Supplemental
                       Supplemental Draft Draft EIS,
                                                   EIS, traffic
                                                         traffic data   from
                                                                  data from
 the FHWA approved
 the FHWA     approved DynusT
                           DynusT model
                                      model were
                                               were compared
                                                       compared to  to the
                                                                       the
 DRCOG
 DRCOG model
           modeltraffic
                    trafficdata
                             data through
                                    through aa series
                                                 series ofof sensitivity
                                                              sensitivity
 tests. Data from
 tests. Data  from the
                     the two
                          two sources
                               sources were
                                          were found
                                                  found toto be
                                                              be reasonably
                                                                 reasonably
 close, and
 close, and thus   the Final
             thus the   Final EIS
                                EIS continues
                                      continues to  to use
                                                        use the
                                                             theDRCOG
                                                                 DRCOG
 model
 model data.
         data.
 The
 The following
      followingsubsections
                  subsectionssummarize
                               summarizethe  the air
                                                   air quality
                                                       quality study
                                                                study
 area  and the
 area and   themethodologies
                methodologies used
                                 used for
                                       for the
                                           the carbon
                                                 carbon monoxide
                                                          monoxide
 and PM10 hotspot
 and PMio    hotspot analyses
                      analyses and
                                and the   emissions inventory
                                     the emissions      inventory
 burden analysis
 burden   analysis for
                    for NAAQS
                        NAAQS criteria
                                  criteria pollutants,    MSATs, and
                                           pollutants, MSATs,      and
 greenhouse
 greenhouse gases.
               gases. Additional
                      Additional details
                                   details of
                                            of the
                                                the analysis
                                                    analysis are
                                                               are
 provided
 provided inin Attachment
               Attachment J,   Air Quality
                            J, Air  Quality Technical
                                             Technical Report.
                                                           Report.
 Carbon monoxide
 Carbon          hotspot methodology
        monoxide hotspot methodology
 The
 The Denver
      Denver region
               region is
                       isan
                          an attainment/maintenance
                             attainment/maintenance areaarea for
                                                             for
 the pollutant carbon
 the pollutant  carbon monoxide.
                         monoxide. Because
                                    Because of
                                             of this,
                                                this, a
                                                      a
 quantitative  project-level hotspot
 quantitative project-level   hotspot analysis
                                      analysis was
                                               was conducted
                                                     conducted for
                                                                 for

 5.10-14
 5.10-14                                                                            January 2016
                                                                                    January 2016
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     I-70 East
     1-70 East Final
               Final EIS
                     EIS                                                          5.10 Air Quality
                                                                                  5.10 Air Quality

     this document. The
     this document.     The Transportation    Conformity Rule
                            Transportation Conformity      Rule
     requires  thatemissions
     requires that   emissionsfrom
                                 fromaaproposed
                                         proposedFHWA
                                                   FHWA or  or FTA
                                                               FTA
     project—when      considered  with  existing background
     project—when considered with existing background
     concentrations—will not
     concentrations—will      not cause
                                  cause or
                                         or contribute
                                            contribute to
                                                       to any
                                                           any new
                                                                new
     violations, worsen
     violations, worsen existing
                           existing violations,
                                    violations, or
                                                or delay
                                                   delay timely
                                                          timely
     attainment
     attainment of of the
                      the NAAQS
                          NAAQS or  or any
                                       any required
                                            required interim   emissions
                                                     interim emissions
     reductions
     reductions oror other
                      other milestones.
                            milestones. These
                                         These criteria
                                                criteria are
                                                         are satisfied
                                                              satisfied
     for
     for projects
         projects in
                   in carbon
                       carbon monoxide
                               monoxideattainment/
                                          attainment/ maintenance
                                                       maintenance
     areas  using aa hotspot
     areas using      hotspot analysis.
                              analysis.
     The
     The Denver
           Denver region
                    region originally
                             originally received
                                           receivedaanonattainment
                                                        nonattainment
     designation    because of
     designation because      of carbon
                                 carbon monoxide
                                            monoxide levels
                                                       levels inin 1978,
                                                                   1978, when
                                                                           when
     it exceeded both
     it exceeded   both the   1-hour and
                          the 1-hour   and 8-hour
                                             8-hour NAAQS
                                                      NAAQS limits       for
                                                                 limits for
     carbon monoxide.
     carbon  monoxide.The   Thetrends
                                 trends through
                                           through the    1980s and
                                                     the 1980s    and
     mid-1990s,
     mid-1990s, however,
                   however, primarily       exceeded only
                               primarily exceeded       only the
                                                              the 8-hour
                                                                   8-hour
     standard. The
     standard.   The last
                      lasttime
                            timeDenver
                                  Denver exceeded
                                             exceeded the     1-hour
                                                         the 1-hour
     standard occurred
     standard   occurred prior
                            prior to
                                   to 1990,
                                      1990, according
                                               according toto the
                                                              the Carbon
                                                                   Carbon
     Monoxide
     Monoxide Maintenance
                 Maintenance Plan        for the
                                  Plan for        Denver Metropolitan
                                              the Denver    Metropolitan
     Area (Colorado
     Area  (Colorado AirAir Quality    Control Commission,
                             Quality Control      Commission, 2005).
                                                                   2005).
     Because
     Because of ofthis,
                   this, the
                          the 8-hour
                              8-hour standard
                                       standard is is used
                                                      used as   the basis
                                                             as the  basis for
                                                                            for
     the  carbon monoxide
     the carbon   monoxide hotspot
                               hotspot analysis.
                                          analysis. AsAs long
                                                          long as
                                                                as the
                                                                    the
     estimated   concentrations for
     estimated concentrations        for the
                                          the relevant
                                               relevant pollutants
                                                          pollutants inin these
                                                                          these
     areas  of interest
     areas of             are equal
               interest are   equal toto or
                                         or lower
                                             lower than
                                                    than the
                                                           theNAAQS,
                                                                NAAQS, the the
     project
     project will
              will demonstrate
                   demonstrate that thatClean
                                          CleanAirAir Act
                                                       Act conformity
                                                            conformity
     requirements
     requirements are      met.
                      are met.
     The  carbon monoxide
     The carbon  monoxide hotspot
                              hotspot analysis     for conformity
                                        analysis for    conformity
     purposes  also serves
     purposes also  serves as   the analysis
                            as the   analysis for
                                                for NEPA.
                                                     NEPA. Results
                                                              Results of
                                                                       of
     the Supplemental Draft
     the Supplemental    Draft EIS
                                 EIS analysis
                                      analysis showed
                                                  showed carbon
                                                            carbon
     monoxide
     monoxide concentrations      below the
                concentrations below      the NAAQS
                                               NAAQS for  for all
                                                              all project
                                                                  project
     alternatives. The Interagency
     alternatives. The  Interagency Consultation
                                         Consultation process
                                                          process
     determined
     determined that   for this
                  that for this document,
                                 document, onlyonly the
                                                      the Preferred
                                                           Preferred
     Alternative would
     Alternative  would be
                         be initially   modeled to
                             initially modeled     to be
                                                       be consistent
                                                           consistent with
                                                                       with
     conformity determination.
     conformity  determination. If  If results
                                       results of
                                                of the
                                                    the Preferred
                                                         Preferred
     Alternative were
     Alternative  were shown
                        shown to to be
                                    be in
                                        in violation
                                           violation ofof the
                                                          the NAAQS,
                                                              NAAQS, the  the
     No-Action
     No-Action Alternative
                 Alternative would
                               would be be modeled
                                           modeled in  in addition
                                                          addition to
                                                                    to the
                                                                       the
     Preferred  Alternative. This
     Preferred Alternative.   This decision
                                     decision isis documented
                                                   documented in   in the
                                                                      the
     Air Quality  Protocol, Appendix      A of Attachment
     Air Quality Protocol, Appendix A of Attachment J, Air     J, Air
     Quality  Technical Report.
     Quality Technical   Report.
     Traffic
     Traffic data  in the
             data in  the form
                          form of
                                of future traffic volumes,
                                   future traffic volumes, vehicle
                                                           vehicle
     miles
     miles of
           of travel,
               travel, and
                       and travel
                            travel speeds
                                   speeds simulates
                                           simulates the
                                                      the activities
                                                          activities
     that generateemissions
     that generate   emissionsfrom
                                from on-road
                                      on-road motor
                                                motor vehicles.
                                                      vehicles.
     The
     The No-Action
          No-ActionAlternative
                      Alternative and
                                   and Revised
                                       Revised Viaduct
                                                 Viaduct Alternative
                                                          Alternative
     both have
     both have options
                options that  shift 1-70
                        that shift  I-70 south
                                         south or
                                                or north.
                                                   north. These
                                                          These shifts
                                                                 shifts
     have no
     have  no impact
              impact on
                      on traffic
                         traffic circulation
                                 circulation and  are each
                                             and are  each considered
                                                            considered
     a single alternative
     a single             for the
              alternative for the purpose
                                   purpose of
                                            of generating  emissions
                                               generating emissions
     from
     from on-road
           on-road motor  vehicles.
                    motor vehicles.

     January 2016
     January 2016                                                                        5.10-15
                                                                                         5.10-15
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 5.10 Air Quality
 5.10 Air Quality                                                                         I-70 East
                                                                                          1-70 East Final
                                                                                                    FinalEIS
                                                                                                          EIS

 Local
 Local meteorological
       meteorological conditions,
                       conditions, fuel
                                   fuel specifications,
                                         specifications, and
                                                         and
 emissions
 emissions control
            control programs
                    programs are
                              are input   into EPA's
                                  input into   EPA’s
 MOVES20 1 013 model, in addition to the travel demand
 MOVES2010b      model, in addition to  the travel  demand
 model
 model results.  The MOVES
        results. The MOVES model
                              model uses
                                      uses this
                                            this information
                                                 information to
                                                             to
 estimate on-road mobile-source
 estimate on-road  mobile-source (i.e.,
                                  (i.e., vehicle)
                                         vehicle) emissions.
                                                  emissions.
 Emissions
 Emissions rates    produced by
              rates produced   by MOVES
                                   MOVESthen  then are
                                                    are fed
                                                        fed into
                                                             into the
                                                                  the
 CAL3QHC
 CAL3QHC air   air quality
                   quality dispersion   model. CAL3QHC
                           dispersion model.    CAL3QHC takes  takes
 the carbon monoxide
 the carbon   monoxide emissions
                          emissionsrates
                                       rates and
                                             and travel   information
                                                  travel information
 from
 from vehicles
       vehicles operating
                  operating on
                             on the
                                the local
                                     local roads
                                            roads and
                                                   and highways
                                                       highways and and
 models   a single  hour for two  time   periods  (AM  peak
 models a single hour for two time periods (AM peak and PM     and PM
 peak),
 peak), which
         which generates
                 generates aa one-hour
                              one-hour maximum
                                          maximum predicted
                                                      predicted
 concentration. A
 concentration.    A persistence
                     persistence factor
                                  factor then   is applied
                                          then is  applied toto
 generate
 generate anan eight-hour
                eight-hour maximum
                            maximum predicted
                                         predicted concentration.
                                                     concentration.
 To
 To be
     be consistent   with local
        consistent with   local conformity
                                conformity processes,
                                              processes, modeled
                                                           modeled
 background concentrations
 background    concentrations were
                                 were provided
                                        provided byby APCD
                                                      APCD as  as
 inputs  for CAL3QHC
 inputs for  CAL3QHC analysis
                           analysis for
                                    for this
                                         this evaluation.
                                              evaluation. Exhibit
                                                            Exhibit
 5.10-5  shows the
 5.10-5shows     the modeling
                     modeling process
                                 processused
                                           used for
                                                 forthe
                                                     thequantitative
                                                         quantitative
 carbon monoxide
 carbon  monoxide hotspot
                      hotspot analysis.
                              analysis.

 Exhibit 5.10-5
 Exhibit 5.10-5          Modeling Process for
                         Modeling Process for the Carbon Monoxide
                                              the Carbon Monoxide Hotspot
                                                                  Hotspot Analysis
                                                                          Analysis


                                      Local
                                      Local                   Fuel and
                                                                   and Control
                                                                       Control              Vehicle Fleet
                                                                                            Vehicle Fleet
        Traffic Data
        Traffic Data
                                MeteorologicalData
                                Meteorological Data        ProgramSpecifications
                                                           Program  Specifications             Data




                                             EPA MOVES Model

                                                      j
              Traffic Data
              Traffic Data                    CO Emission
                                                 EmissionFactors
                                                          Factors
                                               by Roadway
                                                  RoadwayLink
                                                           Link
     Background Concentrations
     Background  Concentrations

            Site Geometry
                 Geometry                  EPA CAL3QHC Model                         Receptor Locations
                                                                                     Receptor Locations

           Signal Parameters
           Signal Parameters
                                           CO Emissions
                                              Emissions Concentrations
                                                         Concentrations
    Local Land
    Local LandUse
               Useand
                   andPopulation
                       Population            at Near-Road
                                                Near-Road Receptors
                                                          Receptors




 Model
 Model selection
       selection
 As required
 As  required by
               by the
                  the Transportation    Conformity Rule,
                      Transportation Conformity        Rule, an
                                                              an
 emissions
 emissions model
             model and
                    and an
                         an air quality dispersion
                            air quality  dispersion model
                                                      model were
                                                               were
 selected through
 selected  through the  Interagency Consultation
                    the Interagency    Consultation process.
                                                       process.
 EPA’s
 EPA's MOVES
        MOVES modelmodelwas
                          wasselected
                               selected for
                                         foruse
                                             use at
                                                 at the   project
                                                    the project
 scale to
 scale to estimate  emissions for
          estimate emissions    for each
                                    each roadway
                                          roadway link
                                                     link in
                                                           in the
                                                              the
 carbon monoxide
 carbon  monoxide hotspot
                     hotspot study
                             study area.   MOVES is
                                     area. MOVES      is the
                                                         the

 5.10-16
 5.10-16                                                                                        January 2016
                                                                                                January  2016
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     I-70 East
     1-70 East Final
               Final EIS
                     EIS                                                                  5.10 Air Quality
                                                                                          5.10 Air Quality

     approved and recommended
     approved and recommended emissions
                                 emissions model
                                           model for
                                                  for carbon
                                                      carbon
     monoxide
     monoxide hotspot
               hotspot analyses
                       analyses for
                                for conformity
                                    conformitydeterminations
                                               determinations
     (EPA-420-B-12-010).
     (EPA-420-B-12-010).
     EPA’s
     EPA's CAL3QHC
             CAL3QHCmodel   modelwaswasselected
                                          selectedfor
                                                    forthe
                                                        the air
                                                             air dispersion
                                                                 dispersion
     analysis  and estimation
     analysis and    estimation of of pollutant
                                      pollutant concentrations
                                                  concentrations at  at
     receptors
     receptors in
                in and   around the
                    and around     the carbon
                                       carbon monoxide
                                                monoxide hotspot
                                                              hotspot study
                                                                        study
     area. CAL3QHC combines
     area. CAL3QHC        combinesaa steady-state       dispersion model
                                         steady-state dispersion     model
     with
     with aa traffic
             traffic model
                     model to to calculate
                                 calculate delays
                                             delays and
                                                     and queues
                                                          queues at at
     signalized intersections.
     signalized  intersections. CAL3QHC
                                   CAL3QHC is       one of
                                                 is one  of the
                                                            the approved
                                                                 approved
     and recommended air
     and recommended            dispersion models
                            air dispersion    models for
                                                       for analyzing
                                                           analyzing
     carbon monoxide
     carbon   monoxide impacts
                           impacts atat intersections.
                                        intersections.
     Locations
     Locations to
               to model
                  model

     The
     The intersection    location(s) for
          intersection location(s)     for the   carbon monoxide
                                            the carbon    monoxide hotspot
                                                                      hotspot
     analysis  were determined
     analysis were    determined through
                                     through the the Interagency
                                                      Interagency                 Level of
                                                                                  Level of service
                                                                                           service

     Consultation    process. The
     Consultation process.      The Transportation        Conformity Rule
                                     Transportation Conformity          Rule      Roadway
                                                                                  Roadway level
                                                                                              level of of
                                                                                  service   (LOS) is
                                                                                  service (LOS)      is a
                                                                                                        a
     requires  modeling of
     requires modeling     of intersection
                               intersection locations
                                               locations that    are or
                                                           that are  or will
                                                                        will be
                                                                             be
                                                                                  measure
                                                                                  measure of  of
     at LOS D
     at LOS   D or
                or worse
                    worse (see
                            (see box
                                  boxto tothe
                                           the right).
                                                right). In
                                                         In the case of
                                                            the case  of the
                                                                         the      congestion
                                                                                  congestion delay.
                                                                                                 delay. ItIt
     I-70 project,
     1-70  project, this
                    this would
                         would be be dozens
                                     dozens of  of intersections.
                                                    intersections. The   2008
                                                                    The 2008      can
                                                                                  can bebe thought
                                                                                            thought of of as
                                                                                                          as
                                                                                  a grading
                                                                                  a grading scale,
                                                                                               scale,
     Draft  EIS included
     Draft EIS  included carbon
                            carbon monoxide
                                      monoxide hotspot
                                                    hotspot modeling
                                                             modeling forfor
                                                                                  where
                                                                                  where LOSLOS A A is
                                                                                                    is
     four worst-case   intersections.     For  the   2014  Supplemental
     four worst-case intersections. For the 2014 Supplemental                     excellent and
                                                                                  excellent   and
     Draft  EIS, the
     Draft EIS,  the modeling
                      modeling effort
                                   effort was
                                           was scaled
                                                 scaled back
                                                          back to
                                                                to one
                                                                   one            implies   high levels
                                                                                  implies high    levels
                                                                                  of mobility and
                                                                                  of mobility   and ease
                                                                                                       ease
     intersection.
     intersection.
                                                                                  of maneuverability.
                                                                                  of maneuverability.
     The
     The 2008
          2008 Draft
                 Draft EIS
                        EIS found
                              found that
                                     that the  interchange at
                                           the interchange    at 1-70
                                                                 I-70 and
                                                                        and       LOS
                                                                                  LOS FF represents
                                                                                           represents
                                                                                  failure  and indicates
                                                                                  failure and   indicates
     Colorado
     Colorado Boulevard
                Boulevard willwill have
                                   have the
                                          the highest   carbon monoxide
                                              highest carbon   monoxide           that  the road
                                                                                  that the   road isis
     concentrations in
     concentrations    in the  study area
                          the study   area for
                                             for the
                                                 the build
                                                      build scenarios
                                                            scenarios             experiencing heavy
                                                                                  experiencing     heavy
     previously
     previously considered.
                  considered.The Thealternatives
                                      alternatives evaluated
                                                      evaluated inin this
                                                                     this         traffic volumes,
                                                                                  traffic volumes,
                                                                                  congestion,
                                                                                  congestion, and and
     document    are expected    to have   similar  impacts
     document are expected to have similar impacts on speeds  on  speeds          stop-and-go
                                                                                  stop-and-go traffic.
                                                                                                   traffic.
     and  traffic volumes
     and traffic  volumes to to those
                                those in
                                       in the
                                           the 2008
                                               2008 Draft
                                                      Draft EIS
                                                             EIS and
                                                                  and the
                                                                        the       LOS
                                                                                  LOS D  D indicates
                                                                                           indicates
     2014
     2014 Supplemental
           Supplemental DraftDraft EIS.
                                    EIS. Thus,
                                           Thus, this  location still
                                                  this location  still is
                                                                       is         congesting
                                                                                  congesting traffic
                                                                                                 traffic
                                                                                  conditions.
                                                                                  conditions.
     considered to
     considered   to represent
                     represent thethe worst
                                      worst case
                                              case for
                                                    for emissions
                                                        emissions within
                                                                    within
     the study area
     the study   area and
                      andis isthe
                               theonly
                                    only location
                                          location modeled
                                                    modeled asas part   of
                                                                  part of
     the carbon monoxide
     the carbon   monoxide hotspot
                               hotspot analysis.
                                        analysis.
     With EPA
     With   EPA Regional
                  Regional Administrator        approval, the
                              Administrator approval,       the modeling
                                                                 modeling of of
     only one
     only  one location
                location is
                          is an
                             an alternative    methodology allowed
                                alternative methodology         allowed
     under   Section 93.123(a)(1)
     under Section    93.123(a)(1) of ofthe
                                          the Transportation     Conformity
                                              Transportation Conformity
     Rule.
     Rule. The
            The alternative    approach was
                  alternative approach      was proposed
                                                  proposed through
                                                              through the
                                                                        the
     Interagency    Consultation process
     Interagency Consultation        process and
                                               and approved
                                                    approved by by the   EPA
                                                                    the EPA
     Regional
     Regional Administrator
                 Administrator in in aa letter  to CDOT
                                        letter to  CDOT dated
                                                           dated June     12,
                                                                   June 12,
     2013,
     2013, asas required
                required bybythe
                               therule.
                                   rule.This
                                           Thisletter
                                                 letterstates
                                                        states that
                                                                that the
                                                                      the
     carbon monoxide
     carbon   monoxide hotspot
                          hotspot location
                                    location must
                                               must bebe re-evaluated
                                                         re-evaluated forfor
     the  Final EIS
     the Final   EIS using
                      using revised
                             revised traffic
                                       traffic data
                                                data which
                                                      which was
                                                              was completed
                                                                    completed
     for
     for this document. The EPA's letter as well as details about
         this document.    The   EPA’s   letter  as well  as  details  about
     the  re-selection of
     the re-selection   of Colorado
                           Colorado Boulevard
                                       Boulevard as  as the
                                                        the carbon
                                                             carbon



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                                                                                                    5.10-17
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 5.10 Air Quality                                                             I-70 East
                                                                              1-70 East Final
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                                                                                              EIS

 monoxide
 monoxide hotspot
          hotspot location
                   location is contained in
                            is contained in Appendix
                                            Appendix B
                                                     B of
                                                       of
 Attachment J,
 Attachment    Air Quality
            J, Air  Quality Technical
                            Technical Report.
                                       Report.
 Analysis years/year
 Analysis            of peak
          years/year of peak emissions
                             emissions
 Section
 Section 93.116(a)
          93.116(a) ofofthe
                         the Transportation    Conformity Rule
                             Transportation Conformity       Rule
 requires
 requires that carbon monoxide hotspot analyses consider the
           that  carbon  monoxide    hotspot  analyses   consider  the
 full
 full time
      time frame
            frame ofofan
                       anarea’s
                          area's transportation
                                  transportation plan.
                                                  plan. If
                                                         If the
                                                            the
 carbon monoxide
 carbon  monoxide concentrations
                      concentrations inin the year of
                                          the year  of peak
                                                       peak
 emissions
 emissions are    lower than
             are lower         the NAAQS,
                        than the    NAAQS, then
                                              then it can be
                                                   it can  be
 assumed    that no
 assumed that    no adverse
                     adverse impacts
                               impacts will
                                        will occur
                                             occur in
                                                    in any
                                                       any years
                                                             years
 within  the time
 within the   time frame
                    frame of
                           of the
                              the plan.
                                   plan.
 Rather  than perform
 Rather than    perform traffic
                           traffic modeling
                                   modeling andand hotspot
                                                    hotspot analyses
                                                               analyses
 for
 for numerous
     numerous years
                 years toto determine    the year
                             determine the    year of
                                                    of peak
                                                       peak emissions,
                                                              emissions,
 the effort was
 the effort was streamlined
                  streamlined through
                                  through the
                                            the Interagency
                                                 Interagency
 Consultation    process and
 Consultation process      and approved
                                approved by by the
                                                the EPA
                                                    EPA Regional
                                                            Regional
 Administrator. In
 Administrator.    In the
                       the streamlined
                            streamlined approach,
                                           approach, CDOT
                                                        CDOT usedused the
                                                                        the
 highest carbon
 highest  carbon monoxide
                   monoxide emissions
                                emissions factors—in
                                             factors—in this     case, for
                                                           this case,  for
 the year 2010—and
 the year  2010—and the       highest VMT
                         the highest   VMT (2035)
                                               (2035) toto represent
                                                            represent aa
 worst-case
 worst-case condition.
              condition. (Air
                            (Airquality
                                 quality trending
                                          trending analysis      shows
                                                     analysis shows
 vehicle emissions
 vehicle emissions decreasing
                       decreasing over
                                     over time
                                          time due
                                                 due to
                                                      to fleet
                                                         fleet turnover
                                                                turnover
 and
 and improving efficiency in vehicle technologies.) With this
      improving    efficiency  in  vehicle  technologies.)    With   this
 approach,
 approach, it  is not
            it is not necessary
                       necessary to to analyze
                                       analyze several
                                                  several years    to
                                                            years to
 determine   the year
 determine the    year of
                        of peak
                            peak emissions.
                                  emissions.
 If
 If the worst traffic
    the worst  traffic conditions
                       conditions (e.g.,
                                      (e.g., highest   traffic volumes,
                                             highest traffic    volumes,
 most
 most congestion
        congestion delay,
                     delay, highest
                             highest travel
                                        travel times,
                                                times, etc.)
                                                         etc.) and
                                                                and highest
                                                                    highest
 emission
 emission rates    are modeled,
            rates are  modeled, then then the
                                           the resulting    carbon
                                                resulting carbon
 monoxide
 monoxide concentration
              concentration is is the
                                   the highest
                                       highest that    potentially could
                                                 that potentially    could
 be  experienced   between    2010    and  2035.
 be experienced between 2010 and 2035. If the worstIf the  worst
 resulting  concentration is
 resulting concentration     is less
                                 less than
                                       than the
                                              the NAAQS,
                                                  NAAQS, then  then all
                                                                    all
 other less
 other  less congested
             congested locations
                         locations in in the
                                          the corridor
                                               corridor could
                                                         could bebe
 expected
 expected toto be
               be lower
                  lower than    the NAAQS
                          than the    NAAQS as      well.
                                                 as well.
 Project-specific
 Project-specific data
                  data
 The
 The Transportation      Conformity Rule
       Transportation Conformity       Rulerequires
                                              requires that
                                                         that the
                                                              the
 carbon monoxide
 carbon  monoxide hotspot
                      hotspot analysis
                                analysis assumptions
                                         assumptions be   be consistent
                                                             consistent
 with  the regional
 with the  regional emissions
                      emissions analysis
                                  analysis for
                                             for conformity
                                                 conformity of of the
                                                                   the
 RTP
 RTP and
       and TIP,
            TIP, and
                  and it  requires that
                       it requires  thatproject-specific
                                         project-specific data
                                                            data be be
 used
 used that  are consistent
       that are  consistent with
                              with the
                                    the major
                                        major design
                                                 design features
                                                         features of of
 the  project. The
 the project.  The data    applied in
                    data applied   in this
                                      this carbon
                                            carbon monoxide
                                                     monoxide
 hotspot analysis
 hotspot  analysis are    consistent with
                     are consistent   with the
                                            the assumptions
                                                 assumptions used used in
                                                                        in
 the  conformity determination
 the conformity    determination forfor the
                                        the RTP
                                             RTP andand TIP.
                                                         TIP. In
                                                               In
 addition,  project-specific data—such
 addition, project-specific    data—such as  as traffic
                                                traffic volumes
                                                        volumes and and
 site geometry—are
 site geometry—are consistent
                         consistent with
                                     with the
                                           the major
                                                major design
                                                        design features
                                                                 features
 of the
 of the project.
        project. The
                  The hotspot
                        hotspot analysis
                                 analysis uses    background
                                           uses background
 concentrations of
 concentrations    of 4.55
                      4.55 ppm   for 8-hour
                            ppm for  8-hour and     6.73 ppm
                                              and 6.73    ppm for
                                                                for
 1-hour averaging
 1-hour  averaging times,     derived from
                      times, derived   from ambient
                                              ambient monitoring
                                                         monitoring

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 5.10-18                                                                           January 2016
                                                                                   January 2016
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                                                                                               5.10 Air Quality

     data as provided
     data as provided by
                       by APCD.
                          APCD. Data
                                  Data sources
                                       sources and
                                               and assumptions
                                                    assumptions
     used in the
     used in the carbon
                 carbon monoxide
                         monoxide hotspot
                                   hotspot analysis
                                           analysis are  included in
                                                     are included in
     Attachment   J, Air Quality Technical Report, for the MOVES
     Attachment J, Air Quality Technical Report, for the MOVES
     and CAL3QHC models.
     and CAL3QHC      models.
     PM10 hotspot
     PINK,        methodology
            hotspot methodology
     I-70 East
     1-70 East was
                was determined,
                     determined, through
                                   through the
                                             the Interagency
                                                   Interagency
     Consultation   process, to
     Consultation process,   to be
                                be a project of
                                   a project   of local
                                                  local air
                                                        air quality
                                                            quality
     concern for
     concern  for PALO;
                  PM10; therefore,
                         therefore,aa formal
                                       formal conformity
                                                conformity
     determination   must be
     determination must    be performed.
                               performed. This
                                            This hotspot
                                                    hotspot analysis
                                                            analysis
     follows
     followsthe
             the requirements
                  requirements inin the
                                    the Transportation      Conformity
                                         Transportation Conformity
     Rule
     Rule and   EPA’s conformity
           and EPA's   conformity guidance
                                    guidance forforquantitative
                                                     quantitative
     particulate  matterhotspot
     particulate matter  hotspotanalyses
                                   analyses(EPA-420-B-13-053),
                                              (EPA-420-B-13-053), as as
     described
     described in  Exhibit5.10-6.
                in Exhibit  5.10-6.

     Exhibit 5.10-6
     Exhibit 5.10-6        Modeling Process for
                           Modeling Process     the PMio
                                            for the PM10 Hotspot Analysis
                                                         Hotspot Analysis


            Traffic Data
                                         Local
                                         Local                   Fuel and
                                                                      and Control
                                                                          Control             Vehicle
                                                                                              Vehicle Fleet
                                                                                                      Fleet
                                   Meteorological
                                   MeteorologicalData
                                                  Data        Program
                                                              ProgramSpecifications
                                                                       Specifications            Data




                                                  A MOVES Model
                                                          I
                                                PM-10 Emission  Factors
                                                      Emission Factors
                                                  by Roadway
                                                     RoadwayLink
                                                               Link
             Meteorological
             MeteorologicalData
                            Data
                                                         4,
             Receptor
             ReceptorLocations
                      Locations                     AERMOD Model                   Off-Network
                                                                                   Off-NetworkTruck
                                                                                               TruckStop
                                                                                                     StopData
                                                                                                          Data


       MEZED
                                   fo•      PM-10 Emissions  Concentrations
                                                  Emissions Concentrations
                                               at Near-Road
                                                  Near-Road Receptors
                                                             Receptors



     A hotspot
     A  hotspot analysis  is conducted
                analysis is  conducted for
                                         for specific
                                             specific locations,
                                                       locations, such
                                                                   such as
                                                                        as
     congested roadway
     congested   roadway intersections.
                           intersections. It  uses an
                                           It uses  an on-road
                                                        on-road mobile
                                                                 mobile
     emissions
     emissions model
                model inin combination
                           combinationwith withanan air
                                                    air quality
                                                        quality
     dispersion
     dispersion model
                  model to
                         todetermine
                            determine design
                                        designvalues
                                                  valuesthat
                                                         that represent
                                                              represent
     local
     local PM 10 pollutant
           PALO    pollutantconcentrations
                              concentrationsat at near-road
                                                  near-road receptor
                                                             receptor
     locations.
     locations. The
                The modeled
                     modeledpollutant
                                 pollutant concentrations
                                           concentrations then
                                                             then are
                                                                   are
     compared to
     compared   to the
                   theNAAQS.
                        NAAQS. PALOPM10 concentrations,
                                          concentrations, or
                                                           or design
                                                              design
     values, must
     values, must bebe equal
                       equal toto or
                                  or lower
                                     lower than
                                           than the
                                                  theNAAQS
                                                      NAAQS to  to meet
                                                                   meet
     Clean  Air Act
     Clean Air  Act conformity
                     conformityrequirements.
                                   requirements.
     In addition to
     In addition to the
                    the conformity
                        conformity rule,
                                   rule, an EPA memorandum
                                         an EPA  memorandum
     (Using
     (Using MOVES
             MOVESand  and EMFAC
                           EMFACEmissions
                                    EmissionsModels
                                               ModelsininNEPA
                                                          NEPA
     Evaluations,
     Evaluations, Bromm,
                   Bromm, February   8, 2011b)
                            February 8,  2011b) provides
                                                provides guidance
                                                         guidance

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     January  2016                                                                                      5.10-19
                                                                                                        5.10-19
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                                                                                               EIS

 for
 for the PM10 hotspot
     the PALO    hotspotanalysis
                          analysisby
                                   byrecommending
                                      recommendingthat  that the
                                                              the
 same model
 same   model be
               be used
                   used in
                        in NEPA
                           NEPA documents
                                   documents as   is used
                                               as is used for
                                                            for
 determining    transportationconformity
 determining transportation      conformity to
                                            to maximize
                                               maximize
 coordination and
 coordination        minimize confusion.
                and minimize    confusion. For
                                           For this
                                                this project,
                                                     project, the
                                                                the
 PM
 PALO10 hotspot
         hotspotanalysis
                  analysisfor
                           forconformity
                               conformitypurposes
                                           purposes also
                                                      also serves
                                                           serves asas
 the  analysis for
 the analysis  for NEPA.
                   NEPA.
 Emissions
 Emissions rates    produced by
             rates produced    by MOVES
                                  MOVESthen    then were
                                                     were entered
                                                             entered into
                                                                      into
 the AERMOD air
 the AERMOD       air quality dispersion model.
                      quality dispersion    model. AERMOD
                                                      AERMOD uses  uses
 the PM10 emissions
 the PMio   emissions rates   from vehicles
                        rates from  vehicles operating
                                                operating on  on the local
                                                                 the local
 roads  and  highways,   truck  idling  activity   at the   off-network
 roads and highways, truck idling activity at the off-network
 truck stop, and
 truck stop,  and the
                   the emission
                       emission factors
                                  factors from
                                            from the
                                                   the covered
                                                       covered
 highway (as
 highway   (as applicable).
               applicable). AERMOD
                             AERMODperformsperformsall  all ambient
                                                            ambient air
                                                                      air
 impact
 impact calculations
         calculations onon an
                           an hourly
                               hourly basis
                                       basis at    each receptor.
                                                at each   receptor.
 These
 These hourly
        hourly concentrations
                 concentrations for
                                  for all
                                      all receptors
                                           receptors then
                                                        then are   post-
                                                               are post-
 processed
 processed byby different
                different algorithms
                           algorithms to to calculate
                                             calculate the
                                                         the
 corresponding averaging
 corresponding    averaging periods
                              periods (e.g.,
                                       (e.g., 8-hour,
                                               8-hour, 24-hour,
                                                         24-hour, etc.)
                                                                    etc.)
 and  design concentrations
 and design   concentrations according
                                according to to the
                                                the statistical   form of
                                                     statistical form   of
 each  NAAQS.
 each NAAQ    S.
 Details about specifications
 Details about specifications for
                              for using
                                  using AERMOD
                                        AERMOD are    included
                                                  are included
 in
 in Attachment
    Attachment J,  Air Quality
                J, Air Quality Technical
                                Technical Report.
                                          Report.
 Model selection
 Model selection

 An emissions
 An  emissions model
                  model and
                         and an
                              an air   quality dispersion
                                   air quality   dispersion model
                                                              model were
                                                                      were
 selected through
 selected through the    Interagency Consultation
                     the Interagency      Consultation process.
                                                          process.
 EPA’s
 EPA's MOVES2010b
         MOVES2010bmodel  modelwas  wasselected
                                          selectedfor
                                                    foruse
                                                        use at
                                                            at the
                                                               the
 project
 project scale
         scale to
                to estimate   emissions for
                   estimate emissions       for each
                                                each roadway
                                                      roadway link
                                                                 link in
                                                                       in
 the PM10 hotspot
 the PALO   hotspot locations.
                      locations. EPA’s
                                  EPA's AERMOD
                                           AERMOD model model (version
                                                                (version
 AERMOD14134)         was selected    through
 AERMOD 14134) was selected through Interagency  Interagency
 Consultation
 Consultation forfor the
                     the air dispersion analysis
                         air dispersion               and estimation
                                            analysis and   estimation of  of
 pollutant concentrations at
 pollutant concentrations     at receptors
                                  receptors in in the
                                                  the local
                                                      local near-road
                                                             near-road
 land  areas. AERMOD
 land areas.  AERMOD can   can model
                                model closure
                                          closure of
                                                   ofthe
                                                      the truck
                                                          truck stop
                                                                  stop in
                                                                        in
 the corridor affected
 the corridor  affected by
                         by some
                             someof  ofthe
                                         thealternatives,
                                              alternatives, and
                                                             and it  also
                                                                  it also
 can model
 can model the    outflow from
             the outflow   from the     proposed covered
                                  the proposed     covered portion
                                                             portion ofof
 I-70. Depressed
 1-70. Depressed sections
                    sections of
                              of the
                                  the roadway
                                       roadway were
                                                  were modeled
                                                        modeled using
                                                                    using
 AERMOD’s OPENPIT
 AERMOD's      OPENPIT source
                            source type.
                                     type.
 Locations
 Locations to
           to model
              model

 The  geographic area
 The geographic          to be
                   area to  be covered
                                covered byby the
                                              the PMio
                                                   PM10 hotspot
                                                         hotspot
 analysis
 analysis was
           was determined
               determined through
                               through the
                                         the Interagency
                                              Interagency
 Consultation  process. As
 Consultation process.    As per
                              per EPA
                                   EPA conformity
                                         conformity guidance,
                                                        guidance, it
                                                                   it
 was
 was agreed
      agreed that
              that rather   than analyzing
                    rather than   analyzing all all interchange
                                                    interchange
 locations
 locations across
           across the
                    the entire
                        entire study    area, it
                                study area,    it would
                                                  would be
                                                         be
 appropriate  tofocus
 appropriate to  focus the
                        thePALO
                             PM10 hotspot
                                     hotspotanalysis
                                               analysis at  two
                                                         at two
 locations
 locations that were expected
           that were   expected to to have
                                      have the
                                             the highest
                                                  highest
 concentrations. Considerations
 concentrations.   Considerations for for locations
                                          locations with
                                                      with the
                                                            the highest
                                                                 highest
 concentrations include
 concentrations   include areas    with the
                            areas with   the highest
                                               highest traffic
                                                        traffic volumes
                                                                volumes

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 5.10-20                                                                            January 2016
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     and  congestion, nearby
     and congestion,   nearby land    uses with
                                land uses  with public
                                                 public access,
                                                         access, high
                                                                 high
     numbers
     numbers of of diesel
                   diesel vehicles,
                          vehicles, and
                                     and other
                                         other factors.
                                                factors. The
                                                         The highest
                                                             highest
     volume   locations  in the  study area  are associated  with
     volume locations in the study area are associated with major  major
     interchanges.   The major
     interchanges. The    major interchanges
                                  interchanges and   their 2035
                                                 and their  2035 traffic
                                                                  traffic
     forecasts
     forecasts from
                from the
                      the DRCOG
                          DRCOG regional
                                    regional travel  demand model
                                              travel demand    model run
                                                                       run
     are listed in
     are listed     Exhibit 5.10-7.
                 in Exhibit   5.10-7. The
                                      The forecasted
                                           forecasted volumes
                                                       volumes for
                                                                 for the
                                                                     the
     other alternatives
     other                are similar.
            alternatives are   similar.

     Exhibit
     Exhibit5.10-7
             5.10-7          Interchange Traffic Volumes
                             Interchange Traffic Volumes(2035)
                                                         (2035)

                                                       2035
                                                        2035
                  Interchange
                  Interchange
                                             Annual Average
                                             Annual         Daily Traffic
                                                    Average Daily Traffic

                    I-70/I-25
                    1-70/1-25                         ~495,000
                                                      "495,000

                   I-70/I-270
                   1-70/1-270                         ~260,000
                                                      -260,000
                   I-70/I-225
                   1-70/1-225                         ~355,000
                                                      "355,000

               I-70/Peña  Boulevard
               I-70/Pelia Boulevard                   ~235,000
                                                      -235,000

     Source: 2035
     Source: 2035 DRCOG
                  DRCOG regional
                        regional travel demand model,
                                 travel demand model, Compass
                                                      Compass Version
                                                              Version 5.0
                                                                      5.0


     The  I-70/I-25 interchange
     The 1-70/1-25     interchangeisisjust
                                       just outside
                                            outside ofof the
                                                         the project
                                                             project limits,
                                                                     limits,
     but upwind
     but upwind of of the
                      the study   area under
                           study area   undersome
                                                some conditions.
                                                       conditions. As
                                                                    As the
                                                                        the
     numbers
     numbers in in Exhibit    5.10-7 indicate,
                   Exhibit 5.10-7                the interchanges
                                     indicate, the    interchangesof of 1-70
                                                                         I-70
     with  I-25 and
     with 1-25   and I-225
                      1-225have
                              havehigher
                                   higher traffic
                                            traffic volumes
                                                    volumesthanthan the
                                                                    the
     other two
     other  two locations.
                 locations. Furthermore,      background concentrations
                             Furthermore, background         concentrations
     are expected to
     are expected   to be
                        be very
                           very similar
                                 similar at  the four
                                         at the   four locations
                                                        locations based
                                                                  based on on
     the proximityof
     the proximity    of nearby
                         nearbyPALO
                                 PM10 monitors.
                                        monitors.
     Considering
     Considering these   factors, two
                   these factors, two interchange locations were
                                      interchange locations were
     selected for
     selected for the
                  the analysis:
                      analysis:
         •   I-70/I-25 interchange
              1-70/1-25  interchange area from I-25
                                     area from  1-25 to
                                                      to the
                                                          the Steele
                                                              Steele
              Street/Vasquez
              Street/Vasquez Boulevard
                               Boulevard interchange
                                          interchange
         •   Area around
              Area around the
                           the1-70/1-225
                               I-70/I-225 interchange
                                           interchange
     Decisions
     Decisions about
               about what
                      what seasons
                             seasons to
                                     to model
                                        model and
                                               and the
                                                   the analysis
                                                       analysis
     year/year of
     year/year of peak
                  peak emissions
                         emissions were
                                   were determined
                                         determined through
                                                     through the
                                                              the
     Interagency  Consultation process.
     Interagency Consultation    process. Data
                                          Data sources
                                               sources and
                                                        and
     assumptions   about the
     assumptions about    thePALO
                              PM10 hotspot
                                    hotspotanalysis
                                            analysis are
                                                     are included
                                                         included in
                                                                  in
     Attachment J,
     Attachment      Air Quality
                  J, Air  Quality Technical
                                  Technical Report.
                                            Report.
     Estimating
     Estimating emissions  from road
                 emissions from road dust, construction, and
                                     dust, construction, and
     additional
     additional sources
                sources

     Through
     Through the    Interagency Consultation
               the Interagency    Consultation process,
                                                  process, the   agencies
                                                             the agencies
     agreed
     agreed that
             that aa quantitative
                     quantitativePMio     hotspot analysis
                                    PM10 hotspot    analysis will
                                                               will be
                                                                    be
     conducted   to calculate  design  values  at more   than
     conducted to calculate design values at more than 16,000   16,000
     receptors
     receptors in
                in the
                   the areas  around the
                        areas around   the locations
                                            locations of
                                                       of interest  for the
                                                          interest for  the
     No-Action
     No-Action and
                 and Build
                      Build Alternatives.    ThePALO
                             Alternatives. The    PM10 hotspot
                                                          hotspot analysis
                                                                   analysis
     includes  PM10 emissions
     includes PALO     emissionsfrom
                                  fromon-road
                                        on-road mobile
                                                 mobile sources
                                                           sources and
                                                                    and
     from
     from an
           an off-highway
              off-highwaytruck
                             truck stop
                                    stoplocated
                                         locatedat atthe
                                                      the northeast
                                                           northeast

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                                                                                       5.10-21
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 corner of
 corner of I-70/46th
           I-70/46th Avenue
                     Avenue and
                            and Steele
                                Steele Street/Vasquez
                                       Street/Vasquez
 Boulevard.
 Boulevard.
 The
 The following
      followinglist
                 list summarizes
                      summarizes the
                                  the emissions
                                      emissions included
                                                included and
                                                         and
 not included in
 not included in this
                  thisPALO
                        PM10 hotspot
                             hotspot analysis:
                                     analysis:
     •   Exhaust, brake wear,
          Exhaust, brake  wear, and
                                and tire
                                     tire wear
                                          wear emissions
                                                 emissions from
                                                            from
          on-road vehicles
          on-road vehicles were
                           were included
                                 included in
                                           in this
                                               this analysis.
                                                    analysis.
     •   Re-entrained
          Re-entrained road
                        road dust    kicked up
                              dust kicked    up into
                                                into the
                                                      the air by
                                                          air by
          passing  vehicles was
          passing vehicles  was included
                                  includedininthis  PM10 hotspot
                                               thisPALO    hotspot
          analysis. Road dust
          analysis. Road  dustisisaasignificant
                                     significantcomponent
                                                  componentofofPALO
                                                                 PM10
          emissions  from mobile
          emissions from  mobile sources
                                    sources (see
                                             (see below).
                                                  below).
     •   Emissions
          Emissions from
                       from construction-related
                             construction-related activities       were
                                                      activities were
          not required and,
          not required   and,therefore,
                               therefore,notnotincluded
                                                includedininthis
                                                               thisPALO
                                                                     PM10
          hotspot analysis
          hotspot   analysis since
                             since these
                                     these emissions
                                            emissions are
                                                        are considered
                                                             considered
          temporary,
          temporary, as asdefined
                           definedin in40
                                        40CFR
                                           CFR93.123(c)(5).
                                                  93.123(c)(5).
          Temporary     increasesin
          Temporary increases      inPALO
                                       PM10 emissions
                                               emissions due
                                                          due toto
          construction-related activities
          construction-related    activities are   defined in
                                               are defined   in the
                                                                 the
          regulation
          regulation asas those
                          those occurring
                                 occurring only
                                              only during
                                                   during construction
                                                            construction
          that last five
          that last  five years
                          years or
                                or less
                                    less at
                                         at any
                                             any given
                                                  given site.
                                                         site.
 Road dust emissions
 Road dust emissions
 Dust  from erosion,
 Dust from   erosion, deposition
                        deposition and
                                     and winter
                                          winter sanding
                                                  sanding is
                                                           is a
                                                              a
 significant factor
 significant  factor of
                      of particulate  emissions within
                         particulate emissions            the project
                                                  within the  project
 area. Road   dust  emissions   are  estimated   to contribute
 area. Road dust emissions are estimated to contribute
 approximately
 approximately 70 70 percent
                      percentofof the
                                   thetotal
                                       totaldaily
                                             dailyPALO
                                                    PM10 emissions
                                                          emissions at
                                                                     at
 the two hotspot
 the two  hotspot locations.
                    locations. MOVES
                               MOVES does does not
                                                not calculate  PM
                                                     calculate PM
 emissions
 emissions from
             from road
                    road dust.
                          dust. To
                                Toestimate
                                     estimate road
                                              road dust
                                                     dust and
                                                          and sanding
                                                               sanding
 emissions
 emissions for
            for this
                 this analysis,  emissions factors
                      analysis, emissions    factors from
                                                      from the  most
                                                            the most
 recent  PM10 maintenance
 recent PALO    maintenance conformity
                                conformity modeling
                                             modeling were
                                                        were
 compared with
 compared          control factors
            with control    factors currently
                                     currently achieved
                                                achieved byby CDOT.
                                                              CDOT.
 CDOT
 CDOT currently
         currently uses
                    uses increased
                         increased sweeping
                                     sweeping and
                                               and sanding
                                                     sanding
 control measures
 control measures toto reduce
                       reduce road   dust emissions.
                               road dust  emissions. In In some
                                                           some
 places,
 places, emissions
         emissions factors
                     factors are reduced beyond
                             are reduced  beyond factors
                                                    factors reported
                                                            reported
 in the SIP
 in the SIP by
             by as
                as much
                   muchas as60
                             60percent.
                                 percent.The
                                          Theresults
                                              resultsofofthe
                                                           thePALO
                                                               PM10
 analysis  include maintenance
 analysis include                  program benefits
                    maintenance program     benefits and    values to
                                                       and values  to
 include
 include the  existing sweeping
          the existing sweeping program
                                   program for
                                            for all
                                                all alternatives.
                                                     alternatives.
 Background
 Background concentrations
            concentrations

 After reviewing
 After reviewing locations
                  locations ofof three
                                  three monitors
                                        monitors on  on aerial
                                                        aerial
 photographs,   the Commerce
 photographs, the   Commerce City City site
                                        site was
                                              was selected
                                                   selected through
                                                             through
 Interagency  Consultation as
 Interagency Consultation     as the
                                  the background
                                       background monitor
                                                       monitor since
                                                                 since it
                                                                       it
 is most representative   of the   industrial
 is most representative of the industrial PALO  PM     contributions
                                                    10 contributions inin
 the study area
 the study  area and
                 andisisaareasonable
                           reasonabledistance
                                          distancefrom
                                                     from the
                                                           the1-70
                                                                I-70
 corridor. For
 corridor. For this document, the
               this document,          background concentrations
                                  the background      concentrations
 were
 were estimated   using 2011
       estimated using   2011 toto 2013
                                     2013 data,
                                            data, resulting
                                                  resulting in
                                                             in a
                                                                a
 backgroundPALO
 background   PM10 value
                     value of
                            of 89
                               89 µg/m
                                    µg/m3..
                                         3



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 5.10-22                                                                         January 2016
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                     EIS                                                                         5.10 Air Quality
                                                                                                 5.10 Air Quality


     Methodology for
     Methodology       criteria
                     for        pollutants,
                           criteria         mobile source
                                       pollutants,    mobile source
     air toxics,
     air         and greenhouse
           toxics,                gases gases
                     and greenhouse
     Emission
     Emission inventories
                 inventories of  of NAAQS
                                    NAAQScriteria
                                               criteria pollutants,  mobile
                                                         pollutants, mobile
     source air
     source       toxics, and
             air toxics,         greenhouse gases
                           and greenhouse      gases were
                                                       were developed
                                                              developed for
                                                                         for
     the No-Action Alternative
     the No-Action     Alternative and and the
                                            the Build
                                                 Build Alternatives.    The
                                                         Alternatives. The
     inventories
     inventories allow
                   allow forfor the
                                 the assessment
                                     assessment of  of these
                                                        these pollutants
                                                              pollutants and
                                                                          and
     their potential impacts
     their potential    impacts by by alternative.
                                       alternative.The
                                                     Themethodologies
                                                           methodologies to to
     prepare   the inventories
     prepare the    inventories and and assess
                                         assess impacts
                                                 impacts arearecommon
                                                                 common toto
     each
     each of
           of these
              these three    categories of
                      three categories     of pollutants.
                                              pollutants. The
                                                            The inventories
                                                                  inventories
     were  prepared for
     were prepared      for 2010
                            2010 andand 2035
                                         2035 by
                                               by APCD
                                                   APCD using      EPA’s
                                                            using EPA's
     MOVES2010b        model    and   interpolated   for
     MOVES2010b model and interpolated for each interim   each  interim
     five-year
     five-year increment.
                increment. Exhibit        5.10-8 shows
                               Exhibit 5.10-8      shows the    modeling
                                                           the modeling
     process
     process used
               used for
                     for this
                          this analysis.
                                analysis.

     Exhibit
     Exhibit 5.10-8
             5.10-8           Modeling
                              Modeling Process
                                       Processfor
                                               for the
                                                    the Criteria
                                                        Criteria Pollutant,
                                                                 Pollutant, MSAT,
                                                                            MSAT,and
                                                                                  andGreenhouse
                                                                                      GreenhouseGas
                                                                                                 Gas
                              Analyses
                              Analyses


          Traffic Data from                Local                          Fuel and Control      Vehicle Fleet
           DRCOG Model               Meteorological Data               Program Specifications      Data




                                                      EPA MOVES Model



                                                    Emission Factors by Pollutant,
                                                       Speed, and
                                                              and Road
                                                                  Road Type

                                                                 V
                 Traffic
                 Traffic Data from
                  DRCOG Model              Post-process
                                           Post-process for
                                                         forPollutant
                                                            PollutantType
                                                                      Type

                                                I                 I
                                             Criteria
                                                              MSAT             GHG
                                            Pollutant
                                                             Emissions       Emissions
                                            Emissions



     For
     For this analysis, the
         this analysis,   the project
                              project alternatives
                                      alternatives were
                                                     were modeled
                                                          modeled to  to
     generate  traffic information.
     generate traffic  information. The
                                      The No-Action
                                            No-Action Alternative
                                                       Alternative andand
     Revised
     Revised Viaduct
              Viaduct Alternative
                         Alternative both
                                      both have
                                             have options
                                                  options that
                                                           that shift
                                                                shift
     I-70 south
     1-70 south or
                 or north.
                    north. These
                             These shifts  have no
                                    shifts have no impact
                                                    impact on
                                                            on traffic
                                                                traffic
     circulation and
     circulation       are each
                 and are    each considered
                                 considered aa single
                                                single alternative   for
                                                       alternative for
     the purpose of
     the purpose  of projecting
                      projecting traffic,
                                  traffic, congested
                                           congested speeds,
                                                      speeds, and
                                                               and
     emissions
     emissions for
                for all
                     all of
                         ofthe
                            the alternatives.
                                alternatives.
     Local
     Local meteorological
           meteorological conditions,
                             conditions, fuel
                                          fuel specifications,
                                               specifications, and
                                                                and
     emissions
     emissions control
                 control programs
                         programs are    input into
                                     are input   into the
                                                      the MOVES
                                                          MOVES
     model,
     model, in
             in addition
                addition to
                          to the
                             the travel
                                  travel demand    model results.
                                         demand model               The
                                                           results. The
     MOVES model
     MOVES     modeluses
                      usesthis
                            this information
                                 information to to estimate  on-road
                                                   estimate on-road

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     January 2016                                                                                         5.10-23
                                                                                                          5.10-23
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                                                                                                    EIS


 mobile
 mobile source
          source emissions
                 emissions factors
                               factors in
                                        in units  of grams
                                           units of   grams per   mile.
                                                              per mile.
 The
 The emissions
      emissions factors
                  factors are   multiplied by
                           are multiplied     by the
                                                  the daily
                                                       daily (24-hour
                                                             (24-hour
 weekday    period) vehicle   miles  of  travel  for every
 weekday period) vehicle miles of travel for every roadway  roadway
 link
 link in the study
      in the study area
                     area based
                           based onon the
                                      the link's
                                            link’s roadway
                                                   roadway functional
                                                               functional
 classification and
 classification       estimated congested
                and estimated      congested speed.
                                                speed. The
                                                         The emission
                                                              emission
 inventories
 inventories are   the sum
              are the  sum of of the link emissions.
                                 the link  emissions. TheThe resulting
                                                               resulting
 inventories  representaaweekday
 inventories represent       weekday (24-hour
                                         (24-hour period)
                                                     period) for
                                                              for
 January and
 January   and July
                July in
                      in the
                          the respective
                               respective analysis
                                            analysis years.
                                                       years.
 Air quality
 Air quality model
             model selection
                   selection
 EPA’s
 EPA's MOVES2010b
         MOVES2010bmodel   modelwaswasselected
                                        selectedthrough
                                                   through the
                                                             the
 Interagency   Consultation process
 Interagency Consultation       process for
                                         for use
                                              use in
                                                   in preparing
                                                      preparing the
                                                                  the
 criteria pollutant,
 criteria pollutant,MSAT,
                      MSAT, and     greenhouse gas
                                and greenhouse      gas emission
                                                        emission
 inventories.  MOVES allows
 inventories. MOVES       allows for
                                  for the
                                      the use
                                          use of
                                               of project-specific,
                                                   project-specific,
 local
 local data
       data where
            where itit is
                       is available,
                          available, and
                                       and it has the
                                           it has   the capability
                                                        capability of
                                                                    of
 modeling
 modeling pollutant-origination
            pollutant-origination processes
                                      processesthatthat estimate
                                                         estimate
 exhaust   and evaporative
 exhaust and   evaporative emissions,
                               emissions, as
                                           as well
                                               well asas brake
                                                         brake and
                                                                 and tire
                                                                     tire
 wear  emissions, from
 wear emissions,   from all
                          all types
                              types of
                                     of on-road
                                        on-road vehicles.
                                                  vehicles.
 Pollutants
 Pollutants to
            to analyze
               analyze
 Analysis of
 Analysis    of NAAQS-related
                NAAQS-related emissions
                                      emissions addresses
                                                      addresses five
                                                                   five criteria
                                                                         criteria
 pollutants:    carbon monoxide,
 pollutants: carbon       monoxide, nitrogen
                                        nitrogen dioxide,
                                                     dioxide, particulate
                                                                particulate
 matter    (PM2.5 and
 matter (PM2.5            PM10), sulfur
                    and PALO),      sulfurdioxide,
                                            dioxide,and  and ozone.
                                                             ozone. Sulfur
                                                                        Sulfur
 dioxide
 dioxide waswas analyzed
                  analyzed because
                              because itit is
                                            is aa pollutant
                                                  pollutant of of general
                                                                   general airair
 quality   concern and
 quality concern            contributes to
                      and contributes      to the
                                               the overall
                                                     overall conditions
                                                              conditions of   of
 the  study area.
 the study    area. Sulfur
                      Sulfur dioxide
                               dioxide is
                                        is not
                                            not considered
                                                  considered a   a
 transportation-related        criteria pollutant.
 transportation-related criteria         pollutant. Because
                                                         Because leadlead has
                                                                           has
 been eliminated
 been   eliminated fromfrom on-road
                              on-road vehicle
                                        vehicle fuels,
                                                    fuels, it is no
                                                           it is  no longer
                                                                       longer aa
 pollutant
 pollutant of of concern
                 concern from
                            from roadway
                                   roadway emissions,
                                                emissions, so so itit is
                                                                      is not
                                                                         not
 included
 included in in the   analysis of
                the analysis     of criteria   pollutants. MSAT
                                    criteria pollutants.       MSAT
 analyses    cover the
 analyses cover            most recent
                     the most    recent list
                                          list of
                                                of seven
                                                   seven priority
                                                           priority MSATs
                                                                        MSATs
 in FHWA’s 2012
 in FHWA's      2012 guidance       (Marchese, 2012).
                        guidance (Marchese,         2012). The
                                                             The MOVES
                                                                    MOVES
 emissions
 emissions factors
               factors for
                         for greenhouse
                             greenhouse gasesgases include
                                                       include adjustments
                                                                 adjustments
 for
 for the
     the most
          most recent      changes to
                  recent changes     to the    corporate average
                                         the corporate      average fuel fuel
 economy
 economy(CAFE)(CAFE)standards.
                          standards. Identical
                                       Identical travel
                                                     travel and
                                                             and
 meteorological
 meteorologicaldata   data were
                            were used
                                   used for
                                         for all
                                               all pollutants.
                                                    pollutants.
 Geographic
 Geographic area
            area
 The
 The emission
     emission inventories
                inventories are based on
                            are based  on a large geographic
                                          a large geographic
 study area
 study area that
             that encompasses
                  encompasses the
                                the corridor
                                    corridor study
                                              study area
                                                    area and
                                                         and
 surrounding neighborhoods.
 surrounding   neighborhoods. The
                                The study
                                    study area
                                           area was
                                                 was determined
                                                     determined
 based on the area in which forecasted traffic volumes change
 based on  the area in which  forecasted traffic volumes  change
 between the
 between       No-Action Alternative
          the No-Action   Alternative and
                                       and the  Build
                                           the Build
 Alternatives.
 Alternatives.
 Analysis years
 Analysis years
 As defined
 As defined in
            in the Air Quality
               the Air         Protocol developed
                       Quality Protocol developed through
                                                   through the
                                                           the
 Interagency  Consultation process,
 Interagency Consultation  process, the emission inventories
                                    the emission inventories

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 5.10-24                                                                                 January 2016
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                                                                               5.10 Air Quality

     were
     were prepared    for the
           prepared for        2010 base
                           the 2010  base year
                                            year and
                                                 and the  regional
                                                      the regional
     transportation   plan’shorizon
     transportation plan's     horizonyear
                                       yearofof2035
                                                2035bybyAPCD.
                                                          APCD. ToTo
     support  the trends    analysis, inventories   were  estimated
     support the trends analysis, inventories were estimated for     for
     each intervening five-year
     each intervening    five-year increment:
                                    increment: 2015,
                                                  2015, 2020,
                                                        2020, 2025,
                                                              2025, and
                                                                     and
     2030.
     2030. AA Phase
              Phase 1 1 condition
                        condition was
                                    was also
                                          also analyzed  to show
                                               analyzed to  show
     conditions at
     conditions     the first
                 at the  first phase
                               phaseofof project
                                          project construction.
                                                  construction. More
                                                                 More
     information
     information onon the
                       the results
                            results are  included in
                                    are included   in Chapter
                                                      Chapter 8,8, Phased
                                                                   Phased
     Project
     Project Implementation.
             Implementation.
     The
     The project
          project is
                   is anticipated
                      anticipated to to be
                                        be completed
                                            completed between
                                                        between 2020
                                                                   2020 and
                                                                         and
     2025, so  2025   is the  first analysis   year to contain
     2025, so 2025 is the first analysis year to contain a Build a Build
     Alternative condition.
     Alternative   condition. Therefore,
                                 Therefore, the
                                              the 2010,
                                                  2010, 2015,
                                                          2015, and   2020
                                                                 and 2020
     inventories   are common
     inventories are    common to   to all
                                       all alternatives  for aa given
                                           alternatives for     given
     pollutant,   whereas the
     pollutant, whereas      the 2025,
                                  2025, 2030,
                                         2030, and   2035 inventories
                                                and 2035    inventories are
                                                                         are
     specific to
     specific  to each
                  each alternative.
                         alternative.
     Temporal and
     Temporal and seasonal
                  seasonal conditions
                           conditions
     The
     The emission
          emission inventories
                     inventories for
                                  for criteria pollutants, MSATs,
                                      criteria pollutants,   MSATs, and and
     greenhouse
     greenhouse gases
                   gases represent
                          represent aa January
                                       Januaryweekday
                                                  weekday (24-hour
                                                             (24-hour
     period)
     period) and
             and a   July weekday
                   a July  weekday (24-hour
                                    (24-hour period)
                                                period) in
                                                         in the
                                                            the respective
                                                                 respective
     analysis years. The
     analysis years.   The use
                            use of
                                of weekdays
                                   weekdays captures
                                               captures peak
                                                          peak traffic
                                                                 traffic
     conditions that occur in the morning and evening rush hours
     conditions  that  occur in the morning    and   evening   rush  hours
     on weekdays.
     on  weekdays. Both
                      BothJanuary
                            January and
                                     and July
                                           July are
                                                 are reported
                                                     reported separately
                                                                separately
     to
     to indicate
        indicate peaking
                  peaking characteristics    of the
                            characteristics of  the various
                                                     various pollutants.
                                                              pollutants.
     Planning
     Planning assumptions
              assumptions
     In preparing the
     In preparing the emission
                      emission inventories,
                                inventories, the  most recent
                                             the most  recent
     planning
     planning assumptions   consistent with
              assumptions consistent    with the most recent
                                             the most  recent
     conformity determination
     conformity                 for the
                 determination for      RTP and
                                    the RTP       TIP were
                                             and TIP  were used
                                                             used by
                                                                   by
     APCD. Many
     APCD.   Many of
                   ofthese
                      theseplanning
                            planning assumptions,
                                      assumptions, such
                                                     such as
                                                           as existing
                                                              existing
     and future households
     and future households and   employment, are
                            and employment,     are built
                                                    built into
                                                          into the
                                                               the
     DRCOG
     DRCOG regional
              regional travel
                       travel demand   model.
                              demand model.
     Traffic data
     Traffic data
     The
     The traffic  data (e.g.,
          traffic data  (e.g., vehicle
                               vehicle miles
                                       miles of
                                              of travel, congested
                                                 travel, congested
     speeds) for
     speeds)  for this
                  this analysis   were obtained
                        analysis were   obtained from
                                                   from the  2010 base
                                                         the 2010  base
     year model
     year  model and    the 2035
                  and the   2035 DRCOG
                                  DRCOG regional
                                             regional travel
                                                       travel demand
                                                              demand
     model
     model runs    for the
             runs for      No-Action Alternative
                       the No-Action    Alternative and    Build
                                                      and Build
     Alternatives.   The  2035   No-Action  Alternative
     Alternatives. The 2035 No-Action Alternative model    model is
                                                                  is
     consistent with
     consistent  with the
                        the model,
                            model, network,
                                     network, and
                                                and other
                                                     other assumptions
                                                           assumptions
     used  for the
     used for       conformity determination
               the conformity    determination of of the
                                                     the RTP
                                                         RTP and
                                                               and TIP.
                                                                    TIP.
     The
     The 2035
          2035 Build
                 Build Alternatives    were developed
                        Alternatives were    developed using
                                                          using the  2035
                                                                the 2035
     No-Action
     No-Actionroadway
                  roadwaynetwork
                             networkas asaastarting
                                            starting point.
                                                      point.
     Overview of the
     Overview of the MOVES
                     MOVES modeling
                           modeling process
                                    process
     Emissions
     Emissions factors
                 factors were
                         were generated   using MOVES
                              generated using    MOVES at   at the
                                                               the
     county scale.
     county scale. In  MOVES, the
                    In MOVES,   the county
                                    county scale
                                             scale is
                                                    is one
                                                       one of
                                                           of three
                                                              three
     options for
     options for running  the model.
                  running the model. It  facilitates the
                                      It facilitates  the use
                                                          use of
                                                               of local
                                                                  local

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                                                                                      5.10-25
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 input  data to
 input data   to develop
                 develop emissions
                           emissions factors.
                                        factors. It   does not
                                                   It does not mean
                                                               mean
 that  county-level emissions
 that county-level   emissions totals
                                   totals are
                                            are generated.
                                                 generated. Rather,
                                                             Rather, the
                                                                      the
 emissions
 emissions factors from MOVES are multiplied by the VMT at
             factors from   MOVES       are  multiplied   by the  VMT    at
 the roadway link
 the roadway    link level
                     level based
                            based onon the
                                         the speed
                                              speed estimated    for the
                                                      estimated for  the
 link.
 link. This
       This is
             is done
                done for
                      for all
                          all links
                               links in
                                      in the
                                          the air
                                               air quality
                                                   quality study
                                                           study area  so
                                                                  area so
 that  the resulting
 that the  resulting emission
                      emission inventories
                                  inventories represent
                                                  represent the
                                                             the on-road
                                                                  on-road
 mobile
 mobile source
          sourceemissions
                  emissionsgenerated
                                generatedin  in the
                                                 the study
                                                     study area.
                                                            area.
 Construction
 Construction fugitive
              fugitive dust
                       dust
 The
 The estimation
      estimation ofof fugitive
                      fugitive emissions
                                emissions from
                                            from construction
                                                   construction is
                                                                is not
                                                                   not
 possible
 possible until  specific construction
           until specific   construction methods
                                          methods andand sequencing
                                                         sequencing
 are developed for
 are developed    for the
                       the selected
                           selected Preferred
                                     Preferred Alternative.
                                                 Alternative. This
                                                              This is
                                                                    is
 because the
 because        emissions factors
           the emissions    factors used
                                     used to
                                          to estimate  construction
                                              estimate construction
 emissions
 emissions require     specific information
              require specific   information regarding
                                               regarding equipment
                                                          equipment
 type,
 type, (i.e.,
       (i.e., dozer,
              dozer, scraper,
                     scraper, grader,
                                grader, etc.),
                                        etc.), operating
                                               operating hours,
                                                          hours,
 vehicle speed,
 vehicle  speed, project
                  project duration,
                            duration, and  so forth.
                                      and so   forth.
 In the absence
 In the  absence ofof this detailed information,
                      this detailed   information, it
                                                    it is
                                                       is possible
                                                          possible to
                                                                   to
 provide
 provide aa relative
             relative comparison
                       comparison among
                                      amongthethe alternatives
                                                  alternatives based
                                                                based
 on the
 on  the amount
         amount of of material
                      material to
                                to be
                                    be handled.
                                        handled. In
                                                  In general,
                                                     general, the
                                                               the
 more
 more material
        material moved,
                  moved, thethe greater
                                greater the   construction-related
                                          the construction-related
 fugitive
 fugitive dust emissions. Therefore, the total
          dust  emissions.   Therefore,    the       amount of
                                               total amount    of
 material   handled is
 material handled     is used
                         used as  a surrogate
                               as a  surrogate measure
                                                measure forfor
 understanding
 understanding the the relative
                        relative dust
                                 dust and
                                        and equipment-related
                                             equipment-related
 exhaust   particulate emissions
 exhaust particulate     emissions during
                                      during construction.
                                              construction.

 5.10.6
     .0        How
               How dodo the
                         the project
                             project alternatives potentially
                                     alternatives potentially
               affect air quality?
               affect air quality?

 This
 This subsection
       subsection discusses
                   discusses the
                               the results
                                    results of
                                             of the
                                                 the air
                                                     air quality
                                                          quality
 analysis and the
 analysis and  the effects
                   effects of
                            of the
                                the alternatives
                                     alternatives onon air
                                                        air quality.
                                                            quality. It
                                                                     It
 is
 is arranged in the
    arranged in  the following
                      following order
                                 order ofof pollutant
                                            pollutant analyses:
                                                         analyses:
     •    Carbon
           Carbon monoxide
                  monoxide hotspot
                           hotspot analysis
                                   analysis
     •    PM 10 hotspot
           PALO   hotspotanalysis
                          analysis
     •    Criteria pollutant emission
           Criteria pollutant emission inventories
                                       inventories
     •   MSAT emission
          MSAT emission inventories
                        inventories

     •    Greenhouse
           Greenhouse gas
                      gas emission
                          emission inventories
                                   inventories
     •    Construction
           Construction fugitive
                        fugitive dust emissions
                                 dust emissions
 Carbon monoxide
 Carbon monoxide hotspot
                 hotspot results
                         results and
                                 and effects
                                     effects
 According to
 According to Section
               Section 4.7.3
                        4.7.3 of
                              of the
                                  the 1992
                                      1992 Guideline   for
                                            Guideline for
 Modeling Carbon
 Modeling  Carbon Monoxide
                     Monoxide from
                                 from Roadway
                                        RoadwayIntersections
                                                  Intersections
 (EPA, 1992),
 (EPA,  1992), the
                the total
                    total carbon
                          carbon monoxide
                                   monoxide concentration
                                              concentration at
                                                             at
 each
 each receptor
      receptor is
                is calculated  as the
                   calculated as   the sum
                                       sum of
                                            of the
                                               the modeled
                                                   modeled
 concentration and
 concentration        the background
                 and the  background concentration
                                         concentration


 5.10-26
 5.10-26                                                                           January 2016
                                                                                   January 2016
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     1-70 East Final
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                     EIS                                                                            5.10 Air Quality
                                                                                                    5.10 Air Quality

     attributable  to other
     attributable to  otherlocal
                             local emissions
                                   emissions sources.
                                             sources. Concentrations
                                                      Concentrations
     in Exhibit 5.10-9
     in Exhibit   5.10-9 are   shown for
                          are shown  for the
                                         the receptors
                                             receptors with
                                                       with the
                                                             the
     highest  levels inside the  carbon monoxide  hotspot  study
     highest levels inside the carbon monoxide hotspot study
     area.
     area.
     As shown
     As shown in in Exhibit    5.10-9, the
                    Exhibit 5.10-9,          8-hour design
                                        the 8-hour   design values
                                                             values
     resulting  from the
     resulting from   the carbon
                           carbon monoxide
                                    monoxide hotspot
                                                 hotspot analysis
                                                          analysis are
                                                                     are
     below the
     below       8-hour NAAQS
            the 8-hour   NAAQS limitlimit of
                                          of 99ppm,
                                                 ppm, and
                                                       and the
                                                           the 1-hour
                                                               1-hour
     design  values are
     design values   are well
                         well below
                                below the
                                        the 1-hour
                                            1-hour NAAQS
                                                     NAAQS limit
                                                              limit ofof 35
                                                                         35
     ppm.
     ppm. Since
           Since the
                   the carbon
                       carbon monoxide
                                monoxide hotspot
                                             hotspot analysis
                                                      analysis is
                                                                is a
                                                                   a
     worst-case   study, it is reasonable     to conclude  that  the
     worst-case study, it is reasonable to conclude that the carbon   carbon
     monoxide
     monoxide emissions
                 emissions atat any
                                 any intersection    affected by
                                      intersection affected   by the
                                                                  the
     project also will
     project also  will be
                        be below
                           below the    NAAQS limit.
                                   the NAAQS       limit.

     Exhibit
     Exhibit5.10-9
             5.10-9        Carbon Monoxide
                           Carbon  Monoxide Hotspot
                                              Hotspot Analysis
                                                      Analysis at
                                                               at I-70 and Colorado
                                                                  1-70 and Colorado Boulevard
                                                                                    Boulevard for
                                                                                              for
                           the Partial
                           the Partial Cover
                                       Cover Lowered
                                             Lowered Alternative
                                                      Alternative with
                                                                  with Managed
                                                                        Managed Lanes
                                                                                Lanes Option
                                                                                      Option

                             Averaging
                             Averaging                           Carbon Monoxide
                                                                 Carbon Monoxide Concentration
                                                                                 Concentration (ppm)
                                                                                               (ppm)
             Period
             Period
                               Time
                               Time          Modeled Resultfrom
                                             Modeled Result fromCAL3QHC
                                                                 CAL3QHC           Background
                                                                                   Background      Total Carbon
                                                                                                   Total Carbon Monoxide
                                                                                                                Monoxide

               AM
               AM               11 hour
                                   hour                   3.61
                                                          3.61                        6.73
                                                                                      6.73                  10.34
                                                                                                            10.34

               AM
               AM              88 hour
                                  hour                    2.53
                                                          2.53                        4.55
                                                                                      4.55                   7.08
                                                                                                             7.08

               PM
               PM               11 hour
                                   hour                   3.53
                                                          3.53                        6.73
                                                                                      6.73                  10.26
                                                                                                            10.26

               PM
               PM              88 hour
                                  hour                    2.47
                                                          2.47                        4.55
                                                                                      4.55                   7.02
                                                                                                             7.02
       Note: 8-hour
       Note:  8-hour design
                     design values
                            values resulting
                                   resulting from
                                             from the
                                                   the carbon
                                                        carbon monoxide
                                                               monoxide hotspot
                                                                         hotspot analysis
                                                                                 analysis are
                                                                                           are below
                                                                                               below the
                                                                                                     the 8-hour
                                                                                                         8-hour NAAQS
                                                                                                                NAAQS limit
                                                                                                                      limit
       of 9
       of 9 ppm,
            ppm, and
                  and the
                      the 1-hour
                          1-hour design
                                 design values
                                         values are
                                                are well
                                                     well below
                                                          below the
                                                                the 1-hour
                                                                    1-hour NAAQS
                                                                           NAAQS limit
                                                                                   limit of 35 ppm.
                                                                                         of 35 ppm.

     It is noteworthy
     It is noteworthy to to repeat  thatthe
                            repeat that   thecarbon
                                               carbonmonoxide
                                                        monoxide hotspot
                                                                      hotspot
     analysis   used aa worst-case
     analysis used       worst-case scenario
                                     scenario inin which
                                                    which the
                                                            the2035
                                                                 2035 VMT
                                                                        VMT
     activity   was multiplied
     activity was    multiplied by
                                 by MOVES
                                     MOVES emissions
                                                emissions factors
                                                             factors that
                                                                       that
     represent
     represent thetheyear
                      year2010.
                            2010. With
                                  With regard
                                          regardtotoSection
                                                      Section 93.116
                                                                93.116 of of
     the  TransportationConformity
     the Transportation      Conformity Rule,
                                           Rule, based
                                                  based on on the  carbon
                                                              the carbon
     monoxide
     monoxidehotspot
                   hotspotanalysis
                           analysis and
                                      and resulting
                                           resulting total   carbon
                                                       total carbon
     monoxide
     monoxide concentrations,
                   concentrations, the   project will
                                    the project   will not  cause new
                                                        not cause    new local
                                                                           local
     violations of the NAAQS standards for carbon monoxide, nor
     violations   of the NAAQS    standards     for carbon   monoxide,      nor
     will
     will it
           it increase  the severity
              increase the  severity or
                                      or number
                                         number of  of existing
                                                       existing violations
                                                                  violations
     or required
     or             interim emission
         required interim    emission reductions
                                        reductions or or other  milestones.
                                                          other milestones.
     Although the
     Although     the Preferred
                      Preferred Alternative
                                 Alternative meets
                                                meets the    hotspot
                                                         the hotspot
     analysis   requirementsfor
     analysis requirements      for project-level
                                    project-level conformity,
                                                    conformity, it  it also
                                                                       also
     must
     must be be included
                included in
                          in the regional emissions
                             the regional   emissions analysis
                                                          analysis ofof aa
     conforming RTP
     conforming      RTP and
                          and TIP
                              TIP before
                                    before aa conformity
                                              conformitydetermination
                                                             determination
     can be
     can   be made.
               made.




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     January 2016                                                                                            5.10-27
                                                                                                             5.10-27
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 5.10 Air Quality
 5.10 Air Quality                                                                                    I-70 East
                                                                                                     1-70 East Final
                                                                                                               Final EIS
                                                                                                                     EIS


 Maximum receptor locations
 Maximum receptor locations
 The
 The receptors   with the
      receptors with    the maximum
                              maximum carboncarbon monoxide
                                                   monoxide
 concentrations are
 concentrations    are shown
                       shown by  by AMAM and   PM traffic
                                           and PM   traffic
 period
 period (figure
         (figure to
                  to the
                     the right).
                           right). The
                                   The maximum
                                         maximum receptor
                                                     receptor                         Am
                                                                                      AM •
                                                                                           •
 in the AM
 in the AM period
             period isis located
                          locatedin inthe
                                        the northwestern
                                            northwestern                                •
                                                                                        •
 quadrant
 quadrant ofof the  intersection, the
               the intersection,      the maximum
                                          maximum                                   •
                                                                                    • •
                                                                                      •    •••
                                                                                             • •
                                                                                               •
 receptor
 receptor in  the PM
           in the  PM period
                        period isis located
                                     located in
                                              in the
                                                 the                                 • •
                                                                                       •••              ••
 southeastern quadrant.
 southeastern    quadrant. These
                               These results
                                        results are
                                                are                                                  •
 consistent with general traffic flow during those
 consistent  with   general   traffic  flow  during  those                                   •
                                                                                             •      411P141
 hours.
 hours.
 Sensitive receptors
 Sensitive receptors                                                 •et Carbon
                                                                          CarbonMonoxide
                                                                                Monoxidereceptors
                                                                                         receptors •• Maximum
                                                                                                      Maximum receptor
                                                                                                               receptor locations

 Sensitive   receptors include
 Sensitive receptors      include locations
                                   locations in
                                              in the  vicinity
                                                  the vicinity
                                                                    Maximum receptors
                                                                    Maximum     receptors showshow the    highest daily
                                                                                                     the highest  daily
 of aa roadway
 of    roadway that    are likely
                  that are   likely to
                                    to contain
                                       contain populations
                                                 populations             concentration for
                                                                        concentration     for the
                                                                                               the Partial
                                                                                                    Partial Cover
                                                                                                             Cover
 who
 who are    most susceptible
        are most  susceptible to to the
                                    the adverse
                                         adverse effects
                                                   effects of
                                                           of          Lowered Alternative
                                                                      Lowered                   under worst-case
                                                                                 Alternative under       worst-case
                                                                    conditions. The
                                                                    conditions.   The locations
                                                                                        locations of of receptors
                                                                                                        receptors are
                                                                                                                   are
 exposure
 exposure to to pollutants,    such as
                pollutants, such     as hospitals,
                                        hospitals, schools,
                                                    schools,          shown for
                                                                      shown       illustrative purposes
                                                                              for illustrative   purposes andand are
                                                                                                                  are
 child care
 child   care facilities,
              facilities, and
                           and elder  care facilities.
                                elder care  facilities.              upon the
                                                                     upon       relative location
                                                                            the relative   location ofof the
                                                                                                         the receptor
                                                                                                              receptor
                                                                           in relation
                                                                           in relation toto the
                                                                                             the interchange.
                                                                                                  interchange.
 Residential
 Residential communities
                communities that       are located
                                 that are  located in
                                                    in
 proximity
 proximity to to high-traffic
                 high-traffic freeways
                                freeways andand roads   also
                                                roads also
 can be
 can   be considered
          considered sensitive
                        sensitive populations.
                                   populations.
 There   are no
 There are   no sensitive
                sensitive receptors
                          receptors within
                                     withinthe
                                             the1-70/Colorado
                                                  I-70/Colorado
 Boulevard
 Boulevard hotspot
              hotspot study
                       study area,
                             area, which
                                    which represents
                                           represents the
                                                        the highest
                                                            highest
 concentration of
 concentration   of carbon
                    carbon monoxide
                            monoxidein inthe
                                          the study
                                               study area.
                                                      area. The
                                                            The
 hotspot study
 hotspot         area consists
          study area   consists of
                                of industrial and commercial
                                   industrial and   commercial
 facilities
 facilities within
            within the  Elyria and
                   the Elyria  and Swansea
                                    Swansea Neighborhood.
                                              Neighborhood.
 Swansea    Elementary School
 Swansea Elementary        School is is the
                                         the most
                                              most notable
                                                    notable concern
                                                             concern forfor
 pollutant   exposure because
 pollutant exposure      because of of its
                                       its youth   population,
                                            youth population,
 proximity
 proximity to to the highway, and
                 the highway,      and frequency
                                        frequency of of outdoor
                                                        outdoor
 activities. This school
 activities. This   school isis located
                                 locatedat at Elizabeth
                                              Elizabeth Street
                                                         Street between
                                                                  between
 York Street
 York   Street and   Steele Street/Vasquez
                and Steele    Street/Vasquez Boulevard,
                                                   Boulevard, just
                                                                 just north
                                                                      north
 of I-70
 of  1-70and
          and outside
                outside of
                         ofthe
                            the carbon
                                  carbon monoxide
                                           monoxide hotspot
                                                        hotspot study
                                                                  study
 area.  Since the
 area. Since   the carbon
                    carbon monoxide
                             monoxide emission
                                           emission concentrations
                                                      concentrations for for
 all
 all alternatives
     alternatives atat the
                        theworst-case
                            worst-case interchange
                                            interchange are
                                                          are below
                                                               below the
                                                                       the
 NAAQS     limit  at all modeled     receptor    locations,
 NAAQS limit at all modeled receptor locations, it is       it is
 reasonable
 reasonable to to conclude
                  conclude that     the carbon
                              that the    carbon monoxide
                                                   monoxide emissions
                                                               emissions
 at  Swansea Elementary
 at Swansea     ElementarySchoolSchool also
                                         also are
                                               arebelow
                                                    below the
                                                           the NAAQS
                                                                NAAQS
 limit.
 limit.
 PM10,hotspot
 PINK  hotspotresults and effects
                 results   and effects
 EPA’s
 EPA's guidance    (EPA-420-B-13-053) for
        guidance (EPA-420-B-13-053)         forcalculating
                                                calculating design
                                                            design
 values was
 values  was applied
              applied for
                      for the
                           the PM10
                               PM10 hotspot
                                      hotspotanalysis;
                                                analysis; and
                                                          and the
                                                              the
 design
 design values
         values estimated
                 estimated through    the hotspot
                             through the   hotspot analysis
                                                     analysis were
                                                              were
 compared against
 compared    againstthe
                     theNAAQS
                         NAAQS for for PM10.
                                       PM10. Compliance
                                                Compliance with
                                                             with the
                                                                   the
 24-hour   PM10 NAAQS
 24-hour PMio    NAAQSisisbased
                              based on
                                    on the
                                        the expected
                                             expected number
                                                       number ofof
 24-hour
 24-hour exceedances
           exceedances of
                        ofaa particular   level (currently
                              particular level              150
                                                 (currently 150
 µg/m 3), averaged
 µg/m3),  averaged over
                    over three  consecutive years.
                          three consecutive    years. Currently,
                                                       Currently,

 5.10-28
 5.10-28                                                                                                      January 2016
                                                                                                              January 2016
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     1-70                                                                                               5.10
                                                                                                        5.10 Air Quality

     the
     the NAAQS
         NAAQSisismet    metwhenwhenthetheexpected
                                             expected   number  of of
                                                            number
     exceedances
     exceedances   is is
                       less   than
                           less     or equal
                                 than   or equalto one.    The 24-hour
                                                      to one.            PM10 PALO
                                                               The 24-hour
     design  value  is  rounded    to the   nearest
     design value is rounded to the nearest 10 µg/m     10  µg/m3.
                                                                3. For
                                                                   For
     example,
     example,155.000
                 155.000    rounds
                               roundsto 160,   and and
                                         to 160,      154.999  rounds
                                                            154.999      to 150.to 150.
                                                                      rounds
     These
     Theserounding
             roundingconventions
                            conventions  werewere followed   whenwhen
                                                       followed     calculating
                                                                          calculating
     design
     designvalues
              values forforthethe
                                hotspot
                                   hotspotanalysis.
                                               analysis.The The
                                                             contributions
                                                                   contributions
     from
     from the
           theproject,
                project,nearby
                             nearby sources,
                                       sources,and and background
                                                            background
     concentrations from
     concentrations       from other
                                 othersources
                                          sources are combined     to estimate
                                                        are combined      to estimate
     2035
     2035emission
            emission  concentrations
                         concentrations    (i.e.,(i.e.,
                                                   design   values)
                                                         design      at receptor
                                                                 values)    at receptor
     locations
     locationsininthe
                    thetwo two hotspot
                                 hotspotstudy
                                            study areas.
                                                       areas.
     Design
     Designvalues
            values
     Current
     Current direction
               directionfrom
                          fromthe theEPA’s
                                        EPA's Office  of Transportation
                                                 Office    of Transportation
     and
     and Air
          Air Quality
              Quality states
                       statesthatthataadesign
                                          design  value  forfor
                                                     value    PMPALO
                                                                   10 is   is
     calculated atateach
     calculated      eachreceptor
                             receptor by directly   adding
                                          by directly         the sixth
                                                         adding      the sixth
     highest modeled
     highest  modeled   24-hour
                          24-hour  concentrations
                                       concentrations to thetofourth
                                                                 the fourth
     highest 24-hour
     highest  24-hourbackground
                         background     concentration
                                           concentration  recorded     over the
                                                                recorded      over the
     past
     pastthree
           threeyears
                  yearsof of
                          monitoring
                              monitoring  data.  Exhibit5.10-10
                                               data.
                                                 Exhibit     5.10-10 and and
     Exhibit   5.10-11 show
     Exhibit 5.10-11    showreceptor
                                receptor   locations
                                             locations andanddesign    value
                                                                  design    value
     concentrations ofofPM
     concentrations          10 for for
                          PALO       thethe
                                          No-Action
                                              No-ActionAlternative
                                                            Alternative and and
                                                                             the the
     Partial
     Partial Cover
             CoverLowered
                      Lowered   Alternative
                                   Alternative  in in
                                                   2035.
                                                      2035.Values
                                                               Valuesshownshown
     include
     includeboth
              bothbackground
                     background    concentrations
                                       concentrations and and
                                                            modeled      values.
                                                                   modeled      values.
     Exhibit   5.10-12 contains
     Exhibit 5.10-12    containsthe   thehotspot
                                           hotspot  analysis
                                                      analysis results   for the
                                                                    results    for the
     I-70/I-25 and
     1-70/1-25   andI-70/I-225
                      1-70/1-225 locations.   The The
                                      locations.    modeled
                                                         modeledprojectproject
     emissions
     emissionsconcentrations
                  concentrations   include   exhaust,
                                        include          brakebrake
                                                   exhaust,       wear, wear,
                                                                          and and
     tire
     tire wear
          wear emissions
                emissions  from
                              from on-road   vehicles
                                       on-road          and re-entrained
                                                  vehicles     and re-entrained
     road
     roaddust
           dustkicked
                 kickedupup into  thethe
                               into     airair
                                            by by
                                                passing   vehicles.
                                                    passing     vehicles.

     Exhibit 5.10-10
     Exhibit            I-70/I-25
             5.10-10 1-70/1-25    PM10
                               PMic,   Hotspot
                                     Hotspot    ReceptorLocations
                                               Receptor  Locations and
                                                                    and Maximum
                                                                        Maximum
                        Concentrations for
                        Concentrations  for No-Action
                                            No-ActionAlternative
                                                      Alternative(2035)
                                                                  (2035)




            •   < 89.00 - 110.00 pg/m3         110.01 - 130.00 pg/m3   - 130.01
                                                                          130.01- -150.00
                                                                                    150.00 pg/m3
                                                                                           pg/m3   Approximate Scale

                                                                                                   0         2,000 feet
                    No-Action Alternative roadway footprint




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     January 2016                                                                                                  5.10-29
                                                                                                                   5.10-29
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 5.10 Air Quality                                                                                            I-70 East
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                                                                                                                       Final EIS
                                                                                                                             EIS

 Exhibit
 Exhibit5.10-11    I-70/I-25
         5.10-11 1-70/1-25   PM10
                           PMio   Hotspot
                                Hotspot    ReceptorLocations
                                         Receptor   Locationsand
                                                              andMaximum
                                                                  Maximum
                   Concentrations for
                   Concentrations for Partial
                                      Partial Cover
                                              CoverLowered
                                                    LoweredAlternative
                                                             Alternative(2035)
                                                                         (2035)




        •   < 89.00 - 110.00 pg/m3         110.01 - 130.00 pg/m3           130.01 - 150.00 pg/m3         Approximate Scale

                                                                                                         0           z2,a00
                                                                                                                        600 feet
                 Partial Cover Lowered Alternative, Managed Lanes Option roadway footprint




 Exhibit
 Exhibit5.10-12   PM10Hotspot
         5.10-12 PMio  Hotspot Analysis
                               Analysis

                                                          Forecasted
                                                          Forecasted 2035 PM10 Concentrations
                                                                     2035 Pfko Concentrations(µg/m 3)
                                                                                              (pg/m3)

                                            General-Purpose Lanes
                                            General-Purpose Lanes Option
                                                                  Option                           Managed
                                                                                                   Managed Lanes Option
                                                                                                           Lanes Option
            Alternative
            Alternative
                                        Modeled
                                        Modeled        Project
                                                       Project +
                                                               +          Design
                                                                          Design       Modeled
                                                                                       Modeled         Project
                                                                                                       Project +
                                                                                                               +           Design
                                                                                                                           Design
                                        Project
                                        Project       Background
                                                      Background'1        Value
                                                                          Value        Project
                                                                                       Project        Background
                                                                                                      Background'1         Value
                                                                                                                           Value

 I-70 at
 1-70 at 1-25
         I-25

 No-Action
 No-Action Alternative
           Alternative                      62
                                            62             151
                                                           151              150
                                                                            150              N/A
                                                                                             N/A          N/A
                                                                                                          N/A                N/A
                                                                                                                             N/A

 Revised
 Revised Viaduct
         Viaduct Alternative
                 Alternative                62
                                            62             151
                                                           151             150
                                                                           150               64
                                                                                             64           153
                                                                                                          153                150
                                                                                                                             150

 Partial Cover Lowered
 Partial Cover Lowered Alternative
                       Alternative          63
                                            63             152
                                                           152             150
                                                                           150               57
                                                                                             57           146
                                                                                                          146                150
                                                                                                                             150

 I-70 at
 1-70 at I-225
         1-225

 No-Action
 No-Action Alternative
           Alternative                      26
                                            26             115
                                                           115              120
                                                                            120              N/A
                                                                                             N/A          N/A
                                                                                                          N/A                N/A
                                                                                                                             N/A

 Revised
 Revised Viaduct
         Viaduct Alternative
                 Alternative                35
                                            35             124
                                                           124             120
                                                                           120               41
                                                                                             41           130
                                                                                                          130                130
                                                                                                                             130

 Partial Cover Lowered
 Partial Cover Lowered Alternative
                       Alternative          46
                                            46             135
                                                           135             140
                                                                           140               40
                                                                                             40           129
                                                                                                          129                130
                                                                                                                             130

 Note: Design
 Note: Design values
               values for all alternatives
                      for all alternatives at
                                            at the
                                                the1-25
                                                    I-25 and
                                                         and 1-225
                                                             I-225 hotspot
                                                                     hotspot locations
                                                                              locations are
                                                                                        are less
                                                                                             less than
                                                                                                  than the
                                                                                                        the 24-hour
                                                                                                            24-hourPMio
                                                                                                                    PM10
 NAAQS of
 NAAQS   of 150
            150 µg/m3.
                ug/m3.
 1. A
 I.  A background
       background concentration
                    concentration of of 89
                                        89 µg/m    was used
                                           ug/m33 was   used to
                                                              to estimate
                                                                 estimate total  24-hour concentrations
                                                                          total 24-hour   concentrations



 As shown
 As          Exhibit 5.10-12,
    shown Exhibit    5.10-12, the    resultsof
                                 the results   ofthe
                                                  thePALO
                                                       PM10 hotspot
                                                             hotspot
 analysis
 analysis demonstrate
           demonstrate that    all of
                        that all   of the  alternatives, including
                                      the alternatives,    including
 the No-Action Alternative,
 the No-Action   Alternative, will
                                will be
                                     be in
                                        in compliance
                                            compliance with
                                                          with the
                                                                the
 applicable  24-hour NAAQS       standard
 applicable 24-hour NAAQS standard for PALO.for  PM    . The largest
                                                     10 The largest
 variation in
 variation  in PALO
               PM10 results
                     results is
                              is reported
                                 reported at   the 1-225
                                            at the  I-225 hotspot
                                                           hotspot
 location
 location where
          where the
                 the design
                     design value
                               value for
                                      for the
                                          the Partial    Covered
                                               Partial Covered


 5.10-30
 5.10-30                                                                                                          January 2016
                                                                                                                  January 2016
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               Final EIS
                     EIS                                                      5.10 Air Quality
                                                                              5.10 Air Quality

     Lowered
     Lowered Alternative
               Alternative is
                            is higher
                               higher than  both the
                                       than both  the No-Action
                                                      No-Action and
                                                                  and
     Revised
     Revised Viaduct
               Viaduct Alternatives.
                       Alternatives. These
                                       These differences
                                              differences are
                                                          are mainly
                                                               mainly
     explained
     explained by variations in VMT between alternativesat
                by variations  in VMT    between  alternatives   at that
                                                                    that
     location.
     location. Because
               Because of
                        ofthe
                           the large
                                large dust
                                      dust component
                                           component of ofparticulate
                                                           particulate
     matter  emissions, the
     matter emissions,  the design
                             design values
                                     values are
                                             are very
                                                 very sensitive
                                                       sensitive to
                                                                 to
     differences
     differences in
                 in VMT
                    VMTbetween
                          betweenalternatives.
                                     alternatives.
     The
     The design
         design values   for all
                 values for  all alternatives atthe
                                 alternatives at the1-25
                                                     I-25 and
                                                          and 1-225
                                                              I-225
     hotspot locations
     hotspot locations are
                       areless
                            lessthan
                                 thanthe
                                       the24-hour
                                           24-hour  PM10NAAQS
                                                  PALO    NAAQS ofof
     150 µg/m3..
     150 µg/m  3


     These
     These design
             design values  vary from
                     values vary  from those
                                         those modeled
                                                modeled inin the
                                                              the
     Supplemental
     Supplemental Draft
                      Draft EIS.
                            EIS. It
                                  It is
                                     is worth
                                        worth noting
                                                noting that
                                                        that the
                                                              the
     difference
     difference in
                 in results does not
                    results does  not stem    from any
                                       stem from    any design
                                                        design changes
                                                                 changes
     made
     made toto the
               the alternatives  modeled, but
                   alternatives modeled,     but instead,   reflects
                                                  instead, reflects
     decisions  made   during the  Interagency     Consultation
     decisions made during the Interagency Consultation process.  process.
     Methodology differences
     Methodology     differencesthat
                                  thathad
                                        had the
                                             the greatest  impact on
                                                 greatest impact    on
     modeling
     modeling results   include the
                results include  the following:
                                      following:
         •   As requested
              As requested byby APCD,
                                APCD, meteorological
                                        meteorological data
                                                          data from
                                                                from the
                                                                      the
              former
              former Stapleton
                      Stapleton International    Airport site
                                 International Airport    site was
                                                               was used
                                                                     used
              rather thanDIA,
              rather than  DIA, as
                                 as used
                                    used in
                                          in the
                                             the Supplemental
                                                  Supplemental Draft
                                                                   Draft
              EIS.
              EIS. The
                   The data   from Stapleton
                        data from              show a
                                    Stapleton show    a significantly
                                                        significantly
              lower
              lower atmospheric
                    atmospheric mixing
                                   mixing height
                                           height than   at DIA,
                                                   than at  DIA, which
                                                                   which
              can result
              can        in stronger
                  result in stronger inversions
                                      inversions and
                                                   and changes
                                                        changes toto
              dispersion
              dispersion rates  of pollutants
                          rates of             from the
                                   pollutants from        highways.
                                                     the highways.
         •   EPA
              EPA guidance
                    guidance revised
                              revised since
                                       since the
                                             the publishing
                                                 publishing of of the
                                                                  the
              Supplemental
              Supplemental Draft
                              Draft EIS
                                     EIS updated   requirements for
                                          updated requirements       for
              the placement of
              the placement   of model
                                 model receptors.
                                        receptors. This   document
                                                   This document
              includes
              includes modeling
                        modeling more
                                   more receptors
                                         receptors in
                                                    in the
                                                        the hotspot
                                                            hotspot area
                                                                      area
              than
              than for the Supplemental Draft EIS. Changes to the
                    for the Supplemental    Draft EIS.   Changes    to  the
              EPA
              EPA guidance
                    guidance for
                              for receptor
                                  receptor placement
                                            placement also
                                                         also resulted
                                                              resulted inin
              significantly more
              significantly more receptors   in close
                                   receptors in close proximity
                                                       proximity to to the
                                                                       the
              highway, and
              highway,   and therefore,
                             therefore, aa thorough
                                           thorough analysis
                                                      analysis ofof
              potential  near-road conditions.
              potential near-road   conditions.
         •   Revised
              Revised EPA
                       EPA guidance
                             guidance on
                                       on background
                                           background concentrations
                                                           concentrations
              for
              for PM 10 hotspot
                  PALO   hotspotanalyses
                                  analysesresulted
                                            resulted in
                                                      in aa background
                                                            background
              concentration  of 89 µg/m 3, substantially
              concentration of 89 µg/m3, substantially lower lower than
                                                                    than
              what was used
              what was   used for
                              for the
                                  the previous
                                      previous analyses
                                                 analyses (113     µg/m3).
                                                              (113 µg/m3).
     Again, the
     Again,  the design
                  design values
                          values presented
                                   presented inin Exhibit    5.10-12
                                                   Exhibit 5.10-12
     simulate worst-case
     simulate   worst-case conditions
                             conditions because
                                           becausethey
                                                     they represent
                                                           represent the
                                                                       the
     highest PMio
     highest  PM10 concentrations
                     concentrations at  at the highest traffic
                                           the highest   traffic volume
                                                                 volume
     locations
     locations in
                in the
                   the corridor
                       corridor and
                                  and in   the year
                                       in the  year of
                                                    of peak   emissions
                                                        peak emissions
     (2035). Therefore,
     (2035).  Therefore, it  can be
                          it can  be assumed
                                     assumed thatthatthe
                                                       thePALO
                                                           PM10
     concentrations will be lower than these values at
     concentrations   will  be lower  than   these  values      every
                                                             at every
     possible
     possible receptor
               receptor location
                         location throughout
                                    throughout the    corridor, including
                                                  the corridor,   including
     all schools, parks,
     all schools,  parks, open
                          open spaces,
                                 spaces, and
                                           and other   places.
                                                other places.

     January 2016
     January 2016                                                                    5.10-31
                                                                                     5.10-31
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 5.10 Air Quality                                                                                      I-70 East
                                                                                                       1-70 East Final
                                                                                                                 Final EIS
                                                                                                                       EIS


 Sensitive
 Sensitive receptors
           receptors
 As noted
 As  noted earlier,
             earlier, sensitive
                        sensitive receptors
                                  receptors are    locations in
                                              are locations    in the
                                                                  the
 vicinity of
 vicinity  of aa roadway
                  roadway that
                             that are likely to
                                  are likely  to contain
                                                 contain populations
                                                           populations
 who
 who are   most susceptible
       are most     susceptible to
                                 to the
                                    the adverse
                                         adverse effects
                                                   effects of
                                                            of exposure
                                                               exposure
 to
 to pollutants.     Sensitive receptors
    pollutants. Sensitive      receptors within
                                          within thethe study
                                                         study area
                                                                area
 consist of
 consist  of schools,
               schools,homes,
                          homes,and
                                  and recreational
                                       recreational facilities
                                                       facilities within
                                                                  within
 the Elyria and
 the Elyria     and Swansea
                     Swansea Neighborhood.
                                Neighborhood. Swansea
                                                  Swansea Elementary
                                                               Elementary
 School
 School isis the
              the most
                    most notable
                          notable concern
                                  concern forfor pollutant
                                                 pollutant exposure
                                                             exposure
 because   of   its youth  population,   proximity    to the
 because of its youth population, proximity to the highway,   highway,
 and  frequency of
 and frequency       of outdoor
                        outdoor activities.
                                 activities.
 The
 The school
      school is is located
                    located at
                             at Elizabeth
                                Elizabeth Street    between York
                                           Street between     York
 Street  and Steele
 Street and    Steele Street/Vasquez
                        Street/Vasquez Boulevard
                                           Boulevard just    north of
                                                        just north  of
 I-70. It
 1-70.    is within
       It is withinthe theI-7011-25
                            I-70/I-25 PM  10 hotspot
                                       PALO    hotspotstudy
                                                        study area.
                                                              area.
 Following
 Following the       proceduresdescribed
              the procedures      describedabove
                                              aboveininPALO
                                                        PM10 Hotspot
                                                               Hotspot
 Methodology and
 Methodology        and in
                         in Attachment
                            Attachment J,    Air Quality
                                          J, Air  Quality Technical
                                                           Technical
 Report,
 Report, receptors
           receptors within      the hotspot
                        within the   hotspot location
                                               location have
                                                         have been
                                                               been
 highlighted to
 highlighted     to show
                     show effects
                            effects to
                                    to sensitive  receptors. Modeled
                                       sensitive receptors.   Modeled
 pollutant   concentrations are
 pollutant concentrations        are available
                                      available for
                                                 for 10
                                                     10 receptors
                                                         receptors
 located
 located onon the
               the school
                     school property,
                             property, as
                                        as listed
                                           listed in  Exhibit 5.10-13
                                                   in Exhibit   5.10-13
 and  shown in
 and shown          Exhibit 5.10-14.
                in Exhibit     5.10-14.

 Exhibit
 Exhibit5.10-13    PMDesign
         5.10-13 Pilo 10 Design Value
                             Value    ConcentrationsatatSwansea
                                    Concentrations       SwanseaElementary
                                                                 Elementary School
                                                                            School

                                                               Forecasted
                                                               Forecasted 2035 PM10Concentrations
                                                                          2035 Mix Concentrations (pg/m3)1
                                                                                                  (µg/m3)1
           Receptor Number and
           Receptor Number and Location
                               Location                      No
                                                             No Action
                                                                Action        Revised Viaduct
                                                                              Revised Viaduct         Partial Cover
                                                                                                      Partial Cover
                                                            Alternative
                                                            Alternative         Alternative
                                                                                Alternative        Lowered
                                                                                                   Lowered Alternative
                                                                                                            Alternative

   1.
   1.   Playground
        Playground Southwest
                   Southwest                                     110
                                                                 110                 120
                                                                                     120                     100
                                                                                                             100

   2.
   2.   School Building
        School Building Southwest Corner
                        Southwest Corner                         110
                                                                 110                 110
                                                                                     110                     100
                                                                                                             100

   3.
   3.   Playground
        Playground South
                   South                                         110
                                                                 110                 120
                                                                                     120                     100
                                                                                                             100

   4.
   4.   School Building
        School Building South Edge
                        South Edge                               110
                                                                 110                 110
                                                                                     110                     100
                                                                                                             100

   5.
   5.   Playground
        Playground Southeast
                   Southeast                                     110
                                                                 110                 120
                                                                                     120                     100
                                                                                                             100

   6.
   6.   Playground
        Playground Northeast
                   Northeast                                     110
                                                                 110                 110
                                                                                     110                     100
                                                                                                             100

   7.
   7.   Columbine St—School
        Columbine St—School Bus
                            Bus Loading
                                Loading Zone
                                        Zone                     110
                                                                 110                 110
                                                                                     110                     100
                                                                                                             100

   8.
   8.   Columbine St
        Columbine St between 46th Ave
                     between 46th Ave and 47th Ave
                                      and 47th Ave               110
                                                                 110                 110
                                                                                     110                     100
                                                                                                             100

   9.
   9.   Columbine St
        Columbine St and 47th Ave
                     and 47th Ave                                100
                                                                 100              100-110
                                                                                  100-11022                  100
                                                                                                             100

   10.
   10. Elizabeth
       ElizabethStSt between
                     between 46th
                              46th Ave
                                    Aveand
                                         and47th
                                             47thAve—
                                                 Ave-
                                                                 110
                                                                 110                 110
                                                                                     110                     100
                                                                                                             100
       unpaved   parking lot
       unpaved parking   lot across
                             across from
                                    from school
                                          school

 Note: 24-hour
 Note: 24-hourNAAQS
                  NAAQS for
                          for PMio
                              PM10 is is 150
                                         150 µg/m
                                              pg/m33
 1.Concentrations
 I.  Concentrationsinclude
                      includeproject
                               projectconcentrations
                                          concentrations by
                                                         by alternative
                                                            alternative plus
                                                                         plus aa background
                                                                                 background concentration
                                                                                              concentration ofof 89
                                                                                                                 89 µg/m
                                                                                                                     pg/m33
 2. Range
 2.  Range in
            in values
               values reflects
                       reflects the
                                 the lower
                                      lower concentration
                                             concentration with
                                                            withthe
                                                                  theManaged
                                                                      Managed Lanes
                                                                                 Lanes Option
                                                                                       Option (100)   compared to
                                                                                               (100) compared         the
                                                                                                                   to the
    General Purpose-Lanes
    General  Purpose-LanesOption
                               Optionof   of110.
                                            110. There
                                                 Thereare
                                                       are no
                                                            no differences
                                                                differencesbetween
                                                                            betweenthethe options
                                                                                          options for
                                                                                                   for the
                                                                                                       the other  locations.
                                                                                                           other locations.




 5.10-32
 5.10-32                                                                                                      January 2016
                                                                                                              January 2016
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     I-70
     1-70 East Final
          East Final EIS
               FinalEIS
                     EIS                                          5.10 Air Quality
                                                                  5.10 Air
                                                                       Air Quality
                                                                           Quality

     Exhibit 5.10-14
     Exhibit           Sensitive
             5.10-14 Sensitive   ReceptorLocations
                               Receptor   Locations




     January
     January 2016
     January 2016
              2016                                                       5.10-33
                                                                         5.10-33
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 5.10 Air Quality                                                                 I-70 East
                                                                                  1-70 East Final
                                                                                            Final EIS
                                                                                                  EIS

 As shown
 As  shown inin Exhibit        5.10-13, all
                 Exhibit 5.10-13,             of the
                                          all of       modeled
                                                 the modeled
 concentrations at
 concentrations     atthe
                        theschool
                               schoolarearewell
                                            wellbelow
                                                   belowthe the24-hour
                                                                24-hourPALOPM10
 standard   of 150   µg/m
 standard of 150 µg/m3. With regard to Section 93.116 of the
                              3. With   regard   to  Section   93.116   of the
 Transportation      ConformityRule,
 Transportation Conformity             Rule,based
                                              basedon  onthe    PM10 hotspot
                                                           thePALO     hotspot
 analysis  and resulting
 analysis and     resultingtotal totalPALO
                                       PM10 concentrations,
                                               concentrations, the      project
                                                                   the project
 will
 will not
      not cause
          cause newnew local
                          local violations
                                   violations ofof the
                                                    the NAAQS
                                                         NAAQSstandards
                                                                    standards
 for
 for PM 10, nor
     PALO,    norwill
                    willititincrease
                              increasethetheseverity
                                              severity oror number
                                                             number of of
 existing
 existing violations
           violations or  or required
                               required interim       emission reductions
                                          interim emission       reductions
 or other
 or        milestones. Although
    other milestones.        Although the the Preferred
                                               Preferred Alternative
                                                             Alternative
 meets
 meets the   hotspot analysis
        the hotspot      analysis requirements
                                      requirementsfor    for project-level
                                                             project-level
 conformity, it
 conformity,    it also
                   also must
                          must be  be included
                                      included in in the
                                                      the regional
                                                           regional
 emissions   analysis of
 emissions analysis       of aa conforming
                                  conforming RTPRTP and      TIP before
                                                        and TIP    before aa
 conformity determination
 conformity    determination can     can be
                                          be made.
                                              made. It    is also
                                                       It is also worth
                                                                   worth
 noting  that  these   results      are significantly     lower
 noting that these results are significantly lower than those    than   those
 modeled
 modeled forforthe
                 the Supplemental
                      Supplemental Draft  Draft EIS,
                                                  EIS, duedue to
                                                               to the  revision
                                                                  the revision
 to
 to EPA
    EPA guidance
          guidance on  on background
                             background concentrations
                                             concentrations discussed
                                                                 discussed
 above.
 above.
 Criteria pollutant
 Criteria pollutant emission
                    emission inventories
                             inventories and
                                         and effects
                                             effects
 An emission
 An  emission inventory,
                  inventory, alsoalso referred
                                      referred to to as
                                                     as an  emission
                                                        an emission
 burden analysis,
 burden   analysis, isis aa generalized
                             generalized study
                                             study ofof emission
                                                        emission trends
                                                                   trends in
                                                                           in
 the study area,
 the study   area, and
                     and separate
                          separate fromfrom the
                                              the required
                                                    required hotspot
                                                               hotspot
 analysis   discussed above.
 analysis discussed     above. The  The emission
                                         emission inventories
                                                      inventories for
                                                                   for the
                                                                       the
 criteria pollutants
 criteria  pollutantswere
                        were developed
                                 developed based
                                               based onon the  previously
                                                          the previously
 described
 described process
             process andand input
                               input data.    The emission
                                      data. The     emission inventories
                                                               inventories
 are based on
 are based   on vehicle
                  vehicle traffic
                            traffic for
                                     for the
                                          the roadway
                                               roadway segments
                                                          segments
 included
 included in    DRCOG’s regional
            in DRCOG's        regional travel
                                          travel demand
                                                   demand model
                                                            model and
                                                                    and in
                                                                         in
 the air  quality   study   area
 the air quality study area shown inshown    in  Exhibit
                                                 Exhibit   5.10-1.
                                                           5.10-1.  This
                                                                    This
 includes
 includes all   roadway segments
            all roadway                   directly affected
                            segments directly        affected by
                                                               by the
                                                                  the
 project,
 project, and
           and additional       roadway segments
                 additional roadway         segments where
                                                        where traffic
                                                                traffic
 volumes will
 volumes    will change
                   change as as aa result
                                   result of
                                           of the
                                               the project
                                                    project alternatives.
                                                             alternatives.
 Because
 Because thethe analyses
                 analyses are are designed
                                   designed to  to encompass
                                                   encompass the     project
                                                                the project
 study area,
 study  area, they
                they also
                      also reflect
                             reflect traffic
                                      traffic on
                                               on some
                                                   some roadway
                                                          roadway
 segments that
 segments    thatwould
                    would notnot be
                                  be affected
                                      affected by by the project.
                                                     the project.
 As aa result,
 As             the emissions
       result, the   emissions totals
                                  totals reported   in this
                                          reported in  this section
                                                             section
 should be
 should   be interpreted
             interpreted as  as representing
                                representing motor
                                                motor vehicle
                                                        vehicle
 emissions
 emissions projected
              projected to to occur
                              occurwithin
                                      within the
                                              the study
                                                  study area,
                                                          area, including
                                                                including
 both the
 both       roadways that
       the roadways            are affected
                         that are   affected by
                                              by the  project and
                                                 the project   and those
                                                                    those
 that  are not.
 that are   not. Since
                  Since all
                         all the
                             the highway
                                  highway segments
                                             segments andand most
                                                              most of
                                                                    of the
                                                                       the
 major
 major streets
         streets inin the
                      the study
                           study area
                                  areado doexperience
                                            experience traffic
                                                         traffic volume
                                                                 volume
 changes as
 changes    as aa result  of the
                  result of  the project
                                  project alternatives,
                                           alternatives, the   majority
                                                           the majority
 of the
 of the emissions
        emissions reported       in this
                       reported in   this section
                                          section do
                                                   do occur
                                                      occur onon
 roadways    affected    by the  project.  Also note
 roadways affected by the project. Also note that the that  the
 differences
 differences inin emissions
                   emissions between
                                between alternatives
                                           alternatives reported
                                                         reported inin the
                                                                       the
 various exhibits
 various   exhibits areare solely
                           solely due
                                   due to
                                        to the
                                           the project's
                                               project’s differences
                                                          differences
 between the
 between    the alternatives.
                 alternatives.


 5.10-34
 5.10-34                                                                               January 2016
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                     EIS                                                           5.10 Air Quality
                                                                                   5.10 Air Quality

     Each
     Each of
           of the
              the Build
                  Build Alternatives    as well
                          Alternatives as   well as
                                                 as the
                                                    the No-Action
                                                         No-Action
     Alternative have
     Alternative  have been
                         been analyzed
                               analyzed to
                                         to determine
                                             determine ifif any
                                                            any of
                                                                 of the
                                                                    the
     alternatives  result  in a pollutant  to become   a discriminating
     alternatives result in a pollutant to become a discriminating
     factor,
     factor, or
             or outlier,
                outlier, in
                         in this
                            this analysis.
                                 analysis. Any
                                            Any variations
                                                  variations in
                                                              in the
                                                                 the
     general
     general emission
              emission inventory
                         inventory trends
                                     trends are  noted.
                                             are noted.
     The
     The criteria  emissions information
          criteria emissions  information that    is provided
                                             that is  provided inin this
                                                                    this
     section appears
     section  appears in
                       in pounds
                           pounds per
                                   per day
                                       day and
                                            and only
                                                 only asas bar
                                                           bar graphs.
                                                               graphs.
     Table
     Table format
            format (i.e.,
                    (i.e., numeric)
                           numeric) data
                                     data also
                                          also are
                                                are available
                                                     available in
                                                                in
     Attachment J,
     Attachment       Air Quality
                   J, Air  Quality Technical
                                   Technical Report.
                                               Report.
     Ozone-related
     Ozone-related emissions
                      emissions are documented with
                                are documented          inventories of
                                                  with inventories  of
     its two primary
     its two           precursor pollutants:
             primary precursor    pollutants: volatile
                                              volatile organic
                                                       organic
     compounds and
     compounds    and nitrogen  oxides. Lead
                       nitrogen oxides.  Lead has  been completely
                                               has been  completely
     phased  out of
     phased out   of motor
                     motor vehicle
                            vehiclefuels
                                    fuelsin
                                          inthe
                                             theUnited
                                                 United States
                                                         States and
                                                                and is
                                                                    is
     no  longer a vehicle  emissions  concern, so no inventories were
     no longer a vehicle emissions concern, so no inventories were
     prepared
     prepared for
                for that
                    that pollutant.
                         pollutant.
     Particulate
     Particulate matter
                 matter

     Exhibit    5.10-15 and
     Exhibit 5.10-15     and Exhibit       5.10-16 show
                               Exhibit 5.10-16      show the    values for
                                                           the values    for
     the PM2.5 and
     the PM2.5    and PM
                      PALO10 emission
                               emissioninventories.
                                          inventories. From
                                                        From 2010
                                                               2010
     forward,
     forward, both
                both pollutants
                      pollutants trend     downward, due
                                   trend downward,       due primarily
                                                               primarily to to
     the cleaner standards
     the cleaner   standardsfor for diesel
                                    diesel engines,
                                             engines, until
                                                       until about
                                                              about 2025
                                                                      2025 or or
     2030,
     2030, when
            when they
                    they trend
                          trend higher
                                 higher asas vehicular
                                              vehicular travel    growth
                                                         travel growth
     overtakes the
     overtakes   the technology-based
                      technology-based emission
                                             emission reductions.
                                                       reductions.
     Although there
     Although           are minor
                 there are   minor differences
                                     differences inin emissions
                                                      emissions among
                                                                   among
     the No-Action Alternative
     the No-Action     Alternative andand Build
                                            Build Alternatives,
                                                   Alternatives, there
                                                                   there isis
     no
     no real discernible difference
        real discernible    difference since
                                         since they
                                                 they are  all very
                                                      are all  very close
                                                                     close inin
     any
     any given
          given year.
                  year. Therefore,
                        Therefore,the the particulate
                                            particulate matter    emissions
                                                         matter emissions
     are not  a discriminating     factor   in the identification
     are not a discriminating factor in the identification of       of a
                                                                       a
     Preferred   Alternative. Note
     Preferred Alternative.      Note that    road dust
                                       that road    dust is
                                                         is not
                                                            not included
                                                                 included in  in
     these
     these estimates,    but is
            estimates, but    is presented
                                 presented in  in Exhibit   5.10-24.
                                                  Exhibit 5.10-24.




     January 2016
     January 2016                                                                         5.10-35
                                                                                          5.10-35
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 5.10 Air Quality                                                                        I-70 East
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                                                                                                         EIS

 Exhibit
 Exhibit 5.10-15  PM2.5 Emission
         5.10-15 PM2.5  EmissionInventories
                                 Inventories
                  (tons
                  (tons per
                        per day)
                            day)
                                                                             Partial Cover
                                        Revised Viaduct                        Lowered         Partial Cover
                                        General-Purpose   Revised Viaduct   General-Purpose      Lowered
            Existing       No-Action         Lanes        Managed Lanes
                                                                   Lanes        Lanes         Managed Lanes
                                                                                                        Lanes
 0.9 -

 0.8 -

 0.7 -
 0.6 -
 0.5 -
 0.4
 a.4 -
 0.3 -
 0.2 -
 0.1 -
 0.0
         20102015
         2010 20152020
                   2020 2025
                        2025 2030
                             2030 2035
                                  2035 2025
                                       2025 2030
                                            2030 2035
                                                 2035 2025
                                                      2025 2030
                                                           2030 2035
                                                                2035 2025
                                                                     2025 2030
                                                                          2030 2035 2025 2030 2035

                                               January =July
                                               January =July
                                                                                               APCD (2015)
                                                                                               APCD (2015)

 Exhibit
 Exhibit 5.10-16  PM10 Emission
         5.10-16 PMio  Emission Inventories
                                 Inventories
                  (tons
                  (tons per
                        per day)
                            day)
                                                                             Partial Cover
                                        Revised Viaduct                        Lowered         Partial Cover
                                        General-Purpose   Revised Viaduct   General-Purpose      Lowered
                                                                                                 Lowered
            Existing       No-Action         Lanes        Managed Lanes         Lanes         Managed Lanes
                                                                                                        Lanes
 1.0
 1.D 1
 OA
 0.9 - II
 OA
 0.8 -
 0/-
 0.7 -
 0.6 -




    11141111111thiliklil
 0.5-
 0.4-
 03-
 0.3-
 02-
 0.2-
 0.1 -
 0.0
         20102015
         2010 20152020
                   2020 2025 20302035
                        2025 2030 2035 2025
                                        2025 2030 2035 2025
                                             2030 2035  20252030 2035 2025
                                                            2030 2035  20252030
                                                                            2030 2035
                                                                                 2035 2025
                                                                                        20252030
                                                                                             20302035
                                                                                                 2035

                                              January in July
                                           em January     July
                                                                                               APCD (2015)
                                                                                               APCD (2015)


 The
 The 2010,
      2010, 2015,
             2015, and
                    and 2020
                         2020 emissions
                               emissions are
                                          are the
                                              the same  for all
                                                  same for  all
 alternatives.  Futurebuild
 alternatives. Future    buildconditions
                               conditions begin
                                          begin after
                                                 after opening
                                                       opening day
                                                                 day
 and  are reflected
 and are  reflected in
                     in the
                        the 2025,
                            2025, 2030,
                                  2030, and
                                        and 2035
                                              2035 emissions
                                                   emissions in in
 Exhibit   5.10-15 and
 Exhibit 5.10-15    and Exhibit    5.10-16.
                          Exhibit 5.10-16.




 5.10-36
 5.10-36                                                                                       January 2016
                                                                                               January 2016
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     I-70 East
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               Final EIS
                     EIS                                                                            5.10 Air Quality
                                                                                                    5.10 Air Quality


     Carbon
     Carbon monoxide
            monoxide
     Exhibit    5.10-17 shows
     Exhibit 5.10-17       shows the     carbon monoxide
                                   the carbon     monoxide emission
                                                                emission
     inventories.
     inventories. In In almost
                        almost allall cases,
                                       cases, the
                                               the January      emissions are
                                                   January emissions        are
     shown to
     shown   to be
                 be higher   than July
                     higher than     Julyemissions
                                           emissionsbecause
                                                         becauseof  of cold
                                                                       cold
     weather   driving and
     weather driving      and cold
                               cold engine
                                       engine starts.   The July
                                                starts. The          emissions
                                                               July emissions
     trend  down from
     trend down     from 2010
                           2010 toto 2035
                                      2035 largely
                                            largely because
                                                      because of  of fuel
                                                                     fuel
     economy
     economy standards
                 standards andand engine
                                    engine technology.
                                              technology. However,
                                                             However, the the
     January emissions
     January    emissions show
                             show a     different trend
                                     a different   trend asas they
                                                                they begin
                                                                      begin to
                                                                             to
     increase  after   2020.  This    is explained    by  an
     increase after 2020. This is explained by an increasing  increasing
     number
     number of of cold
                   coldstarts
                         starts as  vehicle counts
                                as vehicle     counts increase
                                                        increase within
                                                                    within the
                                                                            the
     study area.
     study  area. There
                    There are
                            are minor
                                 minor differences
                                          differences in in emissions
                                                             emissions among
                                                                          among
     the alternativesin
     the alternatives     inany
                             anygiven
                                   givenyear.
                                           year.The
                                                  TheNo-Action
                                                        No-Action
     Alternative and
     Alternative    and Partial
                          PartialCover
                                    Cover Lowered
                                            Lowered Alternative,
                                                        Alternative,
     Managed Lanes
     Managed     Lanes Option
                          Option have
                                   have slightly
                                           slightly lower
                                                     lower carbon
                                                              carbon monoxide
                                                                       monoxide
     emissions
     emissions than      the General-Purpose
                  than the   General-Purpose Lanes  Lanes Option,
                                                              Option, but
                                                                        but the
                                                                            the
     differences
     differences are    small, so
                    are small,   so carbon
                                     carbon monoxide
                                               monoxide is  is not
                                                               not aa
     discriminating     factor in
     discriminating factor          the identification
                                in the   identification of of aa preferred
                                                                 preferred
     alternative.
     alternative.

     Exhibit
     Exhibit 5.10-17  CarbonMonoxide
             5.10-17 Carbon  Monoxide Emission
                                      EmissionInventories
                                               Inventories
                      (tons
                      (tons per
                            per day)
                                day)
                                                                                   Partial Cover
                                             Revised Viaduct                         Lowered          Partial Cover
                                             General-Purpose   Revised Viaduct    General-Purpose       Lowered
               Existing       No-Action           Lanes        Managed Lanes          Lanes          Managed Lanes
     6C-
     60 -

     5C
     50 -


     40 -

     30 -


     20

     le
     10


      0                                                        111                 111
                                                                                     1 1
                                                                                       111
            2010 2015 2020 2025
                           2025 2D30
                                2030 2035
                                     2035 2025
                                          2025 2030 2035       2025 2030 2035 2025 2030 2035         2025 2030 2035

                                                    January s July
                                                            =July
                                                                                                      APCD (2015)




     January 2016
     January 2016                                                                                          5.10-37
                                                                                                           5.10-37
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 5.10 Air Quality                                                                           I-70 East
                                                                                            1-70 East Final
                                                                                                      Final EIS
                                                                                                            EIS


 Sulfur dioxide
 Sulfur dioxide
 Exhibit   5.10-18 shows
 Exhibit 5.10-18     shows the     sulfur dioxide
                              the sulfur    dioxide emission
                                                     emission
 inventories.
 inventories. In
               In all  years except
                   all years   except 2035,
                                         2035, the
                                                the January   emissions
                                                    January emissions
 are  higher than
 are higher  than the
                    the July
                         July results.
                                results.TheThe July
                                                July emissions
                                                      emissions display
                                                                  display
 a slight upward
 a slight upward trend
                    trend from
                            from 2010
                                   2010 through     2035, whereas
                                           through 2035,    whereas thethe
 Januaryemissions
 January   emissions peak
                        peak inin 2020,
                                   2020, then
                                           then begin
                                                 begin aa downward
                                                          downward
 trend.  There are
 trend. There   are minor
                     minor differences
                             differences in  in emissions
                                                emissions among
                                                            among thethe
 alternatives  inany
 alternatives in   anygiven
                        given year.
                                 year. The
                                        The No-Action
                                              No-Action Alternative
                                                          Alternative
 and
 and Partial Cover Lowered Alternative, Managed Lanes
      Partial Cover    Lowered     Alternative,   Managed     Lanes
 Option
 Option have
          have slightly
                slightly lower
                          lower sulfur
                                   sulfur dioxide
                                            dioxide emissions
                                                     emissionsthan
                                                                 than the
                                                                        the
 General-Purpose
 General-Purpose LanesLanes Option,
                              Option, but but the differences are
                                              the differences   are
 small, so
 small,  so sulfur
            sulfur dioxide
                    dioxide isis not
                                  not aa discriminating
                                         discriminating factor
                                                           factor in
                                                                  in the
                                                                      the
 identification
 identification of
                 of aa preferred
                       preferred alternative.
                                    alternative.

 Exhibit
 Exhibit 5.10-18  SulfurDioxide
         5.10-18 Sulfur  Dioxide Emission
                                 Emission Inventories
                                           Inventories
                  (tons
                  (tons per
                        per day)
                            day)
                                                                                Partial Cover
                                           Revised Viaduct                        Lowered         Partial Cover
                                           General-Purpose   Revised Viaduct   General-Purpose      Lowered
             Existing        No-Action          Lanes        Managed Lanes         Lanes         Managed Lanes
 0.10 -
 0.09-
 0.09 -
 0.00-
 0.08-
 0.07
 0.07--
 0.06-
 0.05
 0.05--




            111                                              111 111 11
 0.04 -
 0.03
 0.03--
 0.02-
 0.02 -
 0.01-
          111
 0.00
          2010 2015 2020
          2010 2015        2025 2030
                                2030 2035
                                     20352025
                                          20252030
                                               2030 2035
                                                    2035 2025
                                                         2025 2030
                                                              2030 2035
                                                                   2035 2025
                                                                        2025 2030
                                                                             2030 2035
                                                                                  2035 2025 2030 2035

                                                  January =July
                                                  January =July
                                                                                                 APCD (2015)




 5.10-38
 5.10-38                                                                                         January 2016
                                                                                                 January 2016
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     1-70 East Final
               Final EIS
                     EIS                                                                           5.10 Air Quality
                                                                                                   5.10 Air Quality


     Ozone
     Ozone
     Emission
     Emission inventories
                inventories for
                              for the  ozone precursors,
                                  the ozone   precursors, nitrogen
                                                            nitrogen
     oxides and
     oxides       volatile organic
            and volatile   organic compounds,
                                     compounds, areare shown
                                                       shown in in
     Exhibit   5.10-19 and
     Exhibit 5.10-19     and Exhibit     5.10-20. Since
                              Exhibit 5.10-20.    Since the   ozone
                                                          the ozone
     molecule
     molecule isis formed
                    formedininthe
                               the presence
                                   presence ofofsunlight
                                                 sunlight through
                                                            through aa
     chemical reaction
     chemical  reaction ofof these  two precursors,
                             these two                it is
                                         precursors, it  is only
                                                            only possible
                                                                 possible
     to
     to report
        report trends   for the
               trends for       two precursor
                            the two   precursor pollutants
                                                 pollutants and    infer
                                                              and infer
     what  effect these
     what effect   these may
                          may have
                               have onon ozone
                                         ozone levels.
                                               levels.

     Exhibit
     Exhibit 5.10-19  NitrogenOxides
             5.10-19 Nitrogen   Oxides Emission
                                       EmissionInventories
                                                Inventories
                      (tons
                      (tons per
                            per day)
                                 day)
                                                                                  Partial Cover
                                             Revised Viaduct                        Lowered          Partial Cover
                                             General-Purpose   Revised Viaduct   General-Purpose       Lowered
                Existing       No-Action
                               No-Action          Lanes        Managed Lanes         Lanes          Managed Lanes
     18
     16 -
     14 -




       id
     12-
     12

     10
      88-
      6-
      6




                           I I in min
      4-
      4

      2-
      0
             2010  20152020
             2010 2015  2020 2025
                             2025 2030  2035 2025
                                  2030 2035   20252030
                                                   2030 2035
                                                        2035 2025
                                                              20252030
                                                                   20302035
                                                                       2035      2025 20302035
                                                                                 2025 2030 2035 2025
                                                                                                 20252030
                                                                                                      2030 2035
                                                                                                           2035

                                                as January
                                                   January— July
                                                           =July
                                                                                                     APCD (2015)


     Exhibit
     Exhibit 5.10-20  VolatileOrganic
             5.10-20 Volatile   OrganicCompounds
                                         Compounds Emission
                                                        EmissionInventories
                                                                     Inventories
                      (tons
                      (tons per
                              per day)
                                   day)
                                                                          Partial Cover
                                        Revised Viaduct                     Lowered                  Partial Cover
                                        General-Purpose Revised Viaduct  General-Purpose               Lowered
             Existing    No-Action           Lanes      Managed Lanes        Lanes                  Managed Lanes
     4.0 -
     3.5--
     3.5

     3.0-
     3.0

     2.5-
     2.5

     2.0-
     2.0

     1.5-
     1.5




                            lido MINIM
     1.0-
     1.0

     0.5-
     0.5 -

     0.0
             2010  20152020
             2010 2015  2020 2025
                             2025 2030 2035
                                       2035 2025
                                            20252030
                                                 20302035
                                                      2035 2025
                                                            20252030
                                                                 20302035
                                                                     2035 2025
                                                                          2025 2030 2035
                                                                                    2035 2025
                                                                                           20252030
                                                                                                20302035
                                                                                                    2035

                                                 mi January   July
                                                    January =July
                                                                                                     APCD (2015)




     January 2016
     January 2016                                                                                         5.10-39
                                                                                                          5.10-39
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 5.10 Air Quality
 5.10 Air Quality                                                                            I-70 East
                                                                                             1-70 East Final
                                                                                                       Final EIS
                                                                                                             EIS

 Emissions
 Emissions of of both
                 both nitrogen
                       nitrogen oxides
                                 oxides and
                                          and volatile
                                               volatile organic
                                                        organic
 compounds trend
 compounds            downward from
               trend downward      from 2010
                                          2010 through   2035.
                                                through 2035.
 Therefore,
 Therefore, the on-road motor vehicle contribution to
              the on-road   motor   vehicle  contribution   to the
                                                               the
 ozone problem
 ozone  problem is is decreasing
                      decreasing over
                                  over time,   which will
                                         time, which   will likely
                                                            likely
 result in lower
 result in lower ozone
                   ozone levels,
                           levels,but
                                   but that
                                        that depends
                                             depends onon the
                                                           the
 precursor
 precursor emission
             emission trends    from other
                        trends from   other non-road,
                                              non-road, stationary,
                                                          stationary,
 and industrial sources.
 and industrial   sources.
 MSAT emission
 MSAT emission inventories
               inventories and
                           and effects
                               effects
 The
 The emission
      emission inventories     for the
                 inventories for          MSAT pollutants
                                    the MSAT                    were
                                                  pollutants were
 developed
 developed based
             based onon the
                        the previously
                             previously described
                                            described process
                                                        process andand
 input data. Of
 input data.  Of the
                  the 21
                      21 MSATs,
                          MSATs, EPA  EPAhas hasindicated
                                                  indicatedthatthat the
                                                                    the
 majority
 majority of
           of adverse
              adverse health     effects arise
                        health effects           from seven
                                           arise from   seven
 pollutants,  which FHWA
 pollutants, which    FHWA has       labeled as
                               has labeled     as priority
                                                  priorityMSATs
                                                             MSATs for for
 NEPA
 NEPA studies.
         studies. Exhibit    5.10-21 and
                   Exhibit 5.10-21       and Exhibit      5.10-22 show
                                              Exhibit 5.10-22       show
 the combined MSAT
 the combined    MSAT emission
                          emission inventories,
                                       inventories, inin tons
                                                         tons per
                                                                per day,
                                                                    day,
 for
 for months
     months ofof January    and July
                  January and    July during
                                         during the
                                                 theNo-Action
                                                      No-Action
 Alternative and
 Alternative  and Build
                    Build Alternatives.
                           Alternatives. Although,
                                             Although, in  in some
                                                              some cases,
                                                                     cases,
 other project
 other project alternatives    have higher
                alternatives have       higher emissions,
                                                emissions, nonenone of
                                                                     of the
                                                                         the
 alternatives  affect the
 alternatives affect   the overall
                           overall decreasing
                                      decreasing trend
                                                    trend inin MSATs
                                                               MSATs
 and, in general,
 and, in general, there
                    there are
                           are only
                                only minor
                                       minor differences
                                               differences between
                                                              between the the
 No-Action
 No-ActionAlternative
             Alternative andand Build
                                 Build Alternatives.
                                          Alternatives. ForFor detailed
                                                                 detailed
 results of each
 results of each MSAT
                   MSAT pollutant
                           pollutant analysis,      see Appendix
                                        analysis, see   Appendix J,      Air
                                                                      J, Air
 Quality  Technical Report.
 Quality Technical    Report.

 Exhibit
 Exhibit5.10-21    Combined
         5.10-21 Combined     MSAT Emission
                            MSAT   Emission Inventories
                                            Inventories
                   (tons per day)
                   (tons per day)
                                                                                 Partial Cover
                                           Revised Viaduct                         Lowered         Partial Cover
                                           General-Purpose   Revised Viaduct    General-Purpose      Lowered
            Existing        No-Action           Lanes        Managed Lanes
                                                                      Lanes         Lanes         Managed Lanes
 0.60-
 0.60


 0.50-
 0.50


 0.40-
 0.40


 0.30
 0.30-


 0.20
 0.20-


 0.10
 0.10-



         2010 2015 2020
                       i III■lam
                       I
                          2025
                              i II gam
                          20252030
                               20302035
                                         don
                                    i I■ i IIIdam
                                    2035 2025
                                               III
                                         2025 2030
                                              20302035   2025 2030
                                                   2035 2025  2030 2035  20252030
                                                                   2035 2025  2030 2035
                                                                                   2035 2025
                                                                                         20252030
                                                                                              2030 2035
                                                                                                   2035

                                                   January =July
                                                Ai January  =July
                                                                                                  APCD (2015)




 5.10-40
 5.10-40                                                                                          January 2016
                                                                                                  January 2016
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               Final EIS
                     EIS                                                                                          5.10 Air Quality
                                                                                                                  5.10 Air Quality

     Exhibit
     Exhibit 5.10-22  DesignYear
             5.10-22 Design  Year(2035)
                                  (2035)MSAT
                                        MSAT Emission
                                             EmissionInventories
                                                      InventoriesComparison
                                                                  Comparison

                                                   Combined MSAT
                                                   Combined  MSAT               Difference
                                                                                Difference from
                                                                                            from
                                                                                                           Percent
                                                                                                           Percent Difference
                                                                                                                   Difference
                 Alternative
                 Alternative                       Emissions
                                                   Emissions(tons)
                                                             (tons)           No-Action
                                                                              No-Action Alternative
                                                                                        Alternative

                                                   Jan
                                                   Jan            July
                                                                  July          Jan
                                                                                Jan            July
                                                                                               July         Jan
                                                                                                            Jan            July
                                                                                                                           July

      No-Action
      No-Action Alternative
                Alternative (2035)
                            (2035)                0.054
                                                  0.054          0.064
                                                                 0.064          N/A
                                                                                N/A            N/A
                                                                                               N/A         N/A
                                                                                                           N/A             N/A
                                                                                                                           N/A

      Revised
      Revised Viaduct
              Viaduct Alternative
                      Alternative
                                                  0.055
                                                  0.055          0.066
                                                                 0.066         0.001
                                                                               0.001           0.002
                                                                                               0.002       2.6%
                                                                                                           2.6%           2.7%
                                                                                                                          2.7%
      (General-Purpose  Lanes)
      (General-Purpose Lanes)

      Revised
      Revised Viaduct
              Viaduct Alternative
                      Alternative
                                                  0.055
                                                  0.055          0.066
                                                                 0.066         0.001
                                                                               0.001           0.002
                                                                                               0.002       2.1%
                                                                                                           2.1%           2.1%
                                                                                                                          2.1%
      (Managed  Lanes)
      (Managed Lanes)

      Partial Cover Lowered
      Partial Cover Lowered Alternative
                            Alternative
                                                  0.056
                                                  0.056          0.067
                                                                 0.067         0.002
                                                                               0.002           0.003
                                                                                               0.003       3.8%
                                                                                                           3.8%           3.8%
                                                                                                                          3.8%
      (General-Purpose  Lanes)
      (General-Purpose Lanes)

      Partial Cover Lowered
      Partial Cover Lowered Alternative
                            Alternative
                                                  0.055
                                                  0.055          0.066
                                                                 0.066         0.001
                                                                               0.001           0.001
                                                                                               0.001       2.3%
                                                                                                           2.3%           2.3%
                                                                                                                          2.3%
      (Managed   Lanes)
      (Managed Lanes)



     Greenhouse gas
     Greenhouse gas emission
                    emission inventories
                             inventories and
                                         and effects
                                             effects
     The
     The greenhouse
          greenhouse gasgas (i.e.,
                            (i.e., atmospheric
                                   atmospheric carbon
                                                  carbon dioxide)
                                                           dioxide)
     emission
     emission inventories
               inventories are     shown in
                              are shown    in Exhibit   5.10-23. Summer
                                              Exhibit 5.10-23.    Summer
     (July) emissions
     (July)  emissions are
                         are greater
                              greater than
                                       than winter
                                             winter (January)
                                                     (January) inin all
                                                                    all
     years and
     years  and alternatives
                alternatives because
                                 because of
                                          of the additional energy
                                             the additional   energy
     consumption related
     consumption              to air
                     related to  air conditioning
                                     conditioning use.
                                                    use. The
                                                          The two
                                                               two
     alternatives  with general-purpose
     alternatives with    general-purpose lanes
                                              lanes that
                                                    that were
                                                          were modeled
                                                                modeled
     show almost
     show   almost identical    greenhouse gas
                    identical greenhouse      gas emissions,
                                                  emissions, which
                                                               which will
                                                                      will
     be expected
     be expected because
                   because the
                             the freeway
                                  freeway capacity
                                            capacity is
                                                      is the same for
                                                         the same   for
     both. The
     both. The Partial    Cover Lowered
                Partial Cover     Lowered Alternative,     Managed
                                            Alternative, Managed
     Lanes   Option   results  in lower  greenhouse   gas
     Lanes Option results in lower greenhouse gas emissions emissions
     than  the modeled
     than the  modeled Build
                          Build Alternatives     with general-purpose
                                  Alternatives with   general-purpose
     lanes  only, but
     lanes only,       the difference
                  but the  difference isis minor.
                                           minor.

     Exhibit
     Exhibit 5.10-23  Greenhouse Gas
             5.10-23 Greenhouse  GasEmission  Inventory
                                       Emission Inventory
                      (atmospheric
                      (atmospheric carbon
                                   carbondioxide,
                                          dioxide,tons
                                                   tonsper
                                                        perday)
                                                            day)
                                                                                                 Partial Cover
                                                          Revised
                                                          Revised Viaduct
                                                                   Viaduct                         Lowered           Partial Cover
                                                          General-Purpose
                                                          General-Purpose    Revised
                                                                             Revised Viaduct
                                                                                     Viaduct    General-Purpose
                                                                                                General-Purpose        Lowered
                  Existing            No-Action                Lanes
                                                               Lanes         Managed
                                                                             ManagedLanes
                                                                                       Lanes        Lanes
                                                                                                    Lanes           Managed
                                                                                                                    ManagedLanes
                                                                                                                              Lanes
     6,000

     5,000

     4,000

     3,000

     2,000

     1,000

         0
             2010 2015 2020         2025 2030 2035        2025 2030 2035 2025 2030 2035 2025 2030 2035             2025 2030 2035
                                                                 January =July
                                                                 January =July                                      APCD (2015)


     January 2016
     January 2016                                                                                                         5.10-41
                                                                                                                          5.10-41
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 5.10 Air Quality                                                                            I-70 East
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                                                                                                             EIS


 Road dust
 Road dust emissions
           emissions inventory
                     inventory
 Estimates
 Estimates forfor road
                   road dust
                          dust include
                                 include all
                                          all particulate
                                              particulate debris
                                                            debris that
                                                                     that is
                                                                          is
 made
 made airborne      through the
        airborne through        the movement
                                    movement of   of traffic,
                                                     traffic, including
                                                              including
 residual   material from
 residual material      from road
                               road sanding
                                     sanding along
                                                along with
                                                       with soils
                                                              soils and
                                                                    and
 minerals   blown on
 minerals blown       on to
                          to the
                             the road.
                                  road. Estimates
                                         Estimates forfor road
                                                          road dust   show
                                                                dust show
 an  increase of
 an increase    of 43
                   43 percent
                       percent between
                                  between 2010
                                            2010 andand the   2035
                                                         the 2035
 No-Action
 No-ActionAlternative,
               Alternative, aa direct
                                  direct result  in the
                                         result in  the increase
                                                         increase inin VMT
                                                                       VMT
 estimated   along the
 estimated along      the corridor.
                           corridor. As
                                      As shown
                                          shown in     Exhibit 5.10-24,
                                                   in Exhibit     5.10-24,
 there  is only  a  slight  difference   between    the  2035
 there is only a slight difference between the 2035 No-Action   No-Action
 Alternative and
 Alternative    and Build
                      Build Alternatives;
                              Alternatives; thethe Preferred
                                                   Preferred Alternative
                                                                Alternative
 has 1.6
 has  1.6 percent
           percent more
                     more road
                             road dust
                                   dust in
                                         in tons
                                            tons per
                                                  per day
                                                       day than    the No-
                                                            than the   No-
 Action Alternative.
 Action   Alternative.

 Exhibit
 Exhibit5.10-24   FugitiveDust
         5.10-24 Fugitive  DustEmissions
                                Emissions Inventory
                                          Inventory

                                                              Total Fugitive
                                                              Total Fugitive Dust
                                                                             Dust   Percent Difference
                                                                                    Percent Difference
                          Alternative
                          Alternative                              Emissions
                                                                   Emissions         from No-Action
                                                                                     from No-Action
                                                                  (tons/day)
                                                                  (tons/day)           Alternative
                                                                                       Alternative

  No-Action
  No-Action Alternative
            Alternative                                               4.9
                                                                      4.9                  N/A
                                                                                           N/A

  Revised
  Revised Viaduct
          Viaduct Alternative
                  Alternative (General-Purpose
                              (General-Purpose Lanes)
                                               Lanes)                 5.0
                                                                      5.0                  2.7
                                                                                           2.7

  Revised
  Revised Viaduct
          Viaduct Alternative
                  Alternative (Managed
                              (Managed Lanes)
                                       Lanes)                         5.0
                                                                      5.0                  1.6
                                                                                           1.6

  Partial
  Partial Cover
          Cover Lowered
                Lowered Alternative
                        Alternative (General-Purpose Lanes)
                                    (General-Purpose Lanes)           5.0
                                                                      5.0                  2.8
                                                                                           2.8

  Partial
  Partial Cover
          Cover Lowered
                Lowered Alternative
                        Alternative (Managed
                                    (Managed Lanes)
                                             Lanes)                   5.0
                                                                      5.0                  1.6
                                                                                           1.6
 Source: APCD
 Source: APCD (2015)
              (2015)


 Fugitive emissions
 Fugitive emissions during
                    during construction
                           construction
 As discussed
 As  discussed previously,
                previously, thethe estimation
                                    estimation ofof fugitive
                                                    fugitive emissions
                                                             emissions
 during  construction is
 during construction    is not
                           not possible
                                 possible until
                                           until specific
                                                 specific construction
                                                           construction
 methods
 methods and    sequencing are
           and sequencing      are developed
                                     developed for
                                                for the  selected
                                                     the selected
 preferred  alternative. It
 preferred alternative.    Itis
                              is possible,
                                 possible, however,
                                            however, to to use
                                                           use the
                                                               the
 amount
 amount ofof material   handled to
              material handled      to provide
                                       provide an   indication of
                                               an indication    of the
                                                                    the
 relative construction emissions
 relative construction    emissions for foreach
                                            eachalternative
                                                  alternative as
                                                               as aa result
                                                                     result
 of the
 of the movement
        movement of  of dirt,
                        dirt, but   emissions from
                               but emissions   from construction
                                                      construction
 vehicles is
 vehicles  is not
              not included
                  included in in this
                                  this estimate.
                                       estimate.
 Exhibit  5.10-25 presents
 Exhibit 5.10-25                the volume
                     presents the   volume of of material
                                                 material estimated
                                                            estimated toto
 be handled
 be handled for
              for each
                   each project
                        project alternative.
                                  alternative. These
                                                These numbers
                                                        numbers
 represent  the amount
 represent the    amount of
                          of material   brought to
                               material brought    to the
                                                      the project
                                                           project area
                                                                    area
 to
 to serve
    serve as
          as embankment
              embankment material.        This quantification
                               material. This   quantification
 assumes   that the
 assumes that     thePartial
                      PartialCover
                               CoverLowered
                                      Lowered Alternative
                                                 Alternative will
                                                                will use
                                                                     use
 excavation
 excavation material    derived from
              material derived    from Brighton
                                        Brighton Boulevard
                                                    Boulevard to to
 Colorado
 Colorado Boulevard
            Boulevardas  asembankment
                             embankment material
                                             material elsewhere
                                                       elsewhere
 within the  project,  requiring   less new   material
 within the project, requiring less new material to      to be
                                                            be handled.
                                                               handled.
 Excluding
 Excluding the     No-Action Alternative,
             the No-Action     Alternative, the   Revised Viaduct
                                              the Revised   Viaduct
 Alternative is
 Alternative   is projected
                  projected to
                             to have
                                have the    highest volume
                                      the highest    volume ofof material
                                                                 material
 to
 to be
    be handled,
       handled, andand will,
                       will, therefore,
                              therefore, likely
                                          likelygenerate
                                                 generate the
                                                            the greatest
                                                                 greatest


 5.10-42
 5.10-42                                                                                          January 2016
                                                                                                  January 2016
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                                                                                                      5.10 Air Quality

     amount  of fugitive
     amount of  fugitive emissions
                         emissions and
                                    and equipment-related
                                        equipment-related exhaust
                                                          exhaust
     particulate emissions during
     particulate emissions during construction.
                                   construction.
     The
     The difference
         difference between
                     between the highest and
                             the highest and lowest
                                              lowest volumes
                                                     volumes of
                                                             of
     material is 97
     material is 97 percent.
                    percent.

     Exhibit
     Exhibit5.10-25    Excavation
             5.10-25 Excavation   and
                                and   Fill
                                    Fill   MaterialHandled
                                         Material   Handled by
                                                            by Alternative
                                                               Alternative

                                                                                Total Material
                                                                                Total Material Handled
                                                                                               Handled
                              Alternative
                              Alternative
                                                                                    (Cubic Yards)
                                                                                    (Cubic Yards)

      No-Action
      No-Action Alternative
                Alternative                                                                               117,200
                                                                                                          117,200

      Revised
      Revised Viaduct
              Viaduct Alternative
                      Alternative                                                                        4,200,000
                                                                                                         4,200,000

      Partial Cover Lowered
      Partial Cover Lowered Alternative
                            Alternative                                                                  3,900,000
                                                                                                         3,900,000
     Note:
     Note: These
            These numbers    are rough
                   numbers are   rough estimates based on
                                       estimates based on the
                                                          the best
                                                              best data
                                                                   data available
                                                                         available at
                                                                                    at present,
                                                                                       present, and
                                                                                                and may
                                                                                                    may change
                                                                                                         change during
                                                                                                                during
     final
      finaldesign,
           design, quantities
                   quantities included
                              included are
                                       are for
                                           for Managed
                                               Managed Lanes
                                                       Lanes Option
                                                              Option (except  for the
                                                                      (except for      No-Action Alternative).
                                                                                  the No-Action  Alternative).



     5.10.7  What
     5.10.7 What   are
                 are    the
                      the   summarypoints
                          summary   pointsof
                                           of this
                                               this air
                                                    air
             quality
             quality analysis?
                     analysis?

     Following
     Following guidelines
                guidelines established
                               established byby EPA
                                                 EPA forfor conducting
                                                            conducting anan
     analysis of air
     analysis of air quality
                      quality impacts,
                                impacts, and
                                           and through
                                                 through interagency
                                                           interagency
     consultation, the
     consultation,  the air
                          airquality
                              qualityeffects
                                       effectsofof the
                                                    theNo-Action
                                                        No-Action
     Alternative and
     Alternative  and Build
                        Build Alternatives
                                Alternatives forfor 1-70
                                                     I-70 East
                                                           East have
                                                                have been
                                                                       been
     evaluated.  The 1-70
     evaluated. The    I-70 East
                             East project
                                    project is
                                             isin
                                                in aa nonattainment
                                                      nonattainment or  or
     maintenance    areafor
     maintenance area      forozone,
                               ozone,PALO,
                                        PM10, and
                                                and carbon
                                                      carbon monoxide
                                                              monoxide and and
     therefore must    comply    with  transportation
     therefore must comply with transportation conformity conformity
     requirements
     requirements forfor these
                          these NAAQS.
                                 NAAQS. The The project
                                                  project has
                                                            has been
                                                                been
     determined
     determined totobebeaaproject
                            projectofoflocal
                                        localair
                                              airquality
                                                   qualityconcern
                                                             concern
                                                                   forfor  PM10
                                                                        P1Vlio
     and requires aa localized
     and requires     localized hotspot
                                  hotspot analysis.
                                            analysis. Carbon
                                                        Carbon monoxide
                                                                 monoxide
     hotspot analysis
     hotspot analysis is is also
                            also required,
                                  required, per
                                              per the
                                                   the transportation
                                                        transportation
     conformity rule.
     conformity  rule.
     Locations
     Locations for
                 for the
                      the hotspot
                           hotspot analysis     have been
                                     analysis have    been selected
                                                             selected based
                                                                      based onon
     their ability  to  represent   worst-case    conditions   for
     their ability to represent worst-case conditions for the 1-70 the I-70
     East  project and
     East project   and modeling.
                          modeling. With With regard   to both
                                               regard to  both carbon
                                                                carbon
     monoxide
     monoxide and      PM10 forfor
                 and P1Vlio       allallproject
                                         projectalternatives,
                                                 alternatives,the
                                                                the project
                                                                    project is
                                                                            is
     not expected to
     not expected    to cause
                         cause any
                                any new
                                      new violations
                                            violations of
                                                        ofany
                                                            any standard,
                                                                 standard,
     increase  frequency or
     increase frequency      or severity
                                severity of of any existing violation,
                                               any existing   violation, or
                                                                         or
     delay
     delay timely
            timely attainment
                     attainment of  of the
                                        the NAAQS
                                            NAAQS or  or required
                                                          required interim
                                                                    interim
     milestones.   The modeled
     milestones. The     modeled values
                                    values areare below
                                                  below the
                                                          the NAAQS
                                                              NAAQS and and
     suggest that
     suggest  that there
                     thereisisno
                               noexceedance
                                   exceedance or  or impact
                                                     impact from
                                                              from the  project
                                                                    the project
     based on
     based   on the
                the standards.
                      standards.
     The  DRCOG Board
     The DRCOG       Board is
                            is expected
                               expected toto vote
                                             vote on
                                                  on the
                                                     the 2040
                                                         2040 Fiscally
                                                                Fiscally
     Constrained
     Constrained RTPRTP 2015
                          2015 Cycle
                                Cycle 22 Amendment
                                         Amendment Application
                                                       Application inin
     October
     October 2015,
                2015, with
                      with regional
                            regional air  quality modeling
                                      air quality  modeling complete
                                                             complete inin
     time
     time for
           for aa public
                  public hearing
                         hearing in
                                  in January    2016, and
                                      January 2016,   and aa final
                                                             final Board
                                                                   Board
     vote in
     vote in February    2016. The
             February 2016.     The final
                                     final conformity
                                           conformity determination      will
                                                        determination will


     January 2016
     January 2016                                                                                               5.10-43
                                                                                                                5.10-43
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 be made
 be      before FHWA
    made before FHWA issues a ROD,
                     issues a ROD, in compliance with
                                   in compliance      40
                                                 with 40
 CFR
 CFR 93.
     93.
 Results  of the
 Results of  the carbon
                  carbon monoxide
                          monoxidehotspot
                                      hotspotanalysis
                                                 analysis indicate
                                                            indicate that
                                                                     that
 both the
 both      1- and
       the 1-       8-hour concentrations
              and 8-hour    concentrations at     the worst-case
                                              at the    worst-case
 location, Colorado Boulevard
 location, Colorado    Boulevard are   below the
                                   are below    the NAAQS.
                                                      NAAQS. Results     of
                                                                Results of
 PM
 PALO10 analysis
         analysisindicate
                   indicate 24-hour
                            24-hour PM
                                     PMio10 concentrations
                                             concentrations do  do not
                                                                   not
 exceed
 exceed the
         the NAAQS
              NAAQSfor  forany
                            anyofofthe
                                    theproject
                                        projectalternatives,
                                                   alternatives,
 including
 including the
            the Preferred    Alternative. Note
                 Preferred Alternative.    Note that     the modeled
                                                    that the  modeled
 values for
 values  for the
             the Preferred
                  Preferred Alternative
                              Alternative are    the same
                                           are the     same as
                                                             as those
                                                                those for
                                                                       for
 the No-Action    Alternative  at the  I-70/I-25    hotspot
 the No-Action Alternative at the I-7011-25 hotspot location.location.
 Results  of the
 Results of  the emission
                  emission inventory
                             inventory indicate
                                        indicate that     none of
                                                     that none  of the
                                                                   the
 alternatives   change the
 alternatives change    the general
                             general downward
                                      downward trend  trend of
                                                            of most
                                                               most
 pollutants,  and when
 pollutants, and    when an
                          an upward
                              upward trend
                                       trend isis displayed,
                                                   displayed, no
                                                               no
 alternatives   appear to
 alternatives appear    to exacerbate
                           exacerbate oror minimize
                                           minimize thosethose
 tendencies
 tendencies inin emissions.
                 emissions.
 A comparison
 A comparison of ofair
                    air quality
                        quality conditions
                                conditions for
                                            for all
                                                all pollutants
                                                     pollutants
 demonstrates
 demonstrates thetheeffects
                     effects of
                             of minor
                                minor differences
                                      differences in in traffic
                                                        traffic volume
                                                                volume
 and  roadway configuration
 and roadway    configuration between
                                betweenthe
                                         the alternatives,
                                              alternatives, such
                                                               such as
                                                                     as
 variations at
 variations at the
                the1-225
                    I-225 hotspot.
                           hotspot. Minor
                                    Minor variations
                                           variations aside,
                                                          aside, air
                                                                 air
 pollution
 pollution impacts
           impacts for
                     for all
                         all design
                             designalternatives
                                    alternatives areare similar.
                                                        similar.
 Several
 Several factors
         factors are evident at
                 are evident at the
                                the conclusion
                                    conclusion of
                                               of this
                                                  this analysis:
                                                       analysis:
     •   Air quality
          Air         conditions under
              quality conditions         the No-Action
                                  under the  No-Action Alternative
                                                       Alternative
          are similar to
          are similar to all
                         all alternatives analyzed
                             alternatives analyzed
     •   Traffic
          Traffic volume
                  volumeandand traffic
                                traffic speed
                                         speedare
                                               are the
                                                    the primary
                                                        primary
          drivers of project-level
          drivers of project-level air
                                    air quality
                                        quality impacts
                                                impacts
     •   Road
          Road dust
                dust emissions
                     emissions are
                               are the  primary indicators
                                    the primary indicators of
                                                           of
          future particulate matter
          future particulate matter emissions
                                     emissions
     •   The
          The cover
               cover provides
                      provides benefits
                                 benefits to
                                           to sensitive
                                              sensitive receptors
                                                        receptors
          located at Swansea
          located at  SwanseaElementary
                                 ElementarySchool.
                                                School.PALO
                                                        PM10
          concentrations are
          concentrations    are lower
                                lower in
                                      in this
                                          this area
                                                area(well-below
                                                     (well-below the
                                                                  the
          NAAQS)
          NAAQS)in   in close
                        closeproximity
                              proximity toto the
                                              the roadway.
                                                  roadway.
 Significant changes in
 Significant changes in any
                        any of
                             of these  factors could
                                these factors  could impact
                                                     impact
 pollutant emissions at
 pollutant emissions at the
                        the project
                            project level.
                                     level.

 5.10.8
 5.10.8       Will
              Willmitigation
                   mitigationefforts
                               efforts be
                                       be required
                                           required to
                                                     to offset
                                                        offset
              any  negative effects
              any negative  effects on
                                     on air
                                         air quality
                                             quality from
                                                     from the
                                                            the
              project
              project alternatives?
                      alternatives?

 Motor vehicle
 Motor  vehicle emissions
                 emissions from
                            from the
                                   the implementation
                                        implementation ofof the
                                                            the
 No-Action
 No-ActionAlternative
              Alternative and
                          and all
                               all of
                                   of the
                                       the Build
                                           Build Alternatives
                                                  Alternatives
 (including the
 (including  the Preferred  Alternative) will
                 Preferred Alternative)     will not
                                                 not cause
                                                     cause or
                                                           or
 contribute to
 contribute  to any
                any new
                    new localized
                         localized carbon
                                     carbon monoxide
                                             monoxide or orparticulate
                                                            particulate
 matter  violations, nor
 matter violations,  nor will
                         will they   increase the
                              they increase    the frequency
                                                   frequency or
                                                              or


 5.10-44
 5.10-44                                                                           January 2016
                                                                                   January 2016
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                     EIS                                                            5.10 Air Quality
                                                                                    5.10 Air Quality

     severity of
     severity of any
                 any existing
                      existing violations
                                violations based
                                           based on
                                                  on the
                                                      the hotspot
                                                          hotspot
     analysis. Therefore, no
     analysis. Therefore,   no specific
                                specificmitigation
                                         mitigation measures
                                                     measures are
                                                               are
     required
     required for the project to proceed. Although mitigation is
               for the  project to proceed. Although   mitigation  is not
                                                                      not
     required,  one or
     required, one   or more
                        more of
                              of the
                                 the potential  emission reduction
                                     potential emission   reduction
     measures   described below
     measures described     below will
                                   will be
                                        be utilized
                                           utilized to
                                                    to minimize
                                                       minimize impacts
                                                                 impacts
     to
     to air
        air quality.
            quality.
     Any transportation-related
     Any                              measures or
           transportation-related measures         or baseline
                                                      baseline emission
                                                                 emission
     reduction
     reduction strategies     already required
                  strategies already    required asas part
                                                      part of
                                                            of carbon
                                                               carbon
     monoxide
     monoxideor    orparticulate
                      particulatematter
                                   matter maintenance
                                             maintenance plans
                                                             plans that
                                                                    that relate
                                                                           relate
     to
     to 1-70 East will continue to be implemented with any of the
        I-70  East  will continue   to  be implemented      with  any   of  the
     alternatives.
     alternatives. An An example
                         example of of this
                                        this is
                                             is street sanding/sweeping,
                                                street sanding/sweeping,
     which
     which CDOT
             CDOThas   has committed
                            committedto  tocontinue
                                            continueas aspart
                                                          part of
                                                                ofits
                                                                   its standard
                                                                        standard
     maintenance      practices as
     maintenance practices          a way
                                 as a way to to reduce
                                                reduce dust
                                                         dust on
                                                              on roads
                                                                  roads that
                                                                           that
     becomes air
     becomes    air pollution.
                     pollution. Additionally,
                                Additionally, during
                                                  during construction,
                                                          construction, dustdust
     in the air
     in the  air should
                  should be
                          be minimized
                              minimized by by following
                                               following best
                                                           best management
                                                                management
     practices   (BMPs) to
     practices (BMPs)      to control
                              control fugitive
                                       fugitive dust.   See Exhibit
                                                 dust. See  Exhibit 5.10-26
                                                                        5.10-26
     for
     for aa summary
            summary of  of these
                           these activities
                                  activities and
                                              and practices.
                                                   practices.
     Several
     Several ongoing
              ongoingandandplanned
                              planned strategies
                                       strategies are
                                                   are used
                                                       used inin the
                                                                 the
     Denver/North
     Denver/North Front
                     Front Range
                             Range ozone
                                    ozonenonattainment
                                            nonattainment area      to
                                                              area to
     reduce precursor emissions
     reduce precursor   emissions ofof volatile
                                       volatile organic
                                                organic compounds
                                                          compounds and  and
     nitrogen  oxides, including
     nitrogen oxides,  including multimodal
                                    multimodal transportation      options,
                                                 transportation options,
     rideshare  programs, vehicle
     rideshare programs,     vehicle emissions
                                     emissions testing,
                                                 testing, and
                                                           and
     intersection improvements. Likewise,
     intersection improvements.      Likewise, several
                                                several strategies
                                                          strategies have
                                                                      have
     been, and
     been,      continue to
           and continue    to be,
                              be, implemented
                                  implemented to to maintain    carbon
                                                     maintain carbon
     monoxide   and  PM
     monoxide and PALO   10 attainment.
                              attainment. For details of thesestrategies
                                          For details  of these   strategies
     to
     to manage
        manage criteria   pollutant emissions,
                 criteria pollutant   emissions, see
                                                  see Attachment
                                                       Attachment J,     Air
                                                                      J, Air
     Quality Technical Report.
     Quality Technical    Report.
     Reduction of
     Reduction of global
                  global greenhouse
                         greenhouse gas
                                    gas emissions
                                        emissions
     To
     To help
         help address   the global
              address the   global issue
                                   issue of
                                         of climate
                                            climate change,
                                                     change, USDOT
                                                              USDOT isis
     committed to
     committed    to reducing  greenhouse gas
                     reducing greenhouse    gas emissions
                                                 emissions from
                                                            from vehicles
                                                                 vehicles
     traveling  on our
     traveling on   our nation's
                        nation’s highways.
                                 highways. USDOT
                                             USDOT and and EPA
                                                           EPA are
                                                                are
     working
     working together
               together to
                         to reduce
                            reduce these
                                    these emissions
                                           emissions by
                                                      by substantially
                                                         substantially
     improving
     improving vehicle
                 vehicle efficiency
                          efficiency and
                                      and shifting
                                          shifting toward  lower carbon-
                                                   toward lower  carbon-
     intensive  fuels.
     intensive fuels.
     At the
     At      state level,
         the state  level, there also are
                           there also  are several
                                           several programs
                                                    programs underway
                                                                underway
     to
     to address   transportationgreenhouse
        address transportation     greenhouse gases.
                                                 gases. The
                                                         The Governor's
                                                              Governor’s
     Climate   Action Plan,
     Climate Action           adopted in
                       Plan, adopted    in November
                                           November 2007,
                                                       2007, includes
                                                               includes
     measures
     measures to to adopt
                    adopt vehicle
                            vehicle carbon
                                    carbon dioxide
                                             dioxide emissions
                                                      emissionsstandards
                                                                  standards
     and  to reduce
     and to  reduce vehicle
                      vehicle travel
                               travel through
                                      through transit,   flex time,
                                                transit, flex time,
     telecommuting,
     telecommuting, ridesharing,       and broadband
                        ridesharing, and    broadband communications.
                                                         communications.
     CDOT
     CDOT alsoalso issued
                   issued aa Policy
                             Policy Directive
                                     Directive on
                                                on Air
                                                   Air Quality
                                                        Quality in
                                                                 in May
                                                                    May
     2009.  This  Policy  Directive  and  implementation
     2009. This Policy Directive and implementation document—document—
     the  CDOT Air
     the CDOT     Air Quality
                       Quality Action
                                ActionPlan—address
                                         Plan—address unregulated
                                                          unregulated



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                                                                                           5.10-45
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 5.10 Air Quality                                                             I-70 East
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                                                                                              EIS


 MSATs and
 MSATs  and greenhouse
             greenhouse gases   produced from
                          gases produced from Colorado’s
                                               Colorado's state
                                                          state
 highways, interstates,
 highways,              and construction
           interstates, and construction activities.
                                         activities.
 For
 For details
     details on
             on state  and federal
                 state and  federal programs
                                    programs to
                                              to reduce
                                                 reduce
 greenhouse
 greenhouse gases
              gases from
                     from transportation  projects, see
                           transportation projects, see
 Attachment J,
 Attachment      Air Quality
              J, Air  Quality Technical
                               Technical Report.
                                         Report.
 Reduction of
 Reduction  of fugitive particle emissions
               fugitive particle emissions during
                                           during
 construction
 construction
 Construction-related     fugitive particle
 Construction-related fugitive      particle emissions
                                               emissions will
                                                          will be
                                                                be
 minimized
 minimized byby implementing
                 implementing dust dust control
                                          control practices
                                                   practices in
                                                              in
 accordance
 accordance with
              with requirements
                    requirements in   in CDPHE
                                          CDPHE Air Air Quality   Control
                                                        Quality Control
 Commission
 Commission Regulation
               Regulation No. No. 1,
                                   1, Emission    Control for
                                      Emission Control     for
 Particulate  Matter,Smoke,
 Particulate Matter,    Smoke, Carbon
                                  Carbon Monoxide,
                                            Monoxide, andand Sulfur
                                                               Sulfur
 Oxides.
 Oxides. Additionally,
         Additionally, for for any
                               any road
                                    road construction
                                           construction project,
                                                         project, aa
 written control plan
 written control  plan must
                         must bebe submitted
                                    submitted forfor approval
                                                     approval byby
 CDPHE.
 CDPHE. TheThe control
                control plan
                          plan includes
                                includes allall available
                                                available practical
                                                          practical
 methods  that are
 methods that   aretechnologically
                     technologically feasible
                                         feasible and
                                                   and economically
                                                        economically
 reasonable
 reasonable to
             to reduce,
                reduce, prevent,
                           prevent, and    control fugitive
                                      and control   fugitive particulate
                                                               particulate
 emissions
 emissions from
            from the
                   the source
                        source into
                                 into the
                                       the atmosphere.
                                           atmosphere. When
                                                          When aa plan
                                                                    plan is
                                                                         is
 approved,
 approved, CDPHE
            CDPHE may  may take    enforcement action
                             take enforcement      action if
                                                           if the owner
                                                              the owner
 or operator
 or          fails to
    operator fails  to comply
                       comply with
                                 with the   provisions.
                                        the provisions.
 An Air
 An  Air Quality
         Quality Monitoring,
                 Monitoring, Maintenance,
                              Maintenance, and
                                            and Mitigation
                                                 Mitigation Plan
                                                             Plan
 will
 will be
      be prepared
         prepared prior
                  prior to
                        to construction
                           construction and will include
                                        and will include the
                                                         the
 following
 following commitments:
            commitments:
     •    Documentation
           Documentation ofof daily
                              daily visual inspections of
                                    visual inspections  of active
                                                           active
           work sites by State and  Federally  certified personnel
           work sites by State and Federally certified personnel
     •    Daily
           Daily opacity
                 opacity readings
                          readings from
                                   from stationary  sources subject
                                         stationary sources subject
           to Section II.A
           to Section II.A of
                           of Air
                              Air Quality
                                  Quality Control Commission
                                          Control Commission
           Regulation  No. 1
           Regulation No.   1 (5
                              (5 CCR
                                 CCR 1001-3)
                                      1001-3)and
                                               and applicable
                                                   applicable permit
                                                              permit
           conditions
           conditions
     •    Continuous PM10 monitoring
           Continuous PALO  monitoringduring
                                       during construction
                                              construction
     •    Presentation  of continuous
           Presentation of               PM10 monitoring
                            continuousPALO       monitoringdata
                                                              data to
                                                                   to the
                                                                      the
           public
           public after
                  after quality  review of
                        quality review   of the
                                             the data,
                                                 data, anticipated  to be
                                                       anticipated to  be
           within one week
           within one  week of
                             of collection
                                collection
 Permitting
 Permitting
 All alternatives
 All               will require
     alternatives will            demolition permits
                        require demolition     permits and   an Air
                                                        and an   Air
 Pollutant   EmissionNotice
 Pollutant Emission    Notice (APEN).
                                (APEN). An An APEN
                                               APEN form
                                                      form is
                                                            is used
                                                               used toto
 record  general  project  information,   including  the
 record general project information, including the projectproject
 description,
 description, location,
               location, size,
                          size,and
                                and duration.
                                     duration. In
                                                In addition,
                                                   addition, the
                                                              the
 APEN form
 APEN    form includes
               includes detailed
                         detailed information
                                   information on on the
                                                     the Fugitive
                                                         Fugitive Dust
                                                                     Dust
 Control
 Control Plan   (FDCP). The
           Plan (FDCP).    The FDCP
                                FDCP addresses     how dust
                                        addresses how          will be
                                                         dust will  be
 kept to a
 kept to  a minimum
            minimum at     the project
                       at the  project site.  Control measures
                                        site. Control  measures listed
                                                                   listed
 in the plan
 in the plan should
              should be
                      be specific
                         specific to
                                   to the
                                      the land  development site.
                                           land development     site.


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 5.10-46                                                                           January 2016
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                     EIS                                                                                                5.10 Air Quality
                                                                                                                        5.10 Air Quality

     Fugitive
     Fugitive dust control techniques
              dust control techniques commonly
                                      commonly included
                                               included in
                                                        in the
                                                           the
     plan are shown
     plan are shown in  Exhibit 5.10-26.
                     in Exhibit  5.10-26.

     Exhibit
     Exhibit5.10-26    Summary
             5.10-26 Summary ofof AirQuality
                                Air   QualityCommitments
                                             Commitments and
                                                         and Strategies
                                                             Strategies

         Air Quality
        Air  Quality
       Consideration
       Consideration                            Commitments and
                                                Commitments and Strategies Applicable to
                                                                Strategies Applicable to All
                                                                                         All Alternatives
                                                                                             Alternatives
     (all
     (all alternatives)
          alternatives)
                           Before
                           Before and
                                  and during
                                      during construction:
                                             construction:
                               Monitor
                                Monitor for
                                         for PM 10, which
                                             PMio,   whichwill
                                                           willallow
                                                                allowfor
                                                                       forthe
                                                                            thereal-time
                                                                                real-timemodification
                                                                                         modificationor
                                                                                                      or implementation  of
                                                                                                          implementation of
                                various dust
                                various       control measures
                                        dust control               during construction
                                                      measures during      construction
                           During
                           During construction,
                                    construction, BMPs
                                                  BMPscould
                                                        couldinclude
                                                              includethe
                                                                      thefollowing
                                                                          followingmeasures
                                                                                    measuresand
                                                                                             andothers,
                                                                                                others, ifif applicable,
                                                                                                             applicable, as
                                                                                                                         as
                           identified during project development   (per the FDCP):
                           identified during project development (per the FDCP):
                           •   Cover,
                                Cover, wet,
                                       wet, compact, or use
                                            compact, or use chemical
                                                            chemical stabilization
                                                                      stabilization binding
                                                                                    binding agents
                                                                                            agents to
                                                                                                   to control
                                                                                                      control dust and
                                                                                                              dust and
                                excavated materials at
                                excavated materials    construction sites
                                                    at construction sites
                           •   Use
                                Use wind
                                    windbarriers
                                         barriers and
                                                  and wind
                                                      windscreens
                                                           screens to
                                                                    to prevent
                                                                       prevent spreading
                                                                               spreading of
                                                                                         of dust
                                                                                            dust from
                                                                                                 from the
                                                                                                      the site
                                                                                                          site
                           •   Have
                                Have aa wheel
                                         wheelwash
                                                washstation
                                                     stationand/or
                                                             and/orcrushed
                                                                    crushedstone
                                                                            stone apron
                                                                                  apronat
                                                                                        at egress/ingress
                                                                                           egress/ingress areas
                                                                                                          areas to prevent
                                                                                                                to prevent
                                dirt
                                dirt being
                                     being tracked
                                           tracked onto
                                                   onto public
                                                        public streets
                                                               streets
                           •   Use
                                Use vacuum-powered
                                    vacuum-poweredstreet
                                                   street sweepers
                                                          sweepers to
                                                                   to remove
                                                                      remove dirt
                                                                             dirt tracked
                                                                                  tracked onto
                                                                                          onto streets
                                                                                               streets
                           •   Cover
                                Cover all
                                      all dump
                                          dump trucks
                                                trucks leaving
                                                        leaving sites
                                                                 sites to
                                                                       to prevent dirt from
                                                                          prevent dirt from spilling
                                                                                            spilling onto
                                                                                                     onto streets
                                                                                                          streets
                           •   Minimize
                                Minimizedisturbed
                                         disturbed areas, particularly in
                                                   areas, particularly in winter
                                                                          winter
     • MSAT
        MSATemissions
               emissions
                           •   Prohibit
                                Prohibit unnecessary idling of
                                         unnecessary idling of construction
                                                               construction equipment
                                                                            equipment
        could
        could increase
              increase
        temporarily
        temporarily        •   Locate
                                Locate construction
                                       construction diesel
                                                    diesel engines
                                                           engines as
                                                                   as far
                                                                      far away
                                                                          away as
                                                                               as possible
                                                                                  possible from
                                                                                           from residential
                                                                                                residential areas
                                                                                                            areas
        during
        during
                           •   Locate
                                Locate construction
                                        construction staging
                                                      staging areas
                                                              areas close
                                                                    close to
                                                                          to work
                                                                             work sites,
                                                                                  sites, while
                                                                                         while situating
                                                                                                situating them
                                                                                                           them as
                                                                                                                as far
                                                                                                                   far away
                                                                                                                       away as
                                                                                                                            as
        construction
        construction
                                possible
                                possible from
                                         from residential
                                               residential uses
                                                           uses
     • Construction
        Construction       •   Require
                                Require heavy
                                          heavy construction
                                                 construction equipment
                                                               equipment to
                                                                          to use
                                                                              use the
                                                                                  the cleanest available engines
                                                                                      cleanest available engines or
                                                                                                                 or be
                                                                                                                    be
        fugitive
        fugitive dust
                 dust
                                retrofitted with diesel
                                retrofitted with diesel particulate control technology
                                                        particulate control technology
        could
        could cause
               cause
        temporary
        temporary          •   Use
                                Use alternatives
                                     alternatives to diesel engines
                                                  to diesel          and/or diesel
                                                            engines and/or     diesel fuels,
                                                                                      fuels, such
                                                                                             such as
                                                                                                  as biodiesel,
                                                                                                       biodiesel, liquefied
                                                                                                                   liquefied natural
                                                                                                                             natural
        impacts
        impacts                 gas, compressed natural
                                gas, compressed    natural gas,
                                                           gas,fuel
                                                                fuel cells,
                                                                      cells, and
                                                                             and electric
                                                                                  electric engines,
                                                                                           engines, ifif applicable
                                                                                                         applicable

     • No
        No violation  of
            violation of   •   Install
                                Install engine
                                        engine pre-heater devices to
                                               pre-heater devices  to eliminate
                                                                      eliminate unnecessary
                                                                                unnecessary idling
                                                                                             idling for
                                                                                                    for winter-time
                                                                                                        winter-time
        the NAAQS for
        the NAAQS    for        construction
                                construction
        the No-Action
        the No-Action      •   Prohibit
                                Prohibit tampering
                                          tampering with
                                                      withequipment
                                                           equipment to
                                                                      to increase
                                                                          increase horsepower
                                                                                   horsepower or
                                                                                              or to
                                                                                                 to defeat an emission
                                                                                                    defeat an emission
        Alternative or
        Alternative  or         control
                                control device’s
                                         device's effectiveness
                                                  effectiveness
        the Build
        the Build
        Alternatives
        Alternatives       •   Require
                                Require construction
                                        construction vehicle
                                                     vehicleengines
                                                             engines to
                                                                      to be
                                                                         be properly
                                                                            properly tuned
                                                                                     tuned and maintained
                                                                                           and maintained
                           •   Use
                                Use construction
                                     construction vehicles
                                                  vehicles and
                                                           and equipment
                                                               equipment with
                                                                         with the minimum practical
                                                                              the minimum practical engine
                                                                                                    engine size
                                                                                                           size for
                                                                                                                for the
                                                                                                                    the
                                intended job
                                intended job
                           Post
                           Post construction:
                                construction:
                           •   Continue
                                Continue the “sweepbox” program
                                         the "sweepbox"   program on
                                                                   on the highway to
                                                                      the highway      achieve the
                                                                                    to achieve the current
                                                                                                   current level
                                                                                                            level of
                                                                                                                  of fugitive
                                                                                                                     fugitive
                                dust reduction; and
                                dust reduction;     enhance street
                                                and enhance  street sweeping
                                                                    sweeping after
                                                                              after snow
                                                                                    snow events  to reduce
                                                                                          events to reduce the
                                                                                                             the particulate
                                                                                                                 particulate
                                matter accumulation during
                                matter accumulation  during operations
                                                            operations
                           BMPs
                           BMPscould
                                 couldalso
                                       alsoinclude
                                            includethe
                                                    thefollowing
                                                        followingmeasures
                                                                  measuresand
                                                                           andothers
                                                                               others as
                                                                                      as identified
                                                                                         identified during
                                                                                                    during project
                                                                                                           project
                           development:
                           development:
                           •   Optimize
                                Optimize signal
                                         signaltiming
                                                timingatatintersections
                                                           intersectionsand
                                                                         and along
                                                                             alongarterial
                                                                                   arterialstreets
                                                                                            streets near the highway
                                                                                                    near the highway to
                                                                                                                     to
                                reduce vehicle delay
                                reduce vehicle delay and  tailpipe emissions
                                                     and tailpipe  emissions
                           •   Implement
                                Implement congestion
                                          congestion pricing
                                                     pricing and
                                                             and commuter
                                                                 commuter incentive
                                                                          incentive programs
                                                                                    programs that reduce peak-period
                                                                                             that reduce peak-period
                                highway
                                highway congestion
                                        congestion and
                                                   and emissions
                                                       emissions
                           •   Encourage
                                Encourage TDM
                                          TDMoptions,
                                                options,such
                                                         suchas
                                                              as high-occupancy
                                                                 high-occupancyvehicle
                                                                                  vehiclelanes
                                                                                          lanesand
                                                                                                and agreements with
                                                                                                    agreements with
                                major
                                major employers
                                      employers to promote and
                                                to promote  and implement
                                                                 implement flexible
                                                                            flexible work
                                                                                     work programs
                                                                                           programs




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                                                                                                                                   5.10-47
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 5.10 Air Quality                                            I-70 East
                                                             1-70 East Final
                                                                       Final EIS
                                                                             EIS




                       This
                       This page
                            page intentionally
                                 intentionally left
                                               left blank.
                                                    blank.




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     1-70 East Final
               Final EIS
                     EIS                                                              5.20 Human Health
                                                                                      5.20 Human Health Conditions
                                                                                                        Conditions



     5.20
     5.20         Human Health Conditions
                  Human Health Conditions
     This  section discusses
     This section  discusses what
                               what the
                                      the existing
                                          existing concerns
                                                    concerns are
                                                              are about
                                                                  about
     health issues
     health  issues in
                    in the
                        the project
                            project area
                                     area (based
                                           (based on
                                                   on public  comment),
                                                      public comment),
     and  relates these
     and relates  these concerns
                         concerns toto the
                                       the analyses
                                            analyses of
                                                      of air
                                                         air quality,
                                                             quality,
     noise,
     noise, and
            and hazardous     materials performed
                 hazardous materials       performed for
                                                       for this
                                                           this project.
                                                                project.
     Additionally, at
     Additionally,  at the
                        the request
                            request of
                                     of the
                                        the public
                                             public commenters,
                                                    commenters, it it
     summarizes    human health
     summarizes human        health studies
                                    studies performed
                                              performed in
                                                         in the
                                                             the area
                                                                 area in
                                                                      in
     recent
     recent years
            years by
                   by other
                      other parties
                              parties that  are not
                                      that are  not part of this
                                                    part of this project
                                                                 project
     specifically.
     specifically.

       Since
       Since the
              the Supplemental
                   Supplemental Draft    EIS was
                                   Draft EIS  was published
                                                    published in
                                                              in August
                                                                  August 2014,
                                                                          2014,
       additional analyses
       additional  analyses and
                              and content
                                   content review
                                            review have
                                                     have been
                                                          been performed
                                                                 performed for
                                                                             for
       many
       many ofof the
                 the resources
                      resources discussed
                                 discussed inin this document. These
                                                this document.   These updates,
                                                                         updates,
       along with
       along        changes resulting
              with changes    resulting from  the comments
                                        from the   comments received
                                                               received onon the
                                                                             the
       Supplemental
       Supplemental Draft     EIS, have
                        Draft EIS,  have been
                                          been incorporated
                                                incorporated into   this Final
                                                               into this Final EIS.
                                                                               EIS.

       This Chapter
       This Chapter is
                     is a
                        a new
                          new inclusion
                              inclusion for the Final
                                        for the Final EIS
                                                      EIS and
                                                          and was
                                                                was not
                                                                     not
       included
       included in the Supplemental
                in the  Supplemental Draft
                                      Draft EIS.
                                             EIS. Previously,
                                                  Previously, the
                                                              the discussion
                                                                   discussion
       summarizing   health studies
       summarizing health   studies was
                                    was included
                                         included in  Section 5.2,
                                                   in Section  5.2, Social
                                                                    Social and
                                                                           and
       Economic
       Economic Conditions.
                  Conditions.



     5.20.1   Why
     5.20.1 Why    discuss
                discuss    humanhealth
                         human   healthconditions?
                                        conditions?

     Human
     Human health      conditions are
              health conditions     are important
                                         important in
                                                    in the project area.
                                                       the project area.
     Several
     Several of
              of the
                  the analyses
                       analyses in
                                 in the
                                    the Final  EIS are
                                         Final EIS  are designed
                                                        designed to
                                                                  to
     determine
     determine ifif project
                    project activities
                             activities create
                                         create new
                                                new health
                                                      health hazards
                                                             hazards
     that are not   currently  present,   worsen  existing
     that are not currently present, worsen existing healthhealth
     conditions, or
     conditions,   or contribute
                      contribute to
                                  to aa cumulative
                                        cumulative adverse
                                                     adverse impact
                                                              impact to
                                                                     to
     the health of
     the health  of residents   or workers
                     residents or  workers inin the
                                                the area.
                                                     area.
     During   project scoping
     During project    scoping meetings    for the
                                 meetings for       proposed
                                               the proposed
     improvements
     improvements to 1-70, the public expressed concerns
                       to I-70, the public expressed     concerns about
                                                                    about
     various health
     various           issues within
              health issues    within and
                                      and near    the project
                                            near the    project study
                                                                study area
                                                                       area
     that  they felt
     that they  felt should
                     should bebe evaluated.
                                 evaluated. In
                                             In addition,
                                                 addition, the
                                                             the proximity
                                                                 proximity
     of Swansea
     of Swansea Elementary        School to
                   Elementary School     to I-70
                                            1-70 inin the
                                                       the project
                                                           project area
                                                                   area
     raised  concerns about
     raised concerns     about potential
                                potential health   impacts to
                                          health impacts     to children
                                                                children
     attending   the school.
     attending the    school.
     Following
     Following the
                the release
                    release of
                            of the
                                the Draft
                                    Draft EIS
                                            EIS in
                                                 in 2008
                                                    2008 and
                                                         and the
                                                              the
     Supplemental   Draft EIS
     Supplemental Draft   EIS inin 2014,
                                   2014, many
                                           many comments
                                                  comments were
                                                             were
     received
     received on
              on health
                  health and
                         and how
                             how it it relates to the
                                       relates to     project.
                                                  the project.




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     January 2016                                                                                          5.20-1
                                                                                                           5.20-1
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 5.20 Human Health Conditions
                   Conditions                                               I-70 East
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                                                                                      Final EIS
                                                                                            EIS


 5.20.2   How
 5.20.2 How    are
             are   projectimpacts,
                 project   impacts,benefits,
                                     benefits, and
                                               and
          mitigation
          mitigation measures   related to
                     measures related   to human
                                           human
          health
          health evaluated  in this
                 evaluated in  this document?
                                    document?

 The
 The concerns
      concerns to to human
                     human health
                              health included
                                     included inin this  section are
                                                   this section    are
 organized by
 organized   by topics
                 topics identified
                         identified during  project scoping
                                    during project   scoping andand
 from
 from public
       public comments
               comments received
                            received on
                                      on the
                                          the 2008
                                              2008 Draft
                                                     Draft EIS
                                                            EIS and
                                                                  and
 the 2014 Supplemental
 the 2014  Supplemental DraftDraft EIS.
                                    EIS. Specific
                                         Specific resource
                                                   resource sections
                                                               sections
 in this Final
 in this Final EIS
                EIS listed
                      listedbelow
                             below were
                                    were reviewed
                                          reviewed to to determine
                                                         determine if  if
 there  would be
 there would    be associated
                    associated potential
                                potential impacts
                                           impacts toto human
                                                        human
 health. The
 health.  The following
               following discussions
                           discussions are
                                        are not
                                             not listed  in order
                                                 listed in  order ofof
 importance,
 importance, butbut in
                     in the
                        the order
                            order in
                                   in which
                                      which they
                                              they appear
                                                    appear inin this
                                                                 this
 Final  EIS:
 Final EIS:
     •   Transportation facilities and
          Transportation facilities and choice
                                        choice
     •   Air quality
          Air quality
     •   Noise
          Noise
     •   Water quality
          Water quality
     •   Hazardous
          Hazardous materials
                    materials
 A full
 A  full discussion
         discussion of
                    of project
                        project impacts
                                 impacts for
                                          for each
                                              each of
                                                    of the
                                                        the resources
                                                            resources
 listed  above can
 listed above  can be
                    be found
                       found in
                              in Chapter
                                  Chapter 44 and
                                              and Section
                                                   Section 5.2
                                                             5.2 for
                                                                 for
 transportation   facilitiesand
 transportation facilities   andchoice,
                                  choice, Section
                                           Section 5.10
                                                    5.10 for
                                                          for air
                                                              air
 quality,  Section 5.12
 quality, Section  5.12 for
                         for noise,
                             noise, Section
                                     Section 5.16
                                              5.16 for
                                                    for water
                                                         water quality,
                                                                quality,
 and  Section 5.18
 and Section   5.18 for
                     for hazardous
                         hazardous materials.    In the
                                     materials. In   the following
                                                          following
 subsections, aa short
 subsections,    short summary
                        summaryof   of possible
                                       possible outcomes
                                                outcomes is  is
 included.
 included.
 Each
 Each of
       of these
          these resources   also includes
                  resources also includes a  discussion of
                                           a discussion of the
                                                           the
 benefits related
 benefits           to health
           related to  health and
                              and the
                                   thehighway
                                       highway cover
                                                 cover included
                                                       included in
                                                                in
 the identified Preferred
 the identified   Preferred Alternative,
                             Alternative, the Partial Cover
                                          the Partial Cover
 Lowered
 Lowered Alternative
            Alternative with
                         with Managed
                               Managed Lanes     Option.
                                         Lanes Option.
 Construction
 Construction impacts
                 impacts and
                          and mitigations   also are
                               mitigations also      discussed.
                                                 are discussed.
 Transportation facilities
 Transportation facilities and
                           and choice
                               choice
 As noted
 As  noted in
            in Chapter
               Chapter 4, 4, Transportation
                             Transportation Impacts
                                                Impacts andand
 Mitigation Measures,
 Mitigation   Measures, of of this
                               this document,
                                    document, pedestrian
                                                  pedestrian and
                                                               and
 bicycle facility
 bicycle  facility improvements
                    improvements associated
                                     associated with
                                                   with the
                                                        the Build
                                                             Build
 Alternatives will
 Alternatives   will enhance
                      enhance thethe safety
                                     safety of
                                             of pedestrians
                                                 pedestrians and
                                                               and
 bicyclists within
 bicyclists  within the
                      the study
                          study area.
                                  area. Intersections
                                         Intersections that    are being
                                                         that are  being
 improved
 improved will
             will have
                  have countdown
                         countdownlights
                                       lights installed
                                               installed at
                                                          at signalized
                                                             signalized
 crosswalks to
 crosswalks   to improve
                 improve pedestrian
                             pedestrian safety.    More opportunities
                                          safety. More    opportunities
 to
 to enhance
    enhance the     pedestrian environment
              the pedestrian     environment include
                                                 include sidewalk
                                                           sidewalk
 connectivity, ADA
 connectivity,   ADAimprovements,
                        improvements,greater
                                           greater sidewalk
                                                    sidewalk width,
                                                                width,
 and  improved lighting.
 and improved     lighting. These
                             These enhancements
                                     enhancements will will potentially
                                                             potentially
 benefit human      health  by  improving   multi-modal
 benefit human health by improving multi-modal connectivity connectivity
 in the project
 in the project area.   In addition,
                 area. In   addition, the
                                       the Build
                                            Build Alternatives
                                                   Alternatives will
                                                                   will


 5.20-2
 5.20-2                                                                          January 2016
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                     EIS                                                          5.20 Human Health
                                                                                  5.20 Human Health Conditions
                                                                                                    Conditions

     enhance   the safety
     enhance the   safety of
                          of the
                             the motorists using the
                                 motorists using the facilities
                                                     facilities by
                                                                by
     utilizing
     utilizing the
               the current  highway design
                   current highway   design standards  (such as
                                             standards (such   as
     shoulder  widths,  lane widths, grades,  and curves).
     shoulder widths, lane widths, grades, and curves).
     Benefits
     Benefits of
              of the
                 the highway
                     highway cover
                             cover (Preferred Alternative only)
                                   (Preferred Alternative only)
     The
     The proposed
          proposed landscaped      highway cover
                     landscaped highway         cover between     Columbine
                                                       between Columbine
     Street and Clayton
     Street and   Clayton Street    that is
                            Street that   is included
                                             included as     part of
                                                         as part   of the
                                                                      the
     Partial Cover Lowered
     Partial Cover   Lowered Alternative
                                Alternative willwill provide
                                                     provide multiple
                                                                multiple
     benefits to
     benefits  to human
                  human health     in the
                           health in       Elyria and
                                       the Elyria   and Swansea
                                                           Swansea
     neighborhood.
     neighborhood. TheThe proposed
                            proposed cover
                                        cover will
                                                willreconnect
                                                     reconnect thethe north
                                                                       north
     and  south sides
     and south   sides of
                       of the
                          the neighborhood
                               neighborhood by    by providing
                                                     providing aa safe
                                                                    safe
     connection for
     connection   for pedestrians
                      pedestrians andandbicyclists
                                          bicyclists across
                                                       across 1-70,
                                                                I-70,
     allowing
     allowing them
                them to
                      to cross
                         cross anywhere
                                anywhere alongalong the
                                                     the cover
                                                           cover area
                                                                  area and
                                                                        and
     thereby  improving non-motorized
     thereby improving     non-motorized connectivity.
                                              connectivity. TheThe cover
                                                                     cover
     also
     also will
          will provide
                provide aa place
                           place for
                                  foractivity
                                       activity and
                                                  and exercise.
                                                       exercise. The
                                                                   ThePartial
                                                                        Partial
     Cover
     Cover Lowered
            LoweredAlternative
                        Alternative also
                                      also maintains
                                            maintains the the existing
                                                               existing local
                                                                         local
     north-south   street network
     north-south street    network andand it
                                           it provides
                                               provides aa greater
                                                             greater sense
                                                                      sense of
                                                                             of
     neighborhood
     neighborhood cohesion
                     cohesion bybyremoving
                                     removingthe  the dominant
                                                      dominant visual
                                                                   visual
     barrier created
     barrier created byby the
                           the highway
                               highway structure
                                           structure in in this
                                                            this
     neighborhood.
     neighborhood.
     Construction
     Construction Mitigation
                  Mitigation
     As discussed
     As  discussed inin Section
                         Section 5.2,
                                  5.2, Social
                                       Social and
                                              and Economic
                                                   Economic Conditions,
                                                               Conditions,
     temporary    construction impacts
     temporary construction       impacts associated
                                            associated with
                                                         with project
                                                              project
     alternatives   include construction-related
     alternatives include     construction-related travel
                                                      travel disruptions
                                                              disruptions
     (such as
     (such  as road
               road closures,
                      closures, detours,
                                 detours, and   access and
                                           and access   and circulation
                                                             circulation
     disruptions),   RTD service
     disruptions), RTD      service disruptions
                                     disruptions and/or
                                                  and/or delays,
                                                          delays, and
                                                                    and
     traffic-related   travel disruptions.
     traffic-related travel    disruptions. These
                                             These impacts
                                                    impacts will
                                                              will cause
                                                                    cause
     temporary    quality-of-life disruptions
     temporary quality-of-life      disruptions to
                                                 to households
                                                    households near
                                                                  near
     construction areas.
     construction            People who
                     areas. People    who work
                                           work near
                                                  near construction
                                                       construction areas
                                                                       areas
     or use
     or      affected roadways
        use affected    roadways to to travel to other
                                       travel to        activities (for
                                                 other activities  (for
     example,
     example, health      care) also
                health care)    also will
                                     will experience
                                          experience some
                                                       some temporary
                                                              temporary
     disruption   during construction.
     disruption during      construction.
     Proposed
     Proposed mitigation
              mitigation measures
                         measures for
                                  for these
                                      these disruptions include:
                                            disruptions include:
         •   Provide
              Provide safe
                      safe and   efficient connections
                           and efficient   connections through
                                                         through the
                                                                 the
              neighborhood
              neighborhood during     construction for
                            during construction     for all
                                                        all modes
                                                            modes of
                                                                  of
              transportation,  including bicycles
              transportation, including    bicycles and
                                                    and pedestrians.
                                                         pedestrians.
         •   Coordinate
              Coordinate with  local municipal
                          with local            officials during
                                     municipal officials  during
              construction to
              construction to minimize
                              minimize effects
                                        effects on
                                                on emergency
                                                   emergency service
                                                               service
              providers
              providers and
                        and response
                             response times.
                                      times.
         •   Coordinate
              Coordinate with   RTD more
                           with RTD    more than 30 days
                                            than 30  days in advance
                                                          in advance
              during  construction to
              during construction    to minimize
                                        minimize disruptions
                                                 disruptions to
                                                              to
              service areas
              service  areas and
                             and schedules
                                  schedules and
                                             and notify
                                                 notifytransit
                                                        transit users
                                                                users
              in advance of
              in advance  of any  closures, delays,
                             any closures,  delays, or
                                                    or modifications
                                                       modifications in
                                                                     in
              bus or rail routes.
              bus or rail routes.


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                                                                                                       5.20-3
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 5.20 Human Health Conditions
                   Conditions                                               I-70 East
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                                                                                            EIS


 Air quality
 Air quality
 As summarized
 As   summarized in in Section
                        Section 5.10,
                                  5.10, Air
                                        AirQuality,
                                              Quality, the
                                                        the air
                                                             air quality
                                                                 quality
 analysis   follows guidelines
 analysis follows    guidelines established
                                   established byby EPA
                                                    EPA forfor
 conducting analysis
 conducting    analysis ofof air
                             air quality  impacts for
                                 quality impacts    for project
                                                         project
 alternatives.   Withregard
 alternatives. With     regardtotocarbon
                                    carbonmonoxide
                                             monoxideand andPALO
                                                               PM10 for
                                                                     for
 all  project alternatives,
 all project                  the project
              alternatives, the    project is
                                            is not
                                               not expected
                                                   expected to to cause
                                                                  cause
 any   new violations
 any new    violations ofof any
                            any standard,    increase frequency
                                 standard, increase     frequency oror
 severity of
 severity  of any
               any existing
                   existing violation,
                              violation, oror delay
                                              delaytimely
                                                     timelyattainment
                                                              attainment
 of the
 of  the NAAQS
         NAAQSor   orrequired
                       required interim    milestones. The
                                  interim milestones.     The modeled
                                                                modeled
 values are
 values       below the
          are below   the NAAQS
                           NAAQSand   anddemonstrate
                                            demonstratethat that there
                                                                 there is
                                                                       is
 no
 no exceedance
      exceedance oror impact
                      impact from
                               from the
                                      the project
                                          project based
                                                   based on on EPA's
                                                               EPA’s
 health-based standards
 health-based    standards forfor these
                                   these pollutants.
                                          pollutants.
 Results  of the
 Results of      carbon monoxide
             the carbon  monoxide hotspot
                                     hotspot analysis
                                              analysis indicate
                                                       indicate
 that both the
 that both  the 1-hour
                1-hour and
                        and 8-hour
                             8-hour concentrations
                                     concentrations at   the worst-
                                                      at the worst-
 case location,
 case location, Colorado
                 Colorado Boulevard,    are below
                           Boulevard, are   below the
                                                   the NAAQS.
                                                       NAAQS.
 Results  of PMio
 Results of  PM10 analysis   indicate 24-hour
                   analysis indicate  24-hour PMiti
                                                PM10
 concentrations do
 concentrations   do not
                     not exceed
                          exceed the
                                 the NAAQS
                                      NAAQS forfor any
                                                   any of
                                                        of the
                                                           the
 project
 project alternatives,  including the
         alternatives, including       identified Preferred
                                   the identified  Preferred
 Alternative, the
 Alternative,  the Partial
                   PartialCover
                            Cover Lowered
                                   Lowered Alternative
                                             Alternative with
                                                           with
 Managed Lanes
 Managed           Option.
            Lanes Option.
 A comparison
 A  comparison of
                ofair
                   air quality
                       quality conditions
                                conditions for
                                            for all
                                                all pollutants
                                                     pollutants
 demonstrates   theeffects
 demonstrates the   effects of
                            of minor
                                minor differences
                                      differences in in traffic
                                                        traffic
 volume and
 volume   and roadway
              roadway configuration
                        configuration between
                                        betweenthe  the alternatives;
                                                         alternatives;
 air pollution impacts
 air pollution impacts for
                        for all
                            all design
                                design alternatives
                                        alternatives areare similar.
                                                             similar.
 Several
 Several factors
         factors are evident at
                 are evident at the
                                the conclusion
                                    conclusion of
                                               of the
                                                  the analysis:
                                                      analysis:
 •   Air quality
      Air         conditions under
          quality conditions        the No-Action
                              under the No-Action Alternative
                                                  Alternative are
                                                              are
      similar to
      similar to all
                 all alternatives analyzed.
                     alternatives analyzed.
 •   Traffic
      Traffic volume
              volume and
                       and traffic
                           traffic speed
                                   speed are
                                         are the
                                             the primary drivers of
                                                 primary drivers of
      project-level
      project-level air
                    air quality
                        quality impacts.
                                impacts.
 •   Fugitive
      Fugitive dust emissions from
               dust emissions  from road
                                     road sanding,
                                           sanding, as well as
                                                    as well as road
                                                               road
      dust and brake
      dust and brake and
                      and tire
                          tire wear,
                               wear, are
                                      are the
                                          the primary
                                              primary indicators
                                                       indicators of
                                                                  of
      future particulate matter
      future particulate matter emissions.
                                 emissions.

 Motor vehicle
 Motor   vehicle emissions
                  emissions from
                               from the
                                     the implementation
                                         implementation of  of the
                                                               the No-
                                                                   No-
 Action Alternative
 Action   Alternative and
                        and the   Build Alternatives
                             the Build                  will not
                                         Alternatives will   not cause
                                                                 cause
 or contribute
 or contribute toto any
                    any new
                         new localized
                               localized carbon
                                          carbon monoxide
                                                   monoxide oror
 particulate   matterviolations,
 particulate matter     violations, nor
                                     nor will
                                          will they
                                               they increase
                                                    increase the
                                                               the
 frequency
 frequency or or severity
                 severity of
                           of any
                              any existing
                                   existing violations
                                             violations based
                                                         based on
                                                                on the
                                                                   the
 hotspot analysis.
 hotspot  analysis. Therefore,
                      Therefore, nono specific
                                       specific mitigation
                                                 mitigation measures
                                                             measures
 are necessary for
 are necessary    for the
                      the project
                          project to
                                   to proceed.
                                       proceed. Although
                                                 Although mitigation
                                                            mitigation
 is not required,
 is not required, one
                    one or
                         or more
                            more ofof the
                                      the potential  emission
                                          potential emission
 reduction   measures described
 reduction measures      described below
                                     below will
                                            will be
                                                  be utilized
                                                     utilized to
                                                              to
 minimize
 minimize impacts
             impacts toto air
                          air quality.  Each of
                              quality. Each    of these
                                                  these measures   will
                                                        measures will
 result in aa benefit
 result in    benefit to
                       to human
                          human health.
                                   health.


 5.20-4
 5.20-4                                                                          January 2016
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     1-70 East Final
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                     EIS                                                     5.20 Human Health
                                                                             5.20 Human Health Conditions
                                                                                               Conditions


         •   Any transportation-related
              Any                           measures or
                   transportation-related measures      or voluntary
                                                           voluntary
              baseline emission
              baseline emission reduction
                                  reduction strategies
                                             strategies already
                                                         already
              included
              included as part of
                       as part  of carbon
                                   carbon monoxide
                                          monoxide or  or particulate
                                                          particulate
              matter  maintenance plans
              matter maintenance     plans that
                                           that relate
                                                 relateto
                                                        to1-70
                                                           I-70 East,
                                                                East,
              such as
              such    street sanding/sweeping
                   as street sanding/sweeping activities,
                                                  activities, will
                                                              will
              continue to
              continue to be
                          be implemented.
                              implemented.
         •   During   construction, dust
              During construction,         emissions should
                                     dust emissions  should bebe
              minimized
              minimized byby following
                              following BMPs
                                        BMPs toto control
                                                  control fugitive
                                                           fugitive dust
                                                                    dust
              (see Exhibit
              (see Exhibit 5.10-26
                             5.10-26 for
                                     for aa summary
                                            summary ofof these
                                                         these
              activities and practices).
              activities and practices).
         •   Ongoing
              Ongoing andand planned
                              planned strategies   to reduce
                                       strategies to  reduce precursor
                                                              precursor
              emissions
              emissions ofof volatile
                             volatile organic
                                      organic compounds
                                               compounds andand nitrogen
                                                                  nitrogen
              oxides in
              oxides  in the Denver/North Front
                         the Denver/North     Front Range
                                                     Range ozone
                                                            ozone
              nonattainment     area—including multi-modal
              nonattainment area—including        multi-modal
              transportation   options, rideshare
              transportation options,    rideshare programs,
                                                    programs, vehicle
                                                                vehicle
              emissions
              emissions testing,   and intersection
                          testing, and  intersection improvements—
                                                      improvements—
              will
              will be
                   be implemented.
                       implemented. Likewise,
                                       Likewise, several
                                                  several strategies
                                                           strategies
              have been,
              have  been, and   continue to
                           and continue   to be,
                                             be, implemented
                                                 implemented to  to
              maintain   carbon monoxide
              maintain carbon     monoxide and
                                             and PALO
                                                  PM10 attainment.
                                                         attainment. For
                                                                       For
              details of these  strategies  to manage   criteria
              details of these strategies to manage criteria
              pollutant  emissions, see
              pollutant emissions,    see Attachment
                                          Attachment J,    Air Quality
                                                        J, Air Quality
              Technical   Report.
              Technical Report.
         •   Construction-related  fugitive particle
              Construction-related fugitive  particle emissions
                                                      emissions will
                                                                 will
              be minimized
              be minimized by
                            by implementing
                               implementing dust     control practices
                                               dust control  practices
              in accordance with
              in accordance with requirements
                                  requirements inin CDPHE
                                                    CDPHE AirAir
              Quality Control Commission
              Quality Control Commission Regulation
                                            Regulation No.
                                                         No. 1,
                                                              1,
              Emission
              Emission Control
                        Control for
                                for Particulate
                                     Particulate Matter,  Smoke,
                                                 Matter, Smoke,
              Carbon  Monoxide, and
              Carbon Monoxide,   and Sulfur  Oxides.
                                      Sulfur Oxides.
     In summary, the
     In summary,   the NAAQS
                       NAAQS limits
                                limits set by the
                                       set by      EPA protect
                                               the EPA   protect
     human health.
     human   health.The
                     Themodeled
                         modeled values
                                   values for
                                           for the
                                               the 1-70
                                                   I-70 East    project
                                                         East project
     are below the  NAAQS   and  demonstrate    that  there
     are below the NAAQS and demonstrate that there is no    is no
     exceedance
     exceedance or
                 or impact
                    impact from
                           from the
                                  the project
                                      project based
                                              based on
                                                     on the   EPA’s
                                                         the EPA's
     health-based standards
     health-based             for these
                   standards for  these pollutants.
                                        pollutants. Therefore,
                                                     Therefore, there
                                                                   there
     are no projected
     are no projected impacts
                      impacts from
                               from the
                                     the project
                                         project related
                                                  relatedtotoNAAQS.
                                                              NAAQS.
     In addition, CDOT
     In addition, CDOT conducted
                          conducted a    mobile source
                                       a mobile   source air   toxic
                                                           air toxic
     emissions
     emissions analysis   for the
                analysis for  the area   affected by
                                   area affected   by the   project, and
                                                       the project,  and
     the analysis estimates
     the analysis  estimates that
                               thatemissions
                                     emissions inin the
                                                    the project
                                                         project design
                                                                  design
     year will be roughly   80  percent  lower  than
     year will be roughly 80 percent lower than currentcurrent
     emissions.
     emissions. Additionally,
                Additionally, the     emissions for
                                 the emissions    for all of the
                                                      all of the Build
                                                                 Build
     Alternatives vary
     Alternatives  vary from
                        from 2.12.1 percent
                                    percent to
                                             to 3.8
                                                3.8 percent
                                                     percent higher
                                                               higher
     than the No-Action
     than the  No-Action Alternative.
                           Alternative.




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     January 2016                                                                                 5.20-5
                                                                                                  5.20-5
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 5.20 Human Health
 5.20 Human Health Conditions
                   Conditions                                              I-70 East
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 Benefits
 Benefits of
          of the
             the highway
                 highway cover
                         cover (Preferred Alternative only)
                               (Preferred Alternative only)
 The
 The cover
      cover included
              included with
                         with the
                               the Partial   Cover Lowered
                                    Partial Cover   Lowered
 Alternative is
 Alternative    is an
                   an emissions
                      emissions reduction
                                   reduction strategy
                                               strategy for
                                                         for the
                                                              the area
                                                                  area
 around    Swansea Elementary
 around Swansea       ElementarySchool.
                                     School. The
                                              The cover
                                                   cover will
                                                          will redirect
                                                                redirect
 PM  10, carbon
 PALO,    carbonmonoxide,
                   monoxide,and andother
                                     otheremissions
                                            emissions away
                                                       away from
                                                               from the
                                                                     the
 school and
 school   and the
               the surrounding     neighborhood. It
                    surrounding neighborhood.          also includes
                                                    It also  includes
 trees  as an
 trees as  an amenity
               amenityon on top
                             top of
                                 of the
                                     the highway
                                          highway cover,
                                                    cover, since
                                                            since trees
                                                                   trees
 provide
 provide incidental
           incidental benefits
                        benefits to
                                  to air
                                      air quality.
                                          quality.
 Construction
 Construction Mitigation
              Mitigation
 Dust  during construction
 Dust during    construction could
                                could be
                                       be particularly  problematic
                                          particularly problematic
 for residents   in the  Elyria  and Swansea    Neighborhood
 for residents in the Elyria and Swansea Neighborhood who       who
 do
 do not
     not have
         have air
                air conditioners
                    conditioners and
                                   and ventilate
                                        ventilate their  homes by
                                                   their homes  by
 opening windows.
 opening   windows. For For households
                            households using
                                          using window
                                                window ventilation,
                                                          ventilation,
 construction dust
 construction    dust could
                       could be
                              be an issue on
                                 an issue  on windy
                                              windy days.
                                                      days. Dust
                                                            Dust
 suppression measures
 suppression    measures (for
                            (for example,
                                 example, stabilizing    and covering
                                            stabilizing and  covering
 loads
 loads of
        of soil
           soiland
                anddebris
                      debrisduring
                              during transport
                                      transport and   storage, or
                                                 and storage,  or
 stabilizing and
 stabilizing        revegetating exposed
              and revegetating     exposed areas
                                             areas after
                                                    after
 construction) will
 construction)    will be
                       be implemented
                          implemented to  to control
                                             control dust
                                                      dust impacts.
                                                           impacts.
 To
 To mitigate
     mitigate additional  dust concerns
              additional dust  concerns during
                                        during construction
                                               construction for
                                                            for
 residents close to
 residents close to the highway, between
                    the highway,   between 45th Avenue and
                                           45th Avenue  and
 47th Avenue from
 47th Avenue   from Brighton   Boulevard to
                     Brighton Boulevard  to Colorado
                                            Colorado
 Boulevard,  CDOT will
 Boulevard, CDOT     will provide:
                          provide:
     •   Two
          Two free
                free portable
                     portable or
                              or window-mounted
                                 window-mounted air  air
          conditioning units
          conditioning   units with
                               with air
                                    air filtration
                                        filtration and
                                                   and assistance
                                                        assistance
          for the potential additional  utility costs
          for the potential additional utility costs
     •   Interior storm windows
          Interior storm windows
 Also, an
 Also,  an Air
           Air Quality
                Quality Monitoring,
                        Monitoring, Maintenance,
                                     Maintenance, and
                                                    and
 Mitigation Plan
 Mitigation        will be
             Plan will  be prepared
                           prepared prior
                                     prior to
                                           to construction
                                              construction and
                                                            and
 will
 will include  continuous PALO
      include continuous   PM10 monitoring
                                  monitoring during
                                              during
 construction, as
 construction,  as described
                   described in
                              in Section
                                 Section 5.10,
                                         5.10, Air
                                               Air Quality.
                                                   Quality.
 Noise
 Noise
 Section
 Section 5.12,
          5.12, Noise,
                 Noise, ofofthis
                             this chapter
                                   chapter identifies
                                            identifies existing   noise
                                                        existing noise
 conditions and
 conditions   and potential    noise impacts
                   potential noise    impacts from
                                                 from the
                                                       the proposed
                                                           proposed
 improvements
 improvements to  to I-70.
                      1-70.Results
                             Results ofofthe
                                          theanalysis
                                               analysis show
                                                         showthat
                                                               that all
                                                                     all
 of the
 of the alternatives   willcause
        alternatives will    causenoise
                                     noiseto
                                           toexceed
                                               exceed the
                                                        theNAC
                                                            NAC ofof 66
                                                                     66
 dBA
 dBA atat various
          various locations,
                   locations, including
                                including Swansea
                                             Swansea Elementary
                                                         Elementary
 School.
 School. The
          The section
                section includes
                         includes aa discussion
                                      discussion on on where
                                                       where noise
                                                              noise
 mitigation   is needed,   what   that  noise  mitigation
 mitigation is needed, what that noise mitigation will look will look
 like,
 like, and  how much
       and how    much noise
                         noise reduction
                                reduction thethe mitigation   will
                                                  mitigation will
 achieve.  Exhibit 5.20-1
 achieve. Exhibit     5.20-1 summarizes
                              summarizes by   by alternative
                                                   alternative the
                                                               the
 number
 number of of noise
              noise receptors
                     receptors that    exceed the
                                 that exceed         NAC threshold
                                                the NAC    threshold
 both with
 both  with and
             and without    mitigation.
                  without mitigation.


 5.20-6
 5.20-6                                                                         January 2016
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                                                                                          5.20 Human Health Conditions
                                                                                                            Conditions

     Exhibit 5.20-1
     Exhibit 5.20-1           Noise
                              Noise Receptors
                                    Receptors Exceeding
                                              Exceeding NAC
                                                        NAC Threshold
                                                            Threshold by
                                                                      by Alternative
                                                                         Alternative
                                                                  Number of
                                                                  Number   of Noise
                                                                              Noise               Number of
                                                                                                  Number   of Noise
                                                                                                              Noise
                                                   Number
                                                   Number     Receptors that
                                                              Receptors that Exceed
                                                                             Exceed NAC
                                                                                    NAC           Receptors with
                                                                                                  Receptors   with aa
                 Alternative/Option
                 Alternative/Option                of Noise
                                                   of Noise           Threshold
                                                                      Threshold               Substantial Noise
                                                                                              Substantial Noise Increase
                                                                                                                Increase
                                                  Receptors
                                                  Receptors    Without
                                                               Without            With
                                                                                  With          Without
                                                                                                Without             With
                                                                                                                    With
                                                              Mitigation
                                                              Mitigation        Mitigation
                                                                                Mitigation     Mitigation
                                                                                               Mitigation         Mitigation
                                                                                                                  Mitigation
      Existing
      Existing                                      940
                                                    940                    91
                                                                           91                               N/A
                                                                                                            N/A

      No-Action
      No-Action Alternative, North Option
                Alternative, North Option           890
                                                    890           362
                                                                  362                59
                                                                                     59             40
                                                                                                    40                  00

      No-Action
      No-Action Alternative,
                Alternative, South Option
                             South Option           857
                                                    857           360
                                                                  360                54
                                                                                     54             34
                                                                                                    34                  00

      Revised
      Revised Viaduct
              Viaduct Alternative, North Option
                      Alternative, North Option     896
                                                    896           453
                                                                  453               114
                                                                                    114             97
                                                                                                    97                  00

      Revised
      Revised Viaduct
              Viaduct Alternative,
                      Alternative, South Option
                                   South Option     873
                                                    873           432
                                                                  432                83
                                                                                     83             68
                                                                                                    68                  22

      Partial Cover Lowered
      Partial Cover Lowered Alternative
                            Alternative             873
                                                    873           155
                                                                  155               108
                                                                                    108             11
                                                                                                    11                  00



     As discussed
     As discussed inin Section
                       Section 5.12,
                                5.12, Noise,
                                       Noise, noise walls will
                                              noise walls  will be
                                                                be
     constructed, where
     constructed,   where feasible
                            feasible and
                                     and reasonable,
                                          reasonable, to
                                                       to mitigate
                                                          mitigate the
                                                                    the
     future traffic noise
     future traffic  noise from
                           from the   reconstructed 1-70.
                                 the reconstructed   I-70. In
                                                           In several
                                                              several
     locations,
     locations, the  proposed noise
                 the proposed   noise walls
                                       walls will
                                             will reduce
                                                  reduce the
                                                          the number
                                                              number ofof
     noise
     noise receptors
           receptors below
                       below existing
                               existing conditions,
                                        conditions, resulting
                                                     resulting in
                                                               in a
                                                                  a
     benefit to
     benefit  to human
                 human health.
                         health.
     Benefits of the
     Benefits of the highway
                     highway cover
                             cover (Preferred
                                    (Preferred Alternative
                                               Alternative only)
                                                           only)
     The
     The proposed
          proposed landscaped     highway cover
                     landscaped highway       cover between     Columbine
                                                    between Columbine
     Street  and Clayton
     Street and  Clayton Street    that is
                           Street that   is included
                                            included as   part of
                                                       as part   of the
                                                                    the
     Partial  Cover Lowered
     Partial Cover   Lowered Alternative      helps reduce
                               Alternative helps     reduce noise
                                                               noise
     pollution  at Swansea    Elementary     School  and
     pollution at Swansea Elementary School and in the    in  the
     surrounding neighborhood.
     surrounding    neighborhood. The
                                    The highway
                                          highway cover
                                                     cover isis a noise
                                                                a noise
     barrier that
     barrier  thatwill
                   will assist
                        assistin
                               inreducing
                                  reducing thethe number
                                                  numberof   of noise
                                                                noise
     receptors  below existing
     receptors below    existing conditions,
                                 conditions, resulting
                                                resulting in
                                                           in aa benefit
                                                                 benefit to
                                                                         to
     human health.
     human    health.
     Construction Mitigation
     Construction Mitigation
     Construction
     Construction noise
                    noise will
                           will present
                                present short-term      effects to
                                           short-term effects    to those
                                                                    those
     receptors
     receptors located
               located along
                         along the
                                the corridor
                                    corridor andand along
                                                    along designated
                                                            designated
     construction access
     construction  access routes.
                            routes. It
                                     It is
                                        is anticipated
                                           anticipated that
                                                         that aa portion
                                                                 portion of
                                                                          of
     the construction will
     the construction   will occur
                             occur at
                                    at night   to minimize
                                        night to  minimize traffic
                                                              traffic
     disruption. The primary
     disruption. The   primary source
                                  source ofof construction  noise is
                                              construction noise    is
     expected
     expected to
               to be
                  be diesel-powered
                      diesel-poweredequipment,
                                          equipment,such
                                                       such as
                                                             as trucks
                                                                 trucks and
                                                                        and
     earth-moving
     earth-moving equipment,
                     equipment, andand construction
                                         construction activities,
                                                        activities, such
                                                                     such as
                                                                           as
     demolition  hammers     on  trackhoes,    rubble load
     demolition hammers on trackhoes, rubble load outs, and outs,   and
     tailgate and bucket
     tailgate and  bucket bang.
                           bang.
     Ambient noise
     Ambient   noise from
                     from construction
                           construction is
                                        is a concern among
                                           a concern  among the
                                                              the
     residents around the
     residents around   theconstruction
                            constructionzone—specifically
                                         zone—specifically inin the
                                                                the
     Elyria and  Swansea   Neighborhood,   since many  residents
     Elyria and Swansea Neighborhood, since many residents do     do
     not
     not have
         have air  conditioners and
               air conditioners and ventilate  their homes
                                     ventilate their homes by
                                                            by
     opening windows.
     opening  windows. AsAspreviously
                             previouslydescribed
                                        describedunder
                                                   under air
                                                         air quality
                                                             quality

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                                                                                                                      5.20-7
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                   Conditions                                              I-70 East
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 for
 for construction
     construction impacts
                  impacts related
                           related to
                                   to dust, to mitigate
                                      dust, to            noise
                                               mitigate noise
 concerns during
 concerns  during construction
                  construction for
                                for residents  close to
                                    residents close  to the
                                                         the
 highway,  between  45th  Avenue  and   47th Avenue
 highway, between 45th Avenue and 47th Avenue from     from
 Brighton  Boulevard to
 Brighton Boulevard   to Colorado
                         Colorado Boulevard,
                                   Boulevard, CDOT
                                                CDOT willwill
 provide:
 provide:
      •   Two
           Two free
                 free portable
                      portable or
                               or window-mounted
                                  window-mounted air  air
           conditioning units
           conditioning   units with
                                with air
                                     air filtration
                                         filtration and
                                                    and assistance
                                                         assistance
           for
           for the
               the potential
                    potential additional
                              additional utility costs
                                         utility costs
      •   Interior storm windows
           Interior storm windows
 CDOT
 CDOT also
        also will
             will comply
                  complywith
                          with Denver
                               Denver regulations  on
                                       regulations on
 construction noise,
 construction noise, as
                     as discussed
                        discussed in
                                  in Section
                                     Section 5.12,
                                             5.12, Noise.
                                                   Noise.
 Pile
 Pile driving
      driving and   demolition are
               and demolition       expected to
                                are expected  to be
                                                 be the
                                                    the loudest
                                                         loudest
 construction operations.
 construction               Piles will
                operations. Piles will be
                                       be required
                                           required at most major
                                                    at most  major
 bridge installations.
 bridge                 Bridge and
         installations. Bridge  and road
                                     road demolition
                                          demolition also
                                                       also will
                                                            will be
                                                                 be
 required  at many
 required at  many locations.
                     locations.
 Measures will
 Measures   will be
                 be taken to minimize
                    taken to minimize noise
                                         noise during
                                                during
 construction. Mitigation
 construction. Mitigation actions
                           actions specific
                                    specific to
                                             to construction    noise
                                                 construction noise
 impacts are summarized
 impacts are  summarized in in Section
                               Section 5.12
                                        5.12 and
                                             and include
                                                   include limiting
                                                            limiting
 construction noise
 construction  noise during
                     during school
                             school hours  in the
                                    hours in  the vicinity
                                                    vicinity of
                                                             of
 Swansea   Elementary School
 Swansea Elementary     School and
                                and idling
                                     idling equipment
                                            equipment motors
                                                          motors
 when
 when the  equipment is
       the equipment   is not
                          not in
                              in use.
                                 use.
 Water quality
 Water quality
 As discussed
 As  discussed inin Section
                    Section 5.16,
                             5.16, Water
                                   Water Quality,
                                            Quality, both
                                                       both the
                                                              the South
                                                                   South
 Platte   River and
 Platte River   and Sand
                     Sand Creek
                            Creek cross
                                   cross the
                                          the 1-70
                                               I-70 corridor
                                                      corridor and
                                                                 and are
                                                                     are
 listed  on the
 listed on  the Section
                Section 303(d)
                         303(d) list
                                 list for
                                      for impaired
                                           impaired waters.      The
                                                       waters. The
 primary
 primary reason
            reason both
                    both streams   are listed
                          streams are   listed for
                                                for impairment
                                                     impairment is  is
 most
 most likely
        likely due
               due to
                    to polluted
                       polluted urban
                                urban runoff
                                         runoff inin the
                                                     the highly
                                                         highly
 urbanized    watershed in
 urbanized watershed      in which
                              which they
                                    they arearelocated.
                                                located. CDOT
                                                           CDOT
 cannot prevent
 cannot            individuals from
          prevent individuals   from having
                                       having contact
                                                 contact with
                                                           with these
                                                                  these
 impaired    water bodies;
 impaired water     bodies; however,
                             however, efforts
                                        efforts by
                                                 by CDOT
                                                     CDOT to  to prevent
                                                                 prevent
 polluting
 polluting factors
             factors from
                     from impacting
                            impactingwater
                                        water quality
                                                quality inin the
                                                             the study
                                                                  study
 area  will benefit
 area will   benefit human
                     human health.
                              health.
 The following is
 The following  is aa list
                      list of
                           of polluting
                              polluting factors
                                        factors from
                                                from roadway
                                                     roadway
 runoff
 runoff during
        during storm
               storm events
                         events and
                                 and the  reason why
                                      the reason  why they
                                                      they are
                                                           are
 analyzed:
 analyzed:
 •   Lead,
      Lead, copper,
            copper, and
                     and zinc
                         zinc are
                                are aa concern
                                       concern because
                                               because they  dissolve in
                                                       they dissolve  in
      water  and can
      water and  can have
                      have toxic
                            toxic effects
                                  effects when
                                           when they
                                                 they build
                                                      build up
                                                            up in
                                                               in water
                                                                  water
      plants and aquatic
      plants and  aquatic life.
                          life.
 •   Total
      Total Suspended    Solids is
            Suspended Solids    is a
                                   a concern
                                     concern because
                                               because it
                                                       it can
                                                          can increase
                                                               increase
      the murkiness of
      the murkiness   of water;
                         water; as
                                 as the floating particles
                                    the floating particles in
                                                            in murky
                                                               murky
      water settle, this
      water settle, this can
                         can lead
                             lead to
                                   to loss
                                      loss of
                                           of aquatic
                                              aquatic habitat
                                                      habitat and
                                                                and
      channel instability.
      channel instability.


 5.20-8
 5.20-8                                                                         January 2016
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                                                                                     5.20 Human Health Conditions
                                                                                                       Conditions


     •   Phosphorus
          Phosphorus isis a
                          a concern
                            concern because
                                    because it
                                             it can
                                                can increase
                                                    increase the
                                                             the
          production  of algae
          production of  algae in
                               in water, which can
                                  water, which  can reduce
                                                     reduce oxygen
                                                            oxygen levels
                                                                   levels
          in
          in streams.
             streams.                                                                          Common
                                                                                               Common
                                                                                             contaminants
                                                                                             contaminants
     As noted
     As         in Section
         noted in  Section 5.16,
                             5.16, Water
                                     Water Quality,
                                              Quality, runoff
                                                         runofffromfrom 1-70
                                                                         I-70
                                                                                           Common
                                                                                           Common
     will
     will be
           be captured
              captured andand conveyed
                               conveyedin    inaastorm
                                                   stormdrain
                                                          drain system
                                                                   system that
                                                                            that           contaminants
                                                                                           contaminants
     discharges
     discharges to the South Platte River. Prior to discharging to
                  to  the  South   Platte   River.   Prior  to  discharging    to          identified in soil
                                                                                           identified in soil
     the  receiving streams,      the onsite
                                      onsite drainage
                                               drainage system
                                                           system willwill                 and/or groundwater
                                                                                           and/or   groundwater
     the receiving    streams, the
                                                                                           include:
                                                                                           include:
     discharge
     discharge toto aa water   quality pond
                       water quality     pond toto provide
                                                    provide water
                                                                water quality
                                                                       quality
                                                                                            •   Petroleum
                                                                                                 Petroleum
     treatment.   The outlet
     treatment. The     outlet ofof the  pond is
                                    the pond    is smaller
                                                    smaller than     the inlet
                                                               than the   inlet of
                                                                                of               products
                                                                                                 products (i.e.,
                                                                                                            (i.e.,
     the  pond, so
     the pond,   so runoff
                     runoff is
                             is temporarily
                                temporarily stored
                                                 stored in
                                                         in the
                                                             the pond
                                                                  pond and
                                                                         and                     fuels, oils)
                                                                                                 fuels, oils)
     releases  over aa period
     releases over      period ofof a few days.
                                    a few   days. During      this time
                                                    During this     time (CDOT
                                                                          (CDOT             •   Chlorinated
                                                                                                 Chlorinated
     requires
     requires aa minimum
                  minimum draindrain time
                                       time ofof 40
                                                 40 hours),
                                                     hours), sediment
                                                                sediment                         solvents
                                                                                                 solvents
     settles out
     settles  out of
                  of the
                      the runoff
                          runoff and
                                   and isis stored
                                            stored inin the
                                                        the pond;
                                                             pond; then,
                                                                      then, the
                                                                             the            •   Metals
                                                                                                 Metals
     runoff,
     runoff, with
              with reduced
                    reduced sediments,
                               sediments, discharges
                                              discharges to to the    receiving
                                                                 the receiving              •   Asbestos
                                                                                                 Asbestos
     stream.
     stream.
     Additional permanent
     Additional             BMPs discussed
                permanent BMPs     discussed in
                                              in Section
                                                 Section 5.16
                                                          5.16 also
                                                               also
     will
     will be
          be implemented
             implemented to
                          to remove
                             removeparticulate
                                      particulate pollutants  from
                                                  pollutants from
     stormwater. This
     stormwater.  This will
                       will provide
                            provide further
                                     further benefits
                                             benefits to
                                                      to human
                                                         human
     health.
     health.
     Construction
     Construction Mitigation
                  Mitigation

     During
     During construction,
              construction, as  as soils
                                   soils are
                                         are disturbed,   storm runoff
                                              disturbed, storm     runoff
     may
     may create    erosion and
           create erosion    and degradation
                                   degradation of of water
                                                     water quality    if
                                                             quality if
     proper
     proper BMPs
             BMPs are are not
                           not employed.
                                employed. Alternative
                                             Alternative implementation
                                                            implementation
     will
     will be
          be done
              done inin accordance
                        accordancewith with the
                                             the programs
                                                  programs established
                                                              established
     under   CDOT’s MS4
     under CDOT's      MS4 permit.      Site-specific engineering
                               permit. Site-specific   engineering design
                                                                       design
     studies will
     studies   will be
                    be performed
                        performed during
                                     during final   design, and
                                              final design,         care will
                                                              and care   will
     be exercised
     be exercised during
                     during construction
                              construction to to prevent
                                                 prevent problems
                                                           problems of of
     stability and
     stability  and erosion
                     erosion during
                                during and
                                        and after
                                             after construction.
                                                    construction. To To
     mitigate   these effects,
     mitigate these    effects, BMPs
                                 BMPs forfor erosion
                                              erosion and
                                                       and sediment
                                                             sediment
     control, dust
     control,        control, stormwater
               dust control,                   control, and
                                stormwater control,     and expansive
                                                              expansive soils
                                                                          soils
     will
     will be
          be implemented
              implemented during        construction. BMPs
                               during construction.     BMPs for for erosion
                                                                     erosion
     and  blowing dust
     and blowing     dust during    construction include
                           during construction      include the    use of
                                                              the use  of silt
                                                                          silt
     fences,
     fences, erosion
              erosion control
                         controlblankets,
                                  blankets, sediment
                                              sediment traps,
                                                         traps, sediment
                                                                  sediment
     basins,  soil stockpile    management,      temporary
     basins, soil stockpile management, temporary diversion    diversion
     structures, and
     structures,   and spill
                         spill prevention
                               prevention and
                                            and control
                                                  control measures.
                                                           measures.
     After construction,
     After construction, other
                         otherBMPs
                               BMPswill
                                      will be
                                           be followed
                                               followed for
                                                         for
     permanent   erosion control.
     permanent erosion   control. These
                                  These include
                                        include regrading
                                                   regrading as
                                                             as
     necessary,
     necessary, seeding
                seeding and  revegetating soils
                         and revegetating   soils and
                                                  and slopes,
                                                       slopes, mulch
                                                               mulch
     protection
     protection for
                for new
                    new plantings,
                         plantings, and
                                    and stormwater     control
                                        stormwater control
     channels.
     channels.
     Hazardous materials
     Hazardous materials
     During
     During construction
            construction activities,
                         activities, hazardous
                                     hazardous materials   may
                                                 materials may
     impact
     impact the health and
            the health and safety
                           safety of
                                  of workers,
                                      workers, as well as
                                               as well as
     environmental  resources and
     environmental resources  and community
                                   community residents    located
                                                residents located

     January 2016
     January 2016                                                                                              5.20-9
                                                                                                               5.20-9
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 5.20 Human Health
 5.20 Human Health Conditions
                   Conditions                                                 I-70 East
                                                                              1-70 East Final
                                                                                        Final EIS
                                                                                              EIS

 within the project
 within the  project corridor
                      corridor and surrounding area.
                               and surrounding   area. Also,
                                                       Also,
 encountering
 encountering hazardous
                hazardous materials     during construction
                            materials during   construction can
                                                             can
 impact  the cost of construction,  as contaminated   media
 impact the cost of construction, as contaminated media
 generated  during construction
 generated during    construction must   be managed
                                   must be  managed inin
 accordance
 accordance with
              with federal
                    federal and
                            and state
                                 state regulations.
                                       regulations.
 Section
 Section 5.18,
          5.18, Hazardous
                  Hazardous Materials,
                              Materials, of of this
                                               this chapter   provides a
                                                     chapter provides     a
 summary of
 summary     of the  environmental records
                the environmental      records search
                                                 search conducted
                                                          conducted on on
 the project study
 the project  study area.
                      area. As
                            As noted
                                noted inin Section
                                           Section 5.18,
                                                     5.18, the
                                                            the
 likelihood
 likelihood ofofimpacting
                 impactinghazardous
                             hazardous materials
                                           materials isis dependent
                                                          dependent on  on
 the number     of hazardous   materials    sites  encountered
 the number of hazardous materials sites encountered during        during
 construction. In
 construction.       addition, the
                 In addition,   the location
                                     location and   amount of
                                               and amount     of
 contamination remaining
 contamination     remaining at    the site
                                at the  site also
                                             also will
                                                   will dictate
                                                        dictate
 impacts.  The Partial
 impacts. The    PartialCover
                          Cover Lowered
                                  Lowered Alternative
                                             Alternative could
                                                            could affect
                                                                    affect
 up
 up to
    to 25
        25 known
           known hazardous
                     hazardous materials      sites since
                                  materials sites   since it
                                                           it will
                                                              will
 require
 require aa large
            large amount
                    amount ofof soil
                                soil displacement
                                      displacement to to lower
                                                         lower the
                                                                 the
 highway below
 highway   below grade.
                    grade. This
                            This soil
                                  soil displacement
                                        displacement hashas raised
                                                             raised
 concerns from
 concerns   from local
                   local residents
                         residents since
                                     since several   extensive soil
                                           several extensive     soil
 remediation    projects have
 remediation projects     have occurred
                                 occurred in   the project
                                            in the  project corridor.
                                                             corridor.
 Any contamination
 Any   contamination encountered
                        encountered during        the construction
                                         during the    construction of of
 the project will
 the project  will be
                   be cleaned
                       cleaned up   in compliance
                                 up in  compliance with with applicable
                                                              applicable
 state and
 state  and federal
            federal regulations,
                     regulations, which
                                     which will
                                              will benefit
                                                    benefit human
                                                             human
 health by
 health  by removing
             removing contaminated
                         contaminated soils.
                                           soils. CDOT
                                                  CDOT alsoalso is
                                                                is
 working
 working with
           with the   EPA and
                 the EPA          will collect
                            and will   collect representative
                                                representative soilsoil
 samples of
 samples   of recently
              recently cleaned-up
                         cleaned-up residential
                                       residential properties      pre-,
                                                      properties pre-,
 during,  and  post-construction     to  test for  lead  and
 during, and post-construction to test for lead and arsenic toarsenic   to
 ensure  that the
 ensure that   the properties
                    properties aren't
                                 aren’t re-contaminated
                                          re-contaminated due  due to
                                                                    to
 construction activities;
 construction   activities; this  will include
                             this will  include identifying
                                                  identifying three
                                                                three oror
 four
 four properties
       properties from
                   from the
                          the EPA’s
                               EPA's database
                                       database and      contacting
                                                    and contacting
 those
 those property
        property owners
                  owners to  to ensure
                                ensure they
                                         they will
                                               will participate
                                                      participate in
                                                                   in this
                                                                      this
 activity.
 activity. Specific
           Specificmitigation
                     mitigationmeasures
                                   measures related
                                                related toto hazardous
                                                             hazardous
 materials   are detailed
 materials are   detailed inin Section
                                Section 5.18
                                          5.18 of
                                               of this
                                                    this chapter.
                                                         chapter.

 5.20.3  What
 5.20.3 What   conclusionscan
             conclusions   canbe
                               bedrawn
                                  drawn about
                                        about
         potential
         potential human
                   human health  impacts?
                          health impacts?

 As previously
 As  previously discussed,
                 discussed, several    impact categories
                              several impact  categories could
                                                           could
 result  in negative
 result in  negative effects
                      effects to
                              to human
                                 human health    in the
                                          health in the project
                                                         project
 study area. However, with implementation of BMPs and
 study  area. However,    with  implementation    of BMPs    and
 mitigation   measures, these
 mitigation measures,     these potential
                                 potential negative
                                           negativeeffects
                                                      effects will
                                                              will be
                                                                   be
 avoided
 avoided oror minimized.
              minimized. BMPs
                           BMPsand  andmitigation
                                         mitigation measures
                                                    measures are
                                                               are
 listed in Chapter
 listed in  Chapter 9,
                     9, Preferred
                        Preferred Alternative
                                    Alternative Mitigation
                                                 Mitigation
 Commitments.
 Commitments. Exhibit        5.20-2 summarizes
                  Exhibit 5.20-2     summarizes the    impacts and
                                                   the impacts   and
 mitigations
 mitigations highlighted
               highlighted inin this section.
                                this section.




 5.20-10
 5.20-10                                                                           January 2016
                                                                                   January 2016
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     I-70 East
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               Final EIS
                     EIS                                                                            5.20 Human Health
                                                                                                    5.20 Human Health Conditions
                                                                                                                      Conditions



      Exhibit
      Exhibit5.20-2
              5.20-2           Summary
                               Summary of
                                       of Impacts and Mitigations
                                          Impacts and Mitigations

              Resource
              Resource                                         Impacts and/or Benefits
                                                               Impacts and/or Benefits and
                                                                                       and Mitigations
                                                                                           Mitigations

                               •   Pedestrian  and bicycle
                                    Pedestrian and  bicycle facility
                                                            facility improvements     associated with
                                                                     improvements associated     with the
                                                                                                       theBuild
                                                                                                          Build Alternatives
                                                                                                                Alternatives will
                                                                                                                             will enhance
                                                                                                                                  enhance
                                    the safety
                                    the safety of
                                               of pedestrians
                                                  pedestrians and
                                                               and bicyclists
                                                                     bicyclists within
                                                                                within the
                                                                                       the study
                                                                                           study area
                                                                                                 area
      Transportation
      Transportation
                               •    The proposed
                                    The             cover will
                                          proposed cover  willreconnect
                                                               reconnect the
                                                                          the north and south
                                                                              north and  south sides
                                                                                                sides of
                                                                                                       of the
                                                                                                           the neighborhood
                                                                                                                neighborhood byby providing
                                                                                                                                  providing
      facilities
      facilities and
                 and choices
                     choices
                                    aa safe
                                       safe connection
                                            connection for
                                                        for pedestrians
                                                            pedestrians and
                                                                        and bicyclists
                                                                             bicyclists across
                                                                                        across I-70,
                                                                                               I-70, the
                                                                                                      thecover
                                                                                                            coveralso
                                                                                                                   alsowill
                                                                                                                       will provide
                                                                                                                            provide aa place
                                                                                                                                       place
                                     for
                                     for activity
                                         activity and
                                                  and exercise
                                                      exercise

                               •   Air quality
                                    Air quality conditions
                                                 conditions under
                                                             under the   No-Action Alternative
                                                                    the No-Action   Alternativeareare similar
                                                                                                      similar to
                                                                                                               to all
                                                                                                                   all alternatives   analyzed
                                                                                                                       alternatives analyzed
                               •   Motor
                                    Motor vehicle
                                           vehicle emissions
                                                    emissions from
                                                               from the   implementation of
                                                                      the implementation    of the
                                                                                                theNo-Action
                                                                                                    No-Action Alternative
                                                                                                                 Alternative andand the
                                                                                                                                     theBuild
                                                                                                                                         Build
                                    Alternatives will
                                    Alternatives   will not cause or
                                                        not cause  or contribute
                                                                      contribute to
                                                                                  to any
                                                                                     any new
                                                                                          new localized
                                                                                                localized carbon
                                                                                                          carbon monoxide
                                                                                                                    monoxide or  or particulate
                                                                                                                                    particulate
                                    matter  violations, nor
                                    matter violations,   nor will
                                                             will they
                                                                  they increase  the frequency
                                                                        increase the  frequency oror severity
                                                                                                     severity ofof any
                                                                                                                   any existing
                                                                                                                          existing violations
                                                                                                                                   violations
                                    based  on the
                                    based on       hotspot analysis
                                               the hotspot   analysis
      Air quality
      Air quality              •   Modeled
                                    Modeledvalues
                                              valuesfor
                                                     forthe
                                                         the I-70
                                                             I-70 East
                                                                   East project
                                                                         project are  below the
                                                                                 are below       NAAQS and
                                                                                            the NAAQS       anddemonstrate
                                                                                                                demonstratethat
                                                                                                                              that there  is
                                                                                                                                   there is
                                    no
                                    no exceedance
                                        exceedance or
                                                    or impact
                                                       impact from
                                                                from the
                                                                      the project
                                                                           project based  on EPA's
                                                                                   based on   EPA’s health-based
                                                                                                      health-based standards
                                                                                                                    standards for
                                                                                                                               for these
                                                                                                                                    these
                                    pollutants
                                    pollutants
                               •   The cover
                                    The  cover included
                                               included with
                                                         with the
                                                               the Preferred
                                                                   Preferred Alternative
                                                                              Alternativeisisan
                                                                                              an emissions
                                                                                                 emissions reduction
                                                                                                              reduction strategy
                                                                                                                        strategy for
                                                                                                                                 for the
                                                                                                                                      the
                                    area around
                                    area  around Swansea
                                                 SwanseaElementary
                                                           ElementarySchool.
                                                                          School.The
                                                                                   Thecover
                                                                                       coverwill
                                                                                              will redirect
                                                                                                   redirect PMio,
                                                                                                             PM10, carbon
                                                                                                                   carbon monoxide,
                                                                                                                           monoxide, andand
                                    other emissions
                                    other  emissions away
                                                     away from
                                                           from that   stretch of
                                                                  that stretch  of highway
                                                                                   highway and
                                                                                             and the
                                                                                                  the surrounding
                                                                                                       surrounding neighborhood
                                                                                                                    neighborhood

                               •   Noise
                                    Noise walls
                                            wallswill
                                                  willbebeconstructed,
                                                           constructed,where
                                                                           wherefeasible
                                                                                   feasibleand
                                                                                            andreasonable,
                                                                                                 reasonable, to to mitigate
                                                                                                                   mitigate the   future traffic
                                                                                                                             the future   traffic
                                    noise
                                    noise from
                                           from the   reconstructed 1-70
                                                 the reconstructed     I-70
                               •   In several locations,
                                    In several  locations, the
                                                             the proposed
                                                                  proposed noise
                                                                              noise walls
                                                                                    walls will
                                                                                          will reduce
                                                                                               reduce the    number of
                                                                                                       the number      of noise
                                                                                                                          noise receptors
                                                                                                                                 receptors below
                                                                                                                                             below
      Noise
      Noise                         existing conditions,
                                    existing  conditions, resulting
                                                            resulting in
                                                                       in aa benefit
                                                                             benefit to
                                                                                     to human   health
                                                                                        human health
                               •   The highway
                                    The  highway cover
                                                   cover included
                                                           included with
                                                                      with the
                                                                             the Preferred
                                                                                 Preferred Alternative
                                                                                            Alternative is
                                                                                                         is aa noise
                                                                                                               noise barrier  that will
                                                                                                                     barrier that   will assist  in
                                                                                                                                         assist in
                                    reducing
                                    reducing the   number of
                                               the number     of noise
                                                                 noise receptors
                                                                        receptors below
                                                                                    below existing
                                                                                           existing conditions,
                                                                                                    conditions, resulting
                                                                                                                   resulting in
                                                                                                                              in aa benefit
                                                                                                                                    benefit to
                                                                                                                                            to
                                    human    health
                                    human health

                               •   Prior
                                    Prior to
                                           to discharging
                                              dischargingtoto the
                                                               the receiving
                                                                   receiving streams,
                                                                              streams, the  onsite drainage
                                                                                        the onsite drainage system
                                                                                                            system will
                                                                                                                   will discharge
                                                                                                                        discharge to
                                                                                                                                  to aa
                                    water quality
                                    water   quality pond
                                                    pond to
                                                          to provide
                                                             provide water
                                                                       water quality
                                                                             quality treatment
                                                                                      treatment
      Water quality
      Water quality
                               •   Additional permanent
                                    Additional              BMPs discussed
                                                permanent BMPs    discussedin
                                                                            inSection
                                                                              Section5.16
                                                                                        5.16 also
                                                                                             also will
                                                                                                   willbe
                                                                                                        be implemented
                                                                                                            implemented to
                                                                                                                        to remove
                                                                                                                           remove
                                    particulate pollutants from
                                    particulate pollutants from stormwater
                                                                stormwater which
                                                                             which will
                                                                                   will provide
                                                                                         providefurther
                                                                                                  further benefits
                                                                                                          benefits to
                                                                                                                   to human
                                                                                                                      human health
                                                                                                                             health

                               •   Any contamination
                                    Any contamination encountered
                                                      encountered during
                                                                     during the construction of
                                                                            the construction  of the
                                                                                                 the project
                                                                                                     project will
                                                                                                             will be cleaned up
                                                                                                                  be cleaned up in
                                                                                                                                in
                                    compliance with
                                    compliance with applicable
                                                    applicablestate
                                                                state and federal regulations,
                                                                      and federal regulations, which
                                                                                               which will
                                                                                                      will benefit
                                                                                                           benefit human
                                                                                                                   human health  by
                                                                                                                          health by
                                    removing
                                    removing contaminated   soils
                                             contaminated soils
      Hazardous
      Hazardous materials
                materials
                               •   Collect representative
                                    Collect  representative soil
                                                            soil samples
                                                                 samples of
                                                                          of three
                                                                             three oror four
                                                                                        four recently
                                                                                              recently cleaned-up
                                                                                                       cleaned-up residential
                                                                                                                   residential properties
                                                                                                                               properties
                                    pre-,  during, and
                                    pre-, during,  and post-construction
                                                       post-construction toto test
                                                                               test for
                                                                                    for lead
                                                                                         lead and
                                                                                              and arsenic
                                                                                                  arsenic to
                                                                                                           to ensure
                                                                                                              ensure that
                                                                                                                     that the properties
                                                                                                                          the properties
                                    aren’t re-contaminated
                                    aren't  re-contaminated due
                                                             due to
                                                                  to construction
                                                                     construction activities
                                                                                     activities




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     January 2016                                                                                                                     5.20-11
                                                                                                                                      5.20-11
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 5.20 Human Health Conditions
                   Conditions                                               I-70 East
                                                                            1-70 East Final
                                                                                      Final EIS
                                                                                            EIS

 Additionally, the
 Additionally,     landscaped cover
               the landscaped  cover over
                                     over the
                                           the highway
                                               highway inin the
                                                            the
 identified
 identified Preferred Alternative will
            Preferred Alternative will potentially
                                       potentially provide
                                                    provide
 improved   health outcomes. When   combined   with
 improved health outcomes. When combined with projectproject
 BMPs
 BMPs andand mitigation
             mitigation measures, opportunities to
                        measures, opportunities   to improve
                                                     improve
 existing
 existing human   health conditions
          human health   conditions may
                                    may be
                                         be even
                                             even greater.
                                                   greater.

 5.20.4  What
 5.20.4 What   additionalstudies
             additional   studieswere
                                  wereconducted
                                        conducted by
                                                   by
         others on human
         others on human health
                            health conditions
                                   conditions within
                                              within or
                                                     or
         near
         near the study area?
              the study  area?

 In addition to
 In addition  to the
                 the project
                     project impacts,
                              impacts, benefits,
                                        benefits, and
                                                   and mitigation
                                                        mitigation
 measures   (discussed in
 measures (discussed    in the  previous subsection)
                           the previous   subsection) that    could
                                                        that could
 have an
 have     impact on
       an impact   on human    health due
                      human health     due to
                                            to the
                                               the project
                                                   project
 alternatives,
 alternatives, aa review
                  review of
                          of recent
                             recent studies
                                     studies of
                                              of human
                                                 human health
                                                          health
 conditions within
 conditions  within and
                     and near   the project
                          near the   project area
                                             area was
                                                   was conducted.
                                                        conducted.
 Studies  conducted by
 Studies conducted    by major
                         major agencies
                                 agencies responsible
                                           responsible for
                                                         for public
                                                             public
 health—including CDPHE,
 health—including     CDPHE, the the Denver
                                     Denver Department
                                              Department of  of
 Environmental     Health, and
 Environmental Health,      and the
                                 theUSDA—were
                                      USDA—were identified
                                                      identified that
                                                                 that
 included
 included information
           information about
                         about the   study corridor.
                                 the study  corridor.
 Although not
 Although        a study,
             not a study, the
                            the EPA
                                EPA announced
                                     announced inin December
                                                     December 20142014
 that  residential soil
 that residential   soil sampling
                         sampling and
                                    and cleanup
                                        cleanup is
                                                 is complete
                                                     complete at at the
                                                                    the
 Vasquez Boulevard
 Vasquez    Boulevard andand 1-70
                              I-70 Superfund  site. However,
                                   Superfund site.   However, EPAEPA
 was  not  able to gain   access from the  owners   of
 was not able to gain access from the owners of a few  a few
 properties.  Reviewing these
 properties. Reviewing      these properties will be
                                  properties will  be part  of the
                                                       part of the
 state of
 state  of Colorado's
           Colorado’s operation
                        operation and
                                   and maintenance
                                        maintenance
 responsibilities
 responsibilities and    these properties
                   and these    properties will
                                           will be
                                                be reviewed
                                                   reviewed as  as part
                                                                   part
 of future
 of         Vasquez Boulevard
    future Vasquez    Boulevard andand 1-70
                                       I-70 five-year
                                            five-year reviews.
                                                        reviews.
 Some
 Some ofof the
            the reports
                 reports summarized      below have
                           summarized below     have been
                                                      been brought
                                                             brought to
                                                                      to
 the attentionof
 the attention    of the
                      the project
                          project team
                                  team byby members
                                            members of of the  public.
                                                          the public.
 The
 The listing   of these
      listing of   these studies   does not
                          studies does  not infer
                                             infer any
                                                   any endorsement,
                                                        endorsement,
 nor does it
 nor does   it include
               include any    conclusions regarding
                         any conclusions    regarding the   accuracy or
                                                       the accuracy    or
 applicability
 applicability of of these
                      these studies.
                            studies. Six
                                     Six relevant
                                          relevant studies   were
                                                    studies were
 identified
 identified toto review:
                 review:
     •    Health Impact Assessment:
           Health Impact   Assessment: How
                                        How Neighborhood
                                             Neighborhood
           Planning Affects
           Planning  Affects Health
                             Health in
                                    in Globeville
                                       Globeville and
                                                  and Elyria
                                                      Elyria
           Swansea  (Denver, 2014)
           Swansea (Denver,   2014)
     •    Good
           Good Neighbor Project (Denver
                Neighbor Project (Denver Department of
                                         Department of
           Environmental Health, 2007)
           Environmental Health,  2007)
     •    CDPHE
           CDPHE cancer
                   cancer study: Urban Air
                          study: Urban Air Toxics
                                           Toxics
           Concentration in Denver,
           Concentration in Denver, May
                                    May 2002
                                        2002 through  April
                                              through April
           2003
           2003 (CDPHE,   2006)
                (CDPHE, 2006)
     •    CDPHE
           CDPHE cancer
                   cancer study: Analysis of
                          study: Analysis  of Diagnosed
                                              Diagnosed Versus
                                                         Versus
           Expected
           Expected Cancer
                    Cancer Cases
                            Cases in
                                   in Residents
                                      Residents of
                                                of the
                                                   the Vasquez
                                                       Vasquez



 5.20-12
 5.20-12                                                                         January 2016
                                                                                 January 2016
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                     EIS                                                                                            5.20 Human Health
                                                                                                                    5.20 Human Health Conditions
                                                                                                                                      Conditions

                   Boulevard/I-70
                   Boulevard/I-70 Superfund Site Study
                                  Superfund Site Study Area
                                                       Area (CDPHE,
                                                            (CDPHE,
                   2003a)
                   2003a)
        •         CDPHE
                   CDPHE cancer
                           cancer study:
                                  study: Cancer
                                         Cancer in
                                                in North Denver: 1998-
                                                   North Denver: 1998-
                   2000
                   2000 (CDPHE,  2002)
                        (CDPHE, 2002)
        •         CDPHE
                   CDPHE cancer
                           cancer study:  Analysis of
                                  study: Analysis   of Diagnosed
                                                       Diagnosed Versus
                                                                  Versus
                   Expected Cancer Cases   for the Northeast  Denver
                   Expected Cancer Cases for the Northeast Denver
                   Metropolitan
                   Metropolitan Area
                                Area in
                                      in the
                                         the Vicinity of the
                                             Vicinity of the Rocky
                                                             Rocky
                   Mountain  Arsenal, 1979-1996
                   Mountain Arsenal,  1979-1996 and    1997-2000
                                                   and 1997-2000
                   (CDPHE, 2003a
                   (CDPHE,   2003a and  2003b)
                                   and 2003b)
     A summary
     A summary of of each
                     each study
                           study is
                                  is discussed
                                     discussed below
                                                belowandand the
                                                             the study
                                                                 study
     areas for three
     areas for        of these
               three of  these studies   are shown
                               studies are   shown inin Exhibit   5.20-3.
                                                        Exhibit 5.20-3.
     Boundaries
     Boundaries are
                  are not
                       not shown
                           shown for
                                   forthe
                                        the other
                                            other three
                                                   three studies
                                                         studies as
                                                                  as they
                                                                     they
     are too small
     are too small or
                   or are  consistent with
                       are consistent   with neighborhood
                                              neighborhood
     boundaries.
     boundaries.

     Exhibit
     Exhibit5.20-3
             5.20-3                 Areas of
                                    Areas       Analysis for
                                           of Analysis          for Studies
                                                                    Studies Conducted
                                                                            Conducted by
                                                                                      by Others
                                                                                         Others Within
                                                                                                Within or
                                                                                                       or Near
                                                                                                          Near the
                                                                                                               the
                                    Study   Area
                                    Study Area
                                            i gh # •••• ,..• • Ag.
                                        .1• •     •• .
                                                     41"• •    +I
                                                                 4
                           C-,5              ' - ,... , ..             : •4
                                                       •
                            cs,         •e,rn)-• 7:t.           • ••,,,4
                            c           '4,• ••,..S,       •    • • •z,
                            ..,
                            ,..
                                            •
                                      , 1 , • . • Er ..,   • • • •404
                                                           •    •
                                     •,, .... J...•-•.... ........._          _
                                  A.-4c*.r.amac,# - --•
                                  !v.            ......„, M..4...



                              Elyria & Swanse
                                                          Northeast
                                                          Park Hill




             mc-       Project limits
                                                                       WAN Study Area for "Analysis of Diagnosed vs. Expected Cancer Cases
                                                                        •••••..7441. for the Northeast Denver Metropolitan Area in the Vicinity of the
                       Project area                                               Rocky Mountain Arsenal"

                   -1Neighborhood
                     Neighborhood boundaries
                                  boundaries                                      Study Area for "Analysis of Diagnosed vs. Expected Cancer Cases
                                                                                  in Residents of the Vasquez Blvd/I-70 Superfund Site Study Area"
                       Study Area for "Cancer in
          P
                       North Denver, 1998-2000"




     Cancer
     Cancer occurrence
             occurrence studies  were conducted
                         studies were   conducted byby the
                                                       the CDPHE
                                                           CDPHE in  in
     response
     response to
              to concerns
                 concerns about
                            about exposure
                                   exposure to
                                             to environmental
                                                environmental
     contaminants associated
     contaminants  associated with
                                with hazardous
                                      hazardous waste
                                                  waste sites
                                                         sites located
                                                               located
     within and near
     within and  near the
                      the project
                           project study
                                   study area.
                                          area. The
                                                The studies
                                                     studies provide
                                                              provide
     an index of
     an index of cancer
                 cancer occurrence
                        occurrence in in some
                                         some of
                                              of the
                                                  the communities
                                                      communities inin


     January 2016
     January 2016                                                                                                                                   5.20-13
                                                                                                                                                    5.20-13
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 and near the
 and near    the study
                  study area.
                         area.Based
                                Based on
                                       on CDPHE's
                                           CDPHE’s cancercancer study
                                                                  study
 results,  the occurrence
 results, the   occurrence ofof certain  types of
                                certain types    of cancer
                                                    cancer is is higher
                                                                 higher inin
 the EIS   study   area  than  in the  Denver    MSA
 the EIS study area than in the Denver MSA as a whole.  as  a  whole.
 CDPHE
 CDPHE notednoted that   other factors—such
                    that other  factors—such as       exposure to
                                                 as exposure      to
 carcinogens in
 carcinogens     in the occupational, indoor,
                    the occupational,   indoor, and
                                                  and ambient
                                                        ambient air—air—
 and behavioral risk
 and behavioral      risk factors—such
                          factors—such as as smoking,
                                             smoking, dietary
                                                            dietary
 habits, and
 habits, and alcohol
                alcohol consumption—also
                         consumption—also may    may contribute
                                                        contribute to to the
                                                                         the
 overall individual
 overall  individual andand population
                             population risk
                                          risk (CDPHE
                                                (CDPHE 2002, 2002, 2003a,
                                                                    2003a,
 2003b,
 2003b, 2003c).
         2003c).The  Themost
                          mostrecent
                                recent update
                                        update ofof this
                                                     this information
                                                           information
 does
 does not
       not indicate
            indicate aa change
                         change inin the
                                     the previously
                                         previously reported
                                                         reported trends
                                                                    trends
 (CDPHE, 2010).
 (CDPHE,      2010).
 This
 This discussion
       discussion is is not
                        not a
                            a comprehensive
                               comprehensive assessment
                                                assessment ofof the
                                                                the
 current health
 current   health status
                    status in
                            in the
                                the study
                                    study area.
                                           area. The
                                                 The studies
                                                      studies
 summarized here
 summarized      here dodo not
                           not provide
                                provide indicators
                                         indicators of
                                                     of human
                                                        human health
                                                                health
 as it relates
 as it relates to
                to the
                    theproposed
                         proposed project
                                    project and
                                            and are
                                                 are being
                                                     being provided
                                                           provided
 only to
 only  to establish
          establish that    many studies
                      that many     studies of
                                            of this
                                               this area have been
                                                    area have  been
 done
 done over
        over the
             the past
                  past 1515 to
                            to 35
                                35 years.
                                   years.
 How Neighborhood
 How Neighborhood Planning
                      Planning Affects
                               Affects Health in
                                       Health in
 Globeville and
 Globeville and Elyria
                Elyria Swansea
                       Swansea
 The
 The Health   Impact Assessment
      Health Impact     Assessment (HIA),
                                      (HIA), How
                                              How Neighborhood
                                                     Neighborhood
 Planning Affects
 Planning   Affects Health
                    Health in   Globeville and
                             in Globeville  and Elyria
                                                   Elyria Swansea
                                                          Swansea
 was  completed   in September    2014   by the
 was completed in September 2014 by the Denver   Denver
 Department
 Department of of Environmental
                  Environmental Health.
                                     Health.The
                                              The HIA
                                                    HIA focuses
                                                         focuses
 solely on
 solely on the
           the Globeville
               Globeville and
                            and Elyria
                                 Elyria Swansea      Neighborhood
                                         Swansea Neighborhood
 Plans  and does
 Plans and   does not
                   not examine
                       examine specific
                                 specific development
                                           development projects,
                                                           projects,
 including  I-70 East.
 including 1-70   East. This
                         This HIA
                              HIA isis described
                                       described as   a "process
                                                   as a “process to
                                                                  to
 incorporate
 incorporate health    considerations into
              health considerations     into aa plan,
                                                plan, project,
                                                       project, or
                                                                or
 policy.”
 policy."Through
          Throughresident
                     resident participation
                               participation inin the
                                                  the neighborhood
                                                       neighborhood
 planning  and HIA
 planning and   HIA processes,
                      processes, five
                                  five major
                                        major health    factors were
                                                health factors  were
 identified
 identified and  analyzed in
            and analyzed    in the
                               the HIA.
                                    HIA. These
                                          These included:
                                                   included:
     •   Environmental
          Environmental quality
                        quality

     •   Connectivity
          Connectivity and mobility
                       and mobility
     •   Access to
          Access to goods
                    goods and
                          and services
                              services
     •   Community
          Community safety
                    safety
     •   Mental wellbeing
          Mental wellbeing
 Key
 Key findings
     findings ofof the
                   the HIA
                       HIA reflect
                             reflect the
                                     the public’s
                                         public's concerns
                                                  concerns for
                                                            for the
                                                                 the
 population
 population groups
             groups and    resources identified
                      and resources    identified in
                                                  in Sections
                                                     Sections 5.2.4
                                                               5.2.4
 and 5.2.5 of
 and 5.2.5 of the
               the Final
                    Final EIS,
                          EIS, and   the findings
                                and the  findings of
                                                   of studies
                                                      studies
 previously
 previously discussed
             discussed inin this  section. The
                            this section.  The key
                                               key findings
                                                    findings of
                                                              of the
                                                                 the
 HIA
 HIA are  discussed in
      are discussed   in the
                         the following
                              following subsections.
                                         subsections.




 5.20-14
 5.20-14                                                                            January 2016
                                                                                    January 2016
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                     EIS                                                    5.20 Human Health
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                                                                                              Conditions


     Environmental quality
     Environmental quality
        •   Highway
             Highway traffic
                     traffic is
                             is the main source
                                the main source of
                                                of air
                                                   air pollution
                                                       pollution in
                                                                 in
             the communities
             the communities
        •    There
              There are  noticeable spikes
                    are noticeable   spikes in
                                            in poor
                                                poor air
                                                      air quality
                                                          quality
             depending
             depending onon location,
                             location, time
                                       time of
                                            of day,
                                                day, and
                                                     and weather.
                                                          weather.
             Annual average
             Annual  average air   pollution is
                               air pollution  is not
                                                 not higher
                                                     higher than
                                                             than in
                                                                  in
             other areas
             other areas of
                          of Denver.
                             Denver.
        •   Odors
             Odors emitted
                    emitted from
                              from industrial   operations sometimes
                                    industrial operations  sometimes
             cause short-term
             cause               health effects,
                   short-term health     effects, such
                                                  such as
                                                       as watering
                                                          watering
             eyes
             eyes or
                  or throat
                      throat irritation.
                             irritation.
        •   Highway
             Highway traffic,
                       traffic,freight
                                freighttrains,
                                        trains, and
                                                and industrial
                                                     industrial plants
                                                                plants
             generate noise at
             generate noise  at levels
                                levels that
                                       that sometimes
                                            sometimes exceed
                                                        exceed
             recommended
             recommended federal
                            federal thresholds.
                                     thresholds.
        •   Two
             Two large
                  large soil
                         soil cleanup
                              cleanup projects
                                         projects have
                                                  have mostly
                                                        mostly been
                                                                been
             completed over
             completed   over the
                                the last
                                     last several
                                          several decades,
                                                   decades, yet
                                                            yet residents
                                                                residents
             continue to
             continue to express
                          express concerns
                                     concerns about
                                                about hazardous
                                                       hazardous
             materials  in the
             materials in  the soil
                                 soil and
                                      and aa distrust
                                             distrust of
                                                      of government
                                                         government
             intentions  in the   cleanup   efforts.
             intentions in the cleanup efforts.
        •   A lack
             A lack of
                    oftrees
                        treesand
                              and green
                                  greeninfrastructure
                                         infrastructure in
                                                        in the
                                                           the
             Globeville
             Globeville and
                         and Elyria
                              Elyria and
                                     and Swansea   neighborhoods
                                          Swansea neighborhoods
             does
             does not
                  not help
                       help to
                            to improve
                               improveairair and
                                             and water
                                                 water quality.
                                                       quality.
     Connectivity
     Connectivity and mobility
                  and mobility
        •   Physical
             Physical barriers,
                      barriers, such
                                such as
                                      as railroad
                                          railroad tracks
                                                   tracks and
                                                           and
             disconnected
             disconnected roads,
                           roads, isolate
                                   isolate residents
                                           residents and
                                                     and limit
                                                          limit
             opportunities for
             opportunities for physical
                               physical activity,
                                         activity, including
                                                   including walking.
                                                             walking.
        •   Residents are concerned
             Residents are concerned with
                                       with the number of
                                            the number of freight
                                                          freight
             trucks
             trucks on
                    on residential
                       residential streets.
                                   streets.
        •   Many streets
             Many           lack sidewalks,
                    streets lack  sidewalks, bus
                                             bus stops
                                                  stops lack
                                                        lack benches
                                                             benches
             or safe
             or safe places
                     places to
                             to stand, and there
                                stand, and there is
                                                  is minimal
                                                     minimal bicycle
                                                              bicycle
             infrastructure.
             infrastructure.
        •   Many residents
             Many              do not
                    residents do  not own
                                        own a
                                            a vehicle
                                              vehicle and
                                                      and therefore,
                                                          therefore,
             must  rely on
             must rely   on public
                             public transportation.
                                     transportation. Pedestrian,
                                                     Pedestrian,
             bicycle, and
             bicycle, and bus
                            bus connections
                                connectionsto tofour
                                                 fournew
                                                      newtransit
                                                          transit rail
                                                                  rail
             stations in
             stations  in the
                          the neighborhoods
                              neighborhoods areare unclear
                                                   unclear to
                                                           to
             residents.
             residents.
     Access to
     Access to goods
               goods and services
                     and services
        •   There  is no
             There is  no grocery
                          grocery store
                                   store in
                                         in the
                                            the community
                                                 community and
                                                             and
             convenience
             convenience stores
                           stores do
                                  do not
                                      not offer
                                          offer affordable,
                                                affordable, nutritious,
                                                            nutritious,
             or fresh
             or       produce.
                fresh produce.
        •   Residents  must travel
             Residents must   travel outside
                                     outside of
                                             of the
                                                the neighborhoods
                                                     neighborhoods
             since there
             since       are few
                   there are few retail
                                 retail stores
                                        stores or
                                               or local
                                                   local services.
                                                         services.

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     January 2016                                                                               5.20-15
                                                                                                5.20-15
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    •   Residents
         Residents reported     concerns about
                     reported concerns   about safety
                                                safety and
                                                       and
         amenities
         amenities inin the
                        the neighborhoods.
                            neighborhoods. Residents    also
                                             Residents also
         identified
         identified aa lack
                       lack of
                            of programming
                                programming at   neighborhood
                                             at neighborhood
         recreation
         recreation centers
                      centers that  meets their
                               that meets       needs.
                                          their needs.
 Community
 Community safety
           safety

    •   Vehicle crashes
         Vehicle  crashes at
                           at some
                              some intersections
                                    intersections has
                                                   has raised
                                                       raised
         concerns
         concerns about
                    about unsafe
                          unsafe conditions
                                 conditions for
                                              for pedestrians
                                                  pedestrians and
                                                              and
         bicyclists.
         bicyclists.
    •   Resident
         Resident perception
                   perception ofof crime
                                   crimeisishigher
                                            higher than
                                                    than reported
                                                         reported
         crime
         crime rates.  There is
                rates. There is some
                                 some concern
                                       concern that  crime may
                                                that crime  may go
                                                                 go
         unreported   due to
         unreported due   to resident  unwillingness to
                             resident unwillingness    to interact
                                                          interact
         with law enforcement.
         with law  enforcement.
    •   Street lighting is
         Street lighting is inadequate
                            inadequate and
                                       and less
                                           less than in other
                                                than in other
         Denver   neighborhoods.
         Denver neighborhoods.
    •   Residents    raised safety
         Residents raised     safety concerns
                                      concerns due
                                                due to
                                                     to the presence
                                                        the presence
         of graffiti,
         of graffiti, illegal
                       illegal activities,
                               activities, and
                                           and stray
                                               stray animals.
                                                      animals.
 Mental wellbeing
 Mental wellbeing

    •   Odor
         Odor and
                and noise
                    noise impacts
                           impacts add
                                   add stress
                                       stress to
                                              to residents
                                                 residents in
                                                           in
         their lives.
         their lives.
    •   Trains cause lengthy
         Trains cause lengthy delays
                              delays for
                                     for vehicles
                                         vehicles and
                                                  and
         pedestrians.
         pedestrians.
    •   Concerns
         Concerns about
                   about safety
                          safety limit
                                 limit resident
                                       resident use
                                                use of
                                                    of parks
                                                       parks and
                                                             and
         the South Platte
         the South Platte River
                           River Greenway
                                  Greenway trail.
                                             trail.
    •   Resident   perception of
         Resident perception      of and fear of
                                     and fear of pollution
                                                 pollution continue
                                                           continue
         despite
         despite the
                  the substantial     environmental cleanup
                       substantial environmental      cleanup
         activities.
         activities. Lack
                      Lack of
                            of outreach
                                outreach in
                                          in Spanish
                                             Spanish regarding
                                                       regarding this
                                                                 this
         issue has led
         issue has   led to
                         to continued
                            continued misperceptions
                                        misperceptions among
                                                          among
         residents   who only
         residents who    only speak
                                 speak Spanish.
                                        Spanish.
    •   Unknown
         Unknown impacts
                     impacts associated
                              associated with
                                           with the construction
                                                the construction
         activities of the
         activities of     I-70 project
                       the 1-70 project and
                                         and other
                                             other large
                                                    large
         redevelopment
         redevelopment projects
                           projects in
                                    in the neighborhoods add
                                       the neighborhoods   add to
                                                               to
         residents’
         residents' stress.
                     stress.
 Good Neighbor
 Good Neighbor Project
               Project
 Going
 Going One
        One Step
             Step Beyond
                  Beyond inin North
                              North Denver:
                                      Denver: AA Neighborhood
                                                  Neighborhood
 Scale
 Scale Air
       Air Toxics
            Toxics Assessment
                   Assessment (Denver
                                 (Denver Department
                                           Department ofof
 Environmental    Health, 2007),
 Environmental Health,     2007), otherwise
                                   otherwise known
                                               known as
                                                      as the
                                                          the Good
                                                              Good
 Neighbor
 Neighbor Project,
            Project, was
                     was aa detailed
                            detailed air  pollution modeling
                                      air pollution  modeling
 assessment   thatevaluated
 assessment that   evaluatedknown
                               knownsources
                                        sources of
                                                 of emissions
                                                    emissions in
                                                               in
 the Globeville and
 the Globeville  and Elyria
                      Elyria and   Swansea neighborhoods,
                             and Swansea     neighborhoods, as as
 well
 well as
      as in Commerce City.
         in Commerce    City. It
                               It built
                                  built upon
                                        upon previous
                                              previous



 5.20-16
 5.20-16                                                                     January 2016
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                     EIS                                                     5.20 Human Health
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                                                                                               Conditions

     assessments conducted by
     assessments conducted  by the Denver Department
                               the Denver            of
                                          Department of
     Environmental
     Environmental Health.
                    Health.
     The  primary goal
     The primary    goal of
                         of the
                            the Good
                                Good Neighbor
                                       Neighbor Project
                                                    Project was
                                                            was to
                                                                 to
     evaluate  concentration gradients
     evaluate concentration     gradients ofof air
                                               air pollutants
                                                    pollutants near
                                                               near
     major  roadwayslike
     major roadways    like1-70,
                             I-70, 1-25,
                                   I-25, I-270,
                                         1-270, and
                                                 and Colorado
                                                       Colorado
     Boulevard.
     Boulevard. Earlier
                  Earlier Denver
                           Denver Department
                                     Department of  of Environmental
                                                       Environmental
     Health  assessments apportioned
     Health assessments      apportioned county-level
                                           county-level emissions
                                                           emissions to
                                                                      to
     census block
     census  block groups
                    groups using
                             using aa variety
                                      variety of
                                               ofsurrogate
                                                   surrogate data,
                                                              data, such
                                                                    such
     as VMT and
     as VMT    and population
                    population density.
                                 density.Earlier
                                           Earlier assessments
                                                     assessments tended
                                                                   tended
     to spread  the emissions   across   the entire   block
     to spread the emissions across the entire block group, group,
     whereas   the Good
     whereas the   Good Neighbor
                          Neighbor Project
                                      Project allocated
                                               allocated on-road
                                                          on-road mobile
                                                                   mobile
     source emissions
     source  emissions toto actual  roadways.
                            actual roadways.
     Key
     Key findings
         findings of
                  of this
                      this study
                           study include:
                                 include:
        •   Modeled mean
             Modeled  mean annual    concentrations from
                             annual concentrations     from highways
                                                            highways
             were
             were well
                  well below
                       belowestimated
                               estimated Integrated    Risk
                                           Integrated Risk
             Information System (IRIS)
             Information System    (IRIS) cancer
                                           cancer (1/100,000)
                                                   (1/100,000) and
                                                               and
             non-cancer risk values
             non-cancer risk  values for
                                      for all
                                          all six
                                              six MSAT;
                                                  MSAT;
        •   Modeled concentrations
             Modeled   concentrations dropped
                                      dropped off
                                              off sharply
                                                   sharply within
                                                           within
             150 feet
             150      of roadways;
                 feet of roadways;
        •   Modeled MSAT
             Modeled   MSATconcentrations
                               concentrations tended
                                               tended to
                                                      to be
                                                         be higher
                                                            higher
             along
             along highways
                    highways near
                               near the
                                    the Denver
                                        Denver Central
                                                 Central Business
                                                         Business
             District (CBD) than
             District (CBD)       along the
                             than along  the 1-70
                                             I-70 East  corridor (in
                                                   East corridor (in
             some cases,
             some  cases, they
                          they were
                                were higher
                                     higher within  the CBD
                                             within the  CBD itself,
                                                              itself,
             as were  the monitored   values);
             as were the monitored values); andand
        •   Dispersion
             Dispersion model
                           model results
                                 results were
                                         were generally
                                              generally lower
                                                          lower than
                                                                  than
             monitored
             monitored concentrations    but within
                          concentrations but within aa factor
                                                        factor of
                                                               of two
                                                                   two
             at all locations.
             at all locations.
     These
     These findings
            findings match
                      match with
                             with air   pollution monitoring
                                    air pollution  monitoring data
                                                                data
     collected along
     collected along freeways
                      freeways inin California  (Zhu et
                                    California (Zhu      al, 2002).
                                                     et al,  2002). The
                                                                    The
     Good
     Good Neighbor
            Neighbor Project
                       Project study
                               study provided
                                       provided aa much   improved
                                                   much improved
     level
     level of
           of detail
              detail over
                     over earlier
                          earlier Denver
                                   Denver Department
                                            Department of of
     Environmental
     Environmental Health
                       Health assessments,
                               assessments, though
                                               though it
                                                       it required
                                                          required aa
     significantly higher
     significantly higher level
                           level of
                                  of resources
                                     resources across
                                                across aa limited
                                                          limited
     geographic
     geographic area.
                  area.
     CDPHE cancer
     CDPHE cancer studies:
                   studies: Urban Air Toxics
                            Urban Air Toxics
     Concentration in
     Concentration in Denver,
                      Denver, May
                              May 2002  through April
                                  2002 through  April
     2003
     2003
     In this 2006
     In this 2006 report,
                   report, CDPHE
                            CDPHE discusses
                                       discusses occurrences
                                                 occurrences ofof cancer,
                                                                   cancer,
     from
     from May
           May 2002
                 2002 toto April
                           April2003,
                                  2003,and
                                         andairborne
                                             airborne pollutants
                                                        pollutants
     exhibited
     exhibited at  air monitoring
                at air monitoring stations
                                     stations near
                                              near1-70
                                                     I-70 East
                                                          East (CDPHE,
                                                                (CDPHE,
     2006).  Although    none  of the pollutants  or the  pollutant
     2006). Although none of the pollutants or the pollutant
     concentrations were
     concentrations    were unique
                             unique toto Denver,
                                         Denver, total
                                                  total cancer
                                                         cancer risks
                                                                 risks
     were  found to
     were found   to range   from 100
                     range from    100 to
                                        to 200
                                           200 excess
                                               excess cancers
                                                        cancers per  one
                                                                 per one

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                                                                                                 5.20-17
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 million
 million people.
         people. This
                  This range
                       range slightly    exceeds the
                              slightly exceeds       EPA’s
                                                 the EPA's
 proposed
 proposed “acceptable”
           "acceptable" health
                         health risk   for carcinogens
                                 risk for  carcinogens which
                                                        which isis
 one in
 one    one million
     in one million to
                    to 100
                        100 per
                            per million.
                                 million. The
                                            The report
                                                report also
                                                       also
 concluded that
 concluded       there were
            that there  were little
                             little to
                                     to no
                                        no known
                                            known non-cancer
                                                   non-cancer
 health risks
 health risks associated
              associated with
                          with the    pollutants exhibited
                                the pollutants    exhibited in
                                                            in the
                                                               the
 area.
 area.
 CDPHE cancer
 CDPHE  cancer studies:
                studies: Analysis
                         Analysis of
                                   of Diagnosed  Versus
                                      Diagnosed Versus
 Expected Cancer
 Expected Cancer Cases
                   Cases in
                         in Residents
                            Residents ofof the Vasquez
                                           the Vasquez
 Boulevard/I-70Superfund
 Boulevard/I-70   Superfund Site
                             Site Study
                                  Study Area
                                         Area
 The  Analysis of
 The Analysis    of Diagnosed
                    Diagnosed Versus
                                  Versus Expected
                                            Expected Cancer
                                                       Cancer Cases
                                                                Cases in
                                                                       in
 Residents
 Residents ofof the
                the Vasquez
                     VasquezBoulevard/I-70
                                 Boulevard/I-70 Superfund
                                                    Superfund Site
                                                                 Site
 Study   Area (CDPHE,
 Study Area    (CDPHE, 2003a)
                           2003a) investigated       cancer occurrence
                                     investigated cancer     occurrence
 for
 for neighborhoods
     neighborhoods in  in the
                          the Vasquez
                                Vasquez Boulevard/I-70
                                           Boulevard/I-70 Superfund
                                                              Superfund
 Site
 Site in north-central Denver.
      in north-central    Denver. Previous
                                     Previous studies
                                                 studies conducted
                                                          conducted by by
 the U.S. EPA
 the U.S.   EPA have
                  have indicated    high levels
                        indicated high      levels of
                                                   of arsenic
                                                      arsenic and
                                                               and lead
                                                                    lead
 in soil at
 in soil    some homes
         at some   homes in in the
                               the Elyria
                                    Elyria and    Swansea, Clayton,
                                             and Swansea,     Clayton,
 Cole,
 Cole, and southwest Globeville neighborhoods. The study
       and   southwest    Globeville    neighborhoods.     The  study
 was
 was conducted
      conducted at at the  request of
                      the request     of citizen
                                         citizen representatives
                                                  representatives ofof
 Colorado
 Colorado People’s
             People's Environmental
                       Environmental and   and Economic
                                                Economic Network
                                                            Network
 and  the Cole,
 and the  Cole, Elyria
                  Elyria and
                          and Swansea,
                                Swansea, and      Clayton
                                             and Clayton
 Neighborhood
 Neighborhood Coalition
                   Coalition toto conduct
                                  conduct aa review
                                               review ofofcancer
                                                           cancer rates
                                                                   rates
 in their community.
 in their community. The The study
                                study area    for this
                                        area for       report is
                                                  this report  is shown
                                                                  shown
 in
 in Exhibit    5.20-3.
    Exhibit 5.20-3.
 CDPHE
 CDPHE found
          found anan elevated    incidence of
                       elevated incidence   of cancer
                                               cancer in in the
                                                            the
 Superfund
 Superfund Site
              Site Study
                   Study Area.
                           Area. Additional
                                   Additional statistical
                                                statistical analyses
                                                             analyses
 did
 did not
     not detect  an association
         detect an    association between
                                   between the
                                             the occurrence
                                                  occurrence of of lung
                                                                   lung
 cancer and
 cancer  and high
              high levels
                    levels of
                            of arsenic in the
                               arsenic in the soil
                                               soil of
                                                     of homes
                                                        homes where
                                                                where
 individuals  with lung
 individuals with    lung cancer
                           cancer lived.
                                   lived. CDPHE
                                          CDPHE notes notes that
                                                             that many
                                                                  many
 or most
 or most of
          of the
             the lung
                 lung andand laryngeal  cancers reported
                             laryngeal cancers     reported from
                                                              from
 these neighborhoods are
 these neighborhoods          likely related
                          are likely          to smoking.
                                     related to   smoking.
 CDPHE cancer
 CDPHE  cancer studies:
               studies: Cancer
                        Cancer in
                                in North
                                   North Denver:
                                         Denver:
 1998-2000
 1998-2000
 The  primary focus
 The primary   focus of
                     of Cancer
                        Cancer in
                                in North  Denver: 1998-2000
                                   North Denver:     1998-2000
 (CDPHE, 2002)
 (CDPHE,    2002) was
                   was to
                        toanalyze
                           analyze cancer
                                    cancer rates
                                            rates in
                                                  in North   Denver
                                                      North Denver
 compared to
 compared   to those
               those in the Denver
                     in the Denver MSA,
                                     MSA, andand to
                                                 to identify
                                                     identify
 behavioral and other risk factors that could be contributing
 behavioral  and  other risk factors that could   be  contributing
 to
 to observed
    observed elevated
              elevated rates.
                        rates. The
                               The study
                                    study area
                                          area for
                                                for this
                                                     this report
                                                          report is
                                                                 is
 shown in
 shown   in Exhibit  5.20-3.
            Exhibit 5.20-3.
 The
 The principal findings of
     principal findings of the
                           the comparisons
                               comparisons between
                                            between North
                                                    North
 Denver
 Denver and  the remainder
         and the  remainderofof the
                                the Denver
                                    Denver MSA
                                           MSA include:
                                                include:
     •   For
          For all
              all cancer
                  cancer types
                         types combined,
                                combined, cancer
                                           cancer rates
                                                   rates in
                                                         in North
                                                             North
          Denver
          Denver were
                   were statistically higher for
                        statistically higher for men
                                                 men of
                                                      of all
                                                         all
          racial/ethnic backgrounds combined,
          racial/ethnic backgrounds    combined, and
                                                  and for
                                                      for non-
                                                          non-



 5.20-18
 5.20-18                                                                         January 2016
                                                                                 January 2016
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     1-70 East Final
               Final EIS
                     EIS                                                     5.20 Human Health
                                                                             5.20 Human Health Conditions
                                                                                               Conditions

              Latino White men
              Latino White     and women
                           men and women considered
                                         considered as
                                                    as
              subgroups.
              subgroups.
         •   For
              For some
                   some specific
                          specificcancer
                                    cancertypes,
                                            types,cancer
                                                   cancerrates
                                                          rates in
                                                                in North
                                                                   North
              Denver
              Denver were
                       were statistically   higher for
                              statistically higher  for men
                                                        men and
                                                            and women
                                                                  women
              of all
              of all racial/ethnic  backgrounds combined,
                     racial/ethnic backgrounds     combined, and   for
                                                              and for
              non-Latino
              non-Latino White
                            White men
                                    men and   women considered
                                          and women    considered as
                                                                   as
              subgroups, but
              subgroups,   but not
                                not for
                                     for Latino
                                         Latino men
                                                men oror women,
                                                         women, nor
                                                                  nor for
                                                                      for
              non-Latino    African-American men
              non-Latino African-American       men oror women.
                                                         women.
         •   Cancer
              Cancer rates  in North
                      rates in North Denver
                                      Denver were
                                              were not
                                                     not statistically
                                                          statistically
              higher for
              higher for Latino
                         Latino or
                                 or non-Latino
                                    non-Latino African-American
                                                African-American
              men
              men and   women, either
                   and women,           considering all
                                 either considering  all cancer
                                                         cancer types
                                                                  types
              together or for
              together or for individual
                              individual types
                                          types of
                                                of cancer.
                                                   cancer.
     CDPHE cancer
     CDPHE  cancer studies:
                   studies: Analysis
                            Analysis of of Diagnosed  Versus
                                           Diagnosed Versus
     Expected Cancer
     Expected Cancer Cases
                      Casesforfor the
                                   the Northeast  Denver
                                       Northeast Denver
     Metropolitan Area
     Metropolitan Area in
                       in the
                          the Vicinity
                               Vicinity of
                                         of the
                                            the Rocky
                                                Rocky
     Mountain Arsenal,
     Mountain  Arsenal,1979-1996
                        1979-1996 and and 1997-2000
                                           1997-2000
     These  two reports
     These two             (CDPHE, 2003a
                  reports (CDPHE,    2003a and
                                             and 2003b),
                                                  2003b), covering
                                                           covering the
                                                                     the
     periods
     periods 1979
              1979 through
                     through 1996
                              1996 and
                                    and 1997
                                         1997 through     2000, report
                                                through 2000,   report
     the initial and
     the initial andfollow-up
                       follow-up findings
                                 findings of
                                           of previous
                                              previous cancer
                                                        cancer
     surveillance for
     surveillance   for communities
                         communities inin the
                                          the northeast   Denver
                                              northeast Denver
     metropolitan
     metropolitan area—specifically,
                     area—specifically,the thearea
                                               area surrounding
                                                    surrounding thethe
     Rocky   Mountain     Arsenal National   Wildlife Refuge
     Rocky Mountain Arsenal National Wildlife Refuge in Adams  in Adams
     County
     County (north
              (north of
                      of 56th
                          56th Avenue),
                               Avenue),andand the
                                               the Stapleton
                                                   Stapleton and
                                                               and
     Montbello neighborhoods.
     Montbello    neighborhoods.BothBothreports
                                          reports have
                                                   have the
                                                         the same
                                                             same study
                                                                   study
     area  shown in
     area shown    in Exhibit   5.20-3.
                      Exhibit 5.20-3.
     As indicated
     As             in both
         indicated in  both the
                             the 1979
                                  1979 toto 1996
                                            1996 and
                                                  and 1997
                                                       1997 to
                                                             to 2000
                                                                2000
     analyses,  when all
     analyses, when    all cancers
                           cancers were
                                     were combined
                                            combined together
                                                        together within
                                                                  within a
                                                                         a
     study area,
     study  area, there
                  there were
                          were not
                                not statistically
                                     statistically significant
                                                   significant
     differences
     differences between
                  betweenthe the study
                                  study area
                                          area populations
                                               populations and
                                                             and the
                                                                  the
     Denver
     Denver metropolitan      area population.
              metropolitan area     population. However,
                                                  However, when
                                                              when the
                                                                     the
     data  were disaggregated
     data were   disaggregated andand examined
                                        examined to to show
                                                       show different
                                                             different
     types  of cancer,
     types of  cancer, statistically   significant differences
                        statistically significant  differences between
                                                                 between
     the  populations of
     the populations    of each
                           each study
                                 study area
                                         area and
                                              and the   Denver
                                                   the Denver
     metropolitan
     metropolitan area     population were
                     area population     were identified.
                                               identified.




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     January 2016                                                                                5.20-19
                                                                                                 5.20-19
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 5.20 Human Health Conditions
                   Conditions                                                  I-70 East
                                                                               1-70 East Final
                                                                                         Final EIS
                                                                                               EIS


 5.20.5  What
 5.20.5 What   additionalstudies
             additional   studiesconducted
                                  conducted by
                                             by others
                                                 others
         on human health
         on human   health conditions
                            conditions outside
                                       outside of
                                               of the
                                                  the
         study area were
         study area  were reviewed?
                           reviewed?

 As previously
 As previously noted,
                 noted, air
                        air quality
                            quality in
                                     in the
                                        the project
                                              project area
                                                      area oror the
                                                                the
 Denver
 Denver region
          region is
                 is not
                    not anticipated
                        anticipated toto worsen
                                         worsen over
                                                  over existing
                                                         existing
 conditions. However,
 conditions.  However, public
                         public concern
                                 concernregarding
                                            regarding air
                                                        air quality
                                                            quality
 continues. An
 continues.  An additional
                additional review
                             review of
                                     ofliterature    on air
                                         literature on       pollution
                                                         air pollution
 health effects
 health effects was
                was conducted,
                     conducted, including
                                  including thethe following
                                                   following
 reports:
 reports:
     •    Health Risk Contributions
           Health Risk Contributions from
                                     from Highway
                                          Highway Projects
                                                  Projects
     •    Status of Research
           Status of Research on
                               on Potential Mitigation Concepts
                                  Potential Mitigation  Concepts
           to
           to Reduce
              Reduce Exposure   to Nearby
                      Exposure to  Nearby Traffic
                                           Traffic Pollution
                                                   Pollution (Air
                                                             (Air
           Resources
           Resources Board
                      Board of
                             of California
                                California Environmental
                                           Environmental
           Protection, 2012)
           Protection, 2012)
     •   Air Quality
          Air         in Southern
              Quality in Southern California—Time
                                   California—Time for
                                                   for a
                                                       a
          Paradigm  Shift (Winer,
          Paradigm Shift  (Winer, 2004)
                                  2004)
     •    Near-Roadway
           Near-Roadway Air
                          Air Pollution
                               Pollution and
                                         and Coronary
                                              Coronary Heart
                                                        Heart
           Disease:
           Disease: Burden
                    Burden of
                            of Disease
                               Disease and
                                       and Potential  Impact of
                                            Potential Impact  of a
                                                                 a
           Greenhouse
           Greenhouse Gas
                        Gas Reduction
                            Reduction Strategy
                                        Strategy in
                                                 in Southern
                                                    Southern
           California
           California (Environmental
                      (Environmental Health
                                       Health Perspectives,
                                               Perspectives, July
                                                             July
           2015)
           2015)
     •   Associations of
          Associations of Mortality
                          Mortality with
                                    with Long-Term
                                          Long-Term Exposures
                                                     Exposures
          to
          to Fine
             Fine and Ultrafine Particles,
                  and Ultrafine Particles, Species
                                           Species and
                                                   and Sources:
                                                       Sources:
          Results from the
          Results from     California Teachers
                       the California  Teachers Study
                                                Study Cohort
                                                       Cohort
          (Environmental Health
          (Environmental   Health Perspectives,
                                  Perspectives, June
                                                 June 2015)
                                                      2015)
 The
 The last  four reports
      last four   reports were
                          were cited
                                cited by
                                      by members
                                          members of  of the   public,
                                                          the public,
 identifying
 identifying correlations
               correlations between
                             between human
                                        human health       effects to
                                                 health effects    to
 roadway
 roadway proximity.
            proximity. FHWA’s
                         FHWA's listing
                                   listing of
                                           ofthe
                                               the last
                                                    last four
                                                         four studies
                                                               studies
 does
 does not
       not infer
            infer any
                   any endorsement,
                       endorsement, nornor does
                                            does it
                                                  it include
                                                     include anyany
 conclusions regarding
 conclusions    regarding the   accuracy or
                           the accuracy   or applicability
                                              applicability of of these
                                                                  these
 studies. The
 studies.  The following
                 following are
                            are summaries
                                summaries of  of the
                                                 the additional
                                                      additional
 literature  review.
 literature review.
 Health Risk
 Health Risk Contributions
             Contributions from Highway Projects
                           from Highway Projects
 At the
 At  the request
          requestofof EPA,
                      EPA, FHWA
                             FHWA conducted
                                      conducted aa review
                                                      review of of four
                                                                   four
 separate health
 separate    health risk
                     risk assessments
                          assessments fromfrom around
                                                 around the the country
                                                                country
 for
 for the  South Mountain
      the South   Mountain Freeway
                              Freeway(Loop
                                         (Loop 202)
                                                 202) EIS
                                                        EIS in   Arizona.
                                                              in Arizona.
 FHWA’s
 FHWA's review focused on the methodologies used in the
            review  focused   on  the  methodologies      used   in  the
 studies and
 studies   and the
                the findings
                    findings related
                               related to
                                        to incremental
                                            incremental health
                                                             health risks.
                                                                      risks.
 All four
 All  four studies
            studies reported
                    reported aa very
                                  very low
                                       low risk
                                             risk of
                                                   of estimated
                                                       estimated
 incremental     cancer risk
 incremental cancer      risk from
                              from vehicle
                                    vehicle traffic
                                               traffic at
                                                        at each
                                                           each studies’
                                                                  studies'
 worst-case    location. The
 worst-case location.    The following
                               following isis the
                                              the conclusion
                                                   conclusion fromfrom the
                                                                         the
 South   Mountain Freeway
 South Mountain       Freeway EISEIS review
                                      review of of these
                                                    these reports.
                                                           reports.


 5.20-20
 5.20-20                                                                            January 2016
                                                                                    January 2016
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     I-70 East
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               Final EIS
                     EIS                                                                 5.20 Human Health
                                                                                         5.20 Human Health Conditions
                                                                                                           Conditions

         “To help
         "To   help put
                      put these
                          these lowlow health
                                         health risks     from roadway
                                                   risks from    roadway
         emissions
         emissions into     perspective, FHWA
                       into perspective,       FHWA compared
                                                          compared them them with
                                                                               with
         health risks
         health    risks from
                         from traffic
                                 traffic fatalities.     In 2010,
                                            fatalities. In   2010, there    were
                                                                     there were
         2.47
         2.47 million
                million deaths
                          deaths in  in the
                                        the United      States, and
                                              United States,      and 32,728
                                                                        32,728 of of
         these   were due
         these were     due toto traffic
                                  traffic fatalities,
                                             fatalities, meaning
                                                          meaning that that the
                                                                            the
         risk  of dying
         risk of   dying in
                          in a  traffic accident
                              a traffic    accident in in 2010
                                                           2010 was
                                                                 was 0.0106
                                                                        0.0106
         percent.    Converted to
         percent. Converted         to terms
                                        terms of of risk
                                                    risk per
                                                          per million
                                                               million people,
                                                                          people,
         this  represents aarisk
         this represents        riskof of 106
                                           106 inin aa million
                                                       million per     year, or
                                                                 per year,   or
         7,420
         7,420 inin aa million
                       million as as aa 70-year
                                         70-year lifetime
                                                    lifetime risk,
                                                               risk, consistent
                                                                      consistent
         with   cancer risk
         with cancer           estimation. While
                         risk estimation.        While this    risk is
                                                          this risk   is very
                                                                         very high,
                                                                               high,
         and   while FHWA
         and while     FHWA is   is actively
                                     actively working
                                                 working to  to improve
                                                                improve
         highway safety,
         highway               most people
                      safety, most     people seemseem toto consider
                                                             consider this
                                                                         this risk
                                                                              risk
         “acceptable” in
         "acceptable"     in the
                             the sense
                                    sense that     they do
                                             that they    do not
                                                              not avoid
                                                                   avoid vehicle
                                                                           vehicle
         trips
         trips to reduce it. Also, if the MSAT risk estimates in
                to  reduce  it.  Also,    if the  MSAT     risk  estimates     in
         the  studies summarized
         the studies    summarized above    above areare correct,
                                                         correct, itit means
                                                                        means that
                                                                                 that
         the  incremental risk
         the incremental       risk ofof cancer
                                          cancer from
                                                    from breathing
                                                            breathing airair near
                                                                             near a  a
         major
         major roadway
                 roadway is   is several
                                 several hundred
                                              hundred times
                                                         times lower
                                                                 lower than
                                                                          than the
                                                                                the
         risk  of aa fatal
         risk of           accident from
                     fatal accident      from using
                                                using a    major roadway.
                                                        a major    roadway.
          EPA
          EPA must
                must make
                       make decisions
                                decisions regarding
                                             regarding acceptable
                                                         acceptable risk
                                                                      risk
          when
          when it  develops regulations
                it develops      regulations to to control
                                                   control hazardous
                                                            hazardous airair
          pollutants   (air toxics)
          pollutants (air   toxics) under
                                      under Titles
                                               Titles II
                                                      II and  III of
                                                         and III  of the
                                                                     the
          Clean
          Clean Air
                 Air Act.
                      Act. EPA’s
                             EPA'sNational
                                     National Emission
                                                  Emission Standards
                                                             Standards for for
          Hazardous
          Hazardous Air Air Pollutants
                             Pollutants for for benzene
                                                benzene emissions
                                                           emissions isis
          based on
          based  on attaining
                     attaining aa risk
                                    risklevel
                                          level ofof no
                                                     no more
                                                        more than    100 cases
                                                              than 100     cases
          of cancer
          of cancer per   million people.
                     per million    people. EPA's
                                               EPA’s 2007
                                                       2007 MSATs
                                                             MSATs rule,
                                                                       rule,
          covering
          covering vehicles,
                     vehicles, fuels,
                                  fuels, and
                                         and fuel
                                               fuel containers,
                                                     containers, is
                                                                  is designed
                                                                     designed
          to
          to result in aa remaining
             result in    remaining risk risk of
                                               of approximately
                                                  approximately 5   5 in
                                                                      in aa
          million.
          million. Both
                    Both ofof these
                               these risk   levels, considered
                                      risk levels,   considered acceptable
                                                                  acceptable
          by EPA
          by  EPA as
                   as an   outcome of
                       an outcome      of its
                                           its rulemaking
                                               rulemaking processes,
                                                             processes, areare
          much
          much higher
                 higher than
                          than thethe estimated
                                      estimated riskrisk from
                                                         from the
                                                               the highway
                                                                    highway
          projects thatFHWA
          projects that   FHWA reviewed."
                                    reviewed.” (pg (pg 4-81,
                                                       4-81, AZDOT
                                                             AZDOT FEIS FEIS
          2014)
          2014)
     Status of
     Status  of Research
                Research on
                          on Potential
                             Potential Mitigation
                                       Mitigation
     Concepts to
     Concepts   to Reduce
                   Reduce Exposure
                           Exposure to
                                     to Nearby
                                        Nearby Traffic
                                                Traffic
     Pollution (Air
     Pollution  (Air Resources
                     Resources Board
                               Board of
                                      of California
                                         California
     Environmental Protection,
     Environmental    Protection, 2012)
                                  2012)
     In
     In the
        the Status  of Research
            Status of  Research onon Potential
                                      Potential Mitigation
                                                 Mitigation Concepts
                                                              Concepts to
                                                                       to
     Reduce
     Reduce Exposure
             Exposure to to Nearby
                            Nearby Traffic
                                     Traffic Pollution,
                                             Pollution, the   Air
                                                        the Air
     Resources
     Resources Board
                Board ofof California
                            California Environmental
                                         Environmental Protection
                                                          Protection
     reports thatpopulations
     reports that  populationsliving
                                 living within
                                         within 500
                                                 500 feet
                                                     feet of
                                                          of busy
                                                             busy
     roadways
     roadways are
                are highly
                    highly prone
                             prone to
                                    to pollutants  associated with
                                       pollutants associated    with
     vehicular traffic.
     vehicular traffic. They
                        They also
                               also reported
                                     reported that
                                               that among
                                                    among residents
                                                             residents
     living
     living near  roadways, children
            near roadways,    children are   more vulnerable
                                         are more  vulnerable toto
     adverse  health effects
     adverse health   effects of
                              of traffic
                                 traffic emissions
                                         emissions because
                                                     because they
                                                               they tend
                                                                    tend



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     January 2016                                                                                            5.20-21
                                                                                                             5.20-21
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 5.20 Human Health Conditions
                   Conditions                                                 I-70 East
                                                                              1-70 East Final
                                                                                        Final EIS
                                                                                              EIS

 to
 to spend
    spend a
          a larger  amount of
             larger amount  of time
                               time outside
                                    outside and
                                            and have
                                                 have higher
                                                       higher
 breathing rates
 breathing  rates per
                  per unit
                      unitof
                           of body
                              body mass
                                   mass relative
                                         relative to
                                                  to adults.
                                                     adults.
 Air Quality
 Air Quality in
              in Southern
                 Southern California—Time
                           California—Time for
                                           for a
                                               a
 Paradigm Shift
 Paradigm    Shift (Winer,
                   (Winer, 2004)
                           2004)
 The  Air Quality
 The Air  Quality in   Southern California
                    in Southern     California –- Time
                                                  Time for
                                                         for a
                                                             a
 Paradigm Shift, reports that poor health conditions exist
 Paradigm    Shift,  reports  that   poor health  conditions   exist in
                                                                     in
 close proximity
 close proximity toto heavy
                       heavy traffic
                               traffic corridors,
                                       corridors, especially
                                                   especially at
                                                               at
 locations
 locations were
            were the   traffic make-up
                  the traffic   make-up consists
                                          consists of
                                                    of diesel
                                                       diesel fuel
                                                               fuel
 vehicles. Pollution
 vehicles.  Pollution from
                       from these
                              these vehicles
                                      vehicles has
                                               has been
                                                    been linked
                                                          linked with
                                                                   with
 declines
 declines in
           in lung
              lung function
                    function andand increased
                                     increased respiratory
                                                 respiratory
 symptoms. The
 symptoms.    The study
                   study concludes
                          concludes that     pollution is
                                        that pollution  is both
                                                           both a a
 regional  and localized
 regional and   localized issue    for people
                           issue for   people living
                                               living near
                                                      near to
                                                            to major
                                                                major
 roadways.
 roadways.
 Near-Roadway Air
 Near-Roadway    Air Pollution
                     Pollution and
                               and Coronary
                                   Coronary Heart
                                              Heart
 Disease: Burden
 Disease: Burden ofof Disease
                      Disease and
                               and Potential
                                   Potential Impact
                                             Impact
 of a Greenhouse  Gas  Reduction  Strategy
 of a Greenhouse Gas Reduction Strategy in  in
 Southern California
 Southern  California (Environmental   Health
                      (Environmental Health
 Perspectives, July
 Perspectives,  July 2015)
                     2015)
 The
 The study
       study investigated    the burden
              investigated the   burden of of coronary
                                              coronary heart
                                                          heart disease
                                                                 disease
 from
 from near-roadway
        near-roadway air air pollution
                             pollution and
                                        and compared
                                             compared it  it with
                                                             with the
                                                                   the
 PM  2.5 burden
 PM2.5    burdenininthe
                      theCalifornia
                          California South
                                      South Coast
                                              Coast Air
                                                     Air Basin    for
                                                          Basin for
 2008
 2008 andand under
             under aa compact
                       compact urban     growth greenhouse
                                 urban growth     greenhouse gas  gas
 reduction
 reduction scenario for 2035. The study results suggest that
             scenario   for 2035. The   study   results  suggest    that aa
 large   burden of
 large burden    of preventable
                    preventable coronary
                                  coronary heart
                                               heart disease
                                                      disease mortality
                                                                mortality
 is
 is attributable
    attributable toto near-roadway
                       near-roadway airair pollution
                                           pollution and
                                                       and is
                                                            is likely
                                                               likely toto
 increase   even with
 increase even    with decreasing
                        decreasing exposure
                                     exposure by by 2035
                                                     2035 due
                                                           due toto the
                                                                     the
 vulnerability of
 vulnerability   of an  aging population.
                    an aging   population. TheThe study   also notes
                                                   study also    notes
 that  greenhouse gas
 that greenhouse     gas reduction
                          reduction strategies
                                     strategies developed
                                                  developed to  to
 mitigate   climate change
 mitigate climate     change offer
                              offer unexploited
                                    unexploited opportunities
                                                    opportunities for for
 air pollution health
 air pollution  health co-benefits.
                         co-benefits.
 Associations of
 Associations  of Mortality
                  Mortality with Long-Term
                            with Long-Term
 Exposures to
 Exposures  to Fine
               Fine and
                    and Ultrafine  Particles, Species
                         Ultrafine Particles, Species
 and Sources:  Results from  the  California Teachers
 and Sources: Results from the California Teachers
 Study Cohort
 Study Cohort (Environmental     Health
               (Environmental Health
 Perspectives, June
 Perspectives,  June 2015)
                     2015)
 The
 The study   researched the
      study researched    the effectiveness
                               effectiveness ofof near-road   vehicle
                                                   near-road vehicle
 emissions
 emissions modeling
             modeling toto assess
                           assess human      effects. Using
                                     human effects.   Using an
                                                             an
 emissions-based
 emissions-based model,
                    model, the
                             the research
                                   research team    observed
                                             team observed
 significant positive
 significant  positive associations
                       associations between
                                        between ischemic
                                                  ischemic heart
                                                            heart
 disease  mortality  and  both   fine  and  ultrafine  particle
 disease mortality and both fine and ultrafine particle species species
 and  sources. The
 and sources.   The results
                     results of
                              of this
                                  this research
                                       research project
                                                 project suggest
                                                          suggest that
                                                                   that
 the exposure model
 the exposure   model effectively
                       effectively measured
                                      measured local
                                                 local exposures
                                                        exposures and
                                                                    and
 facilitated the examination
 facilitated the examination of   of the
                                     the relative
                                         relative toxicity
                                                   toxicity of
                                                            of particle
                                                               particle
 species.
 species.

 5.20-22
 5.20-22                                                                           January 2016
                                                                                   January 2016
